Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2029   Page 1 of 990




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE: FORD MOTOR CO. F-150 AND            Case No. 2:19-md-02901-SFC
RANGER TRUCK FUEL ECONOMY
MARKETING AND SALES PRACTICES
LITIGATION,                                Honorable Sean F. Cox
This Document Relates To: All Actions      JURY TRIAL DEMANDED
                                           CLASS ACTION


     FIRST AMENDED CONSOLIDATED MASTER CLASS ACTION
           COMPLAINT AND DEMAND FOR JURY TRIAL
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2030            Page 2 of 990




                                     TABLE OF CONTENTS
                                                                                                                 Page
     INTRODUCTION ........................................................................................ 1
     JURISDICTION ........................................................................................... 8
     VENUE ......................................................................................................... 9
     PARTIES ...................................................................................................... 9
              Plaintiffs ............................................................................................. 9
              1.        Alabama Plaintiffs.................................................................... 9
              2.        Arizona Plaintiff ..................................................................... 15
              3.        California Plaintiffs ................................................................ 17
              4.        Florida Plaintiffs .................................................................... 20
              5.        Georgia Plaintiff..................................................................... 26
              6.        Hawaii Plaintiff ...................................................................... 28
              7.        Illinois Plaintiffs..................................................................... 30
              8.        Louisiana Plaintiffs ................................................................ 33
              9.        Maryland Plaintiff .................................................................. 37
              10.       Massachusetts Plaintiff .......................................................... 39
              11.       Michigan Plaintiffs................................................................. 41
              12.       Minnesota Plaintiff................................................................. 48
              13.       Missouri Plaintiffs .................................................................. 50
              14.       Nebraska Plaintiff .................................................................. 54
              15.       New Jersey Plaintiffs ............................................................. 56
              16.       New York Plaintiff ................................................................. 61
              17.       Ohio Plaintiff.......................................................................... 63
              18.       Oklahoma Plaintiff ................................................................. 65


                                                       -i-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                           PageID.2031           Page 3 of 990




            19.      Oregon Plaintiff...................................................................... 67
            20.      Pennsylvania Plaintiff ............................................................ 69
            21.      South Carolina Plaintiff ......................................................... 70
            22.      South Dakota Plaintiff............................................................ 72
            23.      Tennessee Plaintiff ................................................................. 74
            24.      Texas Plaintiffs ...................................................................... 76
            25.      Utah Plaintiff .......................................................................... 83
            26.      Virginia Plaintiff .................................................................... 85
            27.      Washington Plaintiffs............................................................. 87
            28.      Wisconsin Plaintiff................................................................. 93
            Defendant ......................................................................................... 95
            1.       Ford Motor Company ............................................................ 95
     FACTUAL ALLEGATIONS ..................................................................... 95
            Coastdown testing ............................................................................ 95
            The coastdown results are used to create fuel economy
            information posted on vehicles’ windows and used in
            advertising. ....................................................................................... 98
            Ford admits improper coastdown testing on the 2019
            Ranger............................................................................................. 103
            CAFE standards provide manufacturers with credits for low
            emissions. ....................................................................................... 106
            Criminal investigation .................................................................... 112
            Mechanism of coastdown cheating ................................................ 113
            F-150 and Ranger test results ......................................................... 117
            Ford’s History of Cheating............................................................. 127
            Ford advertising for the Ranger emphasizes fuel economy. .......... 128



                                                   - ii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                 PageID.2032           Page 4 of 990




                  Ford promotes the F-150 as best in class for fuel economy or
                  publishes MPG estimates to beat its competition. ......................... 129
                  Economic harm............................................................................... 137
         TOLLING OF THE STATUTE OF LIMITATIONS .............................. 137
                  Discovery rule tolling ..................................................................... 137
                  Fraudulent concealment tolling ...................................................... 138
                  Estoppel .......................................................................................... 138
         CLASS DEFINITIONS ............................................................................ 139
         CLASS ALLEGATIONS ......................................................................... 149
                  Claims Brought on Behalf of the Alabama Subclass ..................... 149
COUNT 1 VIOLATION OF THE ALABAMA DECEPTIVE TRADE
    PRACTICES ACT (ALA. CODE § 8-19-1 ET SEQ.) ............................. 149
COUNT 2 BREACH OF CONTRACT (BASED ON ALABAMA
    LAW) ........................................................................................................ 153
COUNT 3 BREACH OF EXPRESS WARRANTY (ALA. CODE § 7-2-
    313) ........................................................................................................... 154
COUNT 4 FRAUDULENT CONCEALMENT (BASED ON
    ALABAMA LAW)................................................................................... 157
COUNT 5 ............................................................................................................ 163
NEGLIGENT MISREPRESENTATION ........................................................... 163
COUNT 6 UNJUST ENRICHMENT................................................................. 164
                  Claims brought on behalf of the Alaska Subclass.......................... 165
COUNT 7 VIOLATION OF THE ALASKA UNFAIR TRADE
    PRACTICES AND CONSUMER PROTECTION ACT (ALASKA
    STAT. ANN. § 45.50.471 ET SEQ.) ........................................................ 165
COUNT 8 BREACH OF CONTRACT (BASED ON ALASKA LAW).......... 169
COUNT 9 BREACH OF EXPRESS WARRANTY (AK. STAT. §
    45.02.313) ................................................................................................. 170


                                                         - iii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                PageID.2033          Page 5 of 990




COUNT 10 FRAUDULENT CONCEALMENT (BASED ON ALASKA
    LAW) ........................................................................................................ 173
COUNT 11 .......................................................................................................... 179
NEGLIGENT MISREPRESENTATION ........................................................... 179
COUNT 12 UNJUST ENRICHMENT............................................................... 180
                  Claims brought on behalf of the Arizona Subclass ........................ 181
COUNT 13 VIOLATION OF THE ARIZONA CONSUMER FRAUD
    ACT (ARIZONA REV. STAT. § 44-1521 ET SEQ.) .............................. 181
COUNT 14 BREACH OF CONTRACT (BASED ON ARIZONA
    LAW) ........................................................................................................ 185
COUNT 15 BREACH OF EXPRESS WARRANTY (ARIZ. REV.
    STAT. § 47-2313, ET SEQ.)..................................................................... 186
COUNT 16 FRAUDULENT CONCEALMENT (BASED ON
    ARIZONA LAW) ..................................................................................... 189
COUNT 17 .......................................................................................................... 195
NEGLIGENT MISREPRESENTATION ........................................................... 195
COUNT 18 UNJUST ENRICHMENT............................................................... 196
                  Claims brought on behalf of the Arkansas Subclass ...................... 197
COUNT 19 VIOLATION OF THE ARKANSAS DECEPTIVE TRADE
    PRACTICES ACT (ARK. CODE ANN. § 4-88-101 ET SEQ.) .............. 197
COUNT 20 BREACH OF CONTRACT (BASED ON ARKANSAS
    LAW) ........................................................................................................ 201
COUNT 21 BREACH OF EXPRESS WARRANTY (ARK. CODE § 4-
    2-313) ........................................................................................................ 202
COUNT 22 FRAUDULENT CONCEALMENT (BASED ON
    ARKANSAS LAW) ................................................................................. 205
COUNT 23 .......................................................................................................... 211
NEGLIGENT MISREPRESENTATION ........................................................... 211



                                                         - iv -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                PageID.2034          Page 6 of 990




COUNT 24 UNJUST ENRICHMENT............................................................... 211
                  Claims Brought on Behalf of the California Subclass ................... 212
COUNT 25 VIOLATIONS OF THE CALIFORNIA UNFAIR
    COMPETITION LAW (CAL. BUS. & PROF. CODE § 17200
    ET SEQ.) ................................................................................................... 212
COUNT 26 VIOLATIONS OF THE CALIFORNIA’S CONSUMERS
    LEGAL REMEDIES ACT (CAL. BUS. & PROF. CODE § 1750
    ET SEQ.) ................................................................................................... 217
COUNT 27 VIOLATIONS OF THE CALIFORNIA FALSE
    ADVERTISING LAW (CAL. BUS. & PROF. CODE § 17500
    ET SEQ.) ................................................................................................... 220
COUNT 28 BREACH OF CONTRACT (BASED ON CALIFORNIA
    LAW) ........................................................................................................ 223
COUNT 29 BREACH OF EXPRESS WARRANTY SONG-BEVERLY
    CONSUMER WARRANTY ACT (CAL. CIV. CODE §§ 1791.2
    & 1793.2(D)) ............................................................................................ 224
COUNT 30 FRAUDULENT CONCEALMENT (BASED ON
    CALIFORNIA LAW)............................................................................... 228
COUNT 31 .......................................................................................................... 234
NEGLIGENT MISREPRESENTATION ........................................................... 234
COUNT 32 UNJUST ENRICHMENT............................................................... 235
                  Claims Brought on Behalf of the Colorado Subclass .................... 236
COUNT 33 VIOLATION OF THE COLORADO CONSUMER
    PROTECTION ACT (COLO. REV. STAT. § 6-1-101 ET SEQ.) ........... 236
COUNT 34 BREACH OF CONTRACT (BASED ON COLORADO
    LAW) ........................................................................................................ 240
COUNT 35 BREACH OF EXPRESS WARRANTY (COLO. REV.
    STAT. §§ 4-2-313 AND 4-2.5-210) ......................................................... 241
COUNT 36 FRAUDULENT CONCEALMENT (BASED ON
    COLORADO LAW)................................................................................. 244


                                                         -v-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                PageID.2035          Page 7 of 990




COUNT 37 .......................................................................................................... 250
NEGLIGENT MISREPRESENTATION ........................................................... 250
COUNT 38 UNJUST ENRICHMENT............................................................... 251
                  Claims brought on behalf of the Connecticut Subclass ................. 252
COUNT 39 VIOLATION OF THE CONNECTICUT UNFAIR TRADE
    PRACTICES ACT (CONN. GEN. STAT. § 42-110A ET SEQ.) ............ 252
COUNT 40 BREACH OF CONTRACT (BASED ON CONNECTICUT
    LAW) ........................................................................................................ 256
COUNT 41 BREACH OF EXPRESS WARRANTY (CONN. GEN.
    STAT. §§ 42-179 & 42-186) .................................................................... 257
COUNT 42 FRAUDULENT CONCEALMENT (BASED ON
    CONNECTICUT LAW)........................................................................... 260
COUNT 43 .......................................................................................................... 266
NEGLIGENT MISREPRESENTATION ........................................................... 266
COUNT 44 UNJUST ENRICHMENT............................................................... 267
                  Claims brought on behalf of the Delaware Subclass ..................... 268
COUNT 45 VIOLATION OF THE DELAWARE CONSUMER FRAUD
    ACT (DEL. CODE TIT. 6, § 2513 ET SEQ.)........................................... 268
COUNT 46 BREACH OF CONTRACT (BASED ON DELAWARE
    LAW) ........................................................................................................ 272
COUNT 47 BREACH OF EXPRESS WARRANTY (5A DEL. C. 1953,
    §§ 2-313 & 2A-210) ................................................................................. 273
COUNT 48 FRAUDULENT CONCEALMENT (BASED ON
    DELAWARE LAW) ................................................................................ 276
COUNT 49 .......................................................................................................... 282
NEGLIGENT MISREPRESENTATION ........................................................... 282
COUNT 50 UNJUST ENRICHMENT............................................................... 282
                  Claims Brought on Behalf of the Florida Subclass ........................ 283


                                                         - vi -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                PageID.2036          Page 8 of 990




COUNT 51 VIOLATIONS OF THE FLORIDA UNFAIR AND
    DECEPTIVE TRADE PRACTICES ACT (FLA. STAT. § 501.201
    ET SEQ.) ................................................................................................... 283
COUNT 52 BREACH OF CONTRACT (BASED ON FLORIDA LAW) ...... 287
COUNT 53 BREACH OF EXPRESS WARRANTY (FLA. STAT. §
    672.313) .................................................................................................... 289
COUNT 54 FRAUDULENT CONCEALMENT (BASED ON FLORIDA
    LAW) ........................................................................................................ 291
COUNT 55 .......................................................................................................... 297
NEGLIGENT MISREPRESENTATION ........................................................... 297
COUNT 56 UNJUST ENRICHMENT............................................................... 298
                  Claims Brought on Behalf of the Georgia Subclass ...................... 299
COUNT 57 VIOLATION OF THE GEORGIA FAIR BUSINESS
    PRACTICES ACT (GA. CODE ANN. § 10-1-390 ET SEQ.) ................. 299
COUNT 58 VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE
    TRADE PRACTICES ACT (GA. CODE ANN § 10-1-370
    ET SEQ.) ................................................................................................... 303
COUNT 59 BREACH OF CONTRACT (BASED ON GEORGIA LAW) ....... 307
COUNT 60 BREACH OF EXPRESS WARRANTY (GA. CODE ANN.
    § 11-2-313) ............................................................................................... 308
COUNT 61 FRAUDULENT CONCEALMENT (BASED ON
    GEORGIA LAW) ..................................................................................... 311
COUNT 62 .......................................................................................................... 317
NEGLIGENT MISREPRESENTATION ........................................................... 317
COUNT 63 UNJUST ENRICHMENT............................................................... 317
                  Claims brought on behalf of the Hawaii Subclass ......................... 318
COUNT 64 VIOLATION OF THE HAWAII ACT § 480-2(A) (HAW.
    REV. STAT. § 480 ET SEQ.) ................................................................... 318
COUNT 65 BREACH OF CONTRACT (BASED ON HAWAII LAW) ......... 323

                                                        - vii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                PageID.2037          Page 9 of 990




COUNT 66 BREACH OF EXPRESS WARRANTY (HI REV. STAT. §§
    490:2-313 & 490:2A-519) ........................................................................ 324
COUNT 67 FRAUDULENT CONCEALMENT (BASED ON HAWAII
    LAW) ........................................................................................................ 327
COUNT 68 .......................................................................................................... 333
NEGLIGENT MISREPRESENTATION ........................................................... 333
COUNT 69 UNJUST ENRICHMENT............................................................... 333
                  Claims Brought on Behalf of the Idaho Subclass .......................... 334
COUNT 70 VIOLATION OF THE IDAHO CONSUMER
    PROTECTION ACT (IDAHO CODE ANN. § 48-601 ET SEQ.)........... 334
COUNT 71 BREACH OF CONTRACT (BASED ON IDAHO LAW) ........... 338
COUNT 72 BREACH OF EXPRESS WARRANTY (I.C. § 28-2-316) ........... 340
COUNT 73 FRAUDULENT CONCEALMENT (BASED ON IDAHO
    LAW) ........................................................................................................ 342
COUNT 74 .......................................................................................................... 348
NEGLIGENT MISREPRESENTATION ........................................................... 348
COUNT 75 UNJUST ENRICHMENT............................................................... 349
                  Claims Brought on Behalf of the Illinois Subclass ........................ 350
COUNT 76 VIOLATION OF THE ILLINOIS CONSUMER FRAUD
    AND DECEPTIVE BUSINESS PRACTICES ACT (815 ILCS
    505/1, ET SEQ. AND 720 ILCS 295/1A) ................................................ 350
COUNT 77 BREACH OF CONTRACT (BASED ON ILLINOIS LAW) ........ 354
COUNT 78 BREACH OF EXPRESS WARRANTY (810 ILCS 5/2-313) ....... 355
COUNT 79 FRAUDULENT CONCEALMENT (BASED ON ILLINOIS
    LAW) ........................................................................................................ 358
COUNT 80 .......................................................................................................... 363
NEGLIGENT MISREPRESENTATION ........................................................... 363



                                                        - viii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                               PageID.2038          Page 10 of 990




COUNT 81 UNJUST ENRICHMENT............................................................... 364
                  Claims brought on behalf of the Indiana Subclass ......................... 365
COUNT 82 VIOLATION OF THE INDIANA DECEPTIVE
    CONSUMER SALES ACT (IND. CODE § 24-5-0.5-3) ......................... 365
COUNT 83 BREACH OF CONTRACT (BASED ON INDIANA LAW) ....... 369
COUNT 84 BREACH OF EXPRESS WARRANTY (IC 26-1-2-316) ............. 371
COUNT 85 FRAUDULENT CONCEALMENT (BASED ON INDIANA
    LAW) ........................................................................................................ 373
COUNT 86 .......................................................................................................... 379
NEGLIGENT MISREPRESENTATION ........................................................... 379
COUNT 87 UNJUST ENRICHMENT............................................................... 380
                  Claims brought on behalf of the Iowa Subclass ............................. 381
COUNT 88 VIOLATION OF THE IOWA PRIVATE RIGHT OF
    ACTION FOR CONSUMER FRAUDS ACT (IOWA CODE
    § 714H.1 ET SEQ.) ................................................................................... 381
COUNT 89 BREACH OF CONTRACT (BASED ON IOWA LAW) ............. 385
COUNT 90 BREACH OF EXPRESS WARRANTY (IOWA CODE §
    554.2313 AND 554.13210) ...................................................................... 386
COUNT 91 FRAUDULENT CONCEALMENT (BASED ON IOWA
    LAW) ........................................................................................................ 390
COUNT 92 .......................................................................................................... 395
NEGLIGENT MISREPRESENTATION ........................................................... 395
COUNT 93 UNJUST ENRICHMENT............................................................... 396
                  Claims brought on behalf of the Kansas Subclass ......................... 397
COUNT 94 VIOLATION OF THE KANSAS CONSUMER
    PROTECTION ACT (KAN. STAT. ANN. § 50-623 ET SEQ.) .............. 397
COUNT 95 BREACH OF CONTRACT (BASED ON KANSAS LAW) ........ 401



                                                         - ix -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                               PageID.2039          Page 11 of 990




COUNT 96 BREACH OF EXPRESS WARRANTY (K.S.A. § 50-645) .......... 402
COUNT 97 FRAUDULENT CONCEALMENT (BASED ON KANSAS
    LAW) ........................................................................................................ 406
COUNT 98 .......................................................................................................... 412
NEGLIGENT MISREPRESENTATION ........................................................... 412
COUNT 99 UNJUST ENRICHMENT............................................................... 412
                  Claims brought on behalf of the Kentucky Subclass ..................... 413
COUNT 100 VIOLATIONS OF THE KENTUCKY CONSUMER
    PROTECTION ACT (KY. REV. STAT. § 367.110 ET SEQ.)................ 413
COUNT 101 BREACH OF CONTRACT (BASED ON KENTUCKY
    LAW) ........................................................................................................ 417
COUNT 102 BREACH OF EXPRESS WARRANTY (KY. REV. STAT.
    § 355.2-313) .............................................................................................. 418
COUNT 103 FRAUDULENT CONCEALMENT (BASED ON
    KENTUCKY LAW) ................................................................................. 421
COUNT 104 ........................................................................................................ 427
NEGLIGENT MISREPRESENTATION ........................................................... 427
COUNT 105 UNJUST ENRICHMENT............................................................. 427
                  Claims Brought on Behalf of the Louisiana Subclass.................... 428
COUNT 106 VIOLATION OF THE LOUISIANA UNFAIR TRADE
    PRACTICES AND CONSUMER PROTECTION LAW (LA.
    REV. STAT. § 51:1401 ET SEQ.) ............................................................ 428
COUNT 107 BREACH OF CONTRACT (BASED ON LOUISIANA
    LAW) ........................................................................................................ 432
COUNT 108 BREACH OF WARRANTY AGAINST REDHIBITORY
    DEFECTS (LA. CIV. CODE 2520) ......................................................... 433
COUNT 109 FRAUDULENT CONCEALMENT (BASED ON
    LOUISIANA LAW) ................................................................................. 434
COUNT 110 ........................................................................................................ 440

                                                         -x-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2040          Page 12 of 990




NEGLIGENT MISREPRESENTATION ........................................................... 440
COUNT 111 UNJUST ENRICHMENT............................................................. 441
                  Claims brought on behalf of the Maine Subclass .......................... 442
COUNT 112 VIOLATION OF THE MAINE UNFAIR TRADE
    PRACTICES ACT (ME. REV. STAT. ANN. TIT. 5, § 205-A
    ET SEQ.) ................................................................................................... 442
COUNT 113 BREACH OF CONTRACT (BASED ON MAINE LAW) ......... 445
COUNT 114 BREACH OF EXPRESS WARRANTY (ME. REV. STAT.
    ANN. § 2-313) .......................................................................................... 447
COUNT 115 FRAUDULENT CONCEALMENT (BASED ON MAINE
    LAW) ........................................................................................................ 450
COUNT 116 ........................................................................................................ 456
NEGLIGENT MISREPRESENTATION ........................................................... 456
COUNT 117 UNJUST ENRICHMENT............................................................. 456
                  Claims Brought on Behalf of the Maryland Subclass .................... 457
COUNT 118 VIOLATION OF THE MARYLAND CONSUMER
    PROTECTION ACT (MD. CODE ANN., COM. LAW § 13-101
    ET SEQ.) ................................................................................................... 457
COUNT 119 BREACH OF CONTRACT (BASED ON MARYLAND
    LAW) ........................................................................................................ 461
COUNT 120 BREACH OF EXPRESS WARRANTY (MD. CODE
    COM. LAW § 2-313) ............................................................................... 462
COUNT 121 FRAUDULENT CONCEALMENT (BASED ON
    MARYLAND LAW) ................................................................................ 465
COUNT 122 ........................................................................................................ 471
NEGLIGENT MISREPRESENTATION ........................................................... 471
COUNT 123 UNJUST ENRICHMENT............................................................. 471
                  Claims brought on behalf of the Massachusetts Subclass ............. 472



                                                        - xi -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2041          Page 13 of 990




COUNT 124 VIOLATION OF THE MASSACHUSETTS GENERAL
    LAW CHAPTER 93(A) (MASS. GEN. LAWS CH. 93A, § 1,
    ET SEQ.) ................................................................................................... 472
COUNT 125 BREACH OF CONTRACT (BASED ON
    MASSACHUSETTS LAW) ..................................................................... 476
COUNT 126 BREACH OF EXPRESS WARRANTY (MASS. GEN.
    LAWS CH. 106, § 2-313) ......................................................................... 478
COUNT 127 FRAUDULENT CONCEALMENT (BASED ON
    MASSACHUSETTS LAW) ..................................................................... 482
COUNT 128 ........................................................................................................ 488
NEGLIGENT MISREPRESENTATION ........................................................... 488
COUNT 129 UNJUST ENRICHMENT............................................................. 488
                  Claims Brought on Behalf of the Michigan Subclass .................... 489
COUNT 130 VIOLATION OF THE MICHIGAN CONSUMER
    PROTECTION ACT (MICH. COMP. LAWS § 445.903 ET SEQ.) ....... 489
COUNT 131 BREACH OF CONTRACT (BASED ON MICHIGAN
    LAW) ........................................................................................................ 493
COUNT 132 BREACH OF EXPRESS WARRANTY (MICH. COMP.
    LAWS ANN. 440.2313 AND 440.2860) ................................................. 495
COUNT 133 FRAUDULENT CONCEALMENT (BASED ON
    MICHIGAN LAW) .................................................................................. 499
COUNT 134 ........................................................................................................ 504
NEGLIGENT MISREPRESENTATION ........................................................... 504
COUNT 135 UNJUST ENRICHMENT............................................................. 505
                  Claims Brought on Behalf of the Minnesota Subclass .................. 506
COUNT 136 VIOLATION OF THE MINNESOTA PREVENTION OF
    CONSUMER FRAUD ACT (MINN. STAT. § 325F.68 ET SEQ.)......... 506




                                                        - xii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2042          Page 14 of 990




COUNT 137 VIOLATION OF THE MINNESOTA DECEPTIVE
    TRADE PRACTICES ACT (MINN. STAT. § 325D.43-48
    ET SEQ.) ................................................................................................... 510
COUNT 138 BREACH OF CONTRACT (BASED ON MINNESOTA
    LAW) ........................................................................................................ 513
COUNT 139 BREACH OF EXPRESS WARRANTY (MINN. STAT. §
    336.2-313, AND § 336.2A-210)............................................................... 515
COUNT 140 FRAUDULENT CONCEALMENT (BASED ON
    MINNESOTA LAW) ............................................................................... 519
COUNT 141 ........................................................................................................ 524
NEGLIGENT MISREPRESENTATION ........................................................... 524
COUNT 142 UNJUST ENRICHMENT............................................................. 525
                  Claims brought on behalf of the Mississippi Subclass .................. 526
COUNT 143 VIOLATION OF THE MISSISSIPPI CONSUMER
    PROTECTION ACT (MISS. CODE. ANN. § 75-24-1 ET SEQ.) ........... 526
COUNT 144 BREACH OF CONTRACT (BASED ON MISSISSIPPI
    LAW) ........................................................................................................ 530
COUNT 145 BREACH OF EXPRESS WARRANTY (MISS. CODE §
    75-2-313 AND MISS. CODE § 75-2A-210)............................................ 531
COUNT 146 FRAUDULENT CONCEALMENT (BASED ON
    MISSISSIPPI LAW)................................................................................. 535
COUNT 147 ........................................................................................................ 541
NEGLIGENT MISREPRESENTATION ........................................................... 541
COUNT 148 UNJUST ENRICHMENT............................................................. 542
                  Claims Brought on Behalf of the Missouri Subclass ..................... 543
COUNT 149 VIOLATION OF THE MISSOURI MERCHANDISING
    PRACTICES ACT (MO. REV. STAT. § 407.010, ET SEQ.) ................. 543
COUNT 150 BREACH OF CONTRACT (BASED ON MISSOURI
    LAW) ........................................................................................................ 547


                                                       - xiii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2043          Page 15 of 990




COUNT 151 BREACH OF EXPRESS WARRANTY (MO. STAT. §
    400.2-313, AND § 400.2A-210)............................................................... 549
COUNT 152 FRAUDULENT CONCEALMENT (BASED ON
    MISSOURI LAW) .................................................................................... 553
COUNT 153 ........................................................................................................ 558
NEGLIGENT MISREPRESENTATION ........................................................... 558
COUNT 154 UNJUST ENRICHMENT............................................................. 559
                  Claims Brought on Behalf of the Montana Subclass ..................... 560
COUNT 155 VIOLATION OF THE MONTANA UNFAIR TRADE
    PRACTICES AND CONSUMER PROTECTION ACT OF 1973
    (MONT. CODE ANN. § 30-14-101 ET SEQ.) ........................................ 560
COUNT 156 BREACH OF CONTRACT (BASED ON MONTANA
    LAW) ........................................................................................................ 564
COUNT 157 BREACH OF EXPRESS WARRANTY (MONT. CODE
    ANN. § 30-2-313) ..................................................................................... 565
COUNT 158 FRAUDULENT CONCEALMENT (BASED ON
    MONTANA LAW) .................................................................................. 568
COUNT 159 ........................................................................................................ 574
NEGLIGENT MISREPRESENTATION ........................................................... 574
COUNT 160 UNJUST ENRICHMENT............................................................. 574
                  Claims Brought on Behalf of the Nebraska Subclass .................... 575
COUNT 161 VIOLATION OF THE NEBRASKA CONSUMER
    PROTECTION ACT (NEB. REV. STAT. § 59-1601 ET SEQ.) ............. 575
COUNT 162 BREACH OF CONTRACT (BASED ON NEBRASKA
    LAW) ........................................................................................................ 579
COUNT 163 BREACH OF EXPRESS WARRANTY (NEB. REV.
    STAT. (U.C.C.) § 2-313) .......................................................................... 580
COUNT 164 FRAUDULENT CONCEALMENT (BASED ON
    NEBRASKA LAW) ................................................................................. 583


                                                       - xiv -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2044          Page 16 of 990




COUNT 165 ........................................................................................................ 589
NEGLIGENT MISREPRESENTATION ........................................................... 589
COUNT 166 UNJUST ENRICHMENT............................................................. 589
                  Claims Brought on Behalf of the Nevada Subclass ....................... 590
COUNT 167 VIOLATION OF THE NEVADA DECEPTIVE TRADE
    PRACTICES ACT (NEV. REV. STAT. § 598.0903 ET SEQ.) .............. 590
COUNT 168 BREACH OF CONTRACT (BASED ON NEVADA
    LAW) ........................................................................................................ 594
COUNT 169 BREACH OF EXPRESS WARRANTY (NEV. REV.
    STAT. § 104.2313) ................................................................................... 596
COUNT 170 FRAUDULENT CONCEALMENT (BASED ON
    NEVADA LAW) ...................................................................................... 599
COUNT 171 ........................................................................................................ 604
NEGLIGENT MISREPRESENTATION ........................................................... 604
COUNT 172 UNJUST ENRICHMENT............................................................. 605
                  Claims brought on behalf of the New Hampshire Subclass .......... 606
COUNT 173 VIOLATION OF THE NEW HAMPSHIRE CONSUMER
    PROTECTION ACT (N.H. REV. STAT. ANN. § 358-A:1
    ET SEQ.) ................................................................................................... 606
COUNT 174 BREACH OF CONTRACT (BASED ON NEW
    HAMPSHIRE LAW) ................................................................................ 610
COUNT 175 BREACH OF EXPRESS WARRANTY (N.H. REV.
    STAT. ANN. 382-A:2-313)...................................................................... 611
COUNT 176 FRAUDULENT CONCEALMENT (BASED ON NEW
    HAMPSHIRE LAW) ................................................................................ 614
COUNT 177 ........................................................................................................ 620
NEGLIGENT MISREPRESENTATION ........................................................... 620
COUNT 178 UNJUST ENRICHMENT............................................................. 621



                                                        - xv -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2045          Page 17 of 990




                  Claims Brought on Behalf of the New Jersey Subclass ................. 622
COUNT 179 VIOLATION OF THE NEW JERSEY CONSUMER
    FRAUD ACT (N.J. STAT. ANN. § 56:8-1 ET SEQ.) ............................. 622
COUNT 180 BREACH OF CONTRACT (BASED ON NEW JERSEY
    LAW) ........................................................................................................ 626
COUNT 181 BREACH OF EXPRESS WARRANTY (N.J. STAT. §
    12A:2-313) ................................................................................................ 627
COUNT 182 FRAUDULENT CONCEALMENT (BASED ON NEW
    JERSEY LAW) ......................................................................................... 630
COUNT 183 ........................................................................................................ 635
NEGLIGENT MISREPRESENTATION ........................................................... 635
COUNT 184 UNJUST ENRICHMENT............................................................. 636
                  Claims brought on behalf of the New Mexico Subclass ................ 637
COUNT 185 VIOLATION OF THE NEW MEXICO UNFAIR TRADE
    PRACTICES ACT (N.M. STAT. ANN. § 57-12-1 ET SEQ.) ................. 637
COUNT 186 BREACH OF CONTRACT (BASED ON NEW MEXICO
    LAW) ........................................................................................................ 641
COUNT 187 BREACH OF EXPRESS WARRANTY (N.M. STAT.
    ANN. § 55-2-313) ..................................................................................... 642
COUNT 188 FRAUDULENT CONCEALMENT (BASED ON NEW
    MEXICO LAW) ....................................................................................... 645
COUNT 189 ........................................................................................................ 651
NEGLIGENT MISREPRESENTATION ........................................................... 651
COUNT 190 UNJUST ENRICHMENT............................................................. 651
                  Claims Brought on Behalf of the New York Subclass................... 652
COUNT 191 VIOLATION OF THE NEW YORK GENERAL
    BUSINESS LAW (N.Y. GEN. BUS. LAW § 349) ................................. 652
COUNT 192 VIOLATION OF THE NEW YORK GENERAL
    BUSINESS LAW (N.Y. GEN. BUS. LAW § 350) ................................. 654

                                                       - xvi -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                               PageID.2046           Page 18 of 990




COUNT 193 BREACH OF CONTRACT (BASED ON NEW YORK
    LAW) ........................................................................................................ 656
COUNT 194 BREACH OF EXPRESS WARRANTY (N.Y.U.C.C. § 2-
    313) ........................................................................................................... 658
COUNT 195 FRAUDULENT CONCEALMENT (BASED ON NEW
    YORK LAW)............................................................................................ 661
COUNT 196 ........................................................................................................ 666
NEGLIGENT MISREPRESENTATION ........................................................... 666
COUNT 197 UNJUST ENRICHMENT............................................................. 667
                  Claims Brought on Behalf of the North Carolina Subclass ........... 668
COUNT 198 VIOLATION OF THE NORTH CAROLINA UNFAIR
    AND DECEPTIVE ACTS AND PRACTICES ACT (N.C. GEN.
    STAT. § 75-1.1 ET SEQ.)......................................................................... 668
COUNT 199 BREACH OF CONTRACT (BASED ON NORTH
    CAROLINA LAW) .................................................................................. 672
COUNT 200 BREACH OF EXPRESS WARRANTY (N.C. GEN.
    STAT. § 25-2-313) ................................................................................... 674
COUNT 201 FRAUDULENT CONCEALMENT (BASED ON NORTH
    CAROLINA LAW) .................................................................................. 677
COUNT 202 ........................................................................................................ 683
NEGLIGENT MISREPRESENTATION ........................................................... 683
COUNT 203 UNJUST ENRICHMENT............................................................. 684
                  Claims brought on behalf of the North Dakota Subclass ............... 685
COUNT 204 VIOLATION OF THE NORTH DAKOTA CONSUMER
    FRAUD ACT (N.D. CENT. CODE § 51-15-02) ..................................... 685
COUNT 205 BREACH OF CONTRACT (BASED ON NORTH
    DAKOTA LAW) ...................................................................................... 689
COUNT 206 BREACH OF EXPRESS WARRANTY (N.D. CENT.
    CODE § 41-02-30) ................................................................................... 690


                                                        - xvii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2047          Page 19 of 990




COUNT 207 FRAUDULENT CONCEALMENT (BASED ON NORTH
    DAKOTA LAW) ...................................................................................... 693
COUNT 208 ........................................................................................................ 699
NEGLIGENT MISREPRESENTATION ........................................................... 699
COUNT 209 UNJUST ENRICHMENT............................................................. 699
                  Claims Brought on Behalf of the Ohio Subclass ........................... 700
COUNT 210 VIOLATION OF THE OHIO CONSUMER SALES
    PRACTICES ACT (OHIO REV. CODE ANN. § 1345.01
    ET SEQ.) ................................................................................................... 700
COUNT 211 BREACH OF CONTRACT (BASED ON OHIO LAW) ............. 706
COUNT 212 BREACH OF EXPRESS WARRANTY (OHIO REV.
    CODE ANN. § 1302.26) .......................................................................... 707
COUNT 213 FRAUDULENT CONCEALMENT (BASED ON OHIO
    LAW) ........................................................................................................ 710
COUNT 214 ........................................................................................................ 715
NEGLIGENT MISREPRESENTATION ........................................................... 715
COUNT 215 UNJUST ENRICHMENT............................................................. 716
                  Claims Brought on Behalf of the Oklahoma Subclass ................... 717
COUNT 216 VIOLATION OF THE OKLAHOMA CONSUMER
    PROTECTION ACT (OKLA. STAT. TIT. 15, § 751 ET SEQ.) ............. 717
COUNT 217 BREACH OF CONTRACT (BASED ON OKLAHOMA
    LAW) ........................................................................................................ 720
COUNT 218 BREACH OF EXPRESS WARRANTY (12A OKA. STAT.
    § 2-313) ..................................................................................................... 722
COUNT 219 FRAUDULENT CONCEALMENT (BASED ON
    OKLAHOMA LAW)................................................................................ 724
COUNT 220 ........................................................................................................ 730
NEGLIGENT MISREPRESENTATION ........................................................... 730



                                                      - xviii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2048          Page 20 of 990




COUNT 221 UNJUST ENRICHMENT............................................................. 731
                  Claims Brought on Behalf of the Oregon Subclass ....................... 732
COUNT 222 VIOLATION OF THE OREGON UNLAWFUL TRADE
    PRACTICES ACT (OR. REV. STAT. § 646.605 ET SEQ.) ................... 732
COUNT 223 BREACH OF CONTRACT (BASED ON OREGON
    LAW) ........................................................................................................ 736
COUNT 224 BREACH OF EXPRESS WARRANTY (OR. REV. STAT.
    § 72.3130) ................................................................................................. 737
COUNT 225 FRAUDULENT CONCEALMENT (BASED ON
    OREGON LAW) ...................................................................................... 740
COUNT 226 ........................................................................................................ 746
NEGLIGENT MISREPRESENTATION ........................................................... 746
COUNT 227 UNJUST ENRICHMENT............................................................. 746
                  Claims Brought on Behalf of the Pennsylvania Subclass .............. 747
COUNT 228 VIOLATION OF THE PENNSYLVANIA UNFAIR
    TRADE PRACTICES AND CONSUMER PROTECTION LAW
    (73 PA. CONS. STAT. § 201-1 ET SEQ.) ............................................... 747
COUNT 229 BREACH OF CONTRACT (BASED ON
    PENNSYLVANIA LAW) ........................................................................ 752
COUNT 230 BREACH OF EXPRESS WARRANTY (13 PA. STAT.
    ANN. § 2313) ........................................................................................... 753
COUNT 231 FRAUDULENT CONCEALMENT (BASED ON
    PENNSYLVANIA LAW) ........................................................................ 756
COUNT 232 ........................................................................................................ 762
NEGLIGENT MISREPRESENTATION ........................................................... 762
COUNT 233 UNJUST ENRICHMENT............................................................. 762
                  Claims brought on behalf of the Rhode Island Subclass ............... 763




                                                       - xix -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2049          Page 21 of 990




COUNT 234 VIOLATION OF THE RHODE ISLAND UNFAIR
    TRADE PRACTICES AND CONSUMER PROTECTION ACT
    (R.I. GEN. LAWS § 6-13.1 ET SEQ.)...................................................... 763
COUNT 235 BREACH OF CONTRACT (BASED ON RHODE
    ISLAND LAW) ........................................................................................ 767
COUNT 236 BREACH OF EXPRESS WARRANTY (R.I. GEN. LAWS
    § 6A-2-313) .............................................................................................. 769
COUNT 237 FRAUDULENT CONCEALMENT (BASED ON RHODE
    ISLAND LAW) ........................................................................................ 772
COUNT 238 ........................................................................................................ 778
NEGLIGENT MISREPRESENTATION ........................................................... 778
COUNT 239 UNJUST ENRICHMENT............................................................. 778
                  Claims Brought on Behalf of the South Carolina Subclass ........... 779
COUNT 240 VIOLATION OF THE SOUTH CAROLINA UNFAIR
    TRADE PRACTICES ACT (S.C. CODE ANN. § 39-5-10
    ET SEQ.) ................................................................................................... 779
COUNT 241 VIOLATION OF THE SOUTH CAROLINA
    REGULATION OF MANUFACTURERS, DISTRIBUTORS,
    AND DEALERS ACT (S.C. CODE ANN. § 56-15-10 ET SEQ.) .......... 783
COUNT 242 BREACH OF CONTRACT (BASED ON SOUTH
    CAROLINA LAW) .................................................................................. 786
COUNT 243 BREACH OF EXPRESS WARRANTY (S.C. CODE ANN.
    § 36-2-313) ............................................................................................... 787
COUNT 244 FRAUDULENT CONCEALMENT (BASED ON SOUTH
    CAROLINA LAW) .................................................................................. 790
COUNT 245 ........................................................................................................ 796
NEGLIGENT MISREPRESENTATION ........................................................... 796
COUNT 246 UNJUST ENRICHMENT............................................................. 796
                  Claims Brought on Behalf of the South Dakota Subclass ............. 797



                                                        - xx -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2050          Page 22 of 990




COUNT 247 VIOLATION OF THE SOUTH DAKOTA DECEPTIVE
    TRADE PRACTICES AND CONSUMER PROTECTION LAW
    (S.D. CODIFIED LAWS § 37-24-6) ........................................................ 797
COUNT 248 BREACH OF CONTRACT (BASED ON SOUTH
    DAKOTA LAW) ...................................................................................... 801
COUNT 249 BREACH OF EXPRESS WARRANTY (S.D. CODIFIED
    LAWS § 57A-2-313) ................................................................................ 803
COUNT 250 FRAUDULENT CONCEALMENT (BASED ON SOUTH
    DAKOTA LAW) ...................................................................................... 805
COUNT 251 ........................................................................................................ 811
NEGLIGENT MISREPRESENTATION ........................................................... 811
COUNT 252 UNJUST ENRICHMENT............................................................. 812
                  Claims Brought on Behalf of the Tennessee Subclass ................... 813
COUNT 253 VIOLATION OF THE TENNESSEE CONSUMER
    PROTECTION ACT (TENN. CODE § 47-18-101, ET SEQ.) ................ 813
COUNT 254 BREACH OF CONTRACT (BASED ON TENNESSEE
    LAW) ........................................................................................................ 817
COUNT 255 BREACH OF EXPRESS WARRANTY (TENN. CODE
    ANN. § 47-2-313) ..................................................................................... 818
COUNT 256 FRAUDULENT CONCEALMENT (BASED ON
    TENNESSEE LAW) ................................................................................ 821
COUNT 257 ........................................................................................................ 827
NEGLIGENT MISREPRESENTATION ........................................................... 827
COUNT 258 UNJUST ENRICHMENT............................................................. 827
                  Claims Brought on Behalf of the Texas Subclass .......................... 828
COUNT 259 VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
    PRACTICES AND CONSUMER PROTECTION ACT (TEX.
    BUS. & COM. CODE § 17.4 ET SEQ.) ................................................... 828
COUNT 260 BREACH OF CONTRACT (BASED ON TEXAS LAW) ......... 833


                                                       - xxi -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2051          Page 23 of 990




COUNT 261 BREACH OF EXPRESS WARRANTY (TEX. BUS. &
    COM. CODE § 2.313) .............................................................................. 835
COUNT 262 FRAUDULENT CONCEALMENT (BASED ON TEXAS
    LAW) ........................................................................................................ 838
COUNT 263 ........................................................................................................ 843
NEGLIGENT MISREPRESENTATION ........................................................... 843
COUNT 264 UNJUST ENRICHMENT............................................................. 844
                  Claims Brought on Behalf of the Utah Subclass............................ 845
COUNT 265 VIOLATION OF THE UTAH CONSUMER SALE
    PRACTICES ACT (UTAH CODE ANN. § 13-11-1 ET SEQ.) .............. 845
COUNT 266 BREACH OF CONTRACT (BASED ON UTAH LAW) ........... 849
COUNT 267 BREACH OF EXPRESS WARRANTY (UTAH CODE
    ANN. § 70A-2-313) .................................................................................. 850
COUNT 268 FRAUDULENT CONCEALMENT (BASED ON UTAH
    LAW) ........................................................................................................ 853
COUNT 269 ........................................................................................................ 859
NEGLIGENT MISREPRESENTATION ........................................................... 859
COUNT 270 UNJUST ENRICHMENT............................................................. 859
                  Claims brought on behalf of the Vermont Subclass ...................... 860
COUNT 271 VIOLATION OF THE VERMONT CONSUMER FRAUD
    ACT (VT. STAT. ANN. TIT. 9, § 2451 ET SEQ.) .................................. 860
COUNT 272 BREACH OF CONTRACT (BASED ON VERMONT
    LAW) ........................................................................................................ 864
COUNT 273 BREACH OF EXPRESS WARRANTY (9A VT. STAT.
    ANN. § 2-313) .......................................................................................... 865
COUNT 274 FRAUDULENT CONCEALMENT (BASED ON
    VERMONT LAW) ................................................................................... 868
COUNT 275 ........................................................................................................ 874



                                                       - xxii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2052          Page 24 of 990




NEGLIGENT MISREPRESENTATION ........................................................... 874
COUNT 276 UNJUST ENRICHMENT............................................................. 874
                  Claims Brought on Behalf of the Virginia Subclass ...................... 875
COUNT 277 VIOLATION OF THE VIRGINIA CONSUMER
    PROTECTION ACT (VA. CODE ANN. § 59.1-196 ET SEQ.) .............. 875
COUNT 278 BREACH OF CONTRACT (BASED ON VIRGINIA
    LAW) ........................................................................................................ 879
COUNT 279 BREACH OF EXPRESS WARRANTY (VA. CODE ANN.
    § 8.2-313) .................................................................................................. 881
COUNT 280 FRAUDULENT CONCEALMENT (BASED ON
    VIRGINIA LAW) ..................................................................................... 883
COUNT 281 ........................................................................................................ 889
NEGLIGENT MISREPRESENTATION ........................................................... 889
COUNT 282 UNJUST ENRICHMENT............................................................. 890
                  Claims Brought on Behalf of the Washington Subclass ................ 891
COUNT 283 VIOLATION OF THE WASHINGTON CONSUMER
    PROTECTION ACT (WASH. REV. CODE ANN. § 19.86.010
    ET SEQ.) ................................................................................................... 891
COUNT 284 BREACH OF CONTRACT (BASED ON WASHINGTON
    LAW) ........................................................................................................ 895
COUNT 285 BREACH OF EXPRESS WARRANTY (WASH. REV.
    CODE § 62A.2-313) ................................................................................. 896
COUNT 286 FRAUDULENT CONCEALMENT (BASED ON
    WASHINGTON LAW) ............................................................................ 899
COUNT 287 ........................................................................................................ 905
NEGLIGENT MISREPRESENTATION ........................................................... 905
COUNT 288 UNJUST ENRICHMENT............................................................. 905
                  Claims brought on behalf of the West Virginia Subclass .............. 906



                                                      - xxiii -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2053          Page 25 of 990




COUNT 289 VIOLATION OF THE WEST VIRGINIA CONSUMER
    CREDIT AND PROTECTION ACT (W. VA. CODE § 46A-1-101
    ET SEQ.) ................................................................................................... 906
COUNT 290 BREACH OF CONTRACT (BASED ON WEST
    VIRGINIA LAW) ..................................................................................... 911
COUNT 291 BREACH OF EXPRESS WARRANTY (W. VA. CODE §
    46-2-313) .................................................................................................. 913
COUNT 292 FRAUDULENT CONCEALMENT (BASED ON WEST
    VIRGINIA LAW) ..................................................................................... 916
COUNT 293 ........................................................................................................ 922
NEGLIGENT MISREPRESENTATION ........................................................... 922
COUNT 294 UNJUST ENRICHMENT............................................................. 922
                  Claims Brought on Behalf of the Wisconsin Subclass .................. 923
COUNT 295 VIOLATION OF THE WISCONSIN DECEPTIVE
    TRADE PRACTICES ACT (WIS. STAT. § 110.18) .............................. 923
COUNT 296 BREACH OF CONTRACT (BASED ON WISCONSIN
    LAW) ........................................................................................................ 927
COUNT 297 BREACH OF EXPRESS WARRANTY (WIS. STAT. §
    402.313) .................................................................................................... 928
COUNT 298 FRAUDULENT CONCEALMENT (BASED ON
    WISCONSIN LAW)................................................................................. 931
COUNT 299 ........................................................................................................ 937
NEGLIGENT MISREPRESENTATION ........................................................... 937
COUNT 300 UNJUST ENRICHMENT............................................................. 937
                  Claims brought on behalf of the Wyoming Subclass ..................... 938
COUNT 301 VIOLATION OF THE WYOMING CONSUMER
    PROTECTION ACT (WYO. STAT. § 40-12-105 ET SEQ.) .................. 938
COUNT 302 BREACH OF CONTRACT (BASED ON WYOMING
    LAW) ........................................................................................................ 942


                                                      - xxiv -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                              PageID.2054          Page 26 of 990




COUNT 303 BREACH OF EXPRESS WARRANTY (WYO. STAT. §
    34.1-2-313) ............................................................................................... 943
COUNT 304 FRAUDULENT CONCEALMENT (BASED ON
    WYOMING LAW)................................................................................... 946
COUNT 305 ........................................................................................................ 952
NEGLIGENT MISREPRESENTATION ........................................................... 952
COUNT 306 UNJUST ENRICHMENT............................................................. 952
                  Claims Brought on Behalf of the Nationwide Class ...................... 953
COUNT 307 VIOLATION OF THE MAGNUSSON-MOSS
    WARRANTY ACT (15 U.S.C. §§ 2301 ET SEQ.) ................................. 953
COUNT 308 BREACH OF EXPRESS WARRANTY ...................................... 957
COUNT 309 FRAUD ......................................................................................... 958
COUNT 310 NEGLIGENT MISREPRESENTATION ..................................... 959
COUNT 311 UNJUST ENRICHMENT............................................................. 959
REQUEST FOR RELIEF ................................................................................... 960
DEMAND FOR JURY TRIAL .......................................................................... 961




                                                       - xxv -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2055      Page 27 of 990




      The allegations herein are based on Plaintiffs’ personal knowledge and allege

the following based upon the investigation of counsel, the review of scientific

papers, and the proprietary investigation of experts.

                                    INTRODUCTION

      1.     Car makers know that one of the most important factors for a consumer

purchasing a vehicle is fuel economy. With vehicle purchases and leases among the

largest transactions most consumers will carry out in their lifetime, consumers trust

the fuel economy rating displayed in a vehicle’s window sticker to help them make

important financial decisions.

      2.     This case arises because Defendant Ford Motor Company (“Ford”)

cheated on its fuel economy testing on some of its best-selling and most popular

trucks. Ford then used its inaccurate fuel economy ratings on the window stickers to

sell and lease these trucks to consumers. Over a million Ford truck owners are now

driving vehicles that will cost them thousands of dollars more to own or lease than

they anticipated. Because of Ford’s deception, all purchasers and lessees of these

vehicles paid more for these vehicles than they are actually worth.

      3.     Plaintiffs bring this class action for a Class defined as:

             All persons who purchased or leased a Ford vehicle whose
             published EPA fuel economy ratings, as printed on the
             vehicles’ window sticker, were more than the fuel
             economy rating produced by a properly conducted
             applicable federal mileage test. The vehicles in the Class
             include but are not limited to the model year 2019 and


                                         -1-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2056   Page 28 of 990




             2020 Ford Ranger and the 2018, 2019, and 2020 Ford F-
             150.

        4.   These vehicles are hereinafter referred to as the “Coastdown Cheating

Vehicles” and include the 2019 and 2020 Ford Ranger and the 2018, 2019, and 2020

F-150 series trucks, and likely also include other Ford vehicles.

        5.   A Coastdown test is a procedure that determines metrics used to

calculate a vehicle’s fuel economy values or “MPG Rating” (miles per gallon).

Coastdown testing tells a manufacturer how much rolling resistance and drag a

vehicle has so that when a vehicle is testing on a dynamometer, the manufacturer

knows how much drag and rolling resistance to apply to the vehicle to simulate the

road.

        6.   Ford fudged its coastdown testing and used inaccurate drag and

resistance figures to boost the vehicles’ “EPA” (Environmental Protection Agency)

mileage ratings.

        7.   On the window sticker of every Ford F-150 and Ford Ranger are EPA-

required indications of fuel economy including city and highway mileage, miles per

gallon, and a combined city and highway miles per gallon statement.

        8.   Ford knows that fuel economy is material to consumers.

        9.   Testing of the 2018 F-150 using the mandated coastdown procedure

reveals that Ford did not follow appropriate coastdown testing procedures. The

window sticker or “Monroney sticker” for a 2018 Ford F-150 V6 indicates mileage


                                        -2-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2057     Page 29 of 990




of 20 city, 26 highway, and 22 combined. Accurate coastdown testing of a 2018

Ford F-150 V6 reveals the following: The real highway fuel number is 22.7 MPG

compared to 26.6 reported by Ford to the EPA. For city driving it is 17.7 MPG

compared to 19.6 reported to the EPA. Thus, the highway fuel difference is 15%

and the city difference 10%. Assuming the lifetime of a truck is 150,000 miles, at

the real city miles per gallon rates, city driving would consume an extra 821 gallons

over the lifetime of the truck. The highway extra fuel (extra means real MPG versus

Ford’s reported MPG) is 968 gallons.

      10.    These are material differences as manufacturers fight for every 1/10th

of a difference in miles per gallon both to attract customers and to earn credits under

the applicable environmental emissions regulations.

      11.    Ford’s motives in overstating vehicle miles per gallon were: (1) to

advertise the vehicles as “Best in Class” for fuel economy or to advertise a fuel

economy that would beat the competition and/or be attractive to consumers, (2) to

attract customers based on fuel economy ratings, and (3) to earn more credits for

Ford under the U.S. CAFE environmental regulations since less fuel burned means

less emission.

      12.    Ford has admitted that the 2019 Ranger is just the first model that is

being investigated by the government for improper coastdown testing. As explained

herein, Plaintiffs’ testing of the 2018 F-150 reveals similar coastdown cheating.



                                         -3-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2058    Page 30 of 990




       13.   Ford sold approximately 1 million 2018 and 2019 F-150s. The extra

fuel costs, with the same assumptions above, for all 2018 and 2019 F-150s would be

approximately $2.32 billion for city driving, $2.09 billion highway, and $1.9 billion

combined.

       14.   The 2018, 2019, and 2020 F-150 are virtually identical in engine and

body configuration. In fact, on its applications to certify fuel economy ratings and

emissions certifications for the 2019 and 2020 F-150, Ford used the same vehicle

serial numbers and presented the same emissions test numbers to the EPA as it did

for the 2018 F-150 application. Likewise, the 2020 Ranger is virtually identical in

engine and body configuration to the 2019 Ranger and Ford has used the same

vehicle serial number and presented the same emissions test numbers to the EPA as

it did for the 2019 Ranger application.

       15.   Ford deliberately misrepresented or miscalculated certain road testing

factors during internal vehicle testing processes in order to report that its vehicles

were more fuel efficient than they actually were. In particular, Ford miscalculated

something called “Road Load,” which is the force that is imparted on a vehicle while

driving at a constant speed over a smooth, level surface from sources such as tire

rolling resistance, driveline losses, and aerodynamic drag.1 Ford’s internal lab tests



   1
    See Exhibit 1, Determination and Use of Vehicle Road-Load Force and
Dynamometer Settings, United States Environmental Protection Agency (Feb. 23,

                                          -4-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2059    Page 31 of 990




did not account for these forces, which lead to better—and entirely inaccurate—fuel

economy projections.

      16.   Despite Ford’s own employees questioning its testing practices and the

calculations that Ford was utilizing for fuel economy ratings, at least by September

2018,2 Ford took no action to correct the problems nor to alert consumers that their

test methods were flawed and that consumers would not get the promised fuel

economy.

      17.   With respect to its 2019 Ford Ranger, Ford promised that its midsize

truck “will deliver with durability, capability and fuel efficiency, while also

providing in-city maneuverability and the freedom desired by many midsize pickup

truck buyers to go off the grid.”3 Ford also claimed that its “All-New Ford Ranger

[was] Rated Most Fuel Efficient Gas-Powered Midsize Pickup in America.”4 “With


2015), https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34102&flag=1 (last
visited Aug. 11, 2020).
    2
      Exhibit 2, Natasha Singer, Ford is Investigating Emissions and Fuel Efficiency
Data, The New York Times (Feb. 21, 2019),
https://www.nytimes.com/2019/02/21/business/ford-emissions.html?module=inline
(last visited Aug. 11, 2020).
    3
      Exhibit 3, 2019 Ford Ranger Most Fuel-Efficient in its Class, Because Of
Course It Is, The Newswheel (Dec. 21, 2018), https://thenewswheel.com/2019-ford-
ranger-most-fuel-efficient/ (last visited Aug. 11, 2020) (“Statement from Todd
Eckert, Ford Truck Group’s Marketing Manager”).
    4
      Exhibit 4, Adventure Further: All-New Ford Ranger Rated Most Fuel-Efficient
Gas-Powered Midsize Pickup in America, Ford Media Center (Dec. 11, 2018),
https://media.ford.com/content/fordmedia/fna/us/en/news/2018/12/11/ford-ranger-
rated-most-fuel-efficient-gas-powered-midsize-pickup.html (last visited Aug. 11,
2020).

                                       -5-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2060    Page 32 of 990




EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg highway and 23 mpg

combined, 2019 Ford Ranger is the most fuel efficient gas-powered midsize pickup

in America.”5 Ford claimed the 2019 Ranger “is the no-compromise choice for

power, technology, capability, and efficiency whether the path is on road or off.”6

       18.   Ford knew that to sell the Ranger, it had to tout it had fuel efficiency,

and this promise was material to consumers.

       19.   There is no question that Ford used the fuel efficiency ratings as a

selling tool to entice consumers into purchasing the 2019 Ford Ranger. Indeed, Ford

promised that “[t]he adventure-ready 2019 Ford Ranger is the most fuel-efficient

gas-powered midsize pickup in America—providing a superior EPA-estimated city

fuel economy rating and an unsurpassed EPA-estimated combined fuel economy

rating versus the competition. The all-new Ranger has earned EPA-estimated fuel

economy ratings of 21 mpg city, 26 mpg highway and 23 mpg combined for 4x2

trucks.”7 Ford claimed that “[t]his is the best-in-class EPA-estimated city fuel

economy rating of any gasoline-powered four-wheel-drive midsize pickup and it is

an unsurpassed EPA-estimated combined fuel economy rating.”8




   5
     Id.
   6
     Id.
   7
     Id.
   8
     Id.

                                        -6-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2061     Page 33 of 990




      20.    Fuel economy was also used as a tool to entice customers to buy the

Ford F-150. Ford promised that certain of the 2018 F-150s were “best in class” for

fuel economy, or promised certain city, highway and combined fuel miles per gallon

for other F-150 models that were robust enough that Ford believed would make them

attractive to consumers.

      21.    In contrast to Ford’s promises, as noted above, scientifically valid

testing has revealed that the vehicles (i) are not as fuel efficient as promised; (ii) are

not what a reasonable consumer would expect; and (iii) are not what Ford had

advertised. Further, the vehicles’ promised power, fuel economy and efficiency, and

towing capacity are obtained only by altering the testing calculations.

      22.    Ford’s representations are deceptive and false, and Ford sold its 2019

and 2020 Ford Rangers and 2018, 2019, and 2020 F-150 models while omitting

information that would be material to a reasonable consumer; namely, that Ford

miscalculated factors during internal vehicle testing processes in order to report that

its vehicles were more fuel efficient than they actually were, and discounted

common real-world driving conditions.

      23.    Plaintiffs bring this action individually and on behalf of all other current

and former owners or lessees of the Coastdown Cheating Vehicles. Plaintiffs seek

damages, injunctive relief, and equitable relief for Ford’s misconduct related to the




                                          -7-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2062     Page 34 of 990




design, manufacture, marketing, sale, and lease of the Coastdown Cheating

Vehicles, as alleged in this Complaint.

                                      JURISDICTION

      24.    This Court has subject matter jurisdiction over this action under 28

U.S.C. § 1332 because Plaintiffs and Defendant reside in different states. The Court

has supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C.

§ 1367.

      25.    This Court also has original jurisdiction over this lawsuit pursuant to

28 U.S.C. § 1332(a)(1), as modified by the Class Action Fairness Act of 2005,

because Plaintiffs and Defendant are citizens of different states; there are more than

100 members of the Class (as defined herein); the aggregate amount in controversy

exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Class

members reside across the United States 28 U.S.C. § 1332(d)(1), (2). The citizenship

of each party is described further below in the “Parties” section.

      26.    This Court has personal jurisdiction over Ford pursuant to 18 U.S.C.

§ 1965(b) & (d). This Court has personal jurisdiction over Ford because it has its

principal place of business here, minimum contacts with the United States, this

judicial district, and this State, and it intentionally availed itself of the laws of the

United States and this state by conducting a substantial amount of business

throughout the state, including the design, manufacture, distribution, testing, sale,



                                          -8-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20            PageID.2063      Page 35 of 990




lease, and/or warranty of Ford vehicles in this State and District. At least in part

because of Ford’s misconduct as alleged in this lawsuit, the Coastdown Cheating

Vehicles ended up on this state’s roads and in dozens of franchise dealerships.

                                             VENUE

       27.    Venue is proper in this Court under 28 U.S.C. § 1391 because Ford

maintains its principal place of business in this District, because a substantial part of

the events or omissions giving rise to Plaintiffs’ claims occurred in this District,

including, inter alia, Ford’s decision-making, design, promotion, marketing, and

distribution of the Coastdown Cheating Vehicles occurred in this District, and

because Defendant conducts a substantial amount of business in this District.

Accordingly, Defendant has sufficient contacts with this District to subject

Defendant to personal jurisdiction in the District and venue is proper. Venue is also

proper under 18 U.S.C. § 1965(a) because Ford is subject to personal jurisdiction in

this District, as alleged in the preceding paragraph, and Ford has agents located in

this District. Thus, venue is proper in this District for all pre-trial or trial proceedings.

                                            PARTIES

       Plaintiffs

     1.      Alabama Plaintiffs

                 a. William Don Cook

       28.    Plaintiff William Don Cook is an Alabama citizen and resident of

Montgomery, Alabama. On or around March 12, 2019, he purchased a new 2018


                                            -9-
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2064    Page 36 of 990




Ford F-150 Lariat FX4, paying approximately $56,225.92. Plaintiff Cook compared

the alleged fuel efficiency of the F-150 with other similar trucks and selected the F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

          29.   Plaintiff Cook    purchased the new 2018          F-150 with VIN

1FTEW1EG4JKD13378 from Collier Ford, an authorized Ford dealership located

in Wetumpka, Alabama. Plaintiff Cook purchased and still owns this vehicle.

Unbeknownst to Plaintiff Cook at the time the vehicle was purchased, it consumes

more fuel than advertised.

          30.   Plaintiff Cook selected and ultimately purchased his vehicle in part

because of the stated “best in class” fuel economy. Before he purchased the 2018

Ford F-150, Plaintiff Cook saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website, dealer brochures, television

commercials and on the vehicle’s window sticker.

          31.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          32.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.



                                         - 10 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2065    Page 37 of 990




      33.    Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      34.    Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      35.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                   b. Ronald J. Dismukes

      36.    Plaintiff Ronald J. Dismukes is an Alabama citizen and resident of

Eufaula, Alabama. On or around February 20, 2018, he purchased a new 2018 Ford

F-150 SuperCrew XLT, paying approximately $51,148.46. Plaintiff Dismukes

compared the alleged fuel efficiency of the F-150 with other similar trucks and

selected the F-150 truck based in part on Ford’s representations about the vehicle’s

fuel efficiency.




                                        - 11 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2066    Page 38 of 990




          37.   Plaintiff Dismukes purchased the new 2018 F-150 with VIN

1FTEW1EGXJFA56025 from Money Ford, an authorized Ford dealership located

in Abbeville, Alabama. Plaintiff Dismukes purchased and still owns this vehicle.

Unbeknownst to Plaintiff Dismukes at the time the vehicle was purchased, it

consumes more fuel than advertised.

          38.   Plaintiff Dismukes selected and ultimately purchased his vehicle, in

part, because of the stated “best in class” fuel economy. Before he purchased the

2018 Ford F-150, Plaintiff Dismukes saw representations about the vehicle’s

performance, including its fuel economy, on Ford’s website and on the vehicle’s

window sticker.

          39.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          40.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          41.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had



                                         - 12 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2067     Page 39 of 990




better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      42.    Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      43.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                c. Jeffrey Foshee

      44.    Plaintiff Jeffrey Foshee is an Alabama citizen and resident of Jasper,

Alabama. On or around March 30, 2019, he purchased a new 2019 Ford F-150

SuperCrew XLT, paying approximately $40,000. Plaintiff Foshee compared the

alleged fuel efficiency of the F-150 with other similar trucks and selected the F-150

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      45.    Plaintiff Foshee purchased the new 2019 F-150 with VIN

1FTEW1EP4KFB32937 from Long-Lewis Ford, an authorized Ford dealership

located in Prattville, Alabama. Plaintiff Foshee purchased and still owns this vehicle.

Unbeknownst to Plaintiff Foshee at the time the vehicle was purchased, it consumes

more fuel than advertised.



                                        - 13 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2068    Page 40 of 990




          46.   Plaintiff Foshee selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Plaintiff Foshee recalls that

before he purchased the 2019 Ford F-150, he saw representations about the vehicle’s

performance, including its fuel economy, in Ford’s print brochures, Ford’s radio and

television ads, and on the vehicle’s window sticker. Plaintiff Foshee also recalls

discussing fuel economy with the dealer in advance of purchase.

          47.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          48.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          49.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          50.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to



                                          - 14 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2069    Page 41 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      51.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

    2.      Arizona Plaintiff

                a. Ronald Ceremello

      52.    Plaintiff Ronald Ceremello is an Arizona citizen and resident of Gilbert,

Arizona. On or around January 25, 2019, he purchased a new 2019 Ford Ranger

XLT, paying approximately $53,000. Plaintiff Ceremello compared the alleged fuel

efficiency of the Ranger with other similar trucks and selected the Ranger truck

based in part on Ford’s representations about the vehicle’s fuel efficiency.

      53.    Plaintiff Ceremello purchased the new 2019 Ranger from San Tan Ford,

an authorized Ford dealership located in Gilbert, Arizona. Plaintiff Ceremello

purchased and still owns this vehicle. Unbeknownst to Plaintiff Ceremello at the

time the vehicle was purchased, it consumes more fuel than advertised.

      54.    Plaintiff Ceremello selected and ultimately purchased his vehicle in

part because of the stated “best in class” fuel economy. Before he purchased the

2019 Ranger, Plaintiff Ceremello saw representations about the vehicle’s




                                        - 15 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2070    Page 42 of 990




performance, including its fuel economy, on Ford’s website, dealer brochures,

television commercials and on the vehicle’s window sticker.

          55.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          56.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          57.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          58.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                         - 16 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2071    Page 43 of 990




      59.      Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

     3.       California Plaintiffs

                  a. Victor Perez

      60.      Plaintiff Victor Perez is a California citizen and resident of El Centro,

California, located in Imperial County. On or about February 16, 2019, he purchased

a new 2019 Ford Ranger pickup, paying approximately $32,000. Plaintiff Perez

compared the alleged fuel efficiency of the Ranger with other similar trucks,

including the Toyota Tacoma, Chevy Colorado, and GMC Canyon and selected the

Ranger truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      61.      Plaintiff Perez purchased the new 2019 Ranger, with VIN

1FTER4EH0KLA05637, from El Centro Motors, an authorized Ford dealership

located in El Centro, California. Plaintiff Perez purchased and still owns this vehicle.

Unbeknownst to Plaintiff Perez at the time the vehicle was purchased, it consumes

more fuel than advertised.

      62.      Plaintiff Perez selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Plaintiff Perez recalls that before

the purchase of the 2019 Ford Ranger, he saw representations online about the



                                          - 17 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2072    Page 44 of 990




vehicle’s performance, including its fuel economy, on Ford’s website and on the

vehicle’s window sticker. Plaintiff Perez recalls that before he purchased the 2019

Ford Ranger, the dealer highlighted the best in class fuel economy and pointed to

the Monroney sticker to highlight how much he would save on gas.

          63.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          64.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          65.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          66.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.



                                         - 18 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2073      Page 45 of 990




      67.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Harold Brower

      68.    Plaintiff Harold Brower is a California citizen and resident of

Escondido, California. In February 2019, he leased a new 2019 Ford F-150 pickup

for approximately $47,000. Prior to leasing the F-150, Plaintiff Brower compared

the alleged fuel efficiency of the F-150 with other similar trucks, including the

Dodge Ram 1500 and the Chevy Silverado, Plaintiff Brower selected the F-150 in

part based on Ford’s representations about the vehicle’s fuel efficiency.

      69.    Plaintiff   Brower    leased   the   new    2019    F-150      with   VIN

1FTEW1CP5KFA17590 from Penske La Mesa Ford, an authorized Ford dealership

located in La Mesa, California. Plaintiff is still leasing this vehicle. Unbeknownst

to Plaintiff at the time the vehicle was leased, it consumes more fuel than advertised.

      70.    Plaintiff Brower selected and ultimately leased his vehicle in part

because of the stated fuel economy.

      71.    Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.




                                        - 19 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2074   Page 46 of 990




      72.    Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of lease in addition to added fuel costs.

      73.    Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      74.    Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      75.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the fuel economy of the Coastdown Cheating

Vehicles prior to lease.

     4.     Florida Plaintiffs

                a. Steve Beavers

      76.    Plaintiff Steve Beavers is a Florida citizen and resident of Winter

Haven, Florida. In or about August 2018, he purchased a new 2018 Ford F-150 XLT



                                            - 20 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20           PageID.2075    Page 47 of 990




Super Crew pickup, paying approximately $35,779.93. Plaintiff Beavers selected the

2018 F-150 truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

          77.   Plaintiff Beavers purchased the new 2018 F-150 with VIN

1FTEW1EB2JFB51960 from Jarret-Gordon Ford, an authorized Ford dealership

located in Winter Haven, Florida. Unbeknownst to Plaintiff Beavers at the time the

vehicle was purchased, it consumes more fuel than advertised.

          78.   Plaintiff Beavers selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford. Plaintiff Beavers recalls that before he purchased the

2018 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford advertisements for the vehicle and on the vehicle’s window

sticker.

          79.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          80.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.



                                           - 21 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2076    Page 48 of 990




      81.    Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      82.    Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      83.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Dillon Drake

      84.    Plaintiff Dillon Drake is a Florida citizen and resident of Sebring Park,

Florida. In or around March 2019, Plaintiff Drake purchased a Ford F-150 Raptor

Class Vehicle. Plaintiff Drake selected the 2018 F-150 truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      85.    Plaintiff Drake purchased the 2018 F-150 truck from Bill Jarret Ford,

an authorized Ford dealership located in Avon Park, Florida. Unbeknownst to




                                        - 22 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2077    Page 49 of 990




Plaintiff Drake at the time the vehicle was purchased, it consumes more fuel than

advertised.

          86.   Plaintiff Drake selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford.

          87.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          88.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          89.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          90.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




                                          - 23 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2078   Page 50 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      91.     Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                 c. Randall Maingot

      92.     Plaintiff Randall Maingot is a Florida citizen and resident of Miami,

Florida. On or around July 26, 2019, Plaintiff Maingot purchased a 2019 Ford

Ranger XLT Class Vehicle for approximately $35,000. Plaintiff Maingot selected

the 2019 Ford Ranger truck based in part on Ford’s representations about the

vehicle’s fuel efficiency.    Prior to purchasing the Ranger, Plaintiff Maingot

compared the alleged fuel efficiency of the 2019 Ranger with other similar trucks,

including the Chevy Colorado, GMC Canyon, and Toyota Tacoma, and selected the

2019 Ranger based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      93.     Plaintiff Maingot purchased the 2019 Ranger truck with VIN

1FTER4EH47622 from Ford of Kendall, an authorized Ford dealership located in

Miami, Florida. Unbeknownst to Plaintiff Maingot at the time the vehicle was

purchased, it consumes more fuel than advertised.




                                        - 24 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20           PageID.2079    Page 51 of 990




          94.   Plaintiff Maingot selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford.

          95.   Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          96.   Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          97.   Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          98.   Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                           - 25 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2080      Page 52 of 990




      99.    Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

    5.      Georgia Plaintiff

                a. Jamar Haynes

      100. Plaintiff Jamar Haynes is a Georgia citizen and resident of

Lawrenceville, Georgia. In May 2019, he purchased a new 2019 Ford F-150 pickup,

paying approximately $38,000.        Plaintiff Haynes compared the alleged fuel

efficiency of the F-150 with other similar trucks and selected the F-150 truck based

in part on Ford’s representations about the vehicle’s fuel efficiency.

      101. Plaintiff Haynes purchased the new 2019 F-150, with VIN

1FTEW1CPOKFA28481 from Gwinnett Place Ford, an authorized Ford dealership

located in Duluth, Georgia. Plaintiff Haynes purchased and still owns this vehicle.

Unbeknownst to Plaintiff Haynes at the time the vehicle was purchased, it consumes

more fuel than advertised.

      102. Plaintiff Haynes selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Before he purchased the 2019 F-

150, Plaintiff Haynes saw representations about the vehicle’s performance,

including its fuel economy, on the vehicle’s window sticker. He also discussed the

fuel economy with the dealer before purchase.



                                        - 26 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2081    Page 53 of 990




          103. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          104. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          105. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          106. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

          107. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.




                                         - 27 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2082    Page 54 of 990




    6.     Hawaii Plaintiff

                a. George Andrew Rayne

      108. Plaintiff George Andrew Rayne is a Hawaii citizen and resident of

Kalaheo, Hawaii. In July 2018, he purchased a new 2018 Ford F-150 pickup paying

approximately $46,400.59. Plaintiff Rayne compared the alleged fuel efficiency of

the 2018 Ford F-150 with other similar trucks and selected the 2018 Ford F-150

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      109. Plaintiff Rayne purchased the 2018 Ford F-150, with VIN

1FTEW1EPXJKC85019 from Midpac Auto Center (Kuhio Ford), an authorized

Ford dealership located in Lihue, Hawaii. Plaintiff Rayne purchased and still owns

this vehicle. Unbeknownst to Plaintiff Rayne at the time the vehicle was purchased,

it consumes more fuel than advertised.

      110. Plaintiff Rayne selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Rayne recalls that before he purchased the

2018 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and on the vehicle’s window sticker. He also

discussed the vehicle’s fuel economy with the dealer before purchasing.




                                         - 28 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2083    Page 55 of 990




          111. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          112. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          113. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          114. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

          115. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.




                                         - 29 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2084     Page 56 of 990




     7.    Illinois Plaintiffs

                a. Cassandra Morrison

      116. Plaintiff Cassandra Morrison is an Illinois citizen and resident of

Chicago, Illinois. In or around June 4, 2019, she purchased a new 2019 Ford F-150

XLT SuperCrew pickup, paying approximately $49,016.50.                 Ms. Morrison

compared the alleged fuel efficiency of the F-150 with other similar trucks, including

the Chevrolet Silverado and GMC Sierra, and selected the F-150 truck based in part

on Ford’s representations about the vehicle’s fuel efficiency.

      117. Plaintiff Morrison purchased the new 2019 F-150, with VIN

1FTEW1EP8KFB13355 from McCarthy Ford, an authorized Ford dealership

located in Chicago, Illinois. Plaintiff Morrison purchased and still owns this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes more

fuel than advertised.

      118. Plaintiff Morrison selected and ultimately purchased her vehicle, in

part, because of the stated “best in class” fuel economy. Plaintiff Morrison recalls

that before she purchased the 2019 Ford F-150, she saw representations about the

vehicle’s performance, including its fuel economy, in Ford’s advertisements and on

the vehicle’s window sticker.




                                        - 30 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2085     Page 57 of 990




          119. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          120. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          121. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, she

purchased her vehicle on the reasonable, but mistaken, belief that her vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          122. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

          123. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                   b. Ryan Hubert



                                         - 31 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2086    Page 58 of 990




          124. Plaintiff Ryan Hubert is an Illinois citizen and resident of Champaign,

Illinois. In or about February 2019, he purchased a new 2018 Ford F-150 XL pickup.

Plaintiff Hubert selected the F-150 truck based in part on Ford’s representations

about the vehicle’s fuel efficiency.

          125. Plaintiff Hubert purchased the new 2018 F-150 from Heller Ford, an

authorized Ford dealership located in El Paso, Illinois. Plaintiff Hubert purchased

and still owns this vehicle. Unbeknownst to Plaintiff at the time the vehicle was

purchased, it consumes more fuel than advertised.

          126. Plaintiff Hubert selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy. Plaintiff Hubert recalls that before he purchased

the 2018 F-150, he saw representations about the vehicle’s performance, including

its fuel economy, in Ford advertisements and on the vehicle’s window sticker.

          127. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          128. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.




                                          - 32 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2087    Page 59 of 990




      129. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      130. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      131. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        8. Louisiana Plaintiffs

                a. Evan Allen

      132. Plaintiff Evan Allen is a Louisiana citizen and resident of Ruston,

Louisiana. On or around April 27, 2019, he purchased a new 2019 Ford Ranger

pickup for approximately $27,000. Plaintiff Allen compared the alleged fuel

efficiency of the 2019 Ranger with other similar trucks, including the Chevy

Colorado and Toyota Tacoma, and selected the 2019 Ranger based in part on Ford’s

representations about the vehicle’s fuel efficiency.



                                        - 33 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2088    Page 60 of 990




          133. Plaintiff Allen purchased the 2019 Ford Ranger, with VIN

1FTER1EH9KLA32860 from Jim Taylor Ford, an authorized Ford dealership

located in Ruston, Louisiana. Plaintiff Allen purchased and still owns this vehicle.

Unbeknownst to Plaintiff Allen at the time the vehicle was purchased, it consumes

more fuel than advertised.

      134.      Plaintiff Allen selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford. Plaintiff Allen recalls that before he purchased the

2019 Ranger, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s television advertisements and sales pamphlets.

          135. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          136. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          137. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had



                                          - 34 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2089     Page 61 of 990




better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      138. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      139. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Benjamin Bischoff

      140. Plaintiff Benjamin Bischoff is a Louisiana citizen and resident of

Eunice, Louisiana. In June 2018, he purchased a used 2018 Ford F-150 pickup for

approximately $53,000. Plaintiff Bischoff compared the alleged fuel efficiency of

the 2018 F-150 with other similar trucks and selected the 2018 F-150 truck based in

part on Ford’s representations about the vehicle’s fuel efficiency.

      141. Plaintiff    Bischoff    purchased     the   2018    F-150     with   VIN

1FTEW1E52JKC76720 from Pitre Ford, an authorized Ford dealership located in

Eunice, Louisiana. Plaintiff Bischoff purchased and still owns this vehicle.

Unbeknownst to Plaintiff Bischoff at the time the vehicle was purchased, it

consumes more fuel than advertised.



                                        - 35 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20           PageID.2090     Page 62 of 990




      142.      Plaintiff Bischoff selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy, as represented through advertisements and

representations made by Ford. Plaintiff Bischoff recalls that before he purchased

the 2018 F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          143. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          144. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          145. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          146. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




                                           - 36 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2091   Page 63 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      147. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

    9.     Maryland Plaintiff

                a. Randy Transue

      148. Plaintiff Randy Transue is a Maryland citizen and resident of Mount

Airy, Maryland. In or around April 2019, he purchased a new 2019 Ford Ranger

pickup paying approximately $45,000. Plaintiff Transue compared the alleged fuel

efficiency of the 2019 Ford Ranger XLT with other similar trucks, including the

Toyota Tundra, and selected the 2019 Ford Ranger truck based in part on Ford’s

representations about the vehicle’s fuel efficiency.

      149. Plaintiff Transue purchased the 2019 Ford Ranger with VIN

1FTER4FH2KLA03175 from Century Ford of Mount Airy, an authorized Ford

dealership located in Mount Airy, Maryland. Plaintiff Transue purchased and still

owns this vehicle. Unbeknownst to Plaintiff Transue at the time the vehicle was

purchased, it consumes more fuel than advertised.

      150. Plaintiff Transue selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



                                        - 37 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2092    Page 64 of 990




representations made by Ford. Plaintiff Transue recalls that before he purchased the

2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on the vehicle’s window sticker.

          151. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          152. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          153. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          154. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                         - 38 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2093     Page 65 of 990




      155. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

    10.       Massachusetts Plaintiff

                  a. Robert Lovell

      156. Plaintiff Robert Lovell is a Massachusetts citizen and resident of

Fitchburg, Massachusetts. On or about December 26, 2018, he leased a new 2018

Ford F-150 pickup paying approximately $42,570. Plaintiff Lovell compared the

alleged fuel efficiency of the 2018 Ford F-150 with other similar trucks, including

the Chevrolet Silverado, Dodge Ram, and GMC Sierra, and selected the 2018 Ford

F-150 truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      157. Plaintiff     Lovell   leased   the   2018   Ford    F-150     with   VIN

1FTEW1E5JFES2850 from Gervais Ford, an authorized Ford dealership located in

Ayers, Massachusetts. Plaintiff Lovell continues to lease this vehicle. Unbeknownst

to Plaintiff Lovell at the time the vehicle was leased, it consumed more fuel than

advertised.

      158. Plaintiff Lovell selected and ultimately leased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Lovell recalls that before he leased the 2018



                                        - 39 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2094    Page 66 of 990




Ford F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on the vehicle’s window sticker.

      159. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      160. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of lease in addition to added fuel costs.

      161. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      162. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and lease and added fuel costs.




                                            - 40 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2095   Page 67 of 990




      163. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase or lease.

    11.    Michigan Plaintiffs

                a. Mark Hill

      164. Plaintiff Mark Hill is a Michigan citizen and resident of Rockford,

Michigan. On or about January 23, 2019, he purchased a new 2019 Ford Ranger

pickup paying approximately $37,504.88. Plaintiff Hill compared the alleged fuel

efficiency of the 2019 Ford Ranger with other similar trucks, such as the Chevy

Colorado and the Toyota Tacoma, and selected the 2019 Ford Ranger truck based in

part on Ford’s representations about the vehicle’s fuel efficiency.

      165. Plaintiff Hill purchased the 2019 Ford Ranger with VIN

1FTER4FH3KLA03802 from Tony Betten & Sons Ford, an authorized Ford

dealership located in Grand Rapids, Michigan. Plaintiff Hill purchased and still owns

this vehicle. Unbeknownst to Plaintiff Hill at the time the vehicle was purchased, it

consumes more fuel than advertised.

      166. Plaintiff Hill selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Hill recalls that before he purchased the




                                        - 41 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2096    Page 68 of 990




2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          167. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          168. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          169. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          170. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                         - 42 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2097     Page 69 of 990




      171. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Brian Leja

      172. Plaintiff Brian Leja is a Michigan citizen and resident of Omer,

Michigan. On or about April 10, 2019, he leased a new 2019 Ford Ranger pickup

paying approximately $624 per month. Plaintiff Leja compared the alleged fuel

efficiency of the 2019 Ford Ranger with other similar trucks and selected the 2019

Ford Ranger truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      173. Plaintiff    Leja    leased    the     2019   Ford   Ranger     with   VIN

1FTER4FH1KLA24521 from Richardson Ford, an authorized Ford dealership

located in Standish, Michigan. Plaintiff Leja continues to lease this vehicle.

Unbeknownst to Plaintiff Leja at the time the vehicle was purchased, it consumes

more fuel than advertised.

      174. Plaintiff Leja selected and ultimately leased his vehicle, in part, because

of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Leja recalls that before he leased the 2019

Ford Ranger, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website.



                                         - 43 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2098    Page 70 of 990




      175. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      176. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      177. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      178. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time lease and added fuel costs.

      179. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to lease.

                c. Nicholas Leonardi



                                        - 44 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2099   Page 71 of 990




      180. Plaintiff Nicholas Leonardi is a Michigan citizen and resident of

Warren, Michigan, located in Macomb County. In February 2019, he leased a new

2019 Ford F-150 pickup paying approximately $317 per month. Plaintiff Leonardi

compared the alleged fuel efficiency of the F-150 with other similar trucks, such as

the Dodge Ram and Chevy Silverado, and selected the F-150 truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

      181. Plaintiff    Leonardi    leased   the   new 2019     F-150   with   VIN

1FTEW1EP3KFA40671 from Russ Milne Ford, an authorized Ford dealership

located in Macomb, Michigan. Plaintiff Leonardi continues to lease this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was leased, it consumes more fuel

than advertised.

      182. Plaintiff Leonardi selected and ultimately leased his vehicle, in part,

because of the stated fuel economy. Plaintiff Leonardi recalls that before he leased

the 2018 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

      183. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      184. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy



                                        - 45 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2100   Page 72 of 990




caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      185. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      186. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      187. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to lease.

                d. Jeffrey Kaloustian

      188. Plaintiff Jeffrey Kaloustian is a Michigan citizen and resident of

Whitmore Lake, Michigan, located in County of Livingston. On or around May 18,

2018, he leased a new 2018 Ford F-150 pickup. Plaintiff Kaloustian selected the F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.




                                        - 46 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2101    Page 73 of 990




      189. Plaintiff Kaloustian leased the new 2018 F-150 with VIN

1FTEW1EP9JFC99776 from Varsity Ford, an authorized Ford dealership located in

Ann Arbor, Michigan. Unbeknownst to Plaintiff at the time the vehicle was leased,

it consumes more fuel than advertised.

      190. Plaintiff Kaloustian selected and ultimately leased his vehicle, in part,

because of the stated fuel economy. Plaintiff Kaloustian recalls that he saw

representations about the vehicle’s performance, including its fuel economy, on the

vehicle’s window sticker.

      191. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      192. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      193. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.



                                         - 47 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2102   Page 74 of 990




      194. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      195. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to lease.

     12.      Minnesota Plaintiff

                  a. Mark Arendt

      196. Plaintiff Mark Arendt is a Minnesota citizen and resident of

Bloomington, Minnesota. On or around December 4, 2018, he purchased a new

2018 Ford F-150 SuperCrew pickup for approximately $49,249. Plaintiff Arendt

compared the alleged fuel efficiency of the F-150 with other similar trucks, including

the Chevy 1500, and selected the F-150 truck in part based on Ford’s representations

about the vehicle’s fuel efficiency.

      197. Plaintiff Arendt purchased the new 2018 F-150 with VIN

1FTEW1EG9JKF78877 from Apple Ford, an authorized Ford dealership located in

Shakopee, Minnesota. Plaintiff purchased and still owns this vehicle. Unbeknownst

to Plaintiff at the time the vehicle was purchased, it consumes more fuel than

advertised.



                                        - 48 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2103    Page 75 of 990




          198. Plaintiff Arendt selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy. Plaintiff Arendt recalls that before he purchased

the 2018 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, in Ford’s television commercials and on the vehicle’s

window sticker. Plaintiff Arendt also discussed gas mileage with the dealer before

purchase.

          199. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          200. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          201. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          202. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to



                                          - 49 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2104   Page 76 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      203. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

     13.   Missouri Plaintiffs

                   a. Josh Brumbaugh

      204. Plaintiff Josh Brumbaugh is a Missouri citizen and resident of

Marshfield, Missouri. In or about July of 2019, he purchased a new 2019 Ford F-

150 Crewcab XLT pickup paying approximately $39,000. Plaintiff Brumbaugh

compared the alleged fuel efficiency of the 2019 Ford F-150 with other similar

trucks, such as the Dodge Ram 1500 and the Chevy Silverado 1500, and selected the

2019 Ford F-150 truck based in part on Ford’s representations about the vehicle’s

fuel efficiency.

      205. Plaintiff Brumbaugh purchased the 2019 Ford F-150 with VIN

1FTEW1EP9KKC76796 from Don Vance Ford, an authorized Ford dealership

located in Marshfield, Missouri. Plaintiff Brumbaugh purchased and still owns this

vehicle. Unbeknownst to Plaintiff Brumbaugh at the time the vehicle was purchased,

it consumes more fuel than advertised.




                                         - 50 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2105    Page 77 of 990




          206. Plaintiff Brumbaugh selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Brumbaugh recalls that before he purchased

the 2019 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          207. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          208. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          209. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          210. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




                                         - 51 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2106    Page 78 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      211. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Darren Honeycutt

      212. Plaintiff Darren Honeycutt is a Missouri citizen and resident of Billings,

Missouri. In or around January 2018, he purchased a new 2018 Ford F-150 2.7L

EcoBoost pickup, paying approximately $46,131.60. Plaintiff Honeycutt compared

the alleged fuel efficiency of the 2018 Ford F-150 with other similar trucks and

selected the 2018 Ford F-150 truck based in part on Ford’s representations about the

vehicle’s fuel efficiency.

      213. Plaintiff Honeycutt purchased the 2018 Ford F-150 with VIN

1FTEW1EP5JKC82187 from Don Vance Ford, an authorized Ford dealership

located in Marshfield, Missouri. Due to the poor fuel economy he experienced, in

April 2018, Plaintiff Honeycutt traded in the 2018 Ford F-150 for approximately

$31,230. Unbeknownst to Plaintiff Honeycutt at the time the vehicle was purchased,

it consumes more fuel than advertised.

      214. Plaintiff Honeycutt selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and



                                         - 52 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2107    Page 79 of 990




representations made by Ford. Plaintiff Honeycutt recalls that before he purchased

the 2018 Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

          215. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          216. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          217. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          218. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                         - 53 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2108    Page 80 of 990




      219. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

     14.   Nebraska Plaintiff

                a. Scott Whitehill

      220. Plaintiff Scott Whitehill is a Nebraska citizen and resident of Omaha,

Nebraska. On or about July 31, 2018, he purchased a new 2018 Ford F-150

SuperCrew pickup, paying approximately $49,380. Prior to purchasing the F-150,

Plaintiff Whitehill compared the alleged fuel efficiency of the F-150 with other

similar trucks, such as the Chevrolet Silverado 1500. Plaintiff Whitehill selected the

F-150 truck based in part on Ford’s representations on the window sticker about the

vehicle’s fuel efficiency.

      221. Plaintiff Whitehill purchased the new 2018 F-150 with VIN

1FTEW1E52JKE30312 from Woodhouse Ford, an authorized Ford dealership

located in Omaha, Nebraska. Plaintiff Whitehill purchased and still owns this

vehicle. Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes

more fuel than advertised.

      222. Plaintiff Whitehill selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy. Plaintiff Whitehill recalls that before he

purchased the 2018 Ford F-150, he saw representations about the vehicle’s



                                        - 54 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2109    Page 81 of 990




performance, including its fuel economy, on Ford’s website, television and radio

commercials and on the vehicle’s window sticker. Plaintiff Whitehill also recalls that

before he purchased the vehicle, the dealer pointed to the MPG ratings listed on the

Monroney Sticker and highlighted the auto stop/start feature as a fuel saving feature.

          223. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          224. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          225. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          226. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.



                                         - 55 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2110     Page 82 of 990




      227. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        15. New Jersey Plaintiffs

                a. Dean Kriner

      228. Plaintiff Dean Kriner is a New Jersey citizen and resident of Voorhees

Township, New Jersey. On or about November 9, 2018, he purchased a used 2018

Ford F-150 pickup, paying approximately $27,000. Plaintiff Kriner compared the

alleged fuel efficiency of the 2018 F-150 with other similar trucks and selected the

2018 F-150 truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      229. Plaintiff    Kriner    purchased     the   2018    F-150    with    VIN

1FTEW1EP0JFC47257 from Matt Blatt Glassboro, an authorized Ford dealership

located in Glassboro, New Jersey. Plaintiff Kriner purchased and still owns this

vehicle. Unbeknownst to Plaintiff Kriner at the time the vehicle was purchased, it

consumes more fuel than advertised.

      230. Plaintiff Kriner selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Kriner recalls that before he purchased the




                                       - 56 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2111    Page 83 of 990




2018 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

          231. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          232. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          233. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          234. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                         - 57 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2112     Page 84 of 990




       235. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Keith Fencl

       236. Plaintiff Keith Fencl is a citizen and resident of Riverton, New Jersey.

On or about November 24, 2018, he leased a new 2018 Ford F-150 pickup. Plaintiff

Fencl selected the F-150 truck based in part on Ford’s representations about the

vehicle’s fuel-efficiency.

       237. Plaintiff leased the new 2018 F-150 from Holman Ford Maple Shade,

an authorized Ford dealership, located in Maple Shade, New Jersey. Unbeknownst

to Plaintiff at the time the vehicle was leased, it consumes more fuel than advertised.

       238. Plaintiff selected and ultimately leased his vehicle in part because of

the stated “fuel economy.” Plaintiff Fencl recalls that he saw representations about

the vehicle’s performance, including its fuel economy, on the vehicle’s window

sticker.

       239. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

       240. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy



                                        - 58 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2113   Page 85 of 990




caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      241. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      242. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      243. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to lease.

                c. Tracey Travis

      244. Plaintiff Tracey Travis is a New Jersey citizen and resident of Little

Falls, New Jersey located in Passaic County. On or about March 11, 2019, he

purchased a new 2019 Ford Ranger pickup, paying approximately $45,000. Plaintiff

Travis compared the alleged fuel-efficiency of the Ranger with other similar trucks




                                        - 59 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2114    Page 86 of 990




and selected the Ranger truck based in part on Ford’s representations about the

vehicle’s fuel-efficiency.

          245. Plaintiff purchased the new 2019 Ranger Lariat model with VIN

1FTER4FH2KLA10885 from All American Ford located in Hackensack, New

Jersey. Plaintiff purchased and still owns this vehicle. Unbeknownst to Plaintiff at

the time the vehicle was purchased, it consumes more fuel than advertised.

          246. Plaintiff selected and ultimately purchased his vehicle, in part, because

of the stated “best in class” fuel economy.

          247. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          248. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          249. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.



                                           - 60 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2115    Page 87 of 990




      250. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      251. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        16. New York Plaintiff

                a. Cody Smith

      252. Plaintiff Cody Smith is a New York citizen and resident of Binghamton,

New York. On or about April 26, 2019, he purchased a new 2019 Ford F-150

pickup, paying approximately $36,000. Plaintiff Smith compared the alleged fuel

efficiency of the 2019 Ford F-150 with other similar trucks, such as the Dodge Ram

1500 and the Chevy Colorado, and selected the 2019 Ford F-150 truck based in part

on Ford’s representations about the vehicle’s fuel efficiency.

      253. Plaintiff Smith purchased the 2019 Ford F-150 with VIN

1FTEW1EP2KFB75026 from Maguire Ford of Ithaca, an authorized Ford

dealership located in Ithaca, New York. Plaintiff Smith purchased and still owns this

vehicle. Unbeknownst to Plaintiff Smith at the time the vehicle was purchased, it

consumes more fuel than advertised.



                                        - 61 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2116    Page 88 of 990




          254. Plaintiff Smith selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Smith recalls that before he purchased the

2019 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and television ads.

          255. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          256. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          257. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          258. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




                                          - 62 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2117    Page 89 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      259. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        17. Ohio Plaintiff

                a. David Polley

      260. Plaintiff David Polley is an Ohio citizen and resident of Bellevue,

Ohio. On or about December 10, 2018, he leased a new 2018 Ford F-150 XLT

pickup, paying approximately $50,205. Plaintiff Polley compared the alleged fuel-

efficiency of the 2018 Ford F-150 with other similar trucks such as the Chevy

Silverado 1500 and selected the 2018 Ford F-150 truck based in part on Ford’s

representations about the vehicle’s fuel-efficiency.

      261. Plaintiff    Polley    leased   the   2018   Ford   F-150     with   VIN

1FTEW1EP0JFE22008 from Don Tester Ford, an authorized Ford dealership

located in Norwalk, Ohio.        Plaintiff Polley leased and is still leasing this

vehicle. Unbeknownst to Plaintiff Polley at the time the vehicle was leased, it

consumes more fuel than advertised.

      262. Plaintiff Polley selected and ultimately leased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



                                        - 63 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2118     Page 90 of 990




representations made by Ford. Plaintiff Polley recalls that before he leased the 2018

Ford F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s television commercials and on the vehicle’s window

sticker. Plaintiff Polley recalls discussing fuel mileage with the dealer in advance of

purchasing the vehicle.

      263. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      264. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      265. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      266. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




                                        - 64 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2119   Page 91 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.

      267. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to lease.

        18. Oklahoma Plaintiff

                a. Ahmed Abdi

      268. Plaintiff Ahmed Abdi is an Oklahoma citizen and resident of Oklahoma

City, Oklahoma. On or about March 2019, he purchased a new 2018 Ford F-150

with a 2.7L EcoBoost pickup, paying approximately $38,300.              Plaintiff Abdi

compared the alleged fuel-efficiency of the 2018 Ford F-150 with other similar

trucks, including the Toyota Tundra and Tacoma, and selected the 2018 Ford F-150

truck based in part on Ford’s representations about the vehicle’s fuel-efficiency.

      269. Plaintiff Abdi purchased the 2018 Ford F-150 with VIN

1FPEW1CP4JKF74920 from Billingsley Ford, an authorized Ford dealership

located in Duncan, Oklahoma.         Plaintiff Abdi purchased and still owns this

vehicle. Unbeknownst to Plaintiff Abdi at the time the vehicle was purchased, it

consumes more fuel than advertised.

      270. Plaintiff Abdi selected and ultimately leased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and



                                        - 65 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2120   Page 92 of 990




representations made by Ford. Plaintiff Abdi recalls that before he purchased the

2018 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on the vehicle’s window sticker.

      271. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have leased the vehicle or would have paid less for

it.

      272. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and leasing the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      273. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

leased his vehicle on the reasonable, but mistaken, belief that his vehicle had better

fuel economy than the competition, was properly EPA-certified and would retain all

of its promised fuel economy and performance throughout its useful life.

      274. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of lease and added fuel costs.




                                        - 66 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2121    Page 93 of 990




      275. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to lease.

        19. Oregon Plaintiff

                a. Samuel Huffman

      276. Plaintiff Samuel Huffman is an Oregon citizen and resident of North

Plains, Oregon. On or about December 20, 2017, he purchased a new 2018 Ford F-

150 pickup paying approximately $55,000. Plaintiff Huffman compared the alleged

fuel efficiency of the 2018 F-150 with other similar trucks, including the Dodge

Ram, and selected the 2018 F-150 based in part on Ford’s representations about the

vehicle’s fuel efficiency.

      277. Plaintiff Huffman purchased the 2018 F-150 from Damerow Ford, an

authorized Ford dealership located in Beaverton, Oregon. Plaintiff Huffman

purchased and still owns this vehicle. Unbeknownst to Plaintiff Huffman at the time

the vehicle was purchased, it consumes more fuel than advertised.

      278. Plaintiff Huffman selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Huffman recalls that before he purchased

the 2018 F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s television commercials, Ford’s website and on the



                                       - 67 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2122    Page 94 of 990




vehicle’s window sticker. Had Ford disclosed the true fuel economy and dubious

certifications of the vehicle, Plaintiff would not have purchased the vehicle or would

have paid less for it.

      279. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      280. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      281. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      282. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase




                                        - 68 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20           PageID.2123   Page 95 of 990




           20. Pennsylvania Plaintiff

                   a. Steven Hull

          283. Plaintiff Steven Hull is a Pennsylvania citizen and resident of Orefield,

Pennsylvania. In or about July of 2019, he purchased a new 2019 Ford F-150 King

Ranch pickup, paying approximately $69,544. Plaintiff Hull compared the alleged

fuel efficiency of the 2019 F-150 with other similar trucks and selected the 2019 F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

          284. Plaintiff    Hull    purchased       the   2019   F-150     with    VIN

1FTEW1E42KFB00106 from Ciocca Ford, an authorized Ford dealership located in

Souderton, Pennsylvania. Plaintiff Hull purchased and still owns this

vehicle. Unbeknownst to Plaintiff Hull at the time the vehicle was purchased, it

consumes more fuel than advertised.

          285. Plaintiff Hull selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Hull recalls that before he purchased the

2019 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

          286. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.



                                           - 69 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2124    Page 96 of 990




      287. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      288. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      289. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      290. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        21.South Carolina Plaintiff

                a. Matthew Brownlee

      291. Plaintiff Matthew Brownlee is a South Carolina citizen and resident of

Central, South Carolina. In December 2018, he purchased a new 2018 Ford F-150



                                        - 70 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2125    Page 97 of 990




pickup, paying approximately $36,411. Plaintiff Brownlee compared the alleged

fuel efficiency of the 2018 F-150 with other similar trucks and selected the 2018 F-

150 truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

          292. Plaintiff Brownlee purchased the new 2018 F-150 with VIN

1FTFW1E56JFE72902 from Fairway Ford, an authorized Ford dealership located in

Greenville, South Carolina. Plaintiff Brownlee purchased and still owns this vehicle.

Unbeknownst to Plaintiff Brownlee at the time the vehicle was purchased, it

consumes more fuel than advertised.

          293. Plaintiff Brownlee selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Brownlee recalls that before he purchased

the 2018 F-150’s, he saw representations about the vehicle’s performance, including

its fuel economy, on television and internet advertisements and on the vehicle’s

window sticker.

          294. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          295. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy




                                         - 71 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2126    Page 98 of 990




caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      296. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      297. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      298. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        22. South Dakota Plaintiff

                a. Robert Raney

      299. Plaintiff Robert Raney is a South Dakota citizen and resident of Box

Elder, South Dakota. On or about May 30, 2019, he purchased a new 2018 Ford

Roush F-150 pickup, paying approximately $82,280.13. Plaintiff Raney compared

the alleged fuel efficiency of the Ford F-150 with other similar trucks, including the



                                        - 72 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2127   Page 99 of 990




Toyota Tundra, Chevy Silverado 1500, and Dodge Ram 1500, and selected the Ford

F-150 truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

          300. Plaintiff   Raney     purchased     his   Ford   F-150    with    VIN

1FTEW1E51JFD88045 from McKie Ford, an authorized Ford dealership located in

Rapid City, South Dakota. Plaintiff Raney purchased and still owns this vehicle.

Unbeknownst to Plaintiff Raney at the time the vehicle was purchased, it consumes

more fuel than advertised.

          301. Plaintiff Raney selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Raney recalls that before he purchased the

Ford F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website, on television and radio advertisements and on the

vehicle’s window sticker. Plaintiff Raney also recalls that prior to purchase, the

dealer touted the vehicle’s best in class fuel economy.

          302. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          303. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy



                                          - 73 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2128    Page 100 of 990




caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      304. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      305. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      306. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        23. Tennessee Plaintiff

                a. James Williams

      307. Plaintiff James Williams is a Tennessee citizen and resident of

Hendersonville, Tennessee, located in Sumner County. On or around May 7, 2019,

he purchased a new 2018 Ford F-150 diesel pickup for approximately $57,653.81.

Plaintiff Williams compared the alleged fuel efficiency of the F-150 with other



                                        - 74 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2129   Page 101 of 990




similar trucks, such as the Dodge Ram, and selected the F-150 truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

          308. Plaintiff Williams purchased the new 2018 F-150 with VIN

1FTFW1E10JFD80181 from Two Rivers Ford, an authorized Ford dealership

located in Mt. Juliet, Tennessee. Plaintiff Williams purchased and still owns this

vehicle. Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes

more fuel than advertised.

          309. Plaintiff Williams selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy. Plaintiff Williams recalls that before he

purchased the Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

Specifically, Plaintiff Williams also looked at the vehicle’s window sticker and

discussed the vehicle’s fuel economy with the dealer prior to purchase.

          310. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          311. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.



                                         - 75 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2130    Page 102 of 990




      312. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      313. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      314. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        24. Texas Plaintiffs

                a. David Brewer

      315. Plaintiff David Brewer is a Texas citizen and resident of Jacksonville,

Texas, located in Cherokee County. On or about March 6, 2019, he purchased a new

2019 Ford F-150 pickup, paying $48,042. Plaintiff Brewer selected the F-150 truck

based in part on Ford’s representations about the vehicle’s fuel efficiency.

      316. Plaintiff Brewer purchased the new 2019 F-150 with VIN

1FTEW1EP3KFA79860 from Bill McRae Ford Lincoln, an authorized Ford



                                        - 76 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2131    Page 103 of 990




dealership located in Jacksonville, Texas. Plaintiff purchased and still owns this

vehicle. Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes

more fuel than advertised.

          317. Plaintiff Brewer selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy. Plaintiff Brewer recalls that before he purchased

the Ford F-150, he saw representations about the vehicle’s lightweight aluminum

frame and fuel economy, in television and radio advertisements and observed the

purported fuel economy on the vehicle’s window sticker.

          318. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          319. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          320. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.



                                          - 77 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2132    Page 104 of 990




      321. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      322. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Rosalynda Garza

      323. Plaintiff Rosalynda Garza is a Texas citizen and resident of Helotes,

Texas. On or around June 11, 2018, Plaintiff Garza purchased a new 2018 Ford F-

150 pickup, paying $37,944.25. Plaintiff Garza compared the alleged fuel efficiency

of the F-150 with other similar trucks and selected the F-150 truck based in part on

Ford’s representations about the vehicle’s fuel efficiency.

      324. Plaintiff Garza purchased the new 2018 F-150 with VIN

1FTEW1CP1JKD04415 from Red McCombs Ford, an authorized Ford dealership

located in San Antonio, Texas. Plaintiff purchased and still owns this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes more

fuel than advertised.

      325. Plaintiff Garza selected and ultimately purchased her vehicle, in part,

because of the stated fuel economy. Plaintiff Garza recalls that before she purchased



                                        - 78 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2133    Page 105 of 990




the Ford F-150, she saw representations about the vehicle’s performance, including

its fuel economy, on the vehicle’s window sticker.

          326. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          327. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          328. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, she

purchased her vehicle on the reasonable, but mistaken, belief that her vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          329. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.




                                         - 79 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2134    Page 106 of 990




          330. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                   c. Marshall B. Lloyd

          331. Plaintiff Marshall B. Lloyd is a Texas citizen and resident of San

Antonio, Texas. On or about March 13, 2019, he purchased a new 2019 Ford Ranger

pickup for approximately $35,000. Plaintiff Lloyd compared the alleged fuel-

efficiency of the Ranger with other similar trucks, including the Toyota Tacoma and

Nissan trucks, and selected the Ranger truck based in part on Ford’s representations

about the vehicle’s fuel-efficiency.

          332. Plaintiff purchased the new Ranger crew cab Lariat XLT model with

VIN 1FER4EH9KLA128993 from Red McCombs Ford in San Antonio, Texas.

Plaintiff purchased and still owns this vehicle. Unbeknownst to Plaintiff at the time

the vehicle was purchased, it consumes more fuel than advertised.

          333. Plaintiff selected and ultimately purchased his vehicle, in part, because

of the stated “best in class” fuel economy.

          334. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.




                                           - 80 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2135    Page 107 of 990




      335. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

      336. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      337. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      338. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                d. Michael Smith

      339. Plaintiff Michael Smith, a Texas citizen and resident of Blanco, Texas.

On or about August 8, 2019, he purchased a new 2019 Ford Ranger pickup for

approximately $36,808.16. Plaintiff Smith compared the alleged fuel efficiency of



                                        - 81 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2136    Page 108 of 990




the Ranger with other similar trucks and selected the Ranger truck based in part on

Ford’s representations about the vehicle’s fuel-efficiency.

          340. Plaintiff purchased the new Ranger, with VIN 1FTER4EH1KLA44866

from Ford of Boerne, an authorized Ford dealership in Boerne, Texas. Plaintiff

purchased and still owns this vehicle. Unbeknownst to Plaintiff at the time the

vehicle was purchased, it consumes more fuel than advertised.

          341. Plaintiff Smith selected and ultimately purchased his vehicle, in part,

because of the stated “best in class” fuel economy. Plaintiff Smith recalls that before

he purchased the Ford F-150, he saw representations about the vehicle’s

performance, including its fuel economy, on Ford’s website.

          342. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          343. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          344. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had



                                          - 82 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2137    Page 109 of 990




better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

      345. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      346. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        25. Utah Plaintiff

                a. Al Balls

      347. Plaintiff Al Balls is a Utah citizen and resident of Logan, Utah. In or

around May 2019, he purchased a new 2019 Ford Ranger XLT pickup, paying

approximately $41,000. Plaintiff Balls compared the alleged fuel efficiency of the

2019 Ranger with other similar trucks from Honda and Toyota and selected the 2019

Ranger truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      348. Plaintiff Balls purchased the 2019 Ford Ranger with VIN

1FTER4FH7KLA34745 from Wilson Motor Group, an authorized Ford dealership

located in Logan, Utah. Plaintiff Balls purchased and still owns this vehicle.



                                        - 83 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2138    Page 110 of 990




Unbeknownst to Plaintiff Balls at the time the vehicle was purchased, it consumes

more fuel than advertised.

          349. Plaintiff Balls selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Balls recalls that before he purchased the

2019 Ranger, he saw representations about the vehicle’s performance, including its

fuel economy, on Ford’s website and on the vehicle’s window sticker.

          350. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          351. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          352. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.




                                          - 84 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2139    Page 111 of 990




      353. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      354. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        26. Virginia Plaintiff

                a. Kenneth Bernard

      355. Plaintiff Kenneth Bernard is a Virginia citizen and resident of

Chesapeake, Virginia. On or about March 11, 2019, he purchased a new 2019 Ford

F-150 Lariat pickup, paying approximately $57,000. Plaintiff Bernard compared the

alleged fuel efficiency of the 2019 F-150 with other similar trucks, such as the Dodge

Ram 1500, and selected the 2019 F-150 truck based in part on Ford’s representations

about the vehicle’s fuel efficiency.

      356. Plaintiff     Bernard       purchased   the   2019   F-150     with   VIN

1FTEW1E49KKC08164 from Cavalier Ford, an authorized Ford dealership located

in Chesapeake, Virginia. Plaintiff Bernard purchased and still owns this vehicle.

Unbeknownst to Plaintiff Bernard at the time the vehicle was purchased, it consumes

more fuel than advertised.



                                          - 85 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2140    Page 112 of 990




          357. Plaintiff Bernard selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Bernard recalls that before he purchased the

2019 F-150, he saw representations about the vehicle’s performance, including its

fuel economy, on television and on the vehicle’s window sticker.

          358. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          359. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          360. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          361. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to




                                           - 86 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2141   Page 113 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      362. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

        27. Washington Plaintiffs

                a. John Jung

      363. Plaintiff John Jung is a Washington citizen and resident of Puyallup,

Washington, located in Pierce County. On or about January 12, 2019, he purchased

a new 2019 Ford F-150 Raptor truck, paying approximately $76,000. Plaintiff Jung

compared the alleged fuel efficiency of the F-150 Raptor with other similar trucks,

including the Dodge Ram, Toyota Tundra and GMC Denali, and selected the F-150

Raptor truck based in part on Ford’s representations about the vehicle’s fuel

efficiency.

      364. Plaintiff Jung purchased the new 2019 F-150 Raptor with VIN

1FTFW1RG8KFA18907 from Dwayne Lane’s Skagit Ford, an authorized Ford

dealership located in Burlington, Washington. Plaintiff Jung purchased and still

owns this vehicle. Unbeknownst to Plaintiff Jung at the time the vehicle was

purchased, it consumes more fuel than advertised.




                                        - 87 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2142   Page 114 of 990




          365. Plaintiff Jung selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Jung recalls that before he purchased the

2019 Ford F-150, he saw representations about the vehicle’s performance, including

its fuel economy, on Ford’s website and television ads and on the vehicle’s window

sticker. Plaintiff Jung also recalls that the dealer stated that the vehicle was more

fuel efficiency than previous generation Raptors.

          366. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          367. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          368. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.




                                         - 88 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2143    Page 115 of 990




      369. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      370. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                b. Jeffrey Quizhpi

      371. Plaintiff Jeffrey Quizhpi is currently a Texas citizen and resident of El

Paso, Texas. On or around January 27, 2019, while a citizen of and residing in

Washington, Plaintiff Quizhpi purchased a new 2018 Ford F-150 pickup, paying

$47,116.32. Plaintiff Quizhpi compared the alleged fuel efficiency of the F-150 with

other similar trucks manufactured by Toyota and Chevrolet and selected the F-150

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      372. Plaintiff Quizhpi purchased the new 2018 F-150 with VIN

1FTEW1EP3JKF82780 from Titus-Will Ford, an authorized Ford dealership located

in Tacoma, Washington. Plaintiff purchased and still owns this vehicle.

Unbeknownst to Plaintiff at the time the vehicle was purchased, it consumes more

fuel than advertised.




                                        - 89 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2144    Page 116 of 990




          373. Plaintiff Quizhpi selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy.          Plaintiff Quizhpi recalls that before he

purchased the Ford F-150, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.

The dealer also told him that the Ford F-150 had better gas mileage compared to

trucks made by Chevrolet and Toyota.

          374. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          375. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          376. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          377. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to



                                           - 90 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2145    Page 117 of 990




a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

      378. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.

                c. Rick Shurtliff

      379. Plaintiff Rick Shurtliff is a Washington citizen and resident of

Ridgefield, Washington. In or around April 2019, he purchased a new 2019 Ford

Ranger truck, paying approximately $42,000. Plaintiff Shurtliff selected the Ranger

truck based in part on Ford’s representations about the vehicle’s fuel efficiency.

      380. Plaintiff Shurtliff purchased the new 2019 Ranger with VIN

1FTER4FH1KLA24924 from Titus-Will Ford, an authorized Ford dealership

located in Tacoma, Washington. Plaintiff Shurtliff purchased and still owns this

vehicle. Unbeknownst to Plaintiff Shurtliff at the time the vehicle was purchased, it

consumes more fuel than advertised.

      381. Plaintiff Shurtliff selected and ultimately purchased his vehicle, in part,

because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Shurtliff recalls that before he purchased the

2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website and on the vehicle’s window sticker.



                                        - 91 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2146   Page 118 of 990




          382. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          383. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          384. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          385. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

          386. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.




                                         - 92 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2147    Page 119 of 990




        28. Wisconsin Plaintiff

                a. Stephen Leszczynski

      387. Plaintiff Stephen Leszczynski is a Wisconsin citizen and resident of

Mount Pleasant, Wisconsin. On or about July 24, 2019, he purchased a new 2019

Ford Ranger pickup, paying approximately $38,299.00.          Plaintiff Leszczynski

selected the 2019 Ford Ranger truck based in part on Ford’s representations about

the vehicle’s fuel efficiency.

      388. Plaintiff Leszczynski purchased the 2019 Ford Ranger with VIN

1FTER4FH7KLA33465 from Hieser Ford, an authorized Ford dealership located in

Glendale, Wisconsin. Plaintiff Leszczynski purchased and still owns this vehicle.

Unbeknownst to Plaintiff Leszczynski at the time the vehicle was purchased, it

consumes more fuel than advertised.

      389. Plaintiff Leszczynski selected and ultimately purchased his vehicle, in

part, because of the stated fuel economy as represented through advertisements and

representations made by Ford. Plaintiff Leszczynski recalls that before he purchased

the 2019 Ford Ranger, he saw representations about the vehicle’s performance,

including its fuel economy, on Ford’s website, in television and radio ads and on the

vehicle’s window sticker. Plaintiff Leszczynski also recalls the dealer telling him

that the truck had “great” gas mileage.




                                          - 93 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2148   Page 120 of 990




          390. Had Ford disclosed the true fuel economy and dubious certifications of

the vehicle, Plaintiff would not have purchased the vehicle or would have paid less

for it.

          391. Ford’s unfair, unlawful and deceptive conduct in designing, testing,

manufacturing, marketing, and selling the vehicle with exaggerated fuel economy

caused Plaintiff to suffer out-of-pocket loss in the form of overpayment at the time

of purchase in addition to added fuel costs.

          392. Ford knew about or recklessly disregarded the inaccurate fuel economy

representations, but did not disclose such facts or their effects to Plaintiff. So, he

purchased his vehicle on the reasonable, but mistaken, belief that his vehicle had

better fuel economy than the competition, was properly EPA-certified and would

retain all of its promised fuel economy and performance throughout its useful life.

          393. Plaintiff and each Class member have suffered an ascertainable loss as

a result of Ford’s omissions and/or misrepresentations, including, but not limited to

a high premium for exaggerated fuel economy, out-of-pocket losses by overpaying

for vehicles at the time of purchase and added fuel costs.

          394. Neither Ford nor any of its agents, dealers, or other representatives

informed Plaintiff or Class members of the true fuel economy of the Coastdown

Cheating Vehicles prior to purchase.




                                         - 94 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2149   Page 121 of 990




      Defendant

      1.     Ford Motor Company

      395. Ford Motor Company is a corporation doing business in all 50 states

and the District of Columbia and is organized under the laws of the State of

Delaware, with its principal place of business in Dearborn, Michigan.

      396. At all times relevant to this action, Ford designed, manufactured, sold,

and warranted the Coastdown Cheating Vehicles throughout the United States. Ford

and/or its agents, divisions, or subsidiaries designed, and manufactured the

Coastdown Cheating Vehicles. Ford also developed and disseminated the owner’s

manuals, supplements, and warranty booklets, advertisements, and other

promotional materials relating to the Coastdown Cheating Vehicles; and Ford

provided these to its authorized dealers for the express purpose of having these

dealers pass such materials to potential purchasers at the point of sale. Ford also

created, designed, and disseminated information about the quality of the Coastdown

Cheating Vehicles to various agents of various publications for the express purpose

of having that information reach potential consumers.

                             FACTUAL ALLEGATIONS

      Coastdown testing

      397. Ford deliberately miscalculated and misrepresented factors used in

vehicle certification testing in order to report that its vehicles used less fuel and




                                       - 95 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2150    Page 122 of 990




emitted less pollution than they actually did. The certification test-related cheating

centers on the “Coastdown” testing and “Road Load” calculations.

      398. A coastdown test is a procedure that determines metrics later used to

calculate a vehicle’s fuel economy values or “MPG rating.” MPG ratings are

established using a machine called a “dynamometer.” A dynamometer is like a

treadmill for vehicles, enabling vehicles to be operated indoors on a stationary

platform to simulate real-world vehicle operation. The level of resistance on the

dynamometer is adjusted based on coastdown testing for each specific vehicle model

to simulate the level of resistance that the vehicle would encounter if operated on the

road. Coastdown testing is used to determine the appropriate resistance levels (or

“road loads”) to use on the dynamometer for a given vehicle model. Coastdown

testing is used to measure all types of resistance encountered by a given vehicle

model during real-world operation, including:

            Vehicle aerodynamic resistance, a factor affected by the
             vehicle’s shape, which determines how much energy the vehicle
             uses to push air out of the way as it moves. The more resistance,
             the more energy has to be expended.

            Tire rolling resistance, a factor related to tire design that
             determines how much energy the vehicle has to use to overcome
             the resistance caused by the interface between the tires and the
             road.

            Driveline and powertrain mechanical resistance, a factor
             measuring the vehicle’s drivetrain and how much energy the
             vehicle has to use to overcome internal friction to drive the
             wheels.


                                        - 96 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2151    Page 123 of 990




        399. A vehicle that has been properly broken in prior to the test (generally

includes vehicle and tire mileage, fluids and fuel, and vehicle warm-up) is driven up

to a certain speed, typically around 80 MPH, after which it is put into neutral and

allowed to coast until its speed drops below 9 MPH.

        400. Special devices in the vehicle accurately measure environmental

conditions (ambient temperature, humidity and barometric pressure), performance

data, and speed and distance traveled during the coastdown test.

        401. In order to eliminate the effect of wind speed and direction, the test is

performed multiple times (a minimum of 5 runs) on a completely flat, straight, and

dry road in both directions of the track. Analysis of the recorded speed and distance

information provides the vehicle’s road load force.

        402. Ford miscalculated “Road Load,” which is a measure of those forces,

defined as the force that is imparted on a vehicle while driving at a constant speed

over a smooth, level surface from sources such as tire rolling resistance, driveline

losses, and aerodynamic drag.9

        403. This measure of forces acting against the vehicle during real-world

driving is critical to the simulation of actual driving when a vehicle is tested in the

laboratory. Ford’s internal lab tests did not account for these forces, which lead to




   9
       See Exhibit 1, supra fn. 1.

                                         - 97 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2152   Page 124 of 990




better—and entirely inaccurate—fuel economy projections, and claims that the

vehicles emitted less pollution than they emitted in reality.

      The coastdown results are used to create fuel economy information
      posted on vehicles’ windows and used in advertising.

      404. The Coastdown test results are sent by Ford to the EPA to be used as

the basis for mileage information used on window stickers, also called a “Monroney

sticker.”

      405. The Monroney sticker is on the window of every new car and includes

information about the vehicle’s price, engine and transmission specifications, other

mechanical and performance specs, fuel economy and emissions ratings, safety

ratings, and standard and optional features.

      406. The Monroney sticker is named for A.S. “Mike” Monroney, a longtime

Oklahoma congressman who wrote the 1958 Automobile Information Disclosure

Act, the federal law that requires the Monroney sticker.

      407. The Monroney sticker lists all features that come standard to the

vehicle. This might include air bags, anti-lock brakes, a radio and CD or MP3 player,

plus any warranties or additional services such as roadside assistance. Also included

on the sticker is a section called “the EPA sticker.” The Environmental Protection

Agency section of the sticker tells how many miles per gallon of gas the vehicle gets

on the highway and in the city. The EPA label provides miles-per-gallon equivalent

(MPGe) figures for electric and hybrid cars to help consumers compare the fuel


                                        - 98 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2153    Page 125 of 990




economy of these vehicles with gas- and diesel-powered cars. The EPA section

hereinafter will detail the vehicle’s potential environmental impact with greenhouse

gas emissions.

        408. The fuel economy figures are used by car reviewers and used by

consumers to rate cars. For example, trucks are ranked on fuel economy as follows

with the Ford F-150 at the top:

          9 Best Ranked MPG Trucks of 2018: Ranked:
             2016 Ford F-150 Automatic 2.7L
             2016 Chevrolet Colorado Automatic 3.6L
             2015 Chevrolet Silverado 1500 Automatic 4.3L
             2015 Ford F-150 Automatic 3.5L
             2014 Chevrolet Silverado 1500 Automatic 4.3L
             2016 Chevrolet Silverado 1500 Automatic 4.3L
             2016 Dodge Ram 1500 Automatic 3.6L
             2016 Ford F-150 Automatic 3.5L[10]
        409. On the popular CarMax site11, based on fuel economy numbers

provided by Ford and published by EPA, CarMax had this to say about putting Ford

F-150s near the top:




   10
      Exhibit 15, Google and related search for F-150 fuel economy.
   11
      Exhibit 16, 8 Best Ranked MPG Trucks of 2019: Ranked (June 27, 2019),
https://www.carmax.com/articles/best-mpg-trucks-ranking (last visited Aug. 11,
2020).

                                       - 99 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2154   Page 126 of 990




                                   - 100 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2155   Page 127 of 990




                                   - 101 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2156   Page 128 of 990




                                   - 102 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2157    Page 129 of 990




         Ford admits improper coastdown testing on the 2019 Ranger.

         410. Ford has admitted that in September of 2018 several of its own

employees were questioning its computer modeling and physical test practices for

certification of fuel economy and emissions.12 Yet, Ford took no action to correct

these ongoing misrepresentations or to alert consumers.

         411. Pressured by a pending governmental criminal investigation, Ford has

now stated that it will look into the testing of the 2019 Ranger truck before looking

at its other vehicles.

         412. When Ford released a statement regarding the problem, truck blogger

Andre Smirnov of TheFastLaneTruck.com (hereinafter “TFL”) drove the new

Ranger for 1,000 miles, from California to Colorado to test its “TFL” real-world




   12
        Exhibit 2, supra fn. 2.

                                       - 103 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2158   Page 130 of 990




mileage, and found it achieved only 19.5 MPG, not the 24 MPG certified to the EPA

for the 4x4 model.13

        413. Having concluded that the actual performance of the Ranger was

“nowhere close” to the EPA rated MPG, in March of 2019, the truck blogger tested

the Ranger truck on The Fast Lane Truck’s 98-mile fuel economy loop.14        The

highway mileage was only one MPG greater on the test loop than on its 1,000 mile

drive. The TFL test drivers were at a loss for words when they discovered a nearly

four MPG discrepancy between the mileage reported on the Ranger’s trip meter and

what they measured at the pump (21.3 MPG actual versus 25.8 MPG on Ford’s trip

meter)15:




   13
      Exhibit 5, Andrew Smirnov, Real-world 2019 Ford Ranger Fuel Economy:
Here Is the Unexpected Result after a 1,000 Mile Road Trip (Video),
TheFastLaneTruck.com (Feb. 23, 2019), https://www.tfltruck.com/2019/02/real-
world-2019-ford-ranger-fuel-economy-here-is-the-unexpected-result-after-a-1000-
mile-road-trip-video/ (last visited Aug. 11, 2020).
   14
      Exhibit 14, Stephen Elmer, EPA Says the New Ford Ranger Gets 24 MPG on
the Highway, But What Does It Really Get at 70 MPH? (Video) (Mar. 19, 2019),
https://www.tfltruck.com/2019/03/epa-says-the-new-ford-ranger-gets-24-mpg-on-
the-highway-but-what-does-it-really-get-at-70-mph-video/ (last visited Aug. 11,
2020).
   15
       Exhibit 6, Video of the testing located at https://youtu.be/W6iLtygCC7Y,
embedded       in    the     previously     cited   article,  Exhibit   14,  at:
https://www.tfltruck.com/2019/03/epa-says-the-new-ford-ranger-gets-24-mpg-on-
the-highway-but-what-does-it-really-get-at-70-mph-video/.

                                     - 104 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2159   Page 131 of 990




         414. With respect to its 2019 Ford Ranger, Ford promised that its midsize

truck “will deliver with durability, capability and fuel efficiency, while also

providing in-city maneuverability and the freedom desired by many midsize pickup

truck buyers to go off the grid.”16 Ford also claimed that its “All-New Ford Ranger

[was] Rated Most Fuel Efficient Gas-Powered Midsize Pickup in America.”17 “With

EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg highway and 23 mph

combined, 2019 Ford Ranger is the most fuel efficient gas-powered midsize pickup




   16
        Exhibit 3, supra fn. 3.
   17
        Exhibit 4, supra fn. 4.

                                       - 105 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2160     Page 132 of 990




in America.”18 Ford claimed the 2019 Ranger “is the no-compromise choice for

power, technology, capability, and efficiency whether the path is on road or off.”19

Ford knew that to sell the Ranger effectively, it had to tout it as having fuel efficiency

and reduced emissions, and that such promises were material to consumers.

        415. There is no question that Ford used the fuel efficiency ratings as a sales

tool to entice consumers into purchasing the 2019 Ford Ranger. Indeed, Ford

promised that “[t]he adventure-ready 2019 Ford Ranger is the most fuel-efficient

gas-powered midsize pickup in America—providing a superior EPA-estimated city

fuel economy rating and an unsurpassed EPA-estimated combined fuel economy

rating versus the competition. The all-new Ranger has earned EPA-estimated fuel

economy ratings of 21 mpg city, 26 mpg highway and 23 mpg combined for 4x2

trucks.”20 Ford claimed that “[t]his is the best-in-class EPA-estimated city fuel

economy rating of any gasoline-powered four-wheel-drive midsize pickup and it is

an unsurpassed EPA-estimated combined fuel economy rating.”21

        CAFE standards provide manufacturers with credits for low emissions.

        416. Ford also reaped a double reward from this cheating. Cars and trucks

are one of the major sources of air pollution, which includes ozone, particulate



   18
      Id.
   19
      Id.
   20
      Id.
   21
      Id.

                                         - 106 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2161    Page 133 of 990




matter, and other smog-forming emissions. The health risks of air pollution are

extremely significant.

      417. Poor air quality increases respiratory ailments like asthma and

bronchitis, heightens the risk of life-threatening conditions like cancer, and burdens

the American health care system with substantial medical costs. Passenger cars and

trucks are major contributors to pollution, producing significant amounts of nitrogen

oxides, carbon monoxide, and other pollution. The U.S. government, through the

EPA, has passed and enforced laws designed to protect U.S. citizens from these

pollutants and certain chemicals and agents known to cause disease in humans.

      252. The United States has two sets of parallel standards that affect fuel

economy: (1) the corporate average fuel economy (CAFE) standards adopted by the

National Highway Traffic Safety Administration (NHTSA), an agency within the

Department of Transportation (DOT); and (2) greenhouse gas (GHG) emissions

standards adopted by the EPA.

      418. Automobile manufacturers must abide by these laws and must adhere

to EPA rules and regulations.       One of the major drivers of fuel efficiency

improvement are the CAFE standards. These requirements have nearly doubled the

fuel efficiency of vehicles in the U.S. In addition to the reduced health costs and

human illness, CAFE standards are estimated to save each U.S. household

approximately $2,000.00 per year in reduced fuel consumption as of 2016. The



                                       - 107 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2162    Page 134 of 990




Energy Independence and Security Act (EISA) of 2007 mandated a 40% increase in

fuel economy by 2020.

      419. The original CAFE standards set minimum average fuel consumption

performance (average miles travelled per gallon of fuel used) for the fleets of new

“passenger automobiles” (passenger cars) and “non-passenger automobiles” (light

trucks, which includes many SUVs) produced by each manufacturer. The standards

for these two types of vehicles differed.

      420. Before standards took effect, the average fuel efficiency for passenger

cars was 15.2 MPG). Congress required manufacturers to achieve a fleet average of

18 MPG by 1978, 19 MPG by 1979, and 20 MPG by 1980, rising to 27.5 MPG by

1985, with interim standards to be set by NHTSA. But by 1981, average fuel

efficiency for passenger cars had risen to 28.4 MPG, exceeding the standards.

      421. For light trucks, NHTSA set standards that required manufacturers to

achieve a fleet average of 17.2 MPG for two-wheel drive vehicles and 15.8 MPG for

four-wheel drive vehicles in 1979, rising to 21.5 MPG and 19 MPG respectively by

1989. Over this period, two-wheel drive vehicles increased from 13.4 to 16.9 MPG,

while four-wheel drive vehicles increased from 12.3 MPG to 14.4 MPG.

      422. The National Highway Traffic Safety Administration (NHTSA) kept

CAFE standards for cars the same from 1985 to 2010, except for a slight decrease in

required MPG from 1986 to 1989. Truck standards, initially set in 1976 for 1989



                                       - 108 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2163    Page 135 of 990




vehicles at 21.5 MPG for 2-wheel drive vehicles and 19 MPG for 4-wheel drive

vehicles, were frozen by Congress in the mid-1990s at 20.7 MPG and were not

increased until 2005.

      423. However, starting in 2005, Washington policy makers ushered in a

number of changes. Between 2005 and 2007, the Bush administration raised the

truck fuel efficiency standard from 20.7 to 22.2 MPG. More significantly, in 2007,

Congress passed the Energy Independence and Security Act (EISA), which requires

model-year 2011 and later vehicles for sale in the U.S. that were manufactured

outside the U.S. to achieve a fleetwide gas mileage of 35 MPG and requires vehicles

for sale in the U.S. that were manufactured in the U.S. to achieve a fleetwide gas

mileage of 27.5 MPG by 2020. In 2009, the Obama administration eliminated the

default 27.5 MPG standard and established a new 27.3 MPG standard for 2011

model-year vehicles manufactured domestically and internationally. The new

standard was scheduled to increase annually until it reached 35 MPG for 2020

model-year vehicles.

      424. Starting in 2005 for trucks and 2011 for all vehicles, the standard is

based on one specific attribute: a manufacturer’s collective vehicle footprint. The

formula multiplies every vehicle’s wheelbase by its average track width for each

manufacturer. This creates a relatively simple inverse-linear formula with cutoff

values. The attribute-based formula produces one number for each automaker. So



                                      - 109 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2164    Page 136 of 990




while each model sold does not have to achieve a specific target, the automaker’s

fleet on a whole must meet its target. This method helps balance earlier standards,

which were biased against automakers whose overall vehicle lineup was fuel-

efficient, but sold one or two models (typically work trucks) that were not fuel-

efficient.

       425. For example, the GM Sierra Denali is a full-size work truck with an

MPG range of 16 in the city and 23 on the highway. The Honda Ridgeline is a mid-

size truck with an MPG range of 19 in the city and 26 on the highway. To balance

the lower fuel efficiency of the Denali, GM also builds the hybrid Chevrolet Volt

that gets 42 MPG. If the absolute standard was 20 miles per gallon, drivers would

not be able to buy the Denali work truck, which averages 19. But because the

standard is by manufacturer and not model, GM can use the Volt to help balance the

Denali.

       426. In 2012, NHTSA and the EPA issued joint standards for 2017–2025.

While NHTSA’s standards continued to focus on fuel efficiency, the EPA’s more-

stringent regulations targeted reductions in carbon dioxide emissions (greenhouse

gas emissions) and not fuel efficiency. NHTSA increased the CAFE standards to 41

MPG by 2021 and 49.7 MPG by 2025. The EPA’s standard of 163 g/mi of CO2-

equivalent emissions effectively increased standards to 54.5 MPG by 2025. This




                                      - 110 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2165    Page 137 of 990




54.5 MPG 2025 standard is the first one benchmarked to emissions and not gasoline

consumption.

      427. Both the NHTSA and EPA standards offer certain flexibilities, termed

“components,” to help manufacturers comply with the standards. The first

component is a credit trading system that allows manufacturers to carry efficiency

and greenhouse gas credits forward by up to five years and backwards by up to three

years to achieve compliance and avoid fines. Manufacturers can transfer credit

between cars and trucks and trade credits with other manufacturers. Carbon dioxide

credits generated for EPA compliance from model year 2016 and before can be

carried forward up to model year 2021.

      428. In 2016 NHTSA announced plans to more than double the fines for

failing to meet CAFE standards from $5.50 per 0.1 MPG to $14.00. The fine is

applied to each 0.1 MPG the automaker falls short and multiplied by the number of

vehicles sold in a model year for the entire U.S domestic market. Companies must

satisfy both EPA and NHTSA standards. Manufacturers passing EPA’s greenhouse

gas emissions standards that fail NHTSA’s CAFE standards still pay the fine. Thus,

manufacturers have a clear economic motivation to meet the standards.

      429. Under the increasing federal standards, Ford also began to market its

gasoline powered vehicles as being cleaner with high fuel economy. As the Ford

Ranger was out of the market for eight years, Ford took a targeted marketing



                                      - 111 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2166   Page 138 of 990




approach for the 2019 Ranger, focusing on “outdoorsy digital ads” that pitched the

truck to outdoor adventurists.22 Ford capitalized on its fuel efficiency as a selling

point over its competitors.23 Ford sought a strong re-entry of the Ranger into the

U.S. market by pitching it as amazingly fuel efficient.

        Criminal investigation

        430. Ford Motor Company’s March 2019 Securities and Exchange

Commission filing revealed that it is under criminal investigation by the United

States Department of Justice for its emissions certification practices.24

        431. Ford Motor Company is a leading auto manufacturer, having sold 2.5

million vehicles in 2018.        Ford’s strategy has increasingly focused on the

manufacture and sale of larger gas-guzzling pickup trucks, sport utility vehicles

(SUVs) and vans. These vehicles are, of course, the most challenged by emissions

standards and fuel efficiency. Ford’s focus on this segment of the market created an

immense incentive to cheat.



   22
       Exhibit 8, E.J. Schultz, Ford Takes Targeted Marketing Approach for Ranger
Comeback, AdAge (Mar. 1, 2019), https://adage.com/article/cmo-strategy/ford-
takes-targeted-approach-ranger-comeback/316801 (last visited Aug. 11, 2020).
    23
       Exhibit 9, Joey Capparella, The 2019 Ford Ranger Pickup Gets Slightly Better
MPG Ratings Than the Honda Ridgeline, Car and Driver (Dec. 11, 2018),
https://www.caranddriver.com/news/a25470574/2019-ford-ranger-pickup-mpg/
(last visited Aug. 11, 2020).
    24
       Exhibit 10, Ford’s March 31, 2019 Quarterly Report to the SEC, at page 70:
https://www.sec.gov/Archives/edgar/data/37996/000003799619000026/f03312019
10-q.htm.

                                        - 112 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2167    Page 139 of 990




        432. In September 2018, several Ford employees expressed concerns about

the testing practices at Ford pertaining to emissions and fuel efficiency. In February

2019, Ford admitted it was looking into these concerns about its “computer-

modeling methods and calculations used to measure fuel economy and emissions.”25

Kim Pittel, Ford’s vice president for sustainability, environment and safety

engineering, has admitted to the New York Times that these “calculations [are] used

in testing cars for fuel economy ratings and emissions certifications.”26

        Mechanism of coastdown cheating

        433. The Environmental Protection Agency (EPA) defines “Road load” as

follows:

        the force imparted on a vehicle while driving at a constant speed over a
        smooth level surface from sources such as tire rolling resistance,
        driveline losses, and aerodynamic drag.

EPA letter to manufacturers, titled: “Determination and Use of Vehicle Road-Load

Force and Dynamometer Settings.”27 These calculations are critical to laboratory

fuel efficiency and emissions testing because the vehicle is placed on a

dynamometer, which is essentially a treadmill for cars.          When driving on a



   25
      Exhibit 11, Tiffany Hsu, Ford Says Justice Dept. Has Opened Criminal Inquiry
Into Emissions Issues, The New York Times (Apr. 26, 2019),
https://www.nytimes.com/2019/04/26/business/ford-emissions-criminal-
investigation.html (last visited Aug. 11, 2020).
   26
      Exhibit 2, supra fn. 2.
   27
      Exhibit 1, supra fn. 1.

                                        - 113 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2168      Page 140 of 990




dynamometer, the vehicle is stationary and does not experience the drag of air

against the vehicle; or of the resistance of the tire against the road surface; or the loss

of horsepower that occurs in the drivetrain of the vehicle - the friction, heat, drag,

and other various losses that occur between the engine and tires touching the road.




                    2017 Ford F-350 During Dynamometer Testing

       434. Auto manufacturers use “coastdown” tests of vehicles on the actual

roadway to help calculate variables to be utilized in conjunction with dynamometer

testing. Coastdown testing provides data regarding aerodynamic drag, tire rolling

resistance, and drivetrain frictional losses and provides technical data used to

program the test dynamometers that generate EPA fuel economy and emissions

ratings. In a coastdown test, a vehicle is brought to a high speed on a flat, straight

road and then set coasting in neutral until it slows to a low speed. By recording the

time the vehicle takes to slow down, it is possible to model the forces affecting the


                                         - 114 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2169    Page 141 of 990




vehicle.   Coastdown tests are governed by tests developed by the Society of

Automotive of Engineers (SAE). SAE developed a standard procedure (J2263-Dec

2008) to perform road load measurement using coastdown testing, and a standard

procedure (J1263-Mar 2010) to perform road load measurement and dynamometer

simulation using coastdown testing. The current government-approved standard for

road load measurement using onboard anemometry and the coastdown testing

technique is the SAE International Standard. These standards must be followed by

federal regulation. The data relating to speed and distance are recorded by special

instruments to account for various factors that might affect the results. The test

produces data that identifies or maps the drag and other forces acting on the vehicle

in the real world.

      435. A coastdown requires planning, data collection, and data processing,

but offers many opportunities for manipulation of the data. Data variability and error

can be controlled, but several factors must be considered under SAE standards,

including calculation of the mass of the vehicle, tire pressure, weather, and

environmental factors (e.g., wind speed, air temperature, humidity, and barometric

pressure), aerodynamic factors, and road surface, as well as experiment design and

methodology, measurement errors, data acquisition systems, and vehicle

qualifications. The SAE procedure on coastdown testing includes an appendix with




                                       - 115 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2170     Page 142 of 990




FORTRAN code that processes experimental velocity data and produces a

mathematical vehicle force model.

      436. The protocol specifies all conditions under which the engine is tested,

including lab temperature and vehicle conditions. Most importantly, the test cycle

defines the vehicle speed over time that is used to simulate a typical driving scenario.

An example of a driving cycle is shown in Figure A. This graph represents the FTP-

75 (Federal Test Procedure) cycle that has been created by the EPA and is used for

emission certification and fuel economy testing of passenger vehicles in the United

States. The cycle simulates an urban route with frequent stops. The cycle lasts 1,877

seconds (about 31 minutes) and covers a distance of 11.04 miles (17.77 km) at an

average speed of 21.2 mph (34.12 km/h).


                                       Figure A




                                        - 116 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2171    Page 143 of 990




        437. To assess conformance, these tests are carried out on a chassis

dynamometer, a fixture that holds a car in place while allowing its driven wheels to

turn (a treadmill for cars) with varying resistance meant to simulate the actual load

on the engine during on-road driving. Fuel consumption and emissions are measured

during the test and compared to an emissions standard that defines the maximum

pollutant levels that can be released during such a test. In the United States,

emissions standards are managed on a national level by the EPA. In addition,

California has its own emissions standards that are defined and enforced by CARB.

California standards are also adopted by a number of other states (“Section 177”

states).28 Together with California, these states cover a significant fraction of the

U.S. market, making them a de facto second national standard.

        F-150 and Ranger test results

        438. Testing was conducted on a 2018 Ford F-150 SuperCrew 4x2 truck and

a 2019 Ford Ranger SuperCrew 4x2 truck to independently verify the model inputs

used to calculate fuel economy of those vehicles.

        439. Fuel economy testing to provide the values listed on the Monroney label

of passenger cars and light duty trucks for sale in the United States is performed on

a chassis dynamometer, a kind of stationary treadmill that simulates the forces acting


   28
    Those states are: Connecticut, Maine, Maryland, Massachusetts, New Jersey,
New Mexico, New York, Oregon, Pennsylvania, Rhode Island, Vermont,
Washington, Delaware, Georgia, and North Carolina.

                                        - 117 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2172     Page 144 of 990




on the vehicle during real world driving. Dynamometer testing is required by the

United States Environmental Protection Agency (US EPA) for emissions

certification and fuel economy testing, both for labeling purposes and for compliance

with Corporate Average Fuel Economy, or CAFE, standards. Real world models

specific to every vehicle tested, called “road load models,” are used during testing

to ensure the dynamometer accurately simulates the real world frictional losses a

vehicle experiences during operation on the road. These models are specific to every

vehicle tested for fuel economy. For vehicles having a variety of body

configurations, like the F-150 and Ranger, each configuration and weight class

(grouped according to “equivalent test weight” by the EPA) will have its own unique

model. The road load model is obtained by performing a vehicle “coastdown,” a

process whereby the time to decelerate a vehicle from a high speed is measured. The

standardized technique for performing a coastdown is prescribed in the Code of

Federal Regulations, which references the use of Society or Automotive Engineering

(SAE) Standard J2263.

      440. In the case of both the 2018 F-150 tested and the 2019 Ranger, the road

load obtained in the J2263 coastdown for each vehicle was found to have more

resistance (which would result in more fuel consumption) than the road load models

reported to the EPA.




                                       - 118 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2173    Page 145 of 990




      441. In order to accurately measure fuel efficiency, the dynamometer rollers

must simulate the parasitic frictional forces a vehicle would experience if it were to

be driving on the road. The quadratic function below replicates these forces (a

combination of driveline parasitic losses, rolling resistance, and aerodynamic drag).

The coastdown test yields the coefficients (A, B, and C below) that are used to model

a particular vehicle’s road load. In certification documents and the EPA fuel

economy test database, these are often referred to as the “target coefficients:”

𝐹𝑜𝑟𝑐𝑒(𝑉) = 𝐴 + 𝐵 ∙ 𝑉 + 𝐶 ∙ 𝑉 , where V is the speed of the vehicle.

      442. Once a vehicle’s target coefficients are obtained, the vehicle is

calibrated, or “matched,” to the dynamometer to determine the force the

dynamometer must apply to simulate the target road load. The “match” accounts for

the friction and inertia inherent in the dynamometer’s driveline and rolls. This

process produces a data set called the “Set Coefficients,” values specific to a

particulate vehicle and a particular dynamometer calibration. Once the set

coefficients are obtained, the dynamometer can accurately replicate the weight (or

inertia) of the vehicle as well as the road load forces. The processes required by the

Code of Federal Regulations, as well as SAE J2264, were strictly followed to match

the vehicle to the dynamometer and to perform fuel economy testing.

      443. The 2018 Ford F-150 SuperCrew and 2019 Ford Ranger SuperCrew

used for testing were selected to replicate vehicles presented in the US EPA fuel



                                       - 119 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2174   Page 146 of 990




economy test database.29 The EPA database provides vehicle and test data details

including, cab length, drivetrain (4 wheel drive vs 2 wheel drive), axle ratio, engine,

and transmission. Furthermore, the database provides the road load model, and the

FTP-75, and HWFET results presented to the US EPA to certify the fuel economy.

SAE J2263 and EPA Guidance Letter CD-15-04 provided selection criteria for tire

size and trim options based on vehicle population statistics. The test-truck

configurations are shown in Table 1.

                               Table 1 - Test Vehicles
MY/Make Model        Cab Style Drivetrain   Axle    Engine     Transmission Equivalent
                                            Ratio                             Test
                                                                             Weight
                                                                              (lbs)
 2018 Ford   F-150SuperCrew        4x2      3.55    2.7L V6      10 Speed     5,000
                   (4 door)                         Ecoboost      Auto
 2019 Ford Ranger SuperCrew        4x2      3.73     2.3L I4     10 Speed     4,750
                   (4 door)                         Ecoboost      Auto

         444. In preparation for coastdown testing, the trucks and tires were aged to

just over 4,000 miles as directed by SAE J2263. The trucks were fitted with an

anemometer on a preceding boom, GPS antennae, and an eDAQ XR Lite data

acquisition system. The body was checked for any damage that might affect

aerodynamic drag. Tire tread depths and pressures were measured. The brakes were

checked for contact and the alignment was checked and adjusted as necessary. The

F-150 was loaded with sandbags to a scale weight of 4,990 lbs. and the Ranger to


    29
     Exhibit 7, Data on Cars used for Testing Fuel Economy, United States
Environmental Protection Agency, https://www.epa.gov/compliance-and-fuel-
economy-data/data-cars-used-testing-fuel-economy (last visited Aug. 11, 2020).

                                         - 120 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2175    Page 147 of 990




4,750 lbs. The trucks were warmed to operating temperature, as per SAE J2263, by

driving for more than 30 min at 50 mph. Once warmed, the tire pressures were re-

adjusted and the truck immediately tested.

      445. The coastdown test-driver accelerated the test truck to approximately

80 mph, placed the transmission into neutral, and coasted the truck until deceleration

reduced the speed below 9 mph. This process was repeated for each truck 12 times:

6 in each direction. Truck speed, time, apparent wind velocity, track temperature,

ambient temperature, and pressure were measured and recorded for each run. This

data was used to generate the force target coefficients listed in Table 2 and compared

to the EPA Fuel Economy Database target coefficients.

    Table 2 - Target Coefficients (A, B, and C) from Coastdown Tests with
                  Comparison to Values from EPA Database
             Target              Ford F-150             Ford Ranger
           Coefficients    From Test From EPA       From      From EPA
                                        Database     Test      Database
          A (lbf)           25.1113       26.570   23.7939      31.540
          B (lbf/mph)        0.9725      0.05130    0.8954     0.29320
          C (lbf/mph^2)      0.0273      0.03385    0.0288     0.03433

      446. The quadratic coefficients above are used to tune the dynamometer

during the dynamometer match. The effects of these different road load coefficients

can be seen in Figure 1.




                                       - 121 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20                                   PageID.2176       Page 148 of 990




                                             Comparison of EPA and Measured Road Load Models
                              300.0


                              250.0
      Road Load Force (lbf)




                              200.0


                              150.0
                                                                                                 EPA Reported Road Load
                                                                                                 Measured Road Load
                              100.0


                               50.0


                                0.0
                                      0     10    20    30       40      50   60   70    80
                                                             Speed (mph)

                                          Figure 1 – MY 2018 Ford F-150 Road Load Force
               447. Ford has used the same road load force curves for the 2020 Ranger and

the 2019-2020 F-150 as were used for the 2019 Ranger and 2018 F-150 shown in

Table 2.

   Table 3 - Target Coefficients (A, B, and C) from EPA Database for Later
                              Model Ford Trucks
     Target                                 Ford Ranger                          Ford F-150
   Coefficients                           MY 2020 From EPA         MY 2019 From EPA     MY 2020 From EPA
                                              Database                 Database             Database
   A (lbf)                                      31.540                   26.570               26.570
   B (lbf/mph)                                 0.29320                  0.05130              0.05130
   C                                           0.03433                  0.03385              0.03385
   (lbf/mph^2)


               448. The coefficients Ford supplied to the EPA underestimate the force

acting on the truck. This underestimation of force yields the over estimation of fuel

economy. In the speed ranges where the road load has the greatest effect on overall



                                                                   - 122 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2177    Page 149 of 990




engine load, road load forces are some 20-35% higher than those values reported to

the EPA.

      449. The Ranger measured road load model is some 5-8% higher in those

same speed ranges, see Figure 2.




           Figure 2 – MY 2019 Ford Ranger Road Load Drag Force
      450. Fuel economy was quantified on both the FTP-75 and HWFET cycles

in strict accordance with the federal regulations by accounting for both the fuel

properties and the carbon-containing emissions from the test cycles. Testing was

performed using Tier 2 gasoline, again as prescribed by regulations and as presented

in the EPA fuel economy database. The fuel economy values calculated from FTP-

75 and HWFET results were used to calculate label fuel economy using the derived




                                      - 123 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2178   Page 150 of 990




5-cycle method specified in 40 CFR § 600.115-1130 and shown in the equations

below:

                                                 1
                      𝐶𝑖𝑡𝑦 𝐹𝐸 =
                                                         𝐶𝑖𝑡𝑦𝑆𝑙𝑜𝑝𝑒
                                  𝐶𝑖𝑡𝑦 𝐼𝑛𝑡𝑒𝑟𝑐𝑒𝑝𝑡 +
                                                          𝐹𝑃𝑇 𝐹𝐸
        And for highway fuel efficiency;

                                                     1
             𝐻𝑖𝑔ℎ𝑤𝑎𝑦 𝐹𝐸 =
                                                           𝐻𝑖𝑔ℎ𝑤𝑎𝑦 𝑆𝑙𝑜𝑝𝑒
                              𝐻𝑖𝑔ℎ𝑤𝑎𝑦 𝐼𝑛𝑡𝑒𝑟𝑐𝑒𝑝𝑡 +
                                                            𝐻𝑊𝐹𝐸𝑇 𝐹𝐸
        451. The respective slopes and intercepts are created from a regression of

fuel economies across multiple vehicles. These values are periodically published

by the EPA Administrator. The coefficients for the model years corresponding to the

trucks tested are shown in Table 4.

         Table 4 Current Derived 5-cycle Coefficients. Source CD-15-15
                             Coefficients of Model Year 2017 and Later
         City Intercept                       0.004091
         City Slope                            1.1601
         Highway Intercept                    0.003191
         Highway Slope                         1.2945


   30
      Current fuel economy regulations require that every manufacturer test their
vehicle fuel economy using the same 5 test cycles used for emissions testing (FTP-
75, HWFET, US06, SC03, and Cold CO). A complex calculation is used based on
the results of each of those tests to determine the “City” and “Highway” fuel
economy to be used on the Monroney label. If the emissions test vehicle used for
emissions certification passes a “litmus test,” the EPA allows a “derived 5 cycle”
fuel economy calculation that is based on the results of two tests only: the FTP-75
and HWFET. The purpose of this litmus test is to reduce the number of total tests
manufacturers must perform to test for fuel economy. Because the 2019 Ford Ranger
and 2018 Ford F-150 both pass the litmus test in their certification applications, the
“derived 5 cycle” calculation is used.

                                       - 124 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2179    Page 151 of 990




      452. The calculated fuel economies obtained from testing are compared to

the fuel economies presented to the EPA in the application for certification and each

vehicle’s Monroney label in Table 5.

                      Table 5 - Fuel Economy Comparison
                          Ford F-150                         Ford Ranger
                    FE       FE      FE                FE       FE       FE
                  Measured EPA Monroney              Measured EPA Monroney
                            App                                 App
       City (mpg)   17.7     19.6    20                18.3     20.0     20
   Highway (mpg)    22.7     26.6    26                23.4     25.0     25
  Combined (mpg)    20.0     22.8    22                20.6     22.3     22

      453. For the Ford F-150, if the measured fuel economy values are rounded

to the nearest whole number, as prescribed for Monroney labeling calculations, the

resulting city fuel economy label would be 18 mpg for city driving, 23 mph for

highway driving, and 20 mph combined. Compared to the EPA label, this represents

a difference in fuel economy of 2 mpg for the city (10%), 3 mpg highway (12%),

and 2 mpg combined (9%). The certification application states a full useful life of

150,000 miles. Over this lifetime mileage, there will be an additional 833 gallons

consumed for city driving, 752 gallons for highway driving, and 682 gallons

combined. Based on the current national average fuel price of $2.79, this would

represent an added lifetime fuel cost of $2,324, $2,098, and $1,903 for city, highway,

and combined, respectively.

      454. For the Ford Ranger, if the measured fuel economy values are rounded

to the nearest whole number, as prescribed for Monroney labeling calculations, the


                                       - 125 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2180    Page 152 of 990




resulting city fuel economy label would be 18 mpg for city driving, 23 mph for

highway driving, and 21 mph combined. Compared to the EPA label, this represents

a loss in fuel economy of 2 mpg for the city (10%), 2 mpg highway (8%), and 1 mpg

combined (5%). The certification application states a full useful life of 150,000

miles. Over this lifetime mileage, there will be an additional 833 gallons for city

driving, 522 gallons for highway driving, and 325 gallons combined. Based on the

current national average fuel price of $2.79, this would represent an added lifetime

fuel cost of $2,324, $1,456, and $907 for city, highway, and combined, respectively.

      455. The difference in fuel consumption and money spent over the 150,000

mile life of the vehicles is summarized in Table below.

   Table 6 – Lifetime Additional Fuel Consumed and Money Spend on Fuel
        Based on Actual Testing Compared to EPA Reported Valued
                               Ford F-150        Ford Ranger
                             Gallons    $    Gallons       $
                 City (mpg)   833     $2,324    833     $2,324
            Highway (mpg)     752     $2,098    522     $1,456
           Combined (mpg)     682     $1,903    325      $907


      456. By cheating in the certification testing, Ford made its F-150 trucks more

appealing and competitive in the marketplace, to the point of being named “best in

class” for some F-150’s and driving up sales and profits.




                                      - 126 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2181    Page 153 of 990




        Ford’s History of Cheating

        457. Ford has a long history of emissions cheating. The recent Volkswagen

emissions cheating debacle is definitely not the first. In 1973, Ford and Volkswagen

were caught in the EPA’s first investigation into emission cheating devices.

        458. Ford was caught again in 1998, using a cheat device in 60,000

Econoline vans, which resulted in a multi-million-dollar settlement with the EPA.31

        459. Ford was caught just last year, cheating on emissions certification for

over 500,000 heavy-duty diesel trucks for which Ford was sued and a motion to

dismiss was denied in material respects.

        460. Ford is increasingly misrepresenting the fuel efficiency of its vehicles,

which is a more indirect way of cheating on emissions requirements. Through

computer modeling, Ford constructs a fuel efficiency for each vehicle that does not

exist in the real world.

        461. Ford over-stated the fuel efficiency of its Ford Fusion and C-MAX

hybrid vehicles and was sued for it. As a result, “[i]n 2013 and 2014, it lowered the

gas mileage ratings on several hybrid cars by one to seven miles per gallon.”32




   31
      Exhibit 12, Ryan Beene, VW Emissions ‘Defeat Device’ Isn’t the First,
AutoWeek (Sep. 24, 2015), https://autoweek.com/article/car-news/vw-emissions-
defeat-device-isnt-first (last visited Aug. 11, 2020).
   32
      Exhibit 2, supra fn. 2.

                                        - 127 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2182    Page 154 of 990




        Ford advertising for the Ranger emphasizes fuel economy.

        462. Even after Ford employees had come forward about the cheating,

Ford’s media center touted the 2019 Ranger truck as having amazing performance

without compromise, and the claims of its fuel efficiency are front and center:




       With EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg highway
        and 23 mpg combined, 2019 Ford Ranger is the most fuel-efficient gas-
        powered midsize pickup in America

December 11, 2018 Ford Media Press Release titled, “Adventure Further: All-New

Ford Ranger Rated Most Fuel-Efficient Gas-Powered Midsize Pickup in America.”33

        463. Ford’s claim of most fuel efficient in its class is repeated in sales

brochures for the 2019 Ranger34:


   33
        Exhibit 4, supra fn. 4.
   34
        Exhibit 13, 2019 Ford Ranger brochure.

                                       - 128 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2183    Page 155 of 990




        Ford promotes the F-150 as best in class for fuel economy or publishes
        MPG estimates to beat its competition.

        464. The F-150 is the best-selling vehicle in the United States and has been

for decades. In 2018, Ford sold more than 1.075 million F series vehicles globally,

a sale every 29.3 seconds. As Ford executive Jim Farley noted, “But it’s our F-

Series juggernaut that leads the world in sales, capability and smart technology,

setting the bar others follow.”35



   35
      Exhibit 17, Ford Surpasses 1 Million Truck Sales in 2018, Ford Media Center
(Jan. 12, 2019),
https://media.ford.com/content/fordmedia/fna/us/en/news/2019/01/12/ford-
surpasses-1-million-truck-sales-in-2018.html (last visited Aug. 11, 2020).

                                       - 129 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2184    Page 156 of 990




        465. To stimulate F-150 sales and maintain its lead over competitors like the

Dodge Ram, Ford announced that the 2018 Ford F-150 would be best in class for

fuel economy and/or published inflated MPG estimates.

        466. As early as August 2017, based on information from Ford, consumers

were told to expect “better fuel economy” in the 2018 F-150.

        467. The Monroney sticker for a 2018 F-150 2.7 V636 lists the MPG as

follows:




   36
        Exhibit 18, Monroney sticker for 2018 F-150 2.7 V6.

                                       - 130 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2185     Page 157 of 990




        468. An August 10, 2017 cnet.com article “2018 Ford F-150 touts best-in-

class towing, payload, fuel economy” states:

              Buyers have a choice of five different engines. The base
              offering is a 290-horsepower 3.3-liter V6, followed by a
              325-hp 2.7-liter turbo V6. In the middle of the range is the
              5.0-liter V8 with 395 horsepower. The top two engine
              choices are both 3.5-liter turbocharged V6s -- one putting
              out 375 horsepower, and the other putting out 450.[37]

        469. The cnet.com article emphasizes fuel economy:

              With these new engines comes better fuel economy. And
              once again, Ford gets to claim best-in-class, thanks to the
              2.7-liter V6, which achieves 20 mpg city and 26 mpg
              highway in 2WD. The 3.3-liter V6 isn’t very far behind it
              at 19 mpg city and 25 mpg highway. The thirstiest engine
              of the bunch is the high-output 3.5-liter turbo V6, which
              still isn’t too bad at 15 mpg city and 18 mpg highway.38

        470. The 2018 F-150 brochure39 lists the estimated fuel economy for the

various types of 150s:




   37
       Exhibit 19, Andrew Krok, 2018 Ford F-150 touts best-in-class towing,
payload,      fuel    economy,      Road       Show     (Aug.       10,    2017),
https://www.cnet.com/roadshow/news/2018-ford-f-150-touts-best-in-class-towing-
payload-fuel-economy/ (last visited Aug. 11, 2020) (emphasis in original).
   38
      Id.
   39
      Exhibit 20, 2018 Ford F-150 brochure.

                                        - 131 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2186   Page 158 of 990




                                   - 132 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2187   Page 159 of 990




                                   - 133 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2188   Page 160 of 990




                                   - 134 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2189   Page 161 of 990




                                   - 135 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2190   Page 162 of 990




                                   - 136 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2191     Page 163 of 990




      Economic harm

      471. As a result of Defendant’s unfair, deceptive, and/or fraudulent business

practices, Plaintiffs did not receive the fuel efficiency that was advertised and will

incur increased fuel costs over the life of their vehicle. Had Ford told the truth, that

it was cheating on its coastdown testing, Plaintiffs would not have bought their

vehicle or would have paid substantially less.

                 TOLLING OF THE STATUTE OF LIMITATIONS

      Discovery rule tolling

      472. Class members had no way of knowing about Ford’s deception with

respect to the Coastdown Cheating Vehicles’ performance in real-world driving. To

be sure, Ford continues to market the Coastdown Cheating Vehicles, including the

2019-2020 Ranger and 2018-2020 F-150, with false representations of its fuel

efficiency.

      473. Within the period of any applicable statutes of limitation, Plaintiffs and

members of the proposed Class could not have discovered through the exercise of

reasonable diligence that Ford was concealing the conduct complained of herein and

misrepresenting the company’s true position with respect to the performance of the

Coastdown Cheating Vehicles.

      474. Plaintiffs and the other Class members did not discover, and did not

know of, facts that would have caused a reasonable person to suspect that Ford did

not report information within its knowledge to federal and state authorities, its

                                        - 137 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2192    Page 164 of 990




dealerships, or consumers; nor would a reasonable and diligent investigation have

disclosed that Ford had concealed information about the true emissions of the

Coastdown Cheating Vehicles, which was discovered by Plaintiffs only shortly

before this action was filed. Nor in any event would such an investigation on the part

of Plaintiffs and other Class members have disclosed that Ford valued profits over

truthful marketing and compliance with the law.

      475. For these reasons, all applicable statutes of limitation have been tolled

by operation of the discovery rule with respect to claims as to the Coastdown

Cheating Vehicles.

      Fraudulent concealment tolling

      476. All applicable statutes of limitation have also been tolled by Ford’s

knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the period relevant to this action.

      477. Instead of disclosing its fuel economy and emissions testing scheme,

Ford continues to falsely represent that the Coastdown Cheating Vehicles have

higher fuel economy and lower emissions than advertised.

      Estoppel

      478. Ford was under a continuous duty to disclose to Plaintiffs and the other

Class members the true character, quality, and nature of the Coastdown Cheating

Vehicles’ fuel efficiency and emissions.



                                       - 138 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2193    Page 165 of 990




      479. Ford knowingly, affirmatively, and actively concealed or recklessly

disregarded the true nature, quality, and character of the fuel efficiency and

emissions in the Coastdown Cheating Vehicles and continues to do so in its

advertising and brochures for continued sale of these vehicles.

      480. Based on the foregoing, Ford is estopped from relying on any statutes

of limitations in defense of this action.

                                  CLASS DEFINITIONS

      481. Plaintiffs bring this action on behalf of themselves and as a class action,

pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of

Civil Procedure, on behalf of the following class (collectively, the “Class”):

             Nationwide Class
             All persons who purchased or leased a Ford vehicle whose
             published EPA fuel economy ratings, as printed on the
             vehicles’ window sticker, were more than the fuel
             economy rating produced by a properly conducted
             applicable federal mileage test. The vehicles in the Class
             include but are not limited to the model year 2019 and
             2020 Ford Ranger and the 2018, 2019, and 2020 Ford F-
             150.




                                        - 139 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20    PageID.2194    Page 166 of 990




            Alabama Subclass
            All members of the Nationwide Class who are residents of Alabama or
            purchased or leased their Coastdown Cheating Vehicle in Alabama.

            Alaska Subclass
            All members of the Nationwide Class who are residents of Alaska or
            purchased or leased their Coastdown Cheating Vehicle in Alaska.

            Arizona Subclass
            All members of the Nationwide Class who are residents of Arizona or
            purchased or leased their Coastdown Cheating Vehicle in Arizona.

            Arkansas Subclass
            All members of the Nationwide Class who are residents of Arkansas or
            purchased or leased their Coastdown Cheating Vehicle in Arkansas.

            California Subclass
            All members of the Nationwide Class who are residents of California
            or purchased or leased their Coastdown Cheating Vehicle in California.

            Colorado Subclass
            All members of the Nationwide Class who are residents of Colorado or
            purchased or leased their Coastdown Cheating Vehicle in Colorado.

            Connecticut Subclass
            All members of the Nationwide Class who are residents of Connecticut
            or purchased or leased their Coastdown Cheating Vehicle in
            Connecticut.

            Delaware Subclass
            All members of the Nationwide Class who are residents of Delaware or
            purchased or leased their Coastdown Cheating Vehicle in Delaware.

            Florida Subclass
            All members of the Nationwide Class who are residents of Florida or
            purchased or leased their Coastdown Cheating Vehicle in Florida.

            Georgia Subclass
            All members of the Nationwide Class who are residents of Georgia or
            purchased or leased their Coastdown Cheating Vehicle in Georgia.


                                     - 140 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20    PageID.2195   Page 167 of 990




            Hawaii Subclass
            All members of the Nationwide Class who are residents of Hawaii or
            purchased or leased their Coastdown Cheating Vehicle in Hawaii.

            Idaho Subclass
            All members of the Nationwide Class who are residents of Idaho or
            purchased or leased their Coastdown Cheating Vehicle in Idaho.

            Illinois Subclass
            All members of the Nationwide Class who are residents of Illinois or
            purchased or leased their Coastdown Cheating Vehicle in Illinois.

            Indiana Subclass
            All members of the Nationwide Class who are residents of Indiana or
            purchased or leased their Coastdown Cheating Vehicle in Indiana.

            Iowa Subclass
            All members of the Nationwide Class who are residents of Iowa or
            purchased or leased their Coastdown Cheating Vehicle in Iowa.

            Kansas Subclass
            All members of the Nationwide Class who are residents of Kansas or
            purchased or leased their Coastdown Cheating Vehicle in Kansas.

            Kentucky Subclass
            All members of the Nationwide Class who are residents of Kentucky or
            purchased or leased their Coastdown Cheating Vehicle in Kentucky.

            Louisiana Subclass
            All members of the Nationwide Class who are residents of Louisiana
            or purchased or leased their Coastdown Cheating Vehicle in Louisiana.

            Maine Subclass
            All members of the Nationwide Class who are residents of Maine or
            purchased or leased their Coastdown Cheating Vehicle in Maine.

            Maryland Subclass
            All members of the Nationwide Class who are residents of Maryland or
            purchased or leased their Coastdown Cheating Vehicle in Maryland.


                                    - 141 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20    PageID.2196   Page 168 of 990




            Massachusetts Subclass
            All members of the Nationwide Class who are residents of
            Massachusetts or purchased or leased their Coastdown Cheating
            Vehicle in Massachusetts.

            Michigan Subclass
            All members of the Nationwide Class who are residents of Michigan or
            purchased or leased their Coastdown Cheating Vehicle in Michigan.

            Minnesota Subclass
            All members of the Nationwide Class who are residents of Minnesota
            or purchased or leased their Coastdown Cheating Vehicle in Minnesota.

            Mississippi Subclass
            All members of the Nationwide Class who are residents of Mississippi
            or purchased or leased their Coastdown Cheating Vehicle in
            Mississippi.

            Missouri Subclass
            All members of the Nationwide Class who are residents of Missouri or
            purchased or leased their Coastdown Cheating Vehicle in Missouri.

            Montana Subclass
            All members of the Nationwide Class who are residents of Montana or
            purchased or leased their Coastdown Cheating Vehicle in Montana.

            Nebraska Subclass
            All members of the Nationwide Class who are residents of Nebraska or
            purchased or leased their Coastdown Cheating Vehicle in Nebraska.

            Nevada Subclass
            All members of the Nationwide Class who are residents of Nevada or
            purchased or leased their Coastdown Cheating Vehicle in Nevada.

            New Hampshire Subclass
            All members of the Nationwide Class who are residents of New
            Hampshire or purchased or leased their Coastdown Cheating Vehicle
            in New Hampshire.



                                    - 142 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.2197   Page 169 of 990




            New Jersey Subclass
            All members of the Nationwide Class who are residents of New Jersey
            or purchased or leased their Coastdown Cheating Vehicle in New
            Jersey.

            New Mexico Subclass
            All members of the Nationwide Class who are residents of New Mexico
            or purchased or leased their Coastdown Cheating Vehicle in New
            Mexico.

            New York Subclass
            All members of the Nationwide Class who are residents of New York
            or purchased or leased their Coastdown Cheating Vehicle in New York.

            North Carolina Subclass
            All members of the Nationwide Class who are residents of North
            Carolina or purchased or leased their Coastdown Cheating Vehicle in
            North Carolina.

            North Dakota Subclass
            All members of the Nationwide Class who are residents of North
            Dakota or purchased or leased their Coastdown Cheating Vehicle in
            North Dakota.

            Ohio Subclass
            All members of the Nationwide Class who are residents of Ohio or
            purchased or leased their Coastdown Cheating Vehicle in Ohio.

            Oklahoma Subclass
            All members of the Nationwide Class who are residents of Oklahoma
            or purchased or leased their Coastdown Cheating Vehicle in Oklahoma.

            Oregon Subclass
            All members of the Nationwide Class who are residents of Oregon or
            purchased or leased their Coastdown Cheating Vehicle in Oregon.

            Pennsylvania Subclass
            All members of the Nationwide Class who are residents of
            Pennsylvania or purchased or leased their Coastdown Cheating Vehicle
            in Pennsylvania.


                                    - 143 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20    PageID.2198   Page 170 of 990




            Rhode Island Subclass
            All members of the Nationwide Class who are residents of Rhode Island
            or purchased or leased their Coastdown Cheating Vehicle in Rhode
            Island.

            South Carolina Subclass
            All members of the Nationwide Class who are residents of South
            Carolina or purchased or leased their Coastdown Cheating Vehicle in
            South Carolina.

            South Dakota Subclass
            All members of the Nationwide Class who are residents of South
            Dakota or purchased or leased their Coastdown Cheating Vehicle in
            South Dakota.

            Tennessee Subclass
            All members of the Nationwide Class who are residents of Tennessee
            or purchased or leased their Coastdown Cheating Vehicle in Tennessee.

            Texas Subclass
            All members of the Nationwide Class who are residents of Texas or
            purchased or leased their Coastdown Cheating Vehicle in Texas.

            Utah Subclass
            All members of the Nationwide Class who are residents of Utah or
            purchased or leased their Coastdown Cheating Vehicle in Utah.

            Vermont Subclass
            All members of the Nationwide Class who are residents of Vermont or
            purchased or leased their Coastdown Cheating Vehicle in Vermont.

            Virginia Subclass
            All members of the Nationwide Class who are residents of Virginia or
            purchased or leased their Coastdown Cheating Vehicle in Virginia.

            Washington Subclass
            All members of the Nationwide Class who are residents of Washington
            or purchased or leased their Coastdown Cheating Vehicle in
            Washington.


                                     - 144 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2199    Page 171 of 990




             West Virginia Subclass
             All members of the Nationwide Class who are residents of West
             Virginia or purchased or leased their Coastdown Cheating Vehicle in
             West Virginia.

             Wisconsin Subclass
             All members of the Nationwide Class who are residents of Wisconsin
             or purchased or leased their Coastdown Cheating Vehicle in Wisconsin.

             Wyoming Subclass
             All members of the Nationwide Class who are residents of Wyoming
             or purchased or leased their Coastdown Cheating Vehicle in Wyoming.

      482. The class is likely to also include other vehicles, as well as other model

year vehicles.   Plaintiffs reserve the right to amend the proposed class after

additional information is received from Ford Motor Company in discovery.

      483. Excluded from the Class are individuals who have personal injury

claims resulting from the high emissions in the Coastdown Cheating Vehicles. Also

excluded from the Class are Ford and its subsidiaries and affiliates; all persons who

make a timely election to be excluded from the Class; governmental entities; the

Judge to whom this case is assigned and his/her immediate family; and Plaintiffs’

counsel.

      484. Plaintiffs reserve the right to revise the Class definition based upon

information learned through discovery.

      485. Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-wide



                                       - 145 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2200    Page 172 of 990




basis using the same evidence as would be used to prove those elements in individual

actions alleging the same claim.

      486. This action has been brought and may be properly maintained on behalf

of the Class proposed herein under Federal Rule of Civil Procedure 23.

      487. Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of

the Class are so numerous and geographically dispersed that individual joinder of all

Class members is impracticable. For purposes of this complaint, Plaintiffs allege that

there are in excess of an estimated 1,000,000 or more vehicles in the Class. The

precise number of Class members is unknown to Plaintiffs but may be ascertained

from Ford’s books and records. Class members may be notified of the pendency of

this action by recognized, Court-approved notice dissemination methods, which may

include U.S. Mail, electronic mail, Internet postings, and/or published notice.

      488. Commonality and Predominance: Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3): This action involves common questions of law and fact, which

predominate over any questions affecting individual Class members, including,

without limitation:

             a)       Whether Ford engaged in the conduct alleged herein;

             b)       Whether Ford designed, advertised, marketed, distributed,
                      leased, sold, or otherwise placed Coastdown Cheating Vehicles
                      into the stream of commerce in the United States;




                                        - 146 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2201    Page 173 of 990




             c)    Whether Ford provided false information to consumers
                   regarding the fuel efficiency and emissions of the Coastdown
                   Cheating Vehicles;

             d)    Whether Ford provided false information to the EPA regarding
                   the fuel efficiency and emissions of the Coastdown Cheating
                   Vehicles;

             e)    Whether Ford knew, and for how long, that the testing
                   certifying the fuel efficiency and emissions of the Coastdown
                   Cheating Vehicles was tainted by inaccurate information;

             f)    Whether Ford intentionally designed, manufactured, marketed,
                   and distributed Coastdown Cheating Vehicles with misleading
                   fuel efficiency and emissions ratings;

             g)    Whether Plaintiffs and the other Class members overpaid for
                   their vehicles at the point of sale; and

             h)    Whether Plaintiffs and the other Class members are entitled to
                   damages and other monetary relief and, if so, in what amount.

      489. Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims

are typical of the other Class members’ claims because, among other things, all Class

members were comparably injured through Ford’s wrongful conduct as described

above.

      490. Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are

adequate Class representatives because their interests do not conflict with the

interests of the other members of the Class they seek to represent; Plaintiffs have

retained counsel competent and experienced in complex class action litigation; and

Plaintiffs intend to prosecute this action vigorously. Plaintiffs’ counsel have




                                       - 147 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2202    Page 174 of 990




extensive experience in emissions cases. The Class’s interests will be fairly and

adequately protected by Plaintiffs and their counsel.

      491. Declaratory and Injunctive Relief: Federal Rule of Civil Procedure

23(b)(2): Ford has acted or refused to act on grounds generally applicable to

Plaintiffs and the other members of the Class, thereby making appropriate final

injunctive relief and declaratory relief with respect to the Class as a whole.

      492. Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is

superior to any other available means for the fair and efficient adjudication of this

controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class members are relatively small compared to the

burden and expense that would be required to individually litigate their claims

against Ford, so it would be impracticable for the members of the Classes to

individually seek redress for Ford’s wrongful conduct. Even if Class members could

afford individual litigation, the court system could not. Individualized litigation

creates a potential for inconsistent or contradictory judgments and increases the

delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.




                                        - 148 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2203    Page 175 of 990




                                CLASS ALLEGATIONS

      Claims Brought on Behalf of the Alabama Subclass

                                     COUNT 1

                      VIOLATION OF THE ALABAMA
                    DECEPTIVE TRADE PRACTICES ACT
                        (ALA. CODE § 8-19-1 et seq.)

      493. Plaintiffs William Don Cook, Ronald J. Dismukes, and Jeffrey Foshee

(“Alabama Plaintiffs”) hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      494. This claim is brought by the Alabama Plaintiffs on behalf of the

Alabama Subclass.

      495. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”)

declares several specific actions to be unlawful, including: “engaging in any other

unconscionable, false, misleading, or deceptive act or practice in the conduct of trade

or commerce.” ALA. CODE § 8-19-5.

      496. Alabama Plaintiffs and the Alabama Subclass are “consumers” within

the meaning of ALA. CODE. § 8-19-3(2).

      497. Alabama Plaintiffs, the Alabama Subclass, and Ford are “persons”

within the meaning of ALA. CODE § 8-19-3(3).

      498. Ford was and is engaged in “trade or commerce” within the meaning of

ALA. CODE § 8-19-3(8).




                                        - 149 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2204    Page 176 of 990




      499. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      500. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      501. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Alabama Plaintiffs and the Alabama

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      502. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Alabama

Plaintiffs and the Alabama Subclass.

      503. Ford knew or should have known that its conduct violated the Alabama

DTPA.



                                       - 150 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2205     Page 177 of 990




      504. Ford owed Alabama Plaintiffs and the Alabama Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.      Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

            b.      Intentionally concealed the foregoing from
                    Alabama Plaintiffs and the Alabama Subclass;
                    and/or

            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Alabama Plaintiffs and the
                    Alabama Subclass that contradicted these
                    representations.

      505. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Alabama Plaintiffs and the

Alabama Subclass.

      506. Alabama Plaintiffs and the Alabama Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Alabama Plaintiffs and the Alabama Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Alabama DTPA.




                                        - 151 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2206    Page 178 of 990




      507. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Alabama DTPA.

      508. As a direct and proximate result of Ford’s violations of the Alabama

DTPA, Alabama Plaintiffs and the Alabama Subclass have suffered injury-in-fact

and/or actual damage.

      509. Ford’s violations present a continuing risk to Alabama Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      510. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      511. Pursuant to ALA. CODE § 8-19-10, Alabama Plaintiffs seek monetary

relief against Ford measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $100 for each plaintiff.

      512. Alabama Plaintiffs also seek an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, attorneys’ fees, and any other just and proper relief

available under ALA. CODE. § 8-19-1, et seq.




                                        - 152 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2207    Page 179 of 990




       513. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

       514. On June 20, 2019, Plaintiffs sent a letter complying with A LA. CODE

§ 8-19-10(e) to Ford. Ford failed to remedy its unlawful conduct within the requisite

period. Thus, Alabama Plaintiffs seek all damages and relief to which they are

entitled.

                                     COUNT 2

                            BREACH OF CONTRACT
                          (BASED ON ALABAMA LAW)

       515. Alabama Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       516. This claim is brought by Alabama Plaintiffs on behalf of the Alabama

Subclass.

       517. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Alabama Plaintiffs and the Alabama Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Alabama Plaintiffs and the Alabama Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did


                                       - 153 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2208    Page 180 of 990




not contain the reduced mileage. Accordingly, Alabama Plaintiffs and the Alabama

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       518. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Alabama Plaintiffs and the Alabama Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       519. As a direct and proximate result of Ford’s breach of contract, Alabama

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                    COUNT 3

                          BREACH OF EXPRESS WARRANTY
                               (ALA. CODE § 7-2-313)

       520. Alabama Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.




                                      - 154 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2209    Page 181 of 990




      521. This claim is brought by Alabama Plaintiffs on behalf of the Alabama

Subclass.

      522. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Ala. Code § 7-2-104.

      523. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      524. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      525. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      526. These affirmations and promises were part of the basis of the bargain

that was reached when Alabama Plaintiffs and the other Alabama Subclass members

purchased or leased the Coastdown Cheating Vehicles.



                                      - 155 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2210    Page 182 of 990




      527. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      528. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      529. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Alabama Plaintiffs and the Alabama Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      530. Accordingly, recovery by the Alabama Plaintiffs and the Alabama

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Alabama Plaintiffs, individually and on behalf of the

other Alabama Subclass members, seek all remedies as allowed by law.

      531. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently



                                       - 156 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2211     Page 183 of 990




concealed material facts regarding the Coastdown Cheating Vehicles. Alabama

Plaintiffs and the Alabama Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       532. Finally, due to Ford’s breach of warranty as set forth herein, Alabama

Plaintiffs and the Alabama Subclass assert as an additional and/or alternative

remedy, the revocation of acceptance of the goods, and the return to Alabama

Plaintiffs and the Alabama Subclass members of the purchase price of all Coastdown

Cheating Vehicles currently owned for such other incidental and consequential

damages as allowed under Ala. Code § 7-2-114.

       533. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       534. As a direct and proximate result of Ford’s breach of express warranties,

Alabama Plaintiffs and the Alabama Subclass have been damaged in an amount to

be determined at trial.

                                     COUNT 4

                          FRAUDULENT CONCEALMENT
                           (BASED ON ALABAMA LAW)

       535. Alabama Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.


                                       - 157 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2212    Page 184 of 990




      536. This claim is brought by Alabama Plaintiffs on behalf of the Alabama

Subclass.

      537. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Alabama Plaintiffs and the Alabama Subclass information

that is highly relevant and material to their purchasing decision.

      538. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      539. Ford further affirmatively misrepresented to Alabama Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      540. Ford knew these representations were false when made.




                                        - 158 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2213    Page 185 of 990




      541. The Coastdown Cheating Vehicles purchased or leased by Alabama

Plaintiffs and the Alabama Subclass were, in fact, defective, with reduced fuel

efficiency.

      542. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Alabama Plaintiffs and the

Alabama Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      543. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      544. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Alabama Plaintiffs and the Alabama Subclass

did not know of these facts and Ford actively concealed these facts from Alabama

Plaintiffs and the Alabama Subclass.




                                        - 159 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2214     Page 186 of 990




      545. Alabama Plaintiffs and the Alabama Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Alabama Plaintiffs and the Alabama

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Alabama Plaintiffs and the Alabama Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      546. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Alabama Plaintiffs and the Alabama Subclass

placed in its representations.

      547. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Alabama Plaintiffs and the Alabama

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      548. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                        - 160 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2215    Page 187 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Alabama Plaintiffs and the Alabama Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Alabama Plaintiffs and the Alabama Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Alabama Plaintiffs and the

Alabama Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Alabama Plaintiffs and the Alabama Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.




                                      - 161 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2216    Page 188 of 990




      549. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Alabama

Plaintiffs and the Alabama Subclass.

      550. Ford has still not made full and adequate disclosures and continues to

defraud Alabama Plaintiffs and the Alabama Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      551. Alabama Plaintiffs and the Alabama Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Alabama Plaintiffs’ and the Alabama Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Alabama Plaintiffs, or Alabama Subclass members.

      552. Because of the concealment and/or suppression of the facts, Alabama

Plaintiffs and the Alabama Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel



                                        - 162 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2217    Page 189 of 990




costs over what was represented by Ford. Had they been aware of the true facts,

Alabama Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      553. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Alabama Plaintiffs and the Alabama Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      554. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Alabama Plaintiffs’

and the Alabama Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                     COUNT 5

                    NEGLIGENT MISREPRESENTATION
                       (BASED ON ALABAMA LAW)

      555. Alabama Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      556. This claim is brought by the Alabama Plaintiffs on behalf of the

Alabama Subclass.




                                       - 163 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2218    Page 190 of 990




      557. Defendant made fuel economy representations to Alabama Plaintiffs

and members of the Class that were not true.

      558. Defendant      had   no   reasonable    grounds    for   believing   these

representations were true when they made them, yet they intended that Alabama

Plaintiffs and Alabama Subclass members rely on these misrepresentations.

      559. Alabama Plaintiffs reasonably relied on Defendant’s representations

and as a result Alabama Plaintiffs and Alabama Subclass members were harmed.

                                     COUNT 6

                           UNJUST ENRICHMENT
                         (BASED ON ALABAMA LAW)

      560. Alabama Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      561. This claim is brought by the Alabama Plaintiffs on behalf of the

Alabama Subclass.

      562. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Alabama Plaintiffs and the Alabama Subclass.

      563. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Alabama Plaintiffs and other Alabama Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                       - 164 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2219     Page 191 of 990




      564. Alabama Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Alabama Subclass.

      Claims brought on behalf of the Alaska Subclass

                                     COUNT 7

      VIOLATION OF THE ALASKA UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION ACT
              (ALASKA STAT. ANN. § 45.50.471 et seq.)

      565. Alaska Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      566. This claim is brought by Alaska Plaintiffs on behalf of the Alaska

Subclass.

      567. The Alaska Unfair Trade Practices and Consumer Protection Act

(Alaska CPA) declared unfair methods of competition and unfair or deceptive acts

or practices in the conduct of trade or commerce unlawful, including “using or

employing deception, fraud, false pretense, false promise, misrepresentation, or

knowingly concealing, suppressing, or omitting a material fact with intent that others

rely upon the concealment, suppression or omission in connection with the sale or

advertisement of goods or services whether or not a person has in fact been misled,

deceived or damaged.” ALASKA STAT. ANN. § 45.50.471.




                                       - 165 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2220    Page 192 of 990




       568. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

       569. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

       570. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Alaska Plaintiffs and the Alaska

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       571. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Alaska Plaintiffs

and the Alaska Subclass.

       572. Ford knew or should have known that its conduct violated the Alaska

CPA.



                                       - 166 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2221     Page 193 of 990




      573. Ford owed Alaska Plaintiffs and the Alaska Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Alaska
                   Plaintiffs and the Alaska Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Alaska Plaintiffs and the Alaska
                   Subclass that contradicted these representations.

      574. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Alaska Plaintiffs and the

Alaska Subclass.

      575. Alaska Plaintiffs and the Alaska Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Alaska Plaintiffs and the Alaska Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Alaska CPA.

      576. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Alaska CPA.

                                       - 167 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2222    Page 194 of 990




      577. As a direct and proximate result of Ford’s violations of the Alaska CPA,

Alaska Plaintiffs and the Alaska Subclass have suffered injury-in-fact and/or actual

damage.

      578. Ford’s violations present a continuing risk to Alaska Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      579. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      580. Pursuant to ALASKA STAT ANN. § 45.50.531, Plaintiffs seek monetary

relief against Ford measured as the greater of (a) three times the actual damages in

an amount to be determined at trial or (b) $500 for each plaintiff.

      581. Plaintiffs also seek an order enjoining Ford’s unfair, unlawful, and/or

deceptive practices pursuant to ALASKA STAT. ANN. § 45.50.535(b)(1), attorneys’

fees, and any other just and proper relief available under the Alaska CPA.

      582. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.




                                       - 168 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2223    Page 195 of 990




       583. Plaintiffs sent a letter on June 20, 2019 complying with ALASKA STAT.

ANN. § 45.50.535(b)(1) to Ford.

                                    COUNT 8

                            BREACH OF CONTRACT
                           (BASED ON ALASKA LAW)

       584. Alaska Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       585. This claim is brought by Alaska Plaintiffs on behalf of the Alaska

Subclass.

       586. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Alaska Plaintiffs and the Alaska Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Alaska Plaintiffs and the Alaska Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Alaska Plaintiffs and the Alaska Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.




                                      - 169 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2224    Page 196 of 990




        587. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Alaska Plaintiffs and the Alaska Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        588. As a direct and proximate result of Ford’s breach of contract, Alaska

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 9

                          BREACH OF EXPRESS WARRANTY
                               (AK. STAT. § 45.02.313)

        589. Alaska Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

        590. This claim is brought by Alaska Plaintiffs on behalf of the Alaska

Subclass.

        591. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Ak. Stat. § 45.02.104.


                                       - 170 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2225    Page 197 of 990




      592. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      593. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      594. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      595. These affirmations and promises were part of the basis of the bargain

that was reached when Alaska Plaintiffs and the other Alaska Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      596. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 171 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2226    Page 198 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      597. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      598. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Alaska Plaintiffs and the Alaska Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      599. Accordingly, recovery by the Alaska Plaintiffs and the Alaska Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Alaska Plaintiffs, individually and on behalf of the other Alaska Subclass

members, seek all remedies as allowed by law.

      600. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Alaska

Plaintiffs and the Alaska Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 172 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2227     Page 199 of 990




       601. Finally, due to Ford’s breach of warranty as set forth herein, Alaska

Plaintiffs and the Alaska Subclass assert as an additional and/or alternative remedy,

the revocation of acceptance of the goods, and the return to Alaska Plaintiffs and the

Alaska Subclass members of the purchase price of all Coastdown Cheating Vehicles

currently owned for such other incidental and consequential damages as allowed

under Ak. Stat. § 45.02.714.

       602. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       603. As a direct and proximate result of Ford’s breach of express warranties,

Alaska Plaintiffs and the Alaska Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 10

                          FRAUDULENT CONCEALMENT
                            (BASED ON ALASKA LAW)

       604. Alaska Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       605. This claim is brought by Alaska Plaintiffs on behalf of the Alaska

Subclass.




                                       - 173 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2228    Page 200 of 990




      606. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Alaska Plaintiffs and the Alaska Subclass information that

is highly relevant and material to their purchasing decision.

      607. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      608. Ford further affirmatively misrepresented to Alaska Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      609. Ford knew these representations were false when made.

      610. The Coastdown Cheating Vehicles purchased or leased by Alaska

Plaintiffs and the Alaska Subclass were, in fact, defective, with reduced fuel

efficiency.




                                        - 174 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2229    Page 201 of 990




      611. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Alaska Plaintiffs and the

Alaska Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      612. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      613. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Alaska Plaintiffs and the Alaska Subclass did

not know of these facts and Ford actively concealed these facts from Alaska

Plaintiffs and the Alaska Subclass.

      614. Alaska Plaintiffs and the Alaska Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Alaska Plaintiffs and the Alaska Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended



                                        - 175 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2230     Page 202 of 990




to deceive Alaska Plaintiffs and the Alaska Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      615. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Alaska Plaintiffs and the Alaska Subclass placed

in its representations.

      616. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Alaska Plaintiffs and the Alaska

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      617. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably



                                        - 176 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2231     Page 203 of 990




discoverable by Alaska Plaintiffs and the Alaska Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Alaska Plaintiffs and the Alaska Subclass members, Ford had the duty

to disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Alaska Plaintiffs and the Alaska Subclass

members. Whether an automobile is fuel efficient and whether it accurately

measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Alaska Plaintiffs and the Alaska Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      618. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Alaska Plaintiffs

and the Alaska Subclass.



                                        - 177 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2232    Page 204 of 990




      619. Ford has still not made full and adequate disclosures and continues to

defraud Alaska Plaintiffs and the Alaska Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      620. Alaska Plaintiffs and the Alaska Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Alaska Plaintiffs’ and the Alaska Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Alaska Plaintiffs, or Alaska Subclass members.

      621. Because of the concealment and/or suppression of the facts, Alaska

Plaintiffs and the Alaska Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Alaska

Plaintiffs and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      622. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Alaska Plaintiffs and the Alaska Subclass for damages in an amount to be



                                       - 178 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2233    Page 205 of 990




proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      623. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Alaska Plaintiffs’

and the Alaska Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 11

                    NEGLIGENT MISREPRESENTATION
                       (BASED ON ALASKA LAW)

      624. Alaska Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      625. This claim is brought by the Alaska Plaintiffs on behalf of the Alaska

Subclass.

      626. Defendant made fuel economy representations to Alaska Plaintiffs and

members of the Class that were not true.

      627. Defendant      had    no   reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that Alaska

Plaintiffs and Alaska Subclass members rely on these misrepresentations.




                                       - 179 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2234    Page 206 of 990




      628. Alaska Plaintiffs reasonably relied on Defendant’s representations and

as a result Alaska Plaintiffs and Alaska Subclass members were harmed.

                                    COUNT 12

                            UNJUST ENRICHMENT
                          (BASED ON ALASKA LAW)

      629. Alaska Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      630. This claim is brought by the Alaska Plaintiffs on behalf of the Alaska

Subclass.

      631. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Alaska Plaintiffs and the Alaska Subclass.

      632. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Alaska Plaintiffs and other Alaska Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      633. Alaska Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Alaska Subclass.




                                       - 180 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2235   Page 207 of 990




      Claims brought on behalf of the Arizona Subclass

                                  COUNT 13

        VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT
               (ARIZONA REV. STAT. § 44-1521 et seq.)

      634. Plaintiff Ronald Ceremello (“Arizona Plaintiff”) Arizona Plaintiff

hereby incorporates by reference the allegations contained in the preceding

paragraphs of this complaint.

      635. This claim is brought by Arizona Plaintiffs on behalf of the Arizona

Subclass.

      636. Ford, Plaintiffs, and Arizona Class members are “persons” within the

meaning of the Arizona CFA, ARIZ. REV. STAT. § 44-1521(6).

      637. Each Coastdown Cheating Vehicle at issue is “merchandise” within the

meaning of ARIZ. REV. STAT. § 44-1521(5).

      638. The Arizona Consumer Fraud Act (Arizona CFA) provides that “[t]he

act, use or employment by any person of any deception, deceptive act or practice,

fraud . . . , misrepresentation, or concealment, suppression or omission of any

material fact with intent that others rely upon such concealment, suppression or

omission, in connection with the sale . . . of any merchandise whether or not any

person has in fact been misled, deceived or damaged thereby, is declared to be an

unlawful practice.” ARIZ. REV. STAT. § 44-1522(A).




                                     - 181 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2236    Page 208 of 990




       639. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

       640. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

       641. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Arizona Plaintiffs and the Arizona

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       642. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Arizona Plaintiffs

and the Arizona Subclass.

       643. Ford knew or should have known that its conduct violated the Arizona

CFA.



                                       - 182 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2237     Page 209 of 990




      644. Ford owed Arizona Plaintiffs and the Arizona Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.      Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

            b.      Intentionally concealed the foregoing from Arizona
                    Plaintiffs and the Arizona Subclass; and/or

            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Arizona Plaintiffs and the
                    Arizona Subclass that contradicted these
                    representations.

      645. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Arizona Plaintiffs and the

Arizona Subclass.

      646. Arizona Plaintiffs and the Arizona Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Arizona Plaintiffs and the Arizona Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Arizona CFA.




                                        - 183 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2238    Page 210 of 990




        647. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Arizona CFA.

        648. As a direct and proximate result of Ford’s violations of the Arizona

CFA, Arizona Plaintiffs and the Arizona Subclass have suffered injury-in-fact and/or

actual damage.

        649. Ford’s violations present a continuing risk to Arizona Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

        650. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

        651. Arizona Plaintiffs seek monetary relief against Ford in an amount to be

determined at trial. Arizona Plaintiffs and the Arizona Subclass also seek punitive

damages because Ford engaged in aggravated and outrageous conduct with an evil

mind.

        652. Arizona Plaintiffs and the Arizona Subclass also seek an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices, attorneys’ fees, and

any other just and proper relief available under the Arizona CFA.



                                        - 184 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2239    Page 211 of 990




                                   COUNT 14

                              BREACH OF CONTRACT
                            (BASED ON ARIZONA LAW)

       653. Arizona Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       654. This claim is brought by Arizona Plaintiffs on behalf of the Arizona

Subclass.

       655. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Arizona Plaintiffs and the Arizona Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Arizona Plaintiffs and the Arizona Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Arizona Plaintiffs and the Arizona

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       656. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Arizona Plaintiffs and the Arizona Subclass


                                      - 185 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2240    Page 212 of 990




defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       657. As a direct and proximate result of Ford’s breach of contract, Arizona

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                      COUNT 15

                           BREACH OF EXPRESS WARRANTY
                          (ARIZ. REV. STAT. § 47-2313, ET SEQ.)

       658. Arizona Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       659. This claim is brought by Arizona Plaintiffs on behalf of the Arizona

Subclass.

       660. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Ariz. Rev. Stat. § 47-2104(A).

       661. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                        - 186 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2241     Page 213 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      662. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      663. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      664. These affirmations and promises were part of the basis of the bargain

that was reached when Arizona Plaintiffs and the other Arizona Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      665. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 187 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2242    Page 214 of 990




      666. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      667. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Arizona Plaintiffs and the Arizona Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      668. Accordingly, recovery by the Arizona Plaintiffs and the Arizona

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Arizona Plaintiffs, individually and on behalf of the other

Arizona Subclass members, seek all remedies as allowed by law.

      669. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Arizona

Plaintiffs and the Arizona Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      670. Finally, due to Ford’s breach of warranty as set forth herein, Arizona

Plaintiffs and the Arizona Subclass assert as an additional and/or alternative remedy,

as set forth in Ariz. Rev. Stat. § 47-2711, the revocation of acceptance of the goods,



                                       - 188 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2243    Page 215 of 990




and the return to Arizona Plaintiffs and the Arizona Subclass members of the

purchase price of all Coastdown Cheating Vehicles currently owned for such other

incidental and consequential damages as allowed under Ariz. Rev. Stat. §§ 47-2711

and 47-2608.

       671. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       672. As a direct and proximate result of Ford’s breach of express warranties,

Arizona Plaintiffs and the Arizona Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 16

                          FRAUDULENT CONCEALMENT
                           (BASED ON ARIZONA LAW)

       673. Arizona Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       674. This claim is brought by Arizona Plaintiffs on behalf of the Arizona

Subclass.

       675. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these


                                        - 189 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2244    Page 216 of 990




vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Arizona Plaintiffs and the Arizona Subclass information that

is highly relevant and material to their purchasing decision.

      676. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      677. Ford further affirmatively misrepresented to Arizona Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      678. Ford knew these representations were false when made.

      679. The Coastdown Cheating Vehicles purchased or leased by Arizona

Plaintiffs and the Arizona Subclass were, in fact, defective, with reduced fuel

efficiency.

      680. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Arizona Plaintiffs and the



                                        - 190 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2245     Page 217 of 990




Arizona Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      681. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      682. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Arizona Plaintiffs and the Arizona Subclass

did not know of these facts and Ford actively concealed these facts from Arizona

Plaintiffs and the Arizona Subclass.

      683. Arizona Plaintiffs and the Arizona Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Arizona Plaintiffs and the Arizona Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Arizona Plaintiffs and the Arizona Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      684. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and



                                       - 191 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2246     Page 218 of 990




sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Arizona Plaintiffs and the Arizona Subclass

placed in its representations.

      685. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Arizona Plaintiffs and the Arizona

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      686. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Arizona Plaintiffs and the Arizona Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth



                                        - 192 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2247    Page 219 of 990




above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Arizona Plaintiffs and the Arizona Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Arizona Plaintiffs and the

Arizona Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Arizona Plaintiffs and the Arizona Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      687. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Arizona Plaintiffs

and the Arizona Subclass.

      688. Ford has still not made full and adequate disclosures and continues to

defraud Arizona Plaintiffs and the Arizona Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.




                                       - 193 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2248    Page 220 of 990




      689. Arizona Plaintiffs and the Arizona Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Arizona Plaintiffs’ and the Arizona Subclass members’ actions were justified.

Ford was in exclusive control of the material facts, and such facts were not generally

known to the public, Arizona Plaintiffs, or Arizona Subclass members.

      690. Because of the concealment and/or suppression of the facts, Arizona

Plaintiffs and the Arizona Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Arizona

Plaintiffs and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      691. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Arizona Plaintiffs and the Arizona Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.




                                       - 194 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2249    Page 221 of 990




      692. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Arizona Plaintiffs’

and the Arizona Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 17

                    NEGLIGENT MISREPRESENTATION
                       (BASED ON ARIZONA LAW)

      693. Arizona Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      694. This claim is brought by the Arizona Plaintiffs on behalf of the Arizona

Subclass.

      695. Defendant made fuel economy representations to Arizona Plaintiffs and

members of the Class that were not true.

      696. Defendant      had    no   reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that Arizona

Plaintiffs and Arizona Subclass members rely on these misrepresentations.

      697. Arizona Plaintiffs reasonably relied on Defendant’s representations and

as a result Arizona Plaintiffs and Arizona Subclass members were harmed.




                                       - 195 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2250    Page 222 of 990




                                    COUNT 18

                           UNJUST ENRICHMENT
                         (BASED ON ARIZONA LAW)

      698. Arizona Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      699. This claim is brought by the Arizona Plaintiffs on behalf of the Arizona

Subclass.

      700. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Arizona Plaintiffs and the Arizona Subclass.

      701. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Arizona Plaintiffs and other Arizona Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      702. Arizona Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Arizona Subclass.




                                       - 196 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2251    Page 223 of 990




      Claims brought on behalf of the Arkansas Subclass

                                   COUNT 19

                     VIOLATION OF THE ARKANSAS
                   DECEPTIVE TRADE PRACTICES ACT
                    (ARK. CODE ANN. § 4-88-101 et seq.)

      703. Arkansas Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      704. This claim is brought by Arkansas Plaintiffs on behalf of the Arkansas

Subclass.

      705. Ford, Plaintiffs, and the Arkansas Subclass are “persons” within the

meaning of the Arkansas Deceptive Trade Practices Act (“Arkansas DTPA”), A RK.

CODE. ANN. § 4-88-102(5).

      706. Each Coastdown Cheating Vehicle at issue constitutes “goods” within

the meaning of ARK. CODE ANN. § 4-88-102(4).

      707. The Arkansas DTPA prohibits “[d]eceptive and unconscionable trade

practices,” which include but are not limited to “[e]ngaging in any . . .

unconscionable false, or deceptive act or practice in business, commerce, or trade.”

ARK. CODE. ANN. § 4-88-107(a)(10). The Arkansas DTPA also prohibits, in

connection with the sale or advertisement of any goods, “(1) the act, use, or

employment by any person of any deception, fraud, or pretense; or (2) the




                                      - 197 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2252    Page 224 of 990




concealment, suppression, or omission of any material fact with intent that other rely

upon the concealment, suppression, or omission.” ARK CODE. ANN. § 4-88-108.

      708. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      709. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      710. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Arkansas Plaintiffs and the Arkansas

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      711. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Arkansas

Plaintiffs and the Arkansas Subclass.



                                        - 198 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2253     Page 225 of 990




      712. Ford knew or should have known that its conduct violated the Arkansas

DTPA.

      713. Ford owed Arkansas Plaintiffs and the Arkansas Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and representations of fuel
                  efficiency;

            b.    Intentionally concealed the foregoing from
                  Arkansas Plaintiffs and the Arkansas Subclass;
                  and/or

            c.    Made incomplete representations that it
                  manipulated the certification testing and failed to
                  disclose the true fuel economy of the Coastdown
                  Cheating Vehicles, while purposefully withholding
                  material facts from Arkansas Plaintiffs and the
                  Arkansas Subclass that contradicted these
                  representations.

      714. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Arkansas Plaintiffs and the

Arkansas Subclass.

      715. Arkansas Plaintiffs and the Arkansas Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Arkansas Plaintiffs and the Arkansas Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid




                                      - 199 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2254     Page 226 of 990




less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Arkansas DTPA.

      716. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Arkansas DTPA.

      717. As a direct and proximate result of Ford’s violations of the Arkansas

DTPA, Arkansas Plaintiffs and the Arkansas Subclass have suffered injury-in-fact

and/or actual damage.

      718. Ford’s violations present a continuing risk to Arkansas Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      719. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      720. Arkansas Plaintiffs seek monetary relief against Ford in an amount to

be determined at trial. Arkansas Plaintiffs and the Arkansas Subclass also seek

punitive damages because Ford acted wantonly in causing Arkansas Plaintiffs and

the Arkansas Subclass members’ injuries, or with such a conscious indifference to

the consequences that malice may be inferred.



                                      - 200 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2255      Page 227 of 990




       721. Arkansas Plaintiffs and the Arkansas Subclass also seek an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices, attorneys’ fees, and

any other just and proper relief available under the Arkansas DTPA.

                                   COUNT 20

                              BREACH OF CONTRACT
                            (BASED ON ARKANSAS LAW)

       722. Arkansas Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       723. This claim is brought by Arkansas Plaintiffs on behalf of the Arkansas

Subclass.

       724. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Arkansas Plaintiffs and the Arkansas Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Arkansas Plaintiffs and the Arkansas Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Arkansas Plaintiffs and the Arkansas

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.


                                      - 201 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2256    Page 228 of 990




       725. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Arkansas Plaintiffs and the Arkansas Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       726. As a direct and proximate result of Ford’s breach of contract, Arkansas

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 21

                          BREACH OF EXPRESS WARRANTY
                               (ARK. CODE § 4-2-313)

       727. Arkansas Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       728. This claim is brought by Arkansas Plaintiffs on behalf of the Arkansas

Subclass.

       729. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Ark. Code § 4-2-104.


                                      - 202 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2257    Page 229 of 990




      730. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      731. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      732. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      733. These affirmations and promises were part of the basis of the bargain

that was reached when Arkansas Plaintiffs and the other Arkansas Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      734. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 203 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2258    Page 230 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      735. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      736. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Arkansas Plaintiffs and the Arkansas Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      737. Accordingly, recovery by the Arkansas Plaintiffs and the Arkansas

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Arkansas Plaintiffs, individually and on behalf of the

other Arkansas Subclass members, seek all remedies as allowed by law.

      738. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Arkansas

Plaintiffs and the Arkansas Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 204 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2259    Page 231 of 990




       739. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       740. As a direct and proximate result of Ford’s breach of express warranties,

Arkansas Plaintiffs and the Arkansas Subclass have been damaged in an amount to

be determined at trial.

                                     COUNT 22

                          FRAUDULENT CONCEALMENT
                           (BASED ON ARKANSAS LAW)

       741. Arkansas Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       742. This claim is brought by Arkansas Plaintiffs on behalf of the Arkansas

Subclass.

       743. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Arkansas Plaintiffs and the Arkansas Subclass information

that is highly relevant and material to their purchasing decision.




                                        - 205 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2260    Page 232 of 990




      744. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      745. Ford further affirmatively misrepresented to Arkansas Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      746. Ford knew these representations were false when made.

      747. The Coastdown Cheating Vehicles purchased or leased by Arkansas

Plaintiffs and the Arkansas Subclass were, in fact, defective, with reduced fuel

efficiency.

      748. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Arkansas Plaintiffs and the

Arkansas Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.



                                        - 206 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2261     Page 233 of 990




      749. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      750. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Arkansas Plaintiffs and the Arkansas

Subclass did not know of these facts and Ford actively concealed these facts from

Arkansas Plaintiffs and the Arkansas Subclass.

      751. Arkansas Plaintiffs and the Arkansas Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Arkansas Plaintiffs and the Arkansas

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Arkansas Plaintiffs and the Arkansas Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      752. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




                                       - 207 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2262     Page 234 of 990




profits and sales above the trust that Arkansas Plaintiffs and the Arkansas Subclass

placed in its representations.

      753. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Arkansas Plaintiffs and the Arkansas

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      754. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Arkansas Plaintiffs and the Arkansas Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Arkansas Plaintiffs and the Arkansas Subclass members, Ford had



                                        - 208 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2263     Page 235 of 990




the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Arkansas Plaintiffs and the

Arkansas Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Arkansas Plaintiffs and the Arkansas Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      755. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Arkansas

Plaintiffs and the Arkansas Subclass.

      756. Ford has still not made full and adequate disclosures and continues to

defraud Arkansas Plaintiffs and the Arkansas Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      757. Arkansas Plaintiffs and the Arkansas Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not



                                        - 209 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2264    Page 236 of 990




have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Arkansas Plaintiffs’ and the Arkansas Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Arkansas Plaintiffs, or Arkansas Subclass members.

      758. Because of the concealment and/or suppression of the facts, Arkansas

Plaintiffs and the Arkansas Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Arkansas Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      759. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Arkansas Plaintiffs and the Arkansas Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      760. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Arkansas Plaintiffs’

and the Arkansas Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages



                                        - 210 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2265    Page 237 of 990




in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 23

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON ARKANSAS LAW)

      761. Arkansas Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      762. This claim is brought by the Arkansas Plaintiffs on behalf of the

Arkansas Subclass.

      763. Defendant made fuel economy representations to Arkansas Plaintiffs

and members of the Class that were not true.

      764. Defendant     had     no   reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Arkansas

Plaintiffs and Arkansas Subclass members rely on these misrepresentations.

      765. Arkansas Plaintiffs reasonably relied on Defendant’s representations

and as a result Arkansas Plaintiffs and Arkansas Subclass members were harmed.

                                      COUNT 24

                          UNJUST ENRICHMENT
                       (BASED ON ARKANSAS LAW)

      766. Arkansas Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.



                                       - 211 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2266    Page 238 of 990




      767. This claim is brought by the Arkansas Plaintiffs on behalf of the

Arkansas Subclass.

      768. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Arkansas Plaintiffs and the Arkansas Subclass.

      769. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Arkansas Plaintiffs and other Arkansas Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      770. Arkansas Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Arkansas Subclass.

      Claims Brought on Behalf of the California Subclass

                                    COUNT 25

    VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
             (CAL. BUS. & PROF. CODE § 17200 ET SEQ.)

      771. Plaintiffs Victor Perez and Harold Brower (“California Plaintiffs”)

incorporate by reference all paragraphs as though fully set forth herein.

      772. This claim is brought by the California Plaintiffs on behalf of the

California Subclass.

      773. California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE

§ 17200 et seq., proscribes acts of unfair competition, including “any unlawful,


                                       - 212 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2267    Page 239 of 990




unfair or fraudulent business act or practice and unfair, deceptive, untrue or

misleading advertising.”

      774. Ford’s conduct, as described herein, was and is in violation of the UCL.

Ford’s conduct violates the UCL in at least the following ways:

            i.     By failing to disclose that the Coastdown Cheating
                   Vehicles do not achieve the MPGs listed on the Monroney
                   sticker or Ford’s advertising;

            ii.    By knowingly and intentionally concealing from Plaintiffs
                   and the other California Subclass members that the
                   Coastdown Cheating Vehicles contain reported MPGs via
                   a Coastdown Cheating process chat do not achieve the
                   MPGs listed on the Monroney sticker, do not provide the
                   fuel efficiency that was advertised and certified, and their
                   mileage is far worse than a reasonable consumer would
                   expect given the premium paid for these vehicles;

            iii.   By failing to disclose that fuel economy is achieved with
                   manipulation of the computer trip meter;

            iv.    By marketing the Coastdown Cheating Vehicles as fuel
                   efficient vehicles; and

            v.     By violating federal laws, including the Automobile
                   Disclosure Act (15 U.S.C. §§ 1231-33) and 49 U.S.C. §
                   32908, and EPA CAFE standards by failing to disclose
                   that the Coastdown Cheating Vehicles do not achieve the
                   MPGs listed on the Monroney sticker

            vi.    By violating other California laws, including California
                   consumer protection laws.

            vii.   By refusing or otherwise failing to repair and/or replace
                   the Coastdown Cheating Vehicles.




                                      - 213 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2268       Page 240 of 990




      775. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with an intent to mislead California

Plaintiffs and the Class.

      776. In purchasing or leasing the Coastdown Cheating Vehicles, California

Plaintiffs and the California Subclass were deceived by Ford’s failure to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the representation made by Ford.

      777. California Plaintiffs and California Subclass reasonably relied upon

Ford’s false misrepresentations. They had no way of knowing that Ford’s

representations were false and gravely misleading. As alleged herein, Ford engaged

in extremely sophisticated methods of deception. California Plaintiffs and California

Subclass did not, and could not, unravel Ford’s deception on their own.

      778. Ford knew or should have known that its conduct violated the UCL.

      779. Ford owed California Plaintiffs and the California Subclass a duty to

disclose the truth about its fuel efficiency manipulation because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of
                    fuel efficiency;

             b.     Intentionally concealed the foregoing from
                    California Plaintiffs and the California Subclass;
                    and/or



                                       - 214 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2269    Page 241 of 990




             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from California Plaintiffs and the
                    California Subclass that contradicted these
                    representations.

      780. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford.

      781. Ford’s conduct proximately caused injuries to California Plaintiffs and

the California Subclass.

      782. California Plaintiffs and the California Subclass were injured and

suffered ascertainable loss, injury-in-fact, and/or actual damage as a proximate result

of Ford’s conduct in that California Plaintiffs and the California Subclass members

overpaid for the Coastdown Cheating Vehicles, and/or the Coastdown Cheating

Vehicles have suffered a diminution in value. These injuries are the direct and

natural consequence of Ford’s misrepresentations and omissions.

      783. Ford’s violations present a continuing risk to California Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.




                                        - 215 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2270    Page 242 of 990




      784. Ford’s misrepresentations and omissions alleged herein caused

California Plaintiffs and the California Subclass to make their purchases or leases of

the Coastdown Cheating Vehicles. Absent those misrepresentations and omissions,

California Plaintiffs and the California Subclass would not have purchased or leased

these vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the reduced fuel economy of the

Coastdown Cheating Vehicles.

      785. Accordingly, California Plaintiffs and the California Subclass members

have suffered injury in fact, including lost money or property, as a result of Ford’s

misrepresentations and omissions.

      786. California Plaintiffs request that this Court enter such orders or

judgments as may be necessary to restore to California Plaintiffs and the California

Subclass any money it acquired by unfair competition, including restitution and/or

restitutionary disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203 and

CAL. CIV. CODE § 3345; and for such other relief as may be appropriate.

      787. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.




                                       - 216 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2271     Page 243 of 990




                                    COUNT 26

        VIOLATIONS OF THE CALIFORNIA’S CONSUMERS LEGAL
                           REMEDIES ACT
               (CAL. BUS. & PROF. CODE § 1750 ET SEQ.)

       788. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       789. This claim is brought by the California Plaintiffs on behalf of California

Subclass.

       790. California’s Consumers Legal Remedies Act (“CLRA”), CAL. CIV.

CODE § 1750, et seq., proscribes “unfair methods of competition and unfair or

deceptive acts or practices undertaken by any person in a transaction intended to

result or which results in the sale or lease of goods or services to any consumer.”

       791. The Coastdown Cheating Vehicles are “goods” as defined in CAL.

CIV. CODE §§ 1751(a).

       792. California Plaintiffs and the California Subclass are “consumers” as

defined in CAL. CIV. CODE § 1761(d), and Plaintiffs, the other Class members, and

Ford are “person[s]” as defined in CAL. CIV. CODE § 1761(c).

       793. Ford’s conduct, as described herein, was and is in violation of the

CLRA. Ford’s conduct violates at least the following enumerated CLRA provisions:

              i.     CAL. CIV. CODE § 1770(a)(2): Misrepresenting the
                     approval or certification of goods;




                                       - 217 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2272    Page 244 of 990




            ii.    CAL. CIV. CODE § 1770(a)(5): Representing that goods
                   have sponsorship, approval, characteristics, uses, benefits,
                   or quantities which they do not have;


            iii.   CAL. CIV. CODE § 1770(a)(7): Representing that goods are
                   of a particular standard, quality, or grade, if they are of
                   another;

            iv.    CAL. CIV. CODE § 1770(a)(9): Advertising goods with
                   intent not to sell them as advertised; and

            v.     CAL. CIV. CODE § 1770(a)(16): Representing that goods
                   have been supplied in accordance with a previous
                   representation when they have not.


      794. California Plaintiffs and the California Subclass have suffered injury in

fact and actual damages resulting from Ford’s material omissions and

misrepresentations because they paid an inflated purchase or lease price for the

Coastdown Cheating Vehicles.

      795. Because Ford fraudulently concealed that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

representation made by Ford, their value has diminished. In light of the stigma

attached to those vehicles by Ford’s conduct, they are now worth significantly less

than they otherwise would be.

      796. Ford knew, should have known, or was reckless in not knowing that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised


                                      - 218 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2273    Page 245 of 990




and certified, and their mileage is far worse than a reasonable consumer would

expect.

      797. California Plaintiffs and the California Subclass were injured and

suffered ascertainable loss, injury-in-fact, and/or actual damage as a proximate result

of Ford’s conduct in that Plaintiffs and the other California Class members overpaid

for the Coastdown Cheating Vehicles, and/or the Coastdown Cheating Vehicles have

suffered a diminution in value. These injuries are the direct and natural consequence

of Ford’s misrepresentations and omissions.

      798. Ford’s misrepresentations and omissions alleged herein caused

California Plaintiffs and the California Subclass to make their purchases or leases of

the Coastdown Cheating Vehicles. Absent those misrepresentations and omissions,

California Plaintiffs and the California Subclass would not have purchased or leased

these vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the reduced fuel economy of the

Coastdown Cheating Vehicles.

      799. In accordance with Civil Code § 1780 (a), California Plaintiffs and the

California Subclass seek injunctive and equitable relief for Ford’s violations of the

CLRA, including an injunction to enjoin Ford from continuing its deceptive

advertising and sales practices.



                                        - 219 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2274     Page 246 of 990




       800. California Plaintiffs have provided Ford with notice of its violations of

the CLRA pursuant to CAL. CIV. CODE § 1782(a). The notice was transmitted to

Ford on June 20, 2019.

       801. California Plaintiffs and the California Subclass’s injuries were

proximately caused by Ford’s fraudulent and deceptive business practices.

       802. Therefore, California Plaintiffs and the California Subclass are entitled

to equitable and monetary relief under the CLRA.

                                      COUNT 27

     VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
             (CAL. BUS. & PROF. CODE § 17500 ET SEQ.)

       803. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       804. This claim is brought by the California Plaintiffs on behalf of the

California Subclass.

       805. CAL. BUS. & PROF. CODE § 17500 states: “It is unlawful for any . . .

corporation . . . with intent directly or indirectly to dispose of real or personal

property . . . to induce the public to enter into any obligation relating thereto, to make

or disseminate or cause to be made or disseminated . . . from this state before the

public in any state, in any newspaper or other publication, or any advertising device,

. . . or in any other manner or means whatever, including over the Internet, any

statement . . . which is untrue or misleading, and which is known, or which by the


                                         - 220 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2275     Page 247 of 990




exercise of reasonable care should be known, to be untrue or misleading.” Ford failed

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      806. Ford caused to be made or disseminated through California and the

United States, through advertising, marketing and other publications, statements that

were untrue or misleading, and which were known, or which by the exercise of

reasonable care should have been known to Ford, to be untrue and misleading to

consumers, including California Plaintiffs and the California Subclass.

      807. Ford has violated § 17500 because the misrepresentations and

omissions regarding the functionality and fuel efficiency of the Coastdown Cheating

Vehicles as set forth in this Complaint were material and likely to deceive a

reasonable consumer.

      808. California Plaintiffs and the California Subclass have suffered an injury

in fact, including the loss of money or property, as a result of Ford’s unfair, unlawful,

and/or deceptive practices. In purchasing or leasing their Coastdown Cheating

Vehicles, California Plaintiffs and the California Subclass relied on the

misrepresentations and/or omissions of Ford with respect to the functionality and

fuel economy of the Coastdown Cheating Vehicles. Had California Plaintiffs and



                                        - 221 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2276    Page 248 of 990




the California Subclass known this, they would not have purchased or leased the

Coastdown Cheating Vehicles and/or paid as much for them. Accordingly, Plaintiffs

and the other California Class members overpaid for the Coastdown Cheating

Vehicles.

      809. All wrongful conduct alleged herein occurred, and continues to occur,

in the conduct of Ford’s business. Ford’s wrongful conduct is part of a pattern or

generalized course of conduct that is still perpetuated and repeated, both in the State

of California and nationwide.

      810. The facts concealed and omitted by Ford to California Plaintiffs and the

California Subclass are material in that a reasonable consumer would have

considered them to be important in deciding whether to purchase or lease the

Coastdown Cheating Vehicles or pay a lower price. Had California Plaintiffs and the

California Subclass known of the lower fuel economy at the time they purchased or

leased the Coastdown Cheating Vehicles, they would not have purchased or leased

those vehicles, or would have paid substantially less for the vehicles than they did.

      811. California Plaintiffs, individually and on behalf of the California

Subclass, request that this Court enter such orders or judgments as may be necessary

to restore to California Plaintiffs and the California Subclass any money Ford

acquired by unfair competition, including restitution and/or restitutionary

disgorgement, and for such other relief as may be appropriate.



                                        - 222 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2277    Page 249 of 990




                                        COUNT 28

                             BREACH OF CONTRACT
                          (BASED ON CALIFORNIA LAW)

       812. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       813. This claim is brought by California Plaintiffs on behalf of the California

Subclass.

       814. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused California Plaintiffs and the California Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, California Plaintiffs and the California Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, California Plaintiffs and the

California Subclass overpaid for the Coastdown Cheating Vehicles and did not

receive the benefit of their bargain.

       815. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to California Plaintiffs and the California Subclass


                                         - 223 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2278     Page 250 of 990




defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       816. As a direct and proximate result of Ford’s breach of contract, Plaintiffs

and the Class have been damaged in an amount to be proven at trial, which shall

include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 29

                BREACH OF EXPRESS WARRANTY
     SONG-BEVERLY CONSUMER WARRANTY ACT (CAL. CIV. CODE
                     §§ 1791.2 & 1793.2(d))

       817. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       818. This claim is brought by California Plaintiffs on behalf of the California

Subclass.

       819. California Plaintiffs and the California Subclass members who

purchased or leased the Class Vehicles in California are “buyers” within the meaning

of Cal. Civ. Code § 1791(b).




                                       - 224 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2279   Page 251 of 990




      820. The Coastdown Cheating Vehicles are “consumer goods” within the

meaning of Cal. Civ. Code § 1791(a).

      821. Ford is a “manufacturer” of the Coastdown Cheating Vehicles within

the meaning of Cal. Civ. Code § 1791(j).

      822. California    Plaintiffs    and   the   California   Subclass   members

bought/leased new motor vehicles manufactured by Ford.

      823. Ford made express warranties to California Plaintiffs and the California

Subclass members within the meaning of Cal. Civ. Code §§ 1791.2 and 1793.2, as

described above.

      824. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      825. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.



                                       - 225 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2280    Page 252 of 990




      826. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      827. These affirmations and promises were part of the basis of the bargain

that was reached when California Plaintiffs and the other California Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      828. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      829. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      830. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make California Plaintiffs and the California Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      831. Accordingly, recovery by the California Plaintiffs and the California

Subclass is not limited to the NVLW promising to repair and/or correct a



                                       - 226 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2281    Page 253 of 990




manufacturing defect, and California Plaintiffs, individually and on behalf of the

other California Subclass members, seek all remedies as allowed by law.

      832. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. California

Plaintiffs and the California Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      833. California Plaintiffs and other Class members delivered their

Coastdown Cheating Vehicles to Ford or its authorized repair facility for repair

and/or notified Ford in writing of the need for repair.

      834. Ford and its authorized repair facilities failed and continue to fail to

repair the Coastdown Cheating Vehicles to match Ford’s written warranties after a

reasonable number of opportunities to do so.

      835. California Plaintiffs and the California Subclass members gave Ford or

its authorized repair facilities at least two opportunities to fix the defect unless only

one repair attempt was possible because the vehicle was later destroyed or because

Ford or its authorized repair facility refused to attempt the repair.

      836. Ford did not promptly replace or buy back the Coastdown Cheating

Vehicles of California Plaintiffs and the California Subclass members.



                                         - 227 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2282    Page 254 of 990




       837. As a result of Ford’s breach of its express warranties, California

Plaintiffs and the California Subclass members received goods whose defective

condition substantially impairs their value to California Plaintiffs and the California

Subclass members. California Plaintiffs and the California Subclass members have

been damaged as a result of the diminished value of Ford’s products, the products’

malfunctioning, and the nonuse of their Coastdown Cheating Vehicles.

       838. Pursuant to Cal. Civ. Code §§ 1793.2 & 1794, California Plaintiffs and

the California Subclass members are entitled to damages and other legal and

equitable relief including, at their election, the purchase price of their Coastdown

Cheating Vehicles, or the overpayment or diminution in value of their Coastdown

Cheating Vehicles.

       839. Pursuant to Cal. Civ. Code § 1794, California Plaintiffs and the

California Subclass members are entitled to costs and attorneys’ fees.

                                     COUNT 30

                          FRAUDULENT CONCEALMENT
                          (BASED ON CALIFORNIA LAW)

       840. California Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       841. This claim is brought by California Plaintiffs on behalf of the California

Subclass.




                                        - 228 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2283    Page 255 of 990




      842. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied California Plaintiffs and the California Subclass information

that is highly relevant to their purchasing decision.

      843. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      844. Ford further affirmatively misrepresented to California Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      845. Ford knew these representations were false when made.

      846. The Coastdown Cheating Vehicles purchased or leased by California

Plaintiffs and the California Subclass were, in fact, defective, with reduced fuel

efficiency.




                                        - 229 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2284    Page 256 of 990




      847. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because California Plaintiffs and the

California Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      848. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      849. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; California Plaintiffs and the California

Subclass did not know of these facts and Ford actively concealed these facts from

California Plaintiffs and the California Subclass.

      850. California Plaintiffs and the California Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, California Plaintiffs and the California

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford



                                        - 230 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2285     Page 257 of 990




intended to deceive California Plaintiffs and the California Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      851. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that California Plaintiffs and the California Subclass

placed in its representations.

      852. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including California Plaintiffs and the California Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      853. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably



                                        - 231 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2286     Page 258 of 990




discoverable by California Plaintiffs and the California Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to California Plaintiffs and the California Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by California Plaintiffs and the

California Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to California Plaintiffs and the California Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      854. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of California

Plaintiffs and the California Subclass.



                                          - 232 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2287    Page 259 of 990




      855. Ford has still not made full and adequate disclosures and continues to

defraud California Plaintiffs and the California Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      856. California Plaintiffs and the California Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. California Plaintiffs’ and the California Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, California Plaintiffs, or California Subclass members.

      857. Because of the concealment and/or suppression of the facts, California

Plaintiffs and the California Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Plaintiff and Class

members would not have purchased or leased the Coastdown Cheating Vehicles or

would have paid less.

      858. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to California Plaintiffs and the California Subclass for damages in an amount



                                        - 233 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2288     Page 260 of 990




to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      859. Ford’s      acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of California Plaintiffs’

and the California Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                       COUNT 31

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON CALIFORNIA LAW)

      860. California Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      861. This claim is brought by the California Plaintiffs on behalf of the

California Subclass.

      862. Defendant made fuel economy representations to California Plaintiffs

and members of the Class that were not true.

      863. Defendant       had    no   reasonable    grounds    for   believing    these

representations were true when they made them, yet they intended that California

Plaintiffs and California Subclass members rely on these misrepresentations.




                                        - 234 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2289        Page 261 of 990




      864. California Plaintiffs reasonably relied on Defendant’s representations

and as a result California Plaintiffs and California Subclass members were harmed.

                                    COUNT 32

                          UNJUST ENRICHMENT
                       (BASED ON CALIFORNIA LAW)

      865. California Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      866. This claim is brought by the California Plaintiffs on behalf of the

California Subclass.

      867. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to California Plaintiffs and the California Subclass.

      868. Defendant enjoyed the benefit of increased financial gains, to the

detriment of California Plaintiffs and other California Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      869. California Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the California Subclass.




                                       - 235 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2290    Page 262 of 990




      Claims Brought on Behalf of the Colorado Subclass

                                    COUNT 33

    VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT
                (COLO. REV. STAT. § 6-1-101 et seq.)

      870. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

      871. This claim is brought by Colorado Plaintiffs on behalf of the Colorado

Subclass.

      872. The Colorado Consumer Protection Act (“Colorado CPA”) prohibits

deceptive practices in the course of a person’s business, including but not limited to

“fail[ing] to disclose material information concerning goods, services, or property

which information was known at the time of an advertisement or sale if such failure

to disclose such information was intended to induce the consumer to enter into a

transaction.” COLO. REV. STAT. § 6-1-105.

      873. Ford is a “person” under COLO. REV. STAT. § 6-1-102(6).

      874. Colorado Plaintiffs and the Colorado Subclass members are

“consumers” for purposes of COLO. REV. STAT § 6-1-113(1)(a).

      875. Ford’s conduct, as set forth above, occurred in the conduct of trade or

commerce.

      876. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel


                                       - 236 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2291    Page 263 of 990




economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

       877. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Colorado Plaintiffs and the Colorado

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       878. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Colorado

Plaintiffs and the Colorado Subclass.

       879. Ford knew or should have known that its conduct violated the Colorado

CPA.

       880. Ford owed Colorado Plaintiffs and the Colorado Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:



                                        - 237 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2292    Page 264 of 990




            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of
                   fuel efficiency;

            b.     Intentionally concealed the foregoing from
                   Colorado Plaintiffs and the Colorado Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Colorado Plaintiffs and the
                   Colorado Subclass that contradicted these
                   representations.

      881. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Colorado Plaintiffs and the

Colorado Subclass.

      882. Colorado Plaintiffs and the Colorado Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Colorado Plaintiffs and the Colorado Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Colorado CPA.

      883. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Colorado CPA. As a direct and proximate result

of Ford’s violations of the Colorado CPA, Colorado Plaintiffs and the Colorado

Subclass have suffered injury-in-fact and/or actual damage.

                                      - 238 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2293     Page 265 of 990




      884. Ford’s violations present a continuing risk to Colorado Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      885. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      886. Pursuant to COLO. REV. STAT. § 6-1-113, Colorado Plaintiffs seek

monetary relief against Ford measured as the greater of (a) actual damages in an

amount to be determined at trial and discretionary trebling of such damages, or

(b) statutory damages in the amount of $500 for each Colorado Plaintiffs and the

Colorado Subclass member.

      887. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

      888. Colorado Plaintiffs also seek an order enjoining Ford’s unfair,

unlawful, or deceptive practices, declaratory relief, attorneys’ fees, and any other

just and proper remedy under the Colorado CPA.




                                      - 239 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2294    Page 266 of 990




                                   COUNT 34

                              BREACH OF CONTRACT
                            (BASED ON COLORADO LAW)

       889. Colorado Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       890. This claim is brought by Colorado Plaintiffs on behalf of the Colorado

Subclass.

       891. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Colorado Plaintiffs and the Colorado Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Colorado Plaintiffs and the Colorado Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Colorado Plaintiffs and the Colorado

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       892. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Colorado Plaintiffs and the Colorado Subclass


                                      - 240 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2295    Page 267 of 990




defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       893. As a direct and proximate result of Ford’s breach of contract, Colorado

Plaintiffs and the Colorado Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 35

                     BREACH OF EXPRESS WARRANTY
                  (COLO. REV. STAT. §§ 4-2-313 AND 4-2.5-210)

       894. Colorado Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       895. This claim is brought by Colorado Plaintiffs on behalf of the Colorado

Subclass.

       896. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5-103(3); and is a

“seller” of motor vehicles under Colo. Rev. Stat. § 4-2-103(1)(d).

       897. With respect to leases, Ford is and was at all relevant times a “lessor”

of motor vehicles under Colo. Rev. Stat. § 4-2.5-103(1)(p).


                                      - 241 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2296    Page 268 of 990




      898. The Coastdown Cheating Vehicles are and were at all relevant times

“goods” within the meaning of Colo. Rev. Stat. § 4-2.5-103(1)(h).

      899. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      900. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      901. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      902. These affirmations and promises were part of the basis of the bargain

that was reached when Colorado Plaintiffs and the other Colorado Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      903. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 242 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2297    Page 269 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      904. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      905. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Colorado Plaintiffs and the Colorado Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      906. Accordingly, recovery by the Colorado Plaintiffs and the Colorado

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Colorado Plaintiffs, individually and on behalf of the

other Colorado Subclass members, seek all remedies as allowed by law.

      907. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Colorado




                                       - 243 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2298     Page 270 of 990




Plaintiffs and the Colorado Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       908. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacements or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein. Due to Ford’s failure

and/or continued failure to provide such limited remedy within a reasonable time,

any limitation on Colorado Plaintiff and the Colorado Subclass members’ remedies

would be insufficient to make Plaintiff and the other Class members whole.

       909. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       910. As a direct and proximate result of Ford’s breach of express warranties,

Colorado Plaintiffs and the Colorado Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 36

                          FRAUDULENT CONCEALMENT
                           (BASED ON COLORADO LAW)

       911. Colorado Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.


                                       - 244 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2299    Page 271 of 990




      912. This claim is brought by Colorado Plaintiffs on behalf of the Colorado

Subclass.

      913. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Colorado Plaintiffs and the Colorado Subclass information

that is highly relevant to their purchasing decision.

      914. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      915. Ford further affirmatively misrepresented to Colorado Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      916. Ford knew these representations were false when made.




                                        - 245 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2300    Page 272 of 990




      917. The Coastdown Cheating Vehicles purchased or leased by Colorado

Plaintiffs and the Colorado Subclass were, in fact, defective, with reduced fuel

efficiency.

      918. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Colorado Plaintiffs and the

Colorado Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      919. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      920. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Colorado Plaintiffs and the Colorado

Subclass did not know of these facts and Ford actively concealed these facts from

Colorado Plaintiffs and the Colorado Subclass.




                                        - 246 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2301    Page 273 of 990




      921. Colorado Plaintiffs and the Colorado Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Colorado Plaintiffs and the Colorado

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Colorado Plaintiffs and the Colorado Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      922. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Colorado Plaintiffs and the Colorado Subclass

placed in its representations.

      923. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Colorado Plaintiffs and the Colorado Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      924. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                        - 247 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2302     Page 274 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Colorado Plaintiffs and the Colorado Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Colorado Plaintiffs and the Colorado Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Colorado Plaintiffs and the

Colorado Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Colorado Plaintiffs and the Colorado Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.




                                        - 248 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2303    Page 275 of 990




      925. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Colorado

Plaintiffs and the Colorado Subclass.

      926. Ford has still not made full and adequate disclosures and continues to

defraud Colorado Plaintiffs and the Colorado Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      927. Colorado Plaintiffs and the Colorado Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Colorado Plaintiffs’ and the Colorado Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Colorado Plaintiffs, or, Colorado Subclass members.

      928. Because of the concealment and/or suppression of the facts, Colorado

Plaintiffs and the Colorado Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was



                                        - 249 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2304    Page 276 of 990




represented by Ford. Had they been aware of the true facts, Colorado Plaintiffs and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      929. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Colorado Plaintiffs and the Colorado Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      930. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Colorado Plaintiffs’

and the Colorado Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                     COUNT 37

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON COLORADO LAW)

      931. Colorado Plaintiffs realleges and incorporates by reference all

paragraphs alleged herein.

      932. This claim is brought by the Colorado Plaintiffs on behalf of the

Colorado Subclass.




                                        - 250 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2305    Page 277 of 990




      933. Defendant made fuel economy representations to Colorado Plaintiffs

and members of the Class that were not true.

      934. Defendant      had   no   reasonable    grounds    for   believing   these

representations were true when they made them, yet they intended that Colorado

Plaintiffs and Colorado Subclass members rely on these misrepresentations.

      935. Colorado Plaintiffs reasonably relied on Defendant’s representations

and as a result Colorado Plaintiffs and Colorado Subclass members were harmed.

                                     COUNT 38

                           UNJUST ENRICHMENT
                        (BASED ON COLORADO LAW)

      936. Colorado Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      937. This claim is brought by the Colorado Plaintiffs on behalf of the

Colorado Subclass.

      938. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Colorado Plaintiffs and the Colorado Subclass.

      939. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Colorado Plaintiffs and other Colorado Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                       - 251 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2306    Page 278 of 990




      940. Colorado Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Colorado Subclass.

      Claims brought on behalf of the Connecticut Subclass

                                    COUNT 39

                    VIOLATION OF THE CONNECTICUT
                     UNFAIR TRADE PRACTICES ACT
                    (CONN. GEN. STAT. § 42-110A et seq.)

      941. Connecticut Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      942. This claim is brought by Connecticut Plaintiffs on behalf of the

Connecticut Subclass.

      943. Connecticut Plaintiffs, Connecticut Subclass members, and Ford are

each a “person” within the meaning of CONN. GEN. STAT. § 42-110a(3).

      944. Ford’s challenged conduct occurred in “trade” or “commerce” within

the meaning of CONN. GEN. STAT. § 42-110a(4).

      945. The Connecticut Unfair Trade Practices Act (Connecticut UTPA)

provides: “No person shall engage in unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.” C ONN. GEN.

STAT. § 42-110b(a).




                                       - 252 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2307    Page 279 of 990




      946. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      947. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      948. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Connecticut Plaintiffs and the

Connecticut Subclass members, about the true performance of the Coastdown

Cheating Vehicles, the lower fuel economy, the shorter range of the vehicle due to

its lower fuel economy, the increased environmental impact of Ford vehicles, and

the true value of the Coastdown Cheating Vehicles.

      949. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Connecticut

Plaintiffs and the Connecticut Subclass.

      950. Ford knew or should have known that its conduct violated the

Connecticut UTPA.



                                      - 253 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2308     Page 280 of 990




      951. Ford owed Connecticut Plaintiffs and the Connecticut Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Connecticut Plaintiffs and the Connecticut
                   Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Connecticut Plaintiffs and the
                   Connecticut Subclass that contradicted these
                   representations.

      952. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Connecticut Plaintiffs and the

Connecticut Subclass.

      953. Connecticut Plaintiffs and the Connecticut Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Connecticut Plaintiffs and the Connecticut

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Connecticut UTPA.




                                       - 254 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2309    Page 281 of 990




      954. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Connecticut UTPA.

      955. As a direct and proximate result of Ford’s violations of the Connecticut

UTPA, Connecticut Plaintiffs and the Connecticut Subclass have suffered injury-in-

fact and/or actual damage.

      956. Ford’s violations present a continuing risk to Connecticut Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      957. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      958. Connecticut Plaintiffs and Connecticut Class members are entitled to

recover their actual damages, punitive damages, and attorneys’ fees pursuant to

CONN. GEN. STAT. § 42-110g.

      959. Ford acted with reckless indifference to another’s rights, or wanton or

intentional violation of another’s rights, and otherwise engaged in conduct

amounting to a particularly aggravated, deliberate disregard for the rights of others.

Therefore, punitive damages are warranted.



                                       - 255 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2310     Page 282 of 990




       960. Connecticut Plaintiffs and the Connecticut Subclass also seek an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices, attorneys’ fees, and

any other just and proper relief available under the Connecticut UTPA.

                                    COUNT 40

                              BREACH OF CONTRACT
                          (BASED ON CONNECTICUT LAW)

       961. Connecticut Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       962. This claim is brought by Connecticut Plaintiffs on behalf of the

Connecticut Subclass.

       963. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Connecticut Plaintiffs and the Connecticut

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Connecticut Plaintiffs and the

Connecticut Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly,

Connecticut Plaintiffs and the Connecticut Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.


                                       - 256 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2311    Page 283 of 990




       964. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Connecticut Plaintiffs and the Connecticut Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       965. As a direct and proximate result of Ford’s breach of contract,

Connecticut Plaintiffs and the Class have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 41

                       BREACH OF EXPRESS WARRANTY
                      (CONN. GEN. STAT. §§ 42-179 & 42-186)

       966. Connecticut Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       967. This claim is brought by Connecticut Plaintiff on behalf of the

Connecticut Subclass.

       968. Ford is and was at all relevant times a manufacturer with respect to

motor vehicles pursuant to Conn. Gen. Stat. § 14-1(52).


                                       - 257 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2312    Page 284 of 990




      969. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      970. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      971. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      972. These affirmations and promises were part of the basis of the bargain

that was reached when Connecticut Plaintiffs and the other Connecticut Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      973. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 258 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2313    Page 285 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      974. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      975. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Connecticut Plaintiffs and the Connecticut Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      976. Accordingly, recovery by the Connecticut Plaintiffs and the

Connecticut Subclass is not limited to the NVLW promising to repair and/or correct

a manufacturing defect, and Connecticut Plaintiffs, individually and on behalf of the

other Connecticut Subclass members, seek all remedies as allowed by law.

      977. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Connecticut

Plaintiffs and the Connecticut Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 259 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2314    Page 286 of 990




       978. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       979. As a direct and proximate result of Ford’s breach of express warranties,

Connecticut Plaintiffs and the Connecticut Subclass have been damaged in an

amount to be determined at trial.

                                     COUNT 42

                           FRAUDULENT CONCEALMENT
                          (BASED ON CONNECTICUT LAW)

       980. Connecticut Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       981. This claim is brought by Connecticut Plaintiffs on behalf of the

Connecticut Subclass.

       982. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Connecticut Plaintiffs and the Connecticut Subclass

information that is highly relevant and material to their purchasing decision.




                                        - 260 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2315    Page 287 of 990




      983. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      984. Ford further affirmatively misrepresented to Connecticut Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      985. Ford knew these representations were false when made.

      986. The Coastdown Cheating Vehicles purchased or leased by Connecticut

Plaintiffs and the Connecticut Subclass were, in fact, defective, with reduced fuel

efficiency.

      987. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Connecticut Plaintiffs and

the Connecticut Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.



                                        - 261 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2316    Page 288 of 990




      988. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      989. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Connecticut Plaintiffs and the Connecticut

Subclass did not know of these facts and Ford actively concealed these facts from

Connecticut Plaintiffs and the Connecticut Subclass.

      990. Connecticut Plaintiffs and the Connecticut Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Connecticut Plaintiffs and the

Connecticut Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Connecticut Plaintiffs and the Connecticut

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      991. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized



                                       - 262 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2317     Page 289 of 990




profits and sales above the trust that Connecticut Plaintiffs and the Connecticut

Subclass placed in its representations.

      992. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Connecticut Plaintiffs and the

Connecticut Subclass members, highly valued that the vehicles they were purchasing

or leasing were fuel efficient, and they paid accordingly.

      993. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Connecticut Plaintiffs and the Connecticut Subclass members. Ford

also had a duty to disclose because it made general affirmative representations about

the qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Connecticut Plaintiffs and the Connecticut Subclass members, Ford



                                          - 263 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2318     Page 290 of 990




had the duty to disclose not just the partial truth, but the entire truth. These omitted

and concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Connecticut Plaintiffs and the

Connecticut Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Connecticut Plaintiffs and the Connecticut Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      994. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Connecticut

Plaintiffs and the Connecticut Subclass.

      995. Ford has still not made full and adequate disclosures and continues to

defraud Connecticut Plaintiffs and the Connecticut Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      996. Connecticut Plaintiffs and the Connecticut Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would



                                        - 264 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2319    Page 291 of 990




not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Connecticut Plaintiffs’ and the Connecticut Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Connecticut Plaintiffs, or Connecticut Subclass

members.

      997. Because of the concealment and/or suppression of the facts,

Connecticut Plaintiffs and the Connecticut Subclass have been injured and sustained

damage because they overpaid for their vehicles and own vehicles that diminished

in value as a result of Ford’s concealment, and suffered and continue to suffer

increased fuel costs over what was represented by Ford. Had they been aware of the

true facts, Connecticut Plaintiffs and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      998. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Connecticut Plaintiffs and the Connecticut Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      999. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Connecticut



                                        - 265 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2320    Page 292 of 990




Plaintiffs’ and the Connecticut Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                    COUNT 43

                   NEGLIGENT MISREPRESENTATION
                    (BASED ON CONNECTICUT LAW)

      1000. Connecticut Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      1001. This claim is brought by the Connecticut Plaintiffs on behalf of the

Connecticut Subclass.

      1002. Defendant made fuel economy representations to Connecticut Plaintiffs

and members of the Class that were not true.

      1003. Defendant    had   no   reasonable    grounds   for   believing   these

representations were true when they made them, yet they intended that Connecticut

Plaintiffs and Connecticut Subclass members rely on these misrepresentations.

      1004. Connecticut Plaintiffs reasonably relied on Defendant’s representations

and as a result Connecticut Plaintiffs and Connecticut Subclass members were

harmed.




                                      - 266 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2321    Page 293 of 990




                                    COUNT 44

                          UNJUST ENRICHMENT
                      (BASED ON CONNECTICUT LAW)

      1005. Connecticut Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      1006. This claim is brought by the Connecticut Plaintiffs on behalf of the

Connecticut Subclass.

      1007. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Connecticut Plaintiffs and the Connecticut Subclass.

      1008. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Connecticut Plaintiffs and other Connecticut Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1009. Connecticut Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Connecticut Subclass.




                                       - 267 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2322     Page 294 of 990




      Claims brought on behalf of the Delaware Subclass

                                   COUNT 45

        VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                   (DEL. CODE TIT. 6, § 2513 et seq.)

      1010. Delaware Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1011. This claim is brought by Delaware Plaintiffs on behalf of the Delaware

Subclass.

      1012. Ford is a “person” within the meaning of DEL. CODE TIT. 6, § 2511(7).

      1013. Ford’s actions, as set forth above, occurred in the conduct of trade or

commerce.

      1014. The Delaware Consumer Fraud Act (Delaware CFA) prohibits the “act,

use, or employment by any person of any deception, fraud, false pretense, false

promise, misrepresentation, or the concealment, suppression, or omission of any

material fact with intent that others rely upon such concealment, suppression, or

omission, in connection with the sale, lease or advertisement of any merchandise,

whether or nor any person has in fact been misled, deceived, or damaged thereby.”

DEL. CODE TIT. 6, § 2513(a).

      1015. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel




                                      - 268 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2323    Page 295 of 990




economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

       1016. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

       1017. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Delaware Plaintiffs and the Delaware

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       1018. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Delaware

Plaintiffs and the Delaware Subclass.

       1019. Ford knew or should have known that its conduct violated the Delaware

CFA.




                                        - 269 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2324     Page 296 of 990




      1020. Ford owed Delaware Plaintiffs and the Delaware Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and representations of fuel
                  efficiency;

            b.    Intentionally concealed the foregoing from
                  Delaware Plaintiffs and the Delaware Subclass;
                  and/or

            c.    Made incomplete representations that it
                  manipulated the certification testing and failed to
                  disclose the true fuel economy of the Coastdown
                  Cheating Vehicles, while purposefully withholding
                  material facts from Delaware Plaintiffs and the
                  Delaware Subclass that contradicted these
                  representations.

      1021. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Delaware Plaintiffs and the

Delaware Subclass.

      1022. Delaware Plaintiffs and the Delaware Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Delaware Plaintiffs and the Delaware Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Delaware CFA.




                                      - 270 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2325     Page 297 of 990




      1023. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Delaware CFA.

      1024. As a direct and proximate result of Ford’s violations of the Delaware

CFA, Delaware Plaintiffs and the Delaware Subclass have suffered injury-in-fact

and/or actual damage.

      1025. Ford’s violations present a continuing risk to Delaware Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1026. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1027. Plaintiffs seeks damages under the Delaware CFA for injury resulting

from the direct and natural consequences of Ford’s unlawful conduct. See, e.g.,

Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1980). Plaintiffs also

seek an order enjoining Ford’s unfair, unlawful, and/or deceptive practices,

declaratory relief, attorneys’ fees, and any other just and proper relief available under

the Delaware CFA.




                                        - 271 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2326    Page 298 of 990




       1028. Ford engaged in gross, oppressive, or aggravated conduct justifying the

imposition of punitive damages.

                                    COUNT 46

                              BREACH OF CONTRACT
                            (BASED ON DELAWARE LAW)

       1029. Delaware Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1030. This claim is brought by Delaware Plaintiffs on behalf of the Delaware

Subclass.

       1031. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Delaware Plaintiffs and the Delaware Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Delaware Plaintiffs and the Delaware Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Delaware Plaintiffs and the Delaware

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.




                                      - 272 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2327    Page 299 of 990




       1032. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Delaware Plaintiffs and the Delaware Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       1033. As a direct and proximate result of Ford’s breach of contract, Delaware

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 47

                          BREACH OF EXPRESS WARRANTY
                          (5A DEL. C. 1953, §§ 2-313 & 2A-210)

       1034. Delaware Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1035. This claim is brought by Delaware Plaintiffs on behalf of the Delaware

Subclass.

       1036. Ford is and was at all relevant times a merchant with respect to motor

vehicles.


                                       - 273 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2328     Page 300 of 990




      1037. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1038. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1039. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1040. These affirmations and promises were part of the basis of the bargain

that was reached when Delaware Plaintiffs and the other Delaware Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      1041. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 274 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2329    Page 301 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1042. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1043. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Delaware Plaintiffs and the Delaware Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      1044. Accordingly, recovery by the Delaware Plaintiffs and the Delaware

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Delaware Plaintiffs, individually and on behalf of the

other Delaware Subclass members, seek all remedies as allowed by law.

      1045. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Delaware

Plaintiffs and the Delaware Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 275 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2330    Page 302 of 990




       1046. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1047. As a direct and proximate result of Ford’s breach of express warranties,

Delaware Plaintiffs and the Delaware Subclass have been damaged in an amount to

be determined at trial.

                                     COUNT 48

                          FRAUDULENT CONCEALMENT
                           (BASED ON DELAWARE LAW)

       1048. Delaware Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1049. This claim is brought by Delaware Plaintiffs on behalf of the Delaware

Subclass.

       1050. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Delaware Plaintiffs and the Delaware Subclass information

that is highly relevant and material to their purchasing decision.




                                        - 276 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2331    Page 303 of 990




      1051. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1052. Ford further affirmatively misrepresented to Delaware Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1053. Ford knew these representations were false when made.

      1054. The Coastdown Cheating Vehicles purchased or leased by Delaware

Plaintiffs and the Delaware Subclass were, in fact, defective, with reduced fuel

efficiency.

      1055. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Delaware Plaintiffs and the

Delaware Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.



                                        - 277 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2332    Page 304 of 990




      1056. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1057. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Delaware Plaintiffs and the Delaware

Subclass did not know of these facts and Ford actively concealed these facts from

Delaware Plaintiffs and the Delaware Subclass.

      1058. Delaware Plaintiffs and the Delaware Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Delaware Plaintiffs and the Delaware

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Delaware Plaintiffs and the Delaware Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1059. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




                                       - 278 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2333     Page 305 of 990




profits and sales above the trust that Delaware Plaintiffs and the Delaware Subclass

placed in its representations.

      1060. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Delaware Plaintiffs and the Delaware

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1061. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Delaware Plaintiffs and the Delaware Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Delaware Plaintiffs and the Delaware Subclass members, Ford had



                                        - 279 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2334     Page 306 of 990




the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Delaware Plaintiffs and the

Delaware Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Delaware Plaintiffs and the Delaware Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1062. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Delaware

Plaintiffs and the Delaware Subclass.

      1063. Ford has still not made full and adequate disclosures and continues to

defraud Delaware Plaintiffs and the Delaware Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1064. Delaware Plaintiffs and the Delaware Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not



                                        - 280 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2335    Page 307 of 990




have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Delaware Plaintiffs’ and the Delaware Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Delaware Plaintiffs, or Delaware Subclass members.

      1065. Because of the concealment and/or suppression of the facts, Delaware

Plaintiffs and the Delaware Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Delaware Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      1066. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Delaware Plaintiffs and the Delaware Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1067. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Delaware Plaintiffs’

and the Delaware Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages



                                        - 281 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2336    Page 308 of 990




in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 49

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON DELAWARE LAW)

      1068. Delaware Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1069. This claim is brought by the Delaware Plaintiffs on behalf of the

Delaware Subclass.

      1070. Defendant made fuel economy representations to Delaware Plaintiffs

and members of the Class that were not true.

      1071. Defendant    had     no   reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Delaware

Plaintiffs and Delaware Subclass members rely on these misrepresentations.

      1072. Delaware Plaintiffs reasonably relied on Defendant’s representations

and as a result Delaware Plaintiffs and Delaware Subclass members were harmed.

                                      COUNT 50

                           UNJUST ENRICHMENT
                        (BASED ON DELAWARE LAW)

      1073. Delaware Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.



                                       - 282 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2337    Page 309 of 990




      1074. This claim is brought by the Delaware Plaintiffs on behalf of the

Delaware Subclass.

      1075. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Delaware Plaintiffs and the Delaware Subclass.

      1076. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Delaware Plaintiffs and other Delaware Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1077. Delaware Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Delaware Subclass.

      Claims Brought on Behalf of the Florida Subclass

                                    COUNT 51

                VIOLATIONS OF THE FLORIDA UNFAIR AND
                   DECEPTIVE TRADE PRACTICES ACT
                      (FLA. STAT. § 501.201 ET SEQ.)

      1078. Plaintiffs Steve Beavers, Dillion Drake, and Randall Maingot (“Florida

Plaintiffs”) incorporate by reference all preceding allegations as though fully set

forth herein.

      1079. Florida Plaintiffs bring this Count on behalf of the Florida Subclass.




                                       - 283 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2338     Page 310 of 990




      1080. Florida Plaintiffs and the Florida Subclass members are “consumers”

within the meaning of Florida Unfair and Deceptive Trade Practices Act (“Florida

UDTPA”), FLA. STAT. § 501.203(7).

      1081. Defendant engaged in “trade or commerce” within the meaning of FLA.

STAT. § 501.203(8).

      1082. Florida’s Deceptive and Unfair Trade Practices Act prohibits “[u]nfair

methods of competition, unconscionable acts or practices, and unfair or deceptive

acts or practices in the conduct of any trade or commerce.” FLA. STAT. § 501.204(1).

Defendant participated in unfair and deceptive trade practices that violated the

Florida UDTPA as described herein. Defendant engaged in unfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or

practices as defined in FLA. STAT. § 501.204(1). Ford’s conduct offends established

public policy, is immoral, unethical, oppressive, unscrupulous, or substantially

injurious to consumers, and is likely to mislead consumers.

      1083. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact



                                      - 284 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2339     Page 311 of 990




with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      1084. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Florida Plaintiffs and the Florida Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1085. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Florida Plaintiffs

and the Florida Subclass.

      1086. Ford knew or should have known that its conduct violated the Florida

UDTPA.

      1087. Ford owed Florida Plaintiffs and the Florida Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Florida
                   Plaintiffs and the Florida Subclass; and/or




                                       - 285 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2340     Page 312 of 990




             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Florida Plaintiffs and the Florida
                    Subclass that contradicted these representations.

      1088. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Florida Plaintiffs and the

Florida Subclass.

      1089. Florida Plaintiffs and the Florida Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Florida Plaintiffs and the Florida Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Florida UDTPA.

      1090. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Florida UDTPA. As a direct and proximate result

of Ford’s violations of the Florida UDTPA, Florida Plaintiffs and the Florida

Subclass have suffered injury-in-fact and/or actual damage.

      1091. Ford’s violations present a continuing risk to Florida Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.




                                        - 286 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2341    Page 313 of 990




       1092. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       1093. Accordingly, the Defendant is liable to Florida Plaintiffs and the Florida

Subclass for damages in an amount to be proven at trial.

       1094. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                     COUNT 52

                              BREACH OF CONTRACT
                            (BASED ON FLORIDA LAW)

       1095. Florida Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1096. This claim is brought by Florida Plaintiffs on behalf of the Florida

Subclass.

       1097. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Florida Plaintiffs and the Florida Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Florida Plaintiffs and the Florida Subclass would


                                        - 287 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2342     Page 314 of 990




not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Florida Plaintiffs and the Florida

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

        1098. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Florida Plaintiffs and the Florida Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1099. As a direct and proximate result of Ford’s breach of contract, Florida

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.




                                        - 288 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2343     Page 315 of 990




                                    COUNT 53

                          BREACH OF EXPRESS WARRANTY
                               (FLA. STAT. § 672.313)

       1100. Florida Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1101. This claim is brought by Florida Plaintiffs on behalf of the Florida

Subclass.

       1102. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

       1103. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

       1104. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.




                                       - 289 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2344    Page 316 of 990




      1105. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1106. These affirmations and promises were part of the basis of the bargain

that was reached when Florida Plaintiffs and the other Florida Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1107. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1108. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1109. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Florida Plaintiffs and the Florida Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1110. Accordingly, recovery by the Florida Plaintiffs and the Florida Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing



                                       - 290 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2345    Page 317 of 990




defect, and Florida Plaintiffs, individually and on behalf of the other Florida

Subclass members, seek all remedies as allowed by law.

       1111. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Florida

Plaintiffs and the Florida Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       1112. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1113. As a direct and proximate result of Ford’s breach of express warranties,

Florida Plaintiffs and the Florida Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 54

                          FRAUDULENT CONCEALMENT
                           (BASED ON FLORIDA LAW)

       1114. Florida Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.




                                        - 291 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2346    Page 318 of 990




      1115. This claim is brought by Florida Plaintiffs on behalf of the Florida

Subclass.

      1116. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Florida Plaintiffs and the Florida Subclass information that

is highly relevant to their purchasing decision.

      1117. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1118. Ford further affirmatively misrepresented to Florida Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1119. Ford knew these representations were false when made.




                                        - 292 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2347    Page 319 of 990




      1120. The Coastdown Cheating Vehicles purchased or leased by Florida

Plaintiffs and the Florida Subclass were, in fact, defective, with reduced fuel

efficiency.

      1121. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Florida Plaintiffs and the

Florida Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1122. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1123. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Florida Plaintiffs and the Florida Subclass

did not know of these facts and Ford actively concealed these facts from Florida

Plaintiffs and the Florida Subclass.




                                        - 293 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2348    Page 320 of 990




      1124. Florida Plaintiffs and the Florida Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers Florida Plaintiffs and the Florida Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Florida Plaintiffs and the Florida Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1125. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Florida Plaintiffs and the Florida Subclass

placed in its representations.

      1126. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Florida Plaintiffs and the Florida Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1127. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                        - 294 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2349    Page 321 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Florida Plaintiffs and the Florida Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Florida Plaintiffs and the Florida Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Florida Plaintiffs and the

Florida Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Florida Plaintiffs and the Florida Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.




                                      - 295 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2350    Page 322 of 990




      1128. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Florida Plaintiffs

and the Florida Subclass.

      1129. Ford has still not made full and adequate disclosures and continues to

defraud Florida Plaintiffs and the Florida Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1130. Florida Plaintiffs and the Florida Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Florida Plaintiffs’ and the Florida Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Florida Plaintiffs, or Florida Subclass members.

      1131. Because of the concealment and/or suppression of the facts, Florida

Plaintiffs and the Florida Subclass have sustained damage because they overpaid for

their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was



                                       - 296 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2351    Page 323 of 990




represented by Ford. Had they been aware of the true facts, Florida Plaintiffs and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      1132. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Florida Plaintiffs and the Florida Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1133. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Florida Plaintiffs’

and the Florida Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 55

                     NEGLIGENT MISREPRESENTATION
                        (BASED ON FLORIDA LAW)

      1134. Florida Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1135. This claim is brought by the Florida Plaintiffs on behalf of the Florida

Subclass.




                                       - 297 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2352     Page 324 of 990




      1136. Defendant made fuel economy representations to Florida Plaintiffs and

members of the Class that were not true.

      1137. Defendant     had    no   reasonable    grounds    for   believing   these

representations were true when they made them, yet they intended that Florida

Plaintiffs and Florida Subclass members rely on these misrepresentations.

      1138. Florida Plaintiffs reasonably relied on Defendant’s representations and

as a result Florida Plaintiffs and Florida Subclass members were harmed.

                                      COUNT 56

                            UNJUST ENRICHMENT
                          (BASED ON FLORIDA LAW)

      1139. Florida Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1140. This claim is brought by the Florida Plaintiffs on behalf of the Florida

Subclass.

      1141. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Florida Plaintiffs and the Florida Subclass.

      1142. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Florida Plaintiffs and other Florida Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                       - 298 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2353    Page 325 of 990




      1143. Florida Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Florida Subclass.

      Claims Brought on Behalf of the Georgia Subclass

                                     COUNT 57

   VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                (GA. CODE ANN. § 10-1-390 et seq.)

      1144. Plaintiff Jamar Haynes (“Georgia Plaintiff”) hereby incorporate by

reference the allegations contained in the preceding paragraphs of this complaint.

      1145. Georgia Plaintiffs bring this Count on behalf of the Georgia Subclass.

      1146. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares

“[u]nfair or deceptive acts or practices in the conduct of consumer transactions and

consumer acts or practices in trade or commerce” to be unlawful, G A. CODE ANN.

§ 101-393(b), including but not limited to “representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that

they do not have”; “[r]epresenting that goods or services are of a particular standard,

quality, or grade . . . if they are of another”; and “[a]dvertising goods or services

with intent not to sell them as advertised and certified.” G A. CODE ANN. § 10-1-

393(b).

      1147. Georgia Plaintiffs and Georgia Class members are “consumers” within

the meaning of GA. CODE ANN. § 10-1-393(b).


                                        - 299 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2354    Page 326 of 990




      1148. Ford engaged in “trade or commerce” within the meaning of GA. CODE

ANN. § 10-1-393(b).

      1149. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      1150. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Georgia Plaintiffs and the Georgia

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1151. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Georgia Plaintiffs

and the Georgia Subclass.




                                       - 300 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2355     Page 327 of 990




      1152. Ford knew or should have known that its conduct violated the Georgia

FBPA.

      1153. Ford owed Georgia Plaintiffs and the Georgia Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.      Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

            b.      Intentionally concealed the foregoing from Georgia
                    Plaintiffs and the Georgia Subclass; and/or

            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Georgia Plaintiffs and the
                    Georgia Subclass that contradicted these
                    representations.

      1154. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Georgia Plaintiffs and the

Georgia Subclass.

      1155. Georgia Plaintiffs and the Georgia Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Georgia Plaintiffs and the Georgia Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their




                                        - 301 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2356     Page 328 of 990




vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Georgia FBPA.

      1156. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Georgia FBPA. As a direct and proximate result

of Ford’s violations of the Georgia FBPA, Georgia Plaintiffs and the Georgia

Subclass have suffered injury-in-fact and/or actual damage.

      1157. Ford’s violations present a continuing risk to Georgia Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1158. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1159. Georgia Plaintiffs and Georgia Class members are entitled to seek

damages and exemplary damages (for intentional violations) per GA. CODE ANN.

§ 10-1-399(a).

      1160. Georgia Plaintiffs and Georgia Class members will also seek an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices, attorneys’ fees, and




                                      - 302 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2357     Page 329 of 990




any other just and proper relief available under the Georgia FBPA per G A. CODE

ANN. § 10-1-399.

      1161. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

      1162. On June 20, 2019, certain Georgia Plaintiffs sent a letter complying

with GA. CODE ANN. § 10-1-399(b) to Ford. Because Ford failed to remedy its

unlawful conduct within the requisite time period, Georgia Plaintiffs seek all

damages and relief to which Georgia Plaintiffs and the Georgia Subclass are entitled.

                                     COUNT 58

    VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE
                       PRACTICES ACT
                (GA. CODE ANN § 10-1-370 et seq.)

      1163. Georgia Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1164. This claim is brought by Georgia Plaintiffs on behalf of the Georgia

Subclass.

      1165. Georgia’s Uniform Deceptive Trade Practices Act (“Georgia UDTPA”)

prohibits “deceptive trade practices,” which include “representing that goods or

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

quantities that they do not have”; “[r]epresenting that goods or services are of a

particular standard, quality, or grade . . . if they are of another”; and “[a]dvertising



                                        - 303 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2358    Page 330 of 990




goods or services with intent not to sell them as advertised and certified.” G A. CODE

ANN. § 10-1-393(b).

      1166. Ford, Georgia Plaintiffs, and Georgia Subclass members are “persons”

within the meaning of GA. CODE ANN. § 10-1-371(5).

      1167. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      1168. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Georgia Plaintiffs and the Georgia

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




                                       - 304 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2359     Page 331 of 990




      1169. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Georgia Plaintiffs

and the Georgia Subclass.

      1170. Ford knew or should have known that its conduct violated the Georgia

UDTPA.

      1171. Ford owed Georgia Plaintiffs and the Georgia Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.      Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

            b.      Intentionally concealed the foregoing from Georgia
                    Plaintiffs and the Georgia Subclass; and/or

            c.      Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Georgia Plaintiffs and the
                    Georgia Subclass that contradicted these
                    representations.

      1172. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Georgia Plaintiffs and the

Georgia Subclass.

      1173. Georgia Plaintiffs and the Georgia Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose


                                        - 305 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2360     Page 332 of 990




material information. Georgia Plaintiffs and the Georgia Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Georgia UDTPA.

      1174. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Georgia UDTPA. As a direct and proximate result

of Ford’s violations of the Georgia UDTPA, Georgia Plaintiffs and the Georgia

Subclass have suffered injury-in-fact and/or actual damage.

      1175. Ford’s violations present a continuing risk to Georgia Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1176. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1177. Georgia Plaintiffs seek an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, attorneys’ fees, and any other just and proper relief

available under GA. CODE ANN. § 10-1-373.




                                      - 306 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2361    Page 333 of 990




                                    COUNT 59

                              BREACH OF CONTRACT
                            (BASED ON GEORGIA LAW)

       1178. Georgia Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1179. This claim is brought by the Georgia Plaintiffs on behalf of the Georgia

Subclass.

       1180. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Georgia Plaintiffs and the Georgia Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Georgia Plaintiffs and the Georgia Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Georgia Plaintiffs and the Georgia

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       1181. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Georgia Plaintiffs and the Georgia Subclass


                                       - 307 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2362     Page 334 of 990




defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       1182. As a direct and proximate result of Ford’s breach of contract, Georgia

Plaintiffs and the Georgia Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 60

                          BREACH OF EXPRESS WARRANTY
                             (GA. CODE ANN. § 11-2-313)

       1183. Georgia Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1184. This claim is brought by Georgia Plaintiffs on behalf of the Georgia

Subclass.

       1185. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

       1186. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                       - 308 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2363     Page 335 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1187. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1188. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1189. These affirmations and promises were part of the basis of the bargain

that was reached when Georgia Plaintiffs and the other Georgia Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1190. Georgia Plaintiffs and the Georgia Subclass experienced defects within

the warranty period. Despite the existence of warranties, Ford failed to inform

Georgia Plaintiffs and the Georgia Subclass members that the Coastdown Cheating

Vehicles were defectively designed, and failed to fix the defectively designed

Coastdown Cheating Vehicles free of charge.

      1191. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 309 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2364    Page 336 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1192. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1193. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Georgia Plaintiffs and the Georgia Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1194. Accordingly, recovery by the Georgia Plaintiffs and the Georgia

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Georgia Plaintiffs, individually and on behalf of the other

Georgia Subclass members, seek all remedies as allowed by law.

      1195. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Georgia




                                       - 310 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2365    Page 337 of 990




Plaintiffs and the Georgia Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       1196. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “repairs or adjustments,”

as many incidental and consequential damages have already been suffered due to

Ford’s fraudulent conduct as alleged herein. Due to Ford’s failure and/or continued

failure to provide such limited remedy within a reasonable time, any limitation on

Georgia Plaintiffs and the Georgia Subclass members’ remedies would be

insufficient to make Georgia Plaintiffs and the Georgia Subclass members whole.

       1197. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1198. As a direct and proximate result of Ford’s breach of express warranties,

Georgia Plaintiffs and the Georgia Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 61

                          FRAUDULENT CONCEALMENT
                           (BASED ON GEORGIA LAW)

       1199. Georgia Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.


                                        - 311 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2366     Page 338 of 990




      1200. This claim is brought by the Georgia Plaintiffs on behalf of the Georgia

Subclass.

      1201. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Georgia Plaintiffs and the Georgia

Subclass information that is highly relevant to their purchasing decision.

      1202. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1203. Ford further affirmatively misrepresented to Georgia Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1204. Ford knew these representations were false when made.




                                       - 312 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2367    Page 339 of 990




      1205. The Coastdown Cheating Vehicles purchased or leased by Georgia

Plaintiffs and the Georgia Subclass were, in fact, defective, with reduced fuel

efficiency.

      1206. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Georgia Plaintiffs and the

Georgia Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1207. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1208. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Georgia Plaintiffs and the Georgia Subclass

did not know of these facts and Ford actively concealed these facts from Georgia

Plaintiffs and the Georgia Subclass.




                                        - 313 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2368    Page 340 of 990




      1209. Georgia Plaintiffs and the Georgia Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Georgia Plaintiffs and the Georgia Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Georgia Plaintiffs and the Georgia Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1210. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Georgia Plaintiffs and the Georgia Subclass

members placed in its representations.

      1211. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Georgia Plaintiffs and the Georgia Subclass,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      1212. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                         - 314 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2369     Page 341 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Georgia Plaintiffs and the Georgia Subclass. Ford also had a duty to

disclose because it made general affirmative representations about the qualities of

its vehicles with respect to fuel efficiency, which were misleading, deceptive, and

incomplete without the disclosure of the additional facts set forth above regarding

the actual mileage of its vehicles. Having volunteered to provide information to

Georgia Plaintiffs and the Georgia Subclass, Ford had the duty to disclose not just

the partial truth, but the entire truth. These omitted and concealed facts were material

because they directly impact the value of the Coastdown Cheating Vehicles

purchased or leased by Georgia Plaintiffs and the Georgia Subclass. Whether an

automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to Georgia

Plaintiffs and the Georgia Subclass that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1213. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its



                                        - 315 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2370    Page 342 of 990




vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Georgia Plaintiffs

and the Georgia Subclass.

      1214. Ford has still not made full and adequate disclosures and continues to

defraud Georgia Plaintiffs and the Georgia Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1215. Georgia Plaintiffs and the Georgia Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Georgia Plaintiffs’ and the Georgia Subclass’s actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Georgia Plaintiffs, or the Georgia Subclass.

      1216. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Georgia Plaintiffs and the Georgia Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1217. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Plaintiff’s and



                                       - 316 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2371    Page 343 of 990




Georgia Class members’ rights and the representations that Ford made to them were

made in order to enrich Ford. Ford’s conduct warrants an assessment of punitive

damages in an amount sufficient to deter such conduct in the future, which amount

is to be determined according to proof.

                                     COUNT 62

                    NEGLIGENT MISREPRESENTATION
                       (BASED ON GEORGIA LAW)

      1218. Georgia Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1219. This claim is brought by the Georgia Plaintiffs on behalf of the Georgia

Subclass.

      1220. Defendant made fuel economy representations to Georgia Plaintiffs and

members of the Class that were not true.

      1221. Defendant    had    no   reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that Georgia

Plaintiffs and Georgia Subclass members rely on these misrepresentations.

      1222. Georgia Plaintiffs reasonably relied on Defendant’s representations and

as a result Georgia Plaintiffs and Georgia Subclass members were harmed.

                                     COUNT 63

                           UNJUST ENRICHMENT
                         (BASED ON GEORGIA LAW)



                                      - 317 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2372    Page 344 of 990




      1223. Georgia Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1224. This claim is brought by the Georgia Plaintiffs on behalf of the Georgia

Subclass.

      1225. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Georgia Plaintiffs and the Georgia Subclass.

      1226. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Georgia Plaintiffs and other Georgia Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1227. Georgia Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Georgia Subclass.

      Claims brought on behalf of the Hawaii Subclass

                                    COUNT 64

                  VIOLATION OF THE HAWAII ACT § 480-2(A)
                       (HAW. REV. STAT. § 480 et seq.)

      1228. Plaintiff George Andrew Rayne (“Hawaii Plaintiff”) hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.




                                       - 318 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2373     Page 345 of 990




      1229. This claim is brought by Hawaii Plaintiff on behalf of the Hawaii

Subclass.

      1230. HAWAII REV. STAT. § 480-2(a) prohibits “unfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.”

      1231. Ford is a “person” under HAW. REV. STAT. § 480-1.

      1232. Hawaii Plaintiff and Hawaii Class members are “consumer[s]” as

defined by HAW. REV. STAT. § 480-1, who purchased or leased the Coastdown

Cheating Vehicles at issue.

      1233. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1234. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1235. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Hawaii Plaintiff and the Hawaii



                                      - 319 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2374     Page 346 of 990




Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       1236. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Hawaii Plaintiff

and the Hawaii Subclass.

       1237. Ford knew or should have known that its conduct violated the Hawaii

UDA.

       1238. Ford owed Hawaii Plaintiff and the Hawaii Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from Hawaii
                   Plaintiff and the Hawaii Subclass; and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Hawaii Plaintiff and the Hawaii
                   Subclass that contradicted these representations.




                                       - 320 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2375    Page 347 of 990




      1239. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Hawaii Plaintiff and the

Hawaii Subclass.

      1240. Hawaii Plaintiff and the Hawaii Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Hawaii Plaintiff and the Hawaii Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Hawaii UDA.

      1241. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Hawaii UDA.

      1242. As a direct and proximate result of Ford’s violations of the Hawaii

UDA, Hawaii Plaintiff and the Hawaii Subclass have suffered injury-in-fact and/or

actual damage.

      1243. Ford’s violations present a continuing risk to Hawaii Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1244. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles



                                      - 321 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2376    Page 348 of 990




has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1245. Pursuant to HAW. REV. STAT. § 480-13, Hawaii Plaintiff and Hawaii

Subclass members seek monetary relief against Ford measured as the greater of (a)

$1,000 and (b) threefold actual damages in an amount to be determined at trial.

      1246. Under HAW. REV. STAT. § 480-13.5, Hawaii Plaintiff and Hawaii

Subclass members seek an additional award against Ford of up to $10,000 for each

violation directed at a Hawaii elder. Ford knew or should have known that its

conduct was directed to one or more Plaintiffs who are elders. Ford’s conduct caused

one or more of these elders to suffer a substantial loss of property set aside for

retirement or for personal or family care and maintenance, or assets essential to the

health or welfare of the elder. Plaintiffs who are elders are substantially more

vulnerable to Ford’s conduct because of age, poor health or infirmity, impaired

understanding, restricted mobility, or disability, and each of them suffered a

substantial physical, emotional, or economic damage resulting from Ford’s conduct.

      1247. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.




                                       - 322 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2377    Page 349 of 990




                                    COUNT 65

                             BREACH OF CONTRACT
                            (BASED ON HAWAII LAW)

       1248. Hawaii Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       1249. This claim is brought by Hawaii Plaintiff on behalf of the Hawaii

Subclass.

       1250. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Hawaii Plaintiff and the Hawaii Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Hawaii Plaintiff and the Hawaii Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Hawaii Plaintiff and the Hawaii Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

       1251. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Hawaii Plaintiff and the Hawaii Subclass defective


                                       - 323 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2378     Page 350 of 990




Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1252. As a direct and proximate result of Ford’s breach of contract, Hawaii

Plaintiff and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 66

                      BREACH OF EXPRESS WARRANTY
                    (HI REV. STAT. §§ 490:2-313 & 490:2A-519)

        1253. Hawaii Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

        1254. This claim is brought by Hawaii Plaintiff on behalf of the Hawaii

Subclass.

        1255. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

        1256. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                        - 324 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2379     Page 351 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1257. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1258. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1259. These affirmations and promises were part of the basis of the bargain

that was reached when Hawaii Plaintiff and the other Hawaii Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1260. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 325 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2380    Page 352 of 990




      1261. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1262. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Hawaii Plaintiff and the Hawaii Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1263. Accordingly, recovery by the Hawaii Plaintiff and the Hawaii Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Hawaii Plaintiff, individually and on behalf of the other Hawaii Subclass

members, seek all remedies as allowed by law.

      1264. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Hawaii

Plaintiff and the Hawaii Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      1265. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 326 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2381    Page 353 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1266. As a direct and proximate result of Ford’s breach of express warranties,

Hawaii Plaintiff and the Hawaii Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 67

                          FRAUDULENT CONCEALMENT
                            (BASED ON HAWAII LAW)

       1267. Hawaii Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       1268. This claim is brought by Hawaii Plaintiff on behalf of the Hawaii

Subclass.

       1269. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Hawaii Plaintiff and the Hawaii Subclass information that is

highly relevant and material to their purchasing decision.

       1270. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 327 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2382    Page 354 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1271. Ford further affirmatively misrepresented to Hawaii Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1272. Ford knew these representations were false when made.

      1273. The Coastdown Cheating Vehicles purchased or leased by Hawaii

Plaintiff and the Hawaii Subclass were, in fact, defective, with reduced fuel

efficiency.

      1274. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Hawaii Plaintiff and the

Hawaii Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1275. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 328 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2383    Page 355 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1276. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Hawaii Plaintiff and the Hawaii Subclass did

not know of these facts and Ford actively concealed these facts from Hawaii Plaintiff

and the Hawaii Subclass.

      1277. Hawaii Plaintiff and the Hawaii Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Hawaii Plaintiff and the Hawaii Subclass did not,

and could not, unravel Ford’s deception on their own. Rather, Ford intended to

deceive Hawaii Plaintiff and the Hawaii Subclass by concealing the true facts about

the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1278. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Hawaii Plaintiff and the Hawaii Subclass placed

in its representations.

      1279. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and



                                       - 329 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2384     Page 356 of 990




also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Hawaii Plaintiff and the Hawaii

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1280. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Hawaii Plaintiff and the Hawaii Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Hawaii Plaintiff and the Hawaii Subclass members, Ford had the duty

to disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Hawaii Plaintiff and the Hawaii Subclass

members. Whether an automobile is fuel efficient and whether it accurately



                                        - 330 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2385    Page 357 of 990




measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Hawaii Plaintiff and the Hawaii Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      1281. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Hawaii Plaintiff

and the Hawaii Subclass.

      1282. Ford has still not made full and adequate disclosures and continues to

defraud Hawaii Plaintiff and the Hawaii Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1283. Hawaii Plaintiff and the Hawaii Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Hawaii Plaintiff’s and the Hawaii Subclass members’ actions were justified. Ford




                                       - 331 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2386    Page 358 of 990




was in exclusive control of the material facts, and such facts were not generally

known to the public, Hawaii Plaintiff, or Hawaii Subclass members.

      1284. Because of the concealment and/or suppression of the facts, Hawaii

Plaintiff and the Hawaii Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Hawaii

Plaintiff and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      1285. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Hawaii Plaintiff and the Hawaii Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1286. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Hawaii Plaintiff’s

and the Hawaii Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




                                       - 332 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2387    Page 359 of 990




                                    COUNT 68

                   NEGLIGENT MISREPRESENTATION
                      (BASED ON HAWAII LAW)

      1287. Hawaii Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      1288. This claim is brought by the Hawaii Plaintiff on behalf of the Hawaii

Subclass.

      1289. Defendant made fuel economy representations to Hawaii Plaintiff and

members of the Class that were not true.

      1290. Defendant    had   no   reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that Hawaii

Plaintiff and Hawaii Subclass members rely on these misrepresentations.

      1291. Hawaii Plaintiff reasonably relied on Defendant’s representations and

as a result Hawaii Plaintiff and Hawaii Subclass members were harmed.

                                    COUNT 69

                           UNJUST ENRICHMENT
                         (BASED ON HAWAII LAW)

      1292. Hawaii Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      1293. This claim is brought by the Hawaii Plaintiff on behalf of the Hawaii

Subclass.



                                      - 333 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2388    Page 360 of 990




      1294. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Hawaii Plaintiff and the Hawaii Subclass.

      1295. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Hawaii Plaintiff and other Hawaii Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1296. Hawaii Plaintiff, therefore, seeks any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Hawaii Subclass.

      Claims Brought on Behalf of the Idaho Subclass

                                    COUNT 70

       VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                 (IDAHO CODE ANN. § 48-601 et seq.)

      1297. Idaho Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      1298. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

      1299. The Idaho Consumer Protection Act (“Idaho CPA”) prohibits deceptive

business practices, including but not limited to (1) representing that the Coastdown

Cheating Vehicles have characteristics, uses, and benefits which they do not have;

(2) representing that the Coastdown Cheating Vehicles are of a particular standard,

quality, and grade when they are not; (3) advertising the Coastdown Cheating


                                       - 334 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2389    Page 361 of 990




Vehicles with the intent not to sell them as advertised and certified; (4) engaging in

acts or practices which are otherwise misleading, false, or deceptive to the consumer;

and (5) engaging in any unconscionable method, act or practice in the conduct of

trade or commerce. See IDAHO CODE ANN. § 48-603.

      1300. Idaho Plaintiff, the Idaho Subclass, and Ford are each “persons” under

IDAHO CODE ANN. § 48-602(1).

      1301. Ford’s acts or practices as set forth above occurred in the conduct of

“trade” or “commerce” under IDAHO CODE ANN. § 48-602(2).

      1302. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      1303. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Idaho Plaintiff and the Idaho Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,



                                       - 335 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2390     Page 362 of 990




the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

       1304. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Idaho Plaintiff

and the Idaho Subclass.

       1305. Ford knew or should have known that its conduct violated the Idaho

CPA.

       1306. Ford owed Idaho Plaintiff and the Idaho Subclass a duty to disclose the

performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from Idaho
                   Plaintiff and the Idaho Subclass; and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Idaho Plaintiff and the Idaho
                   Subclass that contradicted these representations.

       1307. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Idaho Plaintiff and the Idaho

Subclass.




                                       - 336 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2391    Page 363 of 990




      1308. Idaho Plaintiff and the Idaho Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Idaho Plaintiff and the Idaho Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Idaho CPA.

      1309. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Idaho CPA. As a direct and proximate result of

Ford’s violations of the Idaho CPA, Idaho Plaintiff and the Idaho Subclass have

suffered injury-in-fact and/or actual damage.

      1310. Ford’s violations present a continuing risk to Idaho Plaintiff as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      1311. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1312. Pursuant to IDAHO CODE ANN. § 48-608, Idaho Plaintiff seeks monetary

relief against Ford measured as the greater of (a) actual damages in an amount to be



                                       - 337 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2392     Page 364 of 990




determined at trial and (b) statutory damages in the amount of $1,000 for each

plaintiff.

       1313. Idaho Plaintiff also seeks an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, attorneys’ fees, and any other just and proper relief

available under the Idaho CPA.

       1314. Idaho Plaintiff also seeks punitive damages against Ford because its

conduct evidences an extreme deviation from reasonable standards. Ford’s unlawful

conduct constitutes malice, oppression, and fraud warranting punitive damages.

                                     COUNT 71

                             BREACH OF CONTRACT
                             (BASED ON IDAHO LAW)

       1315. Idaho Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

       1316. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

       1317. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Idaho Plaintiff and the Idaho Subclass to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Idaho Plaintiff and the Idaho Subclass would not

have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or


                                       - 338 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2393    Page 365 of 990




would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Idaho Plaintiff and the Idaho Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        1318. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Idaho Plaintiff and the Idaho Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1319. As a direct and proximate result of Ford’s breach of contract, Idaho

Plaintiff and the Idaho Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

        1320. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.




                                        - 339 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2394     Page 366 of 990




                                    COUNT 72

                      BREACH OF EXPRESS WARRANTY
                              (I.C. § 28-2-316)

      1321. Idaho Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      1322. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

      1323. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

      1324. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1325. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1326. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.


                                      - 340 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2395    Page 367 of 990




      1327. These affirmations and promises were part of the basis of the bargain

that was reached when Idaho Plaintiff and the other Idaho Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1328. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1329. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1330. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Idaho Plaintiff and the Idaho Subclass whole, and because Ford

has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

      1331. Accordingly, recovery by the Idaho Plaintiff and the Idaho Subclass is

not limited to the NVLW promising to repair and/or correct a manufacturing defect,

and Idaho Plaintiff, individually and on behalf of the other Idaho Subclass members,

seek all remedies as allowed by law.



                                       - 341 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2396    Page 368 of 990




      1332. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Idaho Plaintiff

and the Idaho Subclass were therefore induced to purchase or lease the Coastdown

Cheating Vehicles under false and/or fraudulent pretenses.

      1333. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      1334. As a direct and proximate result of Ford’s breach of express warranties,

Idaho Plaintiff and the Idaho Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 73

                         FRAUDULENT CONCEALMENT
                           (BASED ON IDAHO LAW)

      1335. Idaho Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      1336. This claim is brought by Idaho Plaintiff on behalf of the Idaho Subclass.

      1337. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far


                                        - 342 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2397     Page 369 of 990




worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Idaho Plaintiff and the Idaho Subclass information that is

highly relevant to their purchasing decision.

      1338. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1339. Ford further affirmatively misrepresented to Idaho Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1340. Ford knew these representations were false when made.

      1341. The Coastdown Cheating Vehicles purchased or leased by Idaho

Plaintiff and the Idaho Subclass were, in fact, defective, with reduced fuel efficiency.

      1342. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Idaho Plaintiff and the Idaho



                                        - 343 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2398    Page 370 of 990




Subclass relied on Ford’s material representations or omissions of fact that the

Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1343. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1344. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Idaho Plaintiff and the Idaho Subclass did

not know of these facts and Ford actively concealed these facts from Idaho Plaintiff

and the Idaho Subclass.

      1345. Idaho Plaintiff and the Idaho Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Idaho Plaintiff and the Idaho Subclass did not,

and could not, unravel Ford’s deception on their own. Rather, Ford intended to

deceive Idaho Plaintiff and the Idaho Subclass by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1346. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and



                                       - 344 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2399    Page 371 of 990




sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Idaho Plaintiff and the Idaho Subclass placed in

its representations.

      1347. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Idaho Plaintiff and the Idaho Subclass members,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      1348. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Idaho Plaintiff and the Idaho Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth



                                        - 345 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2400    Page 372 of 990




above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Idaho Plaintiff and the Idaho Subclass members, Ford had the duty to

disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Idaho Plaintiff and the Idaho Subclass

members. Whether an automobile is fuel efficient and whether it accurately

measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Idaho Plaintiff and the Idaho Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      1349. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Idaho Plaintiff

and the Idaho Subclass.

      1350. Ford has still not made full and adequate disclosures and continues to

defraud Idaho Plaintiff and the Idaho Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.




                                       - 346 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2401    Page 373 of 990




      1351. Idaho Plaintiff and the Idaho Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Idaho Plaintiff’s and the Idaho Subclass members’ actions were justified. Ford was

in exclusive control of the material facts, and such facts were not generally known

to the public, Idaho Plaintiff, or, Idaho Subclass members.

      1352. Because of the concealment and/or suppression of the facts, Idaho

Plaintiff and the Idaho Subclass have sustained damage because they overpaid for

their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Idaho Plaintiff and Class

members would not have purchased or leased the Coastdown Cheating Vehicles or

would have paid less.

      1353. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Idaho Plaintiff and the Idaho Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.




                                       - 347 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2402     Page 374 of 990




      1354. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Idaho Plaintiff’s and

the Idaho Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 74

                     NEGLIGENT MISREPRESENTATION
                         (BASED ON IDAHO LAW)

      1355. Idaho Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      1356. This claim is brought by the Idaho Plaintiff on behalf of the Idaho

Subclass.

      1357. Defendant made fuel economy representations to Idaho Plaintiff and

members of the Class that were not true.

      1358. Defendant      had   no    reasonable    grounds    for   believing   these

representations were true when they made them, yet they intended that Idaho

Plaintiff and Idaho Subclass members rely on these misrepresentations.

      1359. Idaho Plaintiff reasonably relied on Defendant’s representations and as

a result Idaho Plaintiff and Idaho Subclass members were harmed.




                                        - 348 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2403    Page 375 of 990




                                    COUNT 75

                            UNJUST ENRICHMENT
                           (BASED ON IDAHO LAW)

      1360. Idaho Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      1361. This claim is brought by the Idaho Plaintiff on behalf of the Idaho

Subclass.

      1362. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Idaho Plaintiff and the Idaho Subclass.

      1363. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Idaho Plaintiff and other Idaho Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1364. Idaho Plaintiff, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Idaho Subclass.




                                       - 349 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2404     Page 376 of 990




      Claims Brought on Behalf of the Illinois Subclass

                                    COUNT 76

             VIOLATION OF THE ILLINOIS CONSUMER FRAUD
               AND DECEPTIVE BUSINESS PRACTICES ACT
               (815 ILCS 505/1, ET SEQ. AND 720 ILCS 295/1A)

      1365. Plaintiffs Cassandra Morrison and Ryan Hubert (“Illinois Plaintiffs”)

incorporate by reference all paragraphs as though fully set forth herein.

      1366. Illinois Plaintiffs bring this claim on behalf of the Illinois Subclass.

      1367. Ford is a “person” as that term is defined in 815 ILCS 505/1(c).

      1368. Illinois Plaintiffs and the Illinois Subclass members are “consumers” as

that term is defined in 815 ILCS 505/1(e).

      1369. The Illinois Consumer Fraud and Deceptive Business Practices Act

(“Illinois CFA”) prohibits “unfair or deceptive acts or practices, including but not

limited to the use or employment of any deception, fraud, false pretense, false

promise, misrepresentation or the concealment, suppression or omission of any

material fact, with intent that others rely upon the concealment, suppression or

omission of such material fact … in the conduct of trade or commerce … whether

any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

      1370. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the



                                       - 350 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2405    Page 377 of 990




premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

       1371. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Illinois Plaintiffs and the Illinois Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

       1372. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Illinois Plaintiffs

and the Illinois Subclass.

       1373. Ford knew or should have known that its conduct violated the Illinois

CFA.

       1374. Ford owed Illinois Plaintiffs and the Illinois Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:




                                        - 351 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2406      Page 378 of 990




             a.      Possessed exclusive knowledge that it manipulated
                     the testing, certification, and representations of fuel
                     efficiency;

             b.      Intentionally concealed the foregoing from Illinois
                     Plaintiffs and the Illinois Subclass; and/or

             c.      Made incomplete representations that it
                     manipulated the certification testing and failed to
                     disclose the true fuel economy of the Coastdown
                     Cheating Vehicles, while purposefully withholding
                     material facts from Illinois Plaintiffs and the Illinois
                     Subclass that contradicted these representations.

      1375. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Illinois Plaintiffs and the

Illinois Subclass.

      1376. Illinois Plaintiffs and the Illinois Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Illinois Plaintiffs and the Illinois Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Illinois CFA.

      1377. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Illinois CFA. As a direct and proximate result of

Ford’s violations of the Illinois CFA, Illinois Plaintiffs and the Illinois Subclass have

suffered injury-in-fact and/or actual damage.




                                         - 352 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2407       Page 379 of 990




      1378. Ford’s violations present a continuing risk to Illinois Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1379. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1380. Pursuant to 815 ILCS 505/10a(a), Illinois Plaintiffs and the Illinois

Subclass seek monetary relief against Ford in the amount of actual damages, as well

as punitive damages because Ford acted with fraud and/or malice and/or was grossly

negligent.

      1381. Illinois Plaintiffs also seeks punitive damages, attorneys’ fees, and any

other just and proper relief available under 815 ILCS § 505/1, et seq.

      1382. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Illinois in

accordance with 815 ILCS 505/10a(d).




                                       - 353 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2408     Page 380 of 990




                                      COUNT 77

                             BREACH OF CONTRACT
                            (BASED ON ILLINOIS LAW)

       1383. Illinois Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1384. This claim is brought by the Illinois Plaintiffs on behalf of Illinois

Subclass.

       1385. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Illinois Plaintiffs and the Illinois Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Illinois Plaintiffs and the Illinois Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Illinois Plaintiffs and the Illinois Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

       1386. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Illinois Plaintiffs and the Illinois Subclass defective


                                         - 354 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2409     Page 381 of 990




Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1387. As a direct and proximate result of Ford’s breach of contract, Illinois

Plaintiffs and the Illinois Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                     COUNT 78

                          BREACH OF EXPRESS WARRANTY
                                (810 ILCS 5/2-313)

        1388. Illinois Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

        1389. This claim is brought by Illinois Plaintiffs on behalf of the Illinois

Subclass.

        1390. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to 810 ILCS 5/2-104.

        1391. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                        - 355 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2410     Page 382 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1392. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1393. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1394. These affirmations and promises were part of the basis of the bargain

that was reached when Illinois Plaintiffs and the other Illinois Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1395. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 356 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2411     Page 383 of 990




      1396. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1397. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Illinois Plaintiffs and the Illinois Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1398. Accordingly, recovery by the Illinois Plaintiffs and the Illinois Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Illinois Plaintiffs, individually and on behalf of the other Illinois Subclass

members, seek all remedies as allowed by law.

      1399. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Illinois

Plaintiffs and the Illinois Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      1400. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                         - 357 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2412     Page 384 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1401. As a direct and proximate result of Ford’s breach of express warranties,

Illinois Plaintiffs and the Illinois Subclass have been damaged in an amount to be

determined at trial.

                                      COUNT 79

                          FRAUDULENT CONCEALMENT
                            (BASED ON ILLINOIS LAW)

       1402. Illinois Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1403. This claim is brought by Illinois Plaintiffs on behalf of Illinois Subclass.

       1404. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Illinois Plaintiffs and the Illinois

Subclass information that is highly relevant to their purchasing decision.

       1405. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to




                                         - 358 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2413    Page 385 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1406. Ford further affirmatively misrepresented to Illinois Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1407. Ford knew these representations were false when made.

      1408. The Coastdown Cheating Vehicles purchased or leased by Illinois

Plaintiffs and the Illinois Subclass were, in fact, defective, with reduced fuel

efficiency.

      1409. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Illinois Plaintiffs and the

Illinois Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1410. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 359 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2414    Page 386 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1411. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Illinois Plaintiffs and the Illinois Subclass

did not know of these facts and Ford actively concealed these facts from Illinois

Plaintiffs and the Illinois Subclass.

      1412. Illinois Plaintiffs and the Illinois Subclass members reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Illinois Plaintiffs and the Illinois

Subclass members did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Illinois Plaintiffs and the Illinois Subclass members

by concealing the true facts about the Coastdown Cheating Vehicles’ lack of fuel

efficiency.

      1413. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Illinois Plaintiffs and the Illinois Subclass

members placed in its representations.




                                         - 360 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2415    Page 387 of 990




      1414. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Illinois Plaintiffs and the Illinois Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1415. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Illinois Plaintiffs and the Illinois Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Illinois Plaintiffs and the Illinois Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the



                                        - 361 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2416    Page 388 of 990




Coastdown Cheating Vehicles purchased or leased by Illinois Plaintiffs and the

Illinois Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Illinois Plaintiffs and the Illinois Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      1416. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Illinois Plaintiffs

and the Illinois Subclass members.

      1417. Ford has still not made full and adequate disclosures and continues to

defraud Illinois Plaintiffs and the Illinois Subclass members by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1418. Illinois Plaintiffs and the Illinois Subclass members were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from



                                       - 362 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2417       Page 389 of 990




them. Illinois Plaintiffs’ and the Illinois Subclass members’ actions were justified.

Ford was in exclusive control of the material facts, and such facts were not generally

known to the public, Illinois Plaintiffs, or Illinois Subclass members.

      1419. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Illinois Plaintiffs and the Illinois Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1420. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Illinois Plaintiffs’

and the Illinois Subclass’s rights and the representations that Ford made to them

were made in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                     COUNT 80

                     NEGLIGENT MISREPRESENTATION
                        (BASED ON ILLINOIS LAW)

      1421. Illinois Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1422. This claim is brought by the Illinois Plaintiffs on behalf of the Illinois

Subclass.




                                        - 363 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2418     Page 390 of 990




      1423. Defendant made fuel economy representations to Illinois Plaintiffs and

members of the Class that were not true.

      1424. Defendant      had    no   reasonable    grounds     for   believing   these

representations were true when they made them, yet they intended that Illinois

Plaintiffs and Illinois Subclass members rely on these misrepresentations.

      1425. Illinois Plaintiffs reasonably relied on Defendant’s representations and

as a result Illinois Plaintiffs and Illinois Subclass members were harmed.

                                       COUNT 81

                             UNJUST ENRICHMENT
                           (BASED ON ILLINOIS LAW)

      1426. Illinois Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1427. This claim is brought by the Illinois Plaintiffs on behalf of the Illinois

Subclass.

      1428. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Illinois Plaintiffs and the Illinois Subclass.

      1429. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Illinois Plaintiffs and other Illinois Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                         - 364 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2419     Page 391 of 990




      1430. Illinois Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Illinois Subclass.

      Claims brought on behalf of the Indiana Subclass

                                     COUNT 82

                        VIOLATION OF THE INDIANA
                      DECEPTIVE CONSUMER SALES ACT
                           (IND. CODE § 24-5-0.5-3)

      1431. Indiana Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1432. This claim is brought by Indiana Plaintiffs on behalf of the Indiana

Subclass.

      1433. Ford is a “person” within the meaning of IND. CODE § 25-5-0.5-2(a)(2)

and a “supplier” within the meaning of IND. CODE § 24-5-0.5-2(a)(3).

      1434. Plaintiffs’ vehicle purchases are “consumer transactions” within the

meaning of IND. CODE § 24-5-0.5-2(a)(3).

      1435. Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a

person from engaging in a “deceptive business practice[s]” or acts, including but not

limited to “(1) That such subject of a consumer transaction has sponsorship,

approval, performance, characteristics, accessories, uses, or benefits that they do not

have, or that a person has a sponsorship, approval, status, affiliation, or connection



                                        - 365 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2420     Page 392 of 990




it does not have; (2) That such subject of a consumer transaction is of a particular

standard, quality, grade, style or model, if it is not and if the supplier knows or should

reasonably know that it is not; . . . (7) That the supplier has a sponsorship, approval

or affiliation in such consumer transaction that the supplier does not have, and which

the supplier knows or should reasonably know that the supplier does not have; . . .

(b) Any representations on or within a product or its packaging or in advertising or

promotional materials which would constitute a deceptive act shall be the deceptive

act both of the supplier who places such a representation thereon or therein, or who

authored such materials, and such suppliers who shall state orally or in writing that

such representation is true if such other supplier shall know or have reason to know

that such representation was false.”

      1436. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1437. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.



                                         - 366 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2421     Page 393 of 990




      1438. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Indiana Plaintiffs and the Indiana

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1439. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Indiana Plaintiffs

and the Indiana Subclass.

      1440. Ford knew or should have known that its conduct violated the Indiana

DCSA.

      1441. Ford owed Indiana Plaintiffs and the Indiana Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Indiana
                   Plaintiffs and the Indiana Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Indiana Plaintiffs and the


                                       - 367 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2422     Page 394 of 990




                    Indiana Subclass      that    contradicted    these
                    representations.

      1442. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Indiana Plaintiffs and the

Indiana Subclass.

      1443. Indiana Plaintiff and the Indiana Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Indiana Plaintiffs and the Indiana Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Indiana DCSA.

      1444. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Indiana DCSA.

      1445. As a direct and proximate result of Ford’s violations of the Indiana

DCSA, Indiana Plaintiffs and the Indiana Subclass have suffered injury-in-fact

and/or actual damage.

      1446. Ford’s violations present a continuing risk to Indiana Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1447. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the


                                      - 368 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2423    Page 395 of 990




defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       1448. Pursuant to IND. CODE § 24-5-0.5-4, Indiana Plaintiffs seek monetary

relief against Ford measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $500 for each plaintiff,

including treble damages up to $1,000 for Ford’s willfully deceptive acts.

       1449. Indiana Plaintiffs seek punitive damages based on the outrageousness

and recklessness of Ford’s conduct.

       1450. On June 20, 2019, Plaintiffs sent a letter complying with IND. CODE

§ 24-5-0.5-5(a) to Ford.

                                      COUNT 83

                             BREACH OF CONTRACT
                            (BASED ON INDIANA LAW)

       1451. Indiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1452. This claim is brought by Indiana Plaintiffs on behalf of the Indiana

Subclass.

       1453. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Indiana Plaintiffs and the Indiana Subclass to


                                        - 369 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2424    Page 396 of 990




make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Indiana Plaintiffs and the Indiana Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Indiana Plaintiffs and the Indiana

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      1454. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Indiana Plaintiffs and the Indiana Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      1455. As a direct and proximate result of Ford’s breach of contract, Indiana

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.



                                      - 370 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2425     Page 397 of 990




                                    COUNT 84

                          BREACH OF EXPRESS WARRANTY
                                  (IC 26-1-2-316)

       1456. Indiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1457. This claim is brought by Indiana Plaintiffs on behalf of the Indiana

Subclass.

       1458. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

       1459. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

       1460. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.




                                       - 371 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2426    Page 398 of 990




      1461. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1462. These affirmations and promises were part of the basis of the bargain

that was reached when Indiana Plaintiffs and the other Indiana Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1463. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1464. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1465. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Indiana Plaintiffs and the Indiana Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1466. Accordingly, recovery by the Indiana Plaintiffs and the Indiana

Subclass is not limited to the NVLW promising to repair and/or correct a



                                       - 372 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2427    Page 399 of 990




manufacturing defect, and Indiana Plaintiffs, individually and on behalf of the other

Indiana Subclass members, seek all remedies as allowed by law.

       1467. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Indiana

Plaintiffs and the Indiana Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       1468. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1469. As a direct and proximate result of Ford’s breach of express warranties,

Indiana Plaintiffs and the Indiana Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 85

                          FRAUDULENT CONCEALMENT
                            (BASED ON INDIANA LAW)

       1470. Indiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.




                                        - 373 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2428    Page 400 of 990




      1471. This claim is brought by Indiana Plaintiffs on behalf of the Indiana

Subclass.

      1472. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Indiana Plaintiffs and the Indiana Subclass information that

is highly relevant and material to their purchasing decision.

      1473. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1474. Ford further affirmatively misrepresented to Indiana Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1475. Ford knew these representations were false when made.




                                        - 374 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2429    Page 401 of 990




      1476. The Coastdown Cheating Vehicles purchased or leased by Indiana

Plaintiffs and the Indiana Subclass were, in fact, defective, with reduced fuel

efficiency.

      1477. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Indiana Plaintiffs and the

Indiana Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1478. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1479. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Indiana Plaintiffs and the Indiana Subclass

did not know of these facts and Ford actively concealed these facts from Indiana

Plaintiffs and the Indiana Subclass.




                                        - 375 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2430     Page 402 of 990




      1480. Indiana Plaintiffs and the Indiana Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Indiana Plaintiffs and the Indiana Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Indiana Plaintiffs and the Indiana Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1481. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Indiana Plaintiffs and the Indiana Subclass

placed in its representations.

      1482. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Indiana Plaintiffs and the Indiana

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1483. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                        - 376 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2431    Page 403 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Indiana Plaintiffs and the Indiana Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Indiana Plaintiffs and the Indiana Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Indiana Plaintiffs and the

Indiana Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Indiana Plaintiffs and the Indiana Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.




                                      - 377 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2432    Page 404 of 990




      1484. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Indiana Plaintiffs

and the Indiana Subclass.

      1485. Ford has still not made full and adequate disclosures and continues to

defraud Indiana Plaintiffs and the Indiana Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1486. Indiana Plaintiffs and the Indiana Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Indiana Plaintiffs’ and the Indiana Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Indiana Plaintiffs, or Indiana Subclass members.

      1487. Because of the concealment and/or suppression of the facts, Indiana

Plaintiffs and the Indiana Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over



                                       - 378 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2433    Page 405 of 990




what was represented by Ford. Had they been aware of the true facts, Indiana

Plaintiffs and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      1488. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Indiana Plaintiffs and the Indiana Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1489. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Indiana Plaintiffs’

and the Indiana Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 86

                     NEGLIGENT MISREPRESENTATION
                        (BASED ON INDIANA LAW)

      1490. Indiana Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1491. This claim is brought by the Indiana Plaintiffs on behalf of the Indiana

Subclass.




                                       - 379 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2434    Page 406 of 990




      1492. Defendant made fuel economy representations to Indiana Plaintiffs and

members of the Class that were not true.

      1493. Defendant     had   no    reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that Indiana

Plaintiffs and Indiana Subclass members rely on these misrepresentations.

      1494. Indiana Plaintiffs reasonably relied on Defendant’s representations and

as a result Indiana Plaintiffs and Indiana Subclass members were harmed.

                                     COUNT 87

                            UNJUST ENRICHMENT
                          (BASED ON INDIANA LAW)

      1495. Indiana Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1496. This claim is brought by the Indiana Plaintiffs on behalf of the Indiana

Subclass.

      1497. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Indiana Plaintiffs and the Indiana Subclass.

      1498. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Indiana Plaintiffs and other Indiana Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                       - 380 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2435     Page 407 of 990




      1499. Indiana Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Indiana Subclass.

      Claims brought on behalf of the Iowa Subclass

                                      COUNT 88

                 VIOLATION OF THE IOWA PRIVATE RIGHT
                 OF ACTION FOR CONSUMER FRAUDS ACT
                       (IOWA CODE § 714h.1 et seq.)

      1500. Iowa Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1501. This claim is brought by Iowa Plaintiffs on behalf of the Iowa Subclass.

      1502. Ford is a “person” under IOWA CODE § 714H.2(7).

      1503. Iowa Plaintiffs and Iowa Class members are “consumers” as defined by

IOWA CODE § 714H.2(3) who purchased or leased one or more Coastdown Cheating

Vehicles.

      1504. The Iowa Private Right of Action for Consumer Frauds Act (Iowa CFA)

prohibits any “practice or act the person knows or reasonably should know is an

unfair practice, deception, fraud, false pretense, or false promise, or the

misrepresentation, concealment, suppression, or omission of a material fact, with the

intent that others rely upon the unfair practice, deception, fraud, false pretense, false

promise, misrepresentation, concealment, suppression or omission in connection



                                        - 381 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2436     Page 408 of 990




with the advertisement, sale, or lease of consumer merchandise.” I OWA CODE

§ 714H.3.

      1505. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1506. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1507. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Iowa Plaintiffs and the Iowa Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      1508. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Iowa Plaintiffs

and the Iowa Subclass.



                                      - 382 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2437     Page 409 of 990




       1509. Ford knew or should have known that its conduct violated the Iowa

CFA.

       1510. Ford owed Indiana Plaintiffs and the Iowa Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from Iowa
                   Plaintiffs and the Iowa Subclass; and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Iowa Plaintiffs and the Iowa
                   Subclass that contradicted these representations.

       1511. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Iowa Plaintiffs and the Iowa

Subclass.

       1512. Iowa Plaintiffs and the Iowa Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Iowa Plaintiffs and the Iowa Subclass members who purchased

the Coastdown Cheating Vehicles either would have paid less for their vehicles or

would not have purchased or leased them at all but for Ford’s violations of the Iowa

CFA.

                                       - 383 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2438    Page 410 of 990




      1513. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Iowa CFA.

      1514. As a direct and proximate result of Ford’s violations of the Iowa CFA,

Iowa Plaintiffs and the Iowa Subclass have suffered injury-in-fact and/or actual

damage.

      1515. Ford’s violations present a continuing risk to Iowa Plaintiffs as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      1516. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1517. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek an order enjoining

Ford’s unfair and/or deceptive acts or practices, actual damages, statutory damages

up to three times the amount of actual damages awarded as a result of Ford’s willful

and wanton disregard for the rights of others, attorneys’ fees, and other such

equitable relief as the court deems necessary to protect the public from further

violations of the Iowa CFA.




                                       - 384 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2439    Page 411 of 990




      1518. Iowa Plaintiffs seek punitive damages based on the outrageousness and

recklessness of Ford’s conduct.

                                   COUNT 89

                            BREACH OF CONTRACT
                            (BASED ON IOWA LAW)

      1519. Iowa Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1520. This claim is brought by Iowa Plaintiffs on behalf of the Iowa Subclass.

      1521. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Iowa Plaintiffs and the Iowa Subclass to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Iowa Plaintiffs and the Iowa Subclass would not

have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Iowa Plaintiffs and the Iowa Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

      1522. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these


                                      - 385 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2440    Page 412 of 990




contracts by selling or leasing to Iowa Plaintiffs and the Iowa Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1523. As a direct and proximate result of Ford’s breach of contract, Iowa

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                     COUNT 90

                        BREACH OF EXPRESS WARRANTY
                      (IOWA CODE § 554.2313 AND 554.13210)

        1524. Iowa Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

        1525. This claim is brought by Iowa Plaintiffs on behalf of the Iowa Subclass.

        1526. Ford is and was at all relevant times a merchant with respect to motor

vehicles under Iowa Code § 554.2104.

        1527. With respect to leases, Ford is and was at all relevant times a “lessor”

of motor vehicles under Iowa Code § 554.13103(1)(p).




                                        - 386 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2441     Page 413 of 990




      1528. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1529. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1530. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1531. These affirmations and promises were part of the basis of the bargain

that was reached when Iowa Plaintiffs and the other Iowa Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1532. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 387 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2442    Page 414 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1533. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1534. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Iowa Plaintiffs and the Iowa Subclass whole, and because Ford

has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

      1535. Accordingly, recovery by the Iowa Plaintiffs and the Iowa Subclass is

not limited to the NVLW promising to repair and/or correct a manufacturing defect,

and Iowa Plaintiffs, individually and on behalf of the other Iowa Subclass members,

seek all remedies as allowed by law.

      1536. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Iowa Plaintiffs

and the Iowa Subclass were therefore induced to purchase or lease the Coastdown

Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 388 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2443    Page 415 of 990




      1537. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure

and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Iowa Plaintiffs’ and the other Iowa Subclass members’

remedies would be insufficient to make Iowa Plaintiff and the other Iowa Subclass

members whole.

      1538. Finally, due to Ford’s breach of warranty as set forth herein, Plaintiff

and the other Class members assert as an additional and/or alternative remedy, as set

forth in Iowa Code § 554.2608, for a revocation of acceptance of the goods, and for

a return to Iowa Plaintiffs and the Iowa Subclass members of the purchase price of

all Coastdown Cheating Vehicles currently owned and for such other incidental and

consequential damages as allowed under Iowa Code §§ 554.2711 and 554.2608.

      1539. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.




                                       - 389 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2444    Page 416 of 990




      1540. As a direct and proximate result of Ford’s breach of express warranties,

Iowa Plaintiffs and the Iowa Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 91

                         FRAUDULENT CONCEALMENT
                            (BASED ON IOWA LAW)

      1541. Iowa Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1542. This claim is brought by Iowa Plaintiffs on behalf of the Iowa Subclass.

      1543. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Iowa Plaintiffs and the Iowa Subclass information that is

highly relevant and material to their purchasing decision.

      1544. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.




                                        - 390 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2445    Page 417 of 990




      1545. Ford further affirmatively misrepresented to Iowa Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1546. Ford knew these representations were false when made.

      1547. The Coastdown Cheating Vehicles purchased or leased by Iowa

Plaintiffs and the Iowa Subclass were, in fact, defective, with reduced fuel

efficiency.

      1548. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Iowa Plaintiffs and the Iowa

Subclass relied on Ford’s material representations or omissions of fact that the

Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1549. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.



                                        - 391 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2446     Page 418 of 990




      1550. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Iowa Plaintiffs and the Iowa Subclass did not

know of these facts and Ford actively concealed these facts from Iowa Plaintiffs and

the Iowa Subclass.

      1551. Iowa Plaintiffs and the Iowa Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Iowa Plaintiffs and the Iowa Subclass did not, and

could not, unravel Ford’s deception on their own. Rather, Ford intended to deceive

Iowa Plaintiffs and the Iowa Subclass by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1552. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Iowa Plaintiffs and the Iowa Subclass placed in

its representations.

      1553. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Iowa Plaintiffs and the Iowa Subclass



                                        - 392 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2447    Page 419 of 990




members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1554. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Iowa Plaintiffs and the Iowa Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Iowa Plaintiffs and the Iowa Subclass members, Ford had the duty to

disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Iowa Plaintiffs and the Iowa Subclass

members. Whether an automobile is fuel efficient and whether it accurately

measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Iowa Plaintiffs and the Iowa Subclass members that they were



                                        - 393 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2448    Page 420 of 990




purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      1555. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Iowa Plaintiffs

and the Iowa Subclass.

      1556. Ford has still not made full and adequate disclosures and continues to

defraud Iowa Plaintiffs and the Iowa Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1557. Iowa Plaintiffs and the Iowa Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Iowa Plaintiffs’ and the Iowa Subclass members’ actions were justified. Ford was in

exclusive control of the material facts, and such facts were not generally known to

the public, Iowa Plaintiffs, or Iowa Subclass members.




                                       - 394 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2449    Page 421 of 990




      1558. Because of the concealment and/or suppression of the facts, Iowa

Plaintiffs and the Iowa Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Iowa Plaintiffs

and Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      1559. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Iowa Plaintiffs and the Iowa Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1560. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Iowa Plaintiffs’ and

the Iowa Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                     COUNT 92

                     NEGLIGENT MISREPRESENTATION
                         (BASED ON IOWA LAW)




                                        - 395 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2450     Page 422 of 990




      1561. Iowa Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1562. This claim is brought by the Iowa Plaintiffs on behalf of the Iowa

Subclass.

      1563. Defendant made fuel economy representations to Iowa Plaintiffs and

members of the Class that were not true.

      1564. Defendant     had   no   reasonable   grounds     for   believing   these

representations were true when they made them, yet they intended that Iowa

Plaintiffs and Iowa Subclass members rely on these misrepresentations.

      1565. Iowa Plaintiffs reasonably relied on Defendant’s representations and as

a result Iowa Plaintiffs and Iowa Subclass members were harmed.

                                     COUNT 93

                            UNJUST ENRICHMENT
                           (BASED ON IOWA LAW)

      1566. Iowa Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1567. This claim is brought by the Iowa Plaintiffs on behalf of the Iowa

Subclass.

      1568. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Iowa Plaintiffs and the Iowa Subclass.


                                      - 396 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2451    Page 423 of 990




      1569. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Iowa Plaintiffs and other Iowa Subclass members.           It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1570. Iowa Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Iowa Subclass.

      Claims brought on behalf of the Kansas Subclass

                                    COUNT 94

      VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                 (KAN. STAT. ANN. § 50-623 et seq.)

      1571. Kansas Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1572. This claim is brought by Kansas Plaintiffs on behalf of the Kansas

Subclass.

      1573. Plaintiffs and Kansas Class members are “consumers” within the

meaning of KAN. STAT. ANN. § 50-624(b) who purchased or leased one or more

Coastdown Cheating Vehicles.

      1574. Each sale or lease of a Coastdown Cheating Vehicle to Plaintiffs was a

“consumer transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).

      1575. The Kansas Consumer Protection Act (Kansas CPA) states “[n]o

supplier shall engage in any deceptive act or practice in connection with a consumer


                                       - 397 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2452     Page 424 of 990




transaction.” KAN. STAT. ANN. § 50-626(a). Deceptive acts or practices include but

are not limited to “the willful use, in any oral or written representation, of

exaggeration, falsehood, innuendo or ambiguity as to a material fact” and “the

willful failure to state a material fact, or the willful concealment, suppression or

omission of a material fact.” KAN. STAT. ANN. § 50-626.

      1576. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1577. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1578. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Kansas Plaintiffs and the Kansas

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.



                                      - 398 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2453     Page 425 of 990




       1579. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Kansas Plaintiffs

and the Kansas Subclass.

       1580. Ford knew or should have known that its conduct violated the Kansas

CPA.

       1581. Ford owed Kansas Plaintiffs and the Kansas Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from Kansas
                   Plaintiffs and the Kansas Subclass; and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Kansas Plaintiffs and the Kansas
                   Subclass that contradicted these representations.

       1582. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Kansas Plaintiffs and the

Kansas Subclass.

       1583. Kansas Plaintiffs and the Kansas Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Kansas Plaintiffs and the Kansas Subclass members who

                                       - 399 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2454    Page 426 of 990




purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Kansas CPA.

       1584. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Kansas CPA.

       1585. As a direct and proximate result of Ford’s violations of the Kansas

CPA, Kansas Plaintiffs and the Kansas Subclass have suffered injury-in-fact and/or

actual damage.

       1586. Ford’s violations present a continuing risk to Kansas Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

       1587. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       1588. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief

against Ford measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $10,000 for each

plaintiff.



                                       - 400 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2455    Page 427 of 990




       1589. Plaintiffs also seek an order enjoining Ford’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper

relief available under KAN. STAT. ANN. § 50-623 et seq.

       1590. Kansas Plaintiffs seek punitive damages based on the outrageousness

and recklessness of Ford’s conduct.

                                      COUNT 95

                             BREACH OF CONTRACT
                            (BASED ON KANSAS LAW)

       1591. Kansas Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1592. This claim is brought by Kansas Plaintiffs on behalf of the Kansas

Subclass.

       1593. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Kansas Plaintiffs and the Kansas Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Kansas Plaintiffs and the Kansas Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Kansas Plaintiffs and the Kansas


                                        - 401 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2456    Page 428 of 990




Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

        1594. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Kansas Plaintiffs and the Kansas Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        1595. As a direct and proximate result of Ford’s breach of contract, Kansas

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                    COUNT 96

                          BREACH OF EXPRESS WARRANTY
                                 (K.S.A. § 50-645)

        1596. Kansas Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

        1597. This claim is brought by Kansas Plaintiffs on behalf of the Kansas

Subclass.


                                       - 402 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2457     Page 429 of 990




      1598. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

      1599. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1600. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1601. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1602. These affirmations and promises were part of the basis of the bargain

that was reached when Kansas Plaintiffs and the other Kansas Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1603. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 403 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2458    Page 430 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1604. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1605. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Kansas Plaintiffs and the Kansas Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1606. Accordingly, recovery by the Kansas Plaintiffs and the Kansas Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Kansas Plaintiffs, individually and on behalf of the other Kansas

Subclass members, seek all remedies as allowed by law.

      1607. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Kansas




                                       - 404 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2459    Page 431 of 990




Plaintiffs and the Kansas Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      1608. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure

and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Kansas Plaintiffs’ and the other Kansas Subclass members’

remedies would be insufficient to make Kansas Plaintiff and the other Kansas

Subclass members whole.

      1609. Finally, due to Ford’s breach of warranty as set forth herein, Kansas

Plaintiffs and the other Class members assert as an additional and/or alternative

remedy, as set forth in Kansas Code § 554.2608, for a revocation of acceptance of

the goods, and for a return to Kansas Plaintiffs and the Kansas Subclass members of

the purchase price of all Coastdown Cheating Vehicles currently owned and for such

other incidental and consequential damages as allowed under Kansas Code §§

554.2711 and 554.2608.

      1610. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 405 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2460    Page 432 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1611. As a direct and proximate result of Ford’s breach of express warranties,

Kansas Plaintiffs and the Kansas Subclass have been damaged in an amount to be

determined at trial.

                                     COUNT 97

                          FRAUDULENT CONCEALMENT
                            (BASED ON KANSAS LAW)

       1612. Kansas Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1613. This claim is brought by Kansas Plaintiffs on behalf of the Kansas

Subclass.

       1614. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Kansas Plaintiffs and the Kansas Subclass information that

is highly relevant and material to their purchasing decision.

       1615. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 406 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2461    Page 433 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1616. Ford further affirmatively misrepresented to Kansas Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1617. Ford knew these representations were false when made.

      1618. The Coastdown Cheating Vehicles purchased or leased by Kansas

Plaintiffs and the Kansas Subclass were, in fact, defective, with reduced fuel

efficiency.

      1619. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Kansas Plaintiffs and the

Kansas Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1620. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 407 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2462    Page 434 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1621. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Kansas Plaintiffs and the Kansas Subclass

did not know of these facts and Ford actively concealed these facts from Kansas

Plaintiffs and the Kansas Subclass.

      1622. Kansas Plaintiffs and the Kansas Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Kansas Plaintiffs and the Kansas Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Kansas Plaintiffs and the Kansas Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1623. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Kansas Plaintiffs and the Kansas Subclass

placed in its representations.

      1624. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and



                                       - 408 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2463     Page 435 of 990




also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Kansas Plaintiffs and the Kansas

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1625. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Kansas Plaintiffs and the Kansas Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Kansas Plaintiffs and the Kansas Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Kansas Plaintiffs and the

Kansas Subclass members. Whether an automobile is fuel efficient and whether it



                                        - 409 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2464    Page 436 of 990




accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Kansas Plaintiffs and the Kansas Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      1626. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Kansas Plaintiffs

and the Kansas Subclass.

      1627. Ford has still not made full and adequate disclosures and continues to

defraud Kansas Plaintiffs and the Kansas Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1628. Kansas Plaintiffs and the Kansas Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Kansas Plaintiffs’ and the Kansas Subclass members’ actions were justified. Ford




                                       - 410 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2465    Page 437 of 990




was in exclusive control of the material facts, and such facts were not generally

known to the public, Kansas Plaintiffs, or Kansas Subclass members.

      1629. Because of the concealment and/or suppression of the facts, Kansas

Plaintiffs and the Kansas Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Kansas

Plaintiffs and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      1630. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Kansas Plaintiffs and the Kansas Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1631. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Kansas Plaintiffs’

and the Kansas Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




                                       - 411 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20    PageID.2466    Page 438 of 990




                                    COUNT 98

                   NEGLIGENT MISREPRESENTATION
                      (BASED ON KANSAS LAW)

      1632. Kansas Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1633. This claim is brought by the Kansas Plaintiffs on behalf of the Kansas

Subclass.

      1634. Defendant made fuel economy representations to Kansas Plaintiffs and

members of the Class that were not true.

      1635. Defendant    had   no   reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Kansas

Plaintiffs and Kansas Subclass members rely on these misrepresentations.

      1636. Kansas Plaintiffs reasonably relied on Defendant’s representations and

as a result Kansas Plaintiffs and Kansas Subclass members were harmed.

                                    COUNT 99

                           UNJUST ENRICHMENT
                         (BASED ON KANSAS LAW)

      1637. Kansas Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1638. This claim is brought by the Kansas Plaintiffs on behalf of the Kansas

Subclass.



                                      - 412 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2467    Page 439 of 990




      1639. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Kansas Plaintiffs and the Kansas Subclass.

      1640. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Kansas Plaintiffs and other Kansas Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1641. Kansas Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Kansas Subclass.

      Claims brought on behalf of the Kentucky Subclass

                                   COUNT 100

    VIOLATIONS OF THE KENTUCKY CONSUMER PROTECTION ACT
                (KY. REV. STAT. § 367.110 ET SEQ.).

      1642. Kentucky Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1643. This claim is brought by Kentucky Plaintiffs on behalf of the Kentucky

Subclass.

      1644. Ford and Kentucky Class members are “persons” within the meaning

of the KY. REV. STAT. § 367.110(1).

      1645. Ford engaged in “trade” or “commerce” within the meaning of K Y.

REV. STAT. § 367.110(2).


                                       - 413 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2468    Page 440 of 990




      1646. The Kentucky Consumer Protection Act (“Kentucky CPA”) makes

unlawful “[u]nfair, false, misleading, or deceptive acts or practices in the conduct of

any trade or commerce ….” KY. REV. STAT. § 367.170(1).

      1647. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1648. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1649. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Kentucky Plaintiffs and the Kentucky

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




                                        - 414 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2469     Page 441 of 990




       1650. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Kentucky

Plaintiffs and the Kentucky Subclass.

       1651. Ford knew or should have known that its conduct violated the Kentucky

CPA.

       1652. Ford owed Kentucky Plaintiffs and the Kentucky Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from
                   Kentucky Plaintiffs and the Kentucky Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Kentucky Plaintiffs and the
                   Kentucky Subclass that contradicted these
                   representations.

       1653. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Kentucky Plaintiffs and the

Kentucky Subclass.

       1654. Kentucky Plaintiffs and the Kentucky Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

                                        - 415 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2470    Page 442 of 990




disclose material information. Kentucky Plaintiffs and the Kentucky Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Kentucky CPA.

      1655. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Kentucky CPA.

      1656. As a direct and proximate result of Ford’s violations of the Kentucky

CPA, Kentucky Plaintiffs and the Kentucky Subclass have suffered injury-in-fact

and/or actual damage.

      1657. Ford’s violations present a continuing risk to Kentucky Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1658. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1659. Pursuant to KY. REV. STAT. ANN. § 367.220, Kentucky Plaintiffs and

the Kentucky Subclass seek to recover actual damages in an amount to be determined




                                       - 416 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2471    Page 443 of 990




at trial; declaratory relief; attorneys’ fees; and any other just and proper relief

available under KY. REV. STAT. ANN. § 367.220.

       1660. Kentucky Plaintiffs seek punitive damages based on the outrageousness

and recklessness of Ford’s conduct.

                                   COUNT 101

                            BREACH OF CONTRACT
                          (BASED ON KENTUCKY LAW)

       1661. Kentucky Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1662. This claim is brought by Kentucky Plaintiffs on behalf of the Kentucky

Subclass.

       1663. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Kentucky Plaintiffs and the Kentucky Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Kentucky Plaintiffs and the Kentucky Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Kentucky Plaintiffs and the Kentucky




                                      - 417 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2472    Page 444 of 990




Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       1664. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Kentucky Plaintiffs and the Kentucky Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       1665. As a direct and proximate result of Ford’s breach of contract, Kentucky

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 102

                          BREACH OF EXPRESS WARRANTY
                             (KY. REV. STAT. § 355.2-313)

       1666. Kentucky Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1667. This claim is brought by Kentucky Plaintiffs on behalf of the Kentucky

Subclass.


                                      - 418 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2473     Page 445 of 990




      1668. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

      1669. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1670. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1671. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1672. These affirmations and promises were part of the basis of the bargain

that was reached when Kentucky Plaintiffs and the other Kentucky Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      1673. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 419 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2474    Page 446 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1674. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1675. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Kentucky Plaintiffs and the Kentucky Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      1676. Accordingly, recovery by the Kentucky Plaintiffs and the Kentucky

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Kentucky Plaintiffs, individually and on behalf of the

other Kentucky Subclass members, seek all remedies as allowed by law.

      1677. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Kentucky




                                       - 420 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2475    Page 447 of 990




Plaintiffs and the Kentucky Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       1678. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1679. As a direct and proximate result of Ford’s breach of express warranties,

Kentucky Plaintiffs and the Kentucky Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 103

                          FRAUDULENT CONCEALMENT
                           (BASED ON KENTUCKY LAW)

       1680. Kentucky Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1681. This claim is brought by Kentucky Plaintiffs on behalf of the Kentucky

Subclass.

       1682. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard




                                        - 421 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2476    Page 448 of 990




for the truth and denied Kentucky Plaintiffs and the Kentucky Subclass information

that is highly relevant and material to their purchasing decision.

      1683. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1684. Ford further affirmatively misrepresented to Kentucky Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1685. Ford knew these representations were false when made.

      1686. The Coastdown Cheating Vehicles purchased or leased by Kentucky

Plaintiffs and the Kentucky Subclass were, in fact, defective, with reduced fuel

efficiency.

      1687. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Kentucky Plaintiffs and the

Kentucky Subclass relied on Ford’s material representations or omissions of fact that



                                        - 422 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2477    Page 449 of 990




the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1688. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1689. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Kentucky Plaintiffs and the Kentucky

Subclass did not know of these facts and Ford actively concealed these facts from

Kentucky Plaintiffs and the Kentucky Subclass.

      1690. Kentucky Plaintiffs and the Kentucky Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Kentucky Plaintiffs and the Kentucky

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Kentucky Plaintiffs and the Kentucky Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1691. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions



                                       - 423 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2478     Page 450 of 990




regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Kentucky Plaintiffs and the Kentucky Subclass

placed in its representations.

      1692. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Kentucky Plaintiffs and the Kentucky

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      1693. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Kentucky Plaintiffs and the Kentucky Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide



                                        - 424 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2479     Page 451 of 990




information to Kentucky Plaintiffs and the Kentucky Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Kentucky Plaintiffs and the

Kentucky Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Kentucky Plaintiffs and the Kentucky Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1694. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Kentucky

Plaintiffs and the Kentucky Subclass.

      1695. Ford has still not made full and adequate disclosures and continues to

defraud Kentucky Plaintiffs and the Kentucky Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1696. Kentucky Plaintiffs and the Kentucky Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did



                                        - 425 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2480    Page 452 of 990




if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Kentucky Plaintiffs’ and the Kentucky Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Kentucky Plaintiffs, or Kentucky Subclass members.

      1697. Because of the concealment and/or suppression of the facts, Kentucky

Plaintiffs and the Kentucky Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Kentucky Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      1698. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Kentucky Plaintiffs and the Kentucky Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1699. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Kentucky Plaintiffs’

and the Kentucky Subclass’s rights and the representations that Ford made to them



                                        - 426 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2481    Page 453 of 990




in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 104

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON KENTUCKY LAW)

      1700. Kentucky Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      1701. This claim is brought by the Kentucky Plaintiffs on behalf of the

Kentucky Subclass.

      1702. Defendant made fuel economy representations to Kentucky Plaintiffs

and members of the Class that were not true.

      1703. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Kentucky

Plaintiffs and Kentucky Subclass members rely on these misrepresentations.

      1704. Kentucky Plaintiffs reasonably relied on Defendant’s representations

and as a result Kentucky Plaintiffs and Kentucky Subclass members were harmed.

                                      COUNT 105

                           UNJUST ENRICHMENT
                        (BASED ON KENTUCKY LAW)




                                        - 427 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2482    Page 454 of 990




      1705. Kentucky Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      1706. This claim is brought by the Kentucky Plaintiffs on behalf of the

Kentucky Subclass.

      1707. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Kentucky Plaintiffs and the Kentucky Subclass.

      1708. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Kentucky Plaintiffs and other Kentucky Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1709. Kentucky Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Kentucky Subclass.

      Claims Brought on Behalf of the Louisiana Subclass

                                    COUNT 106

      VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION LAW
                   (LA. REV. STAT. § 51:1401 et seq.)

      1710. Plaintiffs Evan Allen and Benjamin Bischoff (“Louisiana Plaintiffs”)

reallege and incorporate by reference all paragraphs as though fully set forth herein.




                                       - 428 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2483    Page 455 of 990




      1711. This claim is brought by Louisiana Plaintiffs on behalf of Louisiana

purchasers or lessees who are members of the Class.

      1712. Ford, Louisiana Plaintiffs, and the Louisiana Subclass are “persons”

within the meaning of LA. REV. STAT. § 51:1402(8).

      1713. Louisiana Plaintiffs and the Louisiana Subclass are “consumers” within

the meaning of LA. REV. STAT. § 51:1402(1).

      1714. Ford engaged in “trade” or “commerce” within the meaning of L A. REV.

STAT. § 51:1402(9).

      1715. The Louisiana Unfair Trade Practices and Consumer Protection Law

(Louisiana CPL) makes unlawful “deceptive acts or practices in the conduct of any

trade or commerce.” LA. REV. STAT. § 51:1405(A). Ford participated in misleading,

false, or deceptive acts that violated the Louisiana CPL including failing to disclose

the actual fuel economy of the Coastdown Cheating Vehicles.

      1716. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression

or omission of any material fact with intent that others rely upon such concealment,

suppression or omission, in connection with the sale of Coastdown Cheating

Vehicles.

      1717. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers.



                                       - 429 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2484     Page 456 of 990




       1718. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Louisiana

Plaintiffs and the Louisiana Subclass.

       1719. Ford knew or should have known that its conduct violated the Louisiana

CPL.

       1720. Ford owed Louisiana Plaintiffs and the Louisiana Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from
                   Louisiana Plaintiffs and the Louisiana Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Louisiana Plaintiffs and the
                   Louisiana Subclass that contradicted these
                   representations.

       1721. Louisiana Plaintiffs and the Louisiana Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information.




                                         - 430 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2485    Page 457 of 990




      1722. As a direct and proximate result of Ford’s violations of the Louisiana

CPL, Louisiana Plaintiffs and the Louisiana Subclass have suffered injury-in-fact

and/or actual damage.

      1723. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by FCA’s

conduct, they are now worth significantly less than they otherwise would be.

      1724. Pursuant to LA. REV. STAT. § 51:1409, Louisiana Plaintiffs and the

Louisiana Subclass seek to recover actual damages in an amount to be determined

at trial; treble damages for Ford’s knowing violations of the Louisiana CPL; an order

enjoining Ford’s unfair, unlawful, and/or deceptive practices; declaratory relief;

attorneys’ fees; and any other just and proper relief available under L A. REV. STAT.

§ 51:1409.

      1725. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

      1726. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Louisiana in

accordance with LA. REV. STAT. § 51:1409.



                                       - 431 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2486    Page 458 of 990




                                   COUNT 107

                            BREACH OF CONTRACT
                          (BASED ON LOUISIANA LAW)

       1727. Louisiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1728. This claim is brought by the Louisiana Plaintiffs on behalf of the

Louisiana Subclass.

       1729. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Louisiana Plaintiffs and the Louisiana Subclass

members to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Louisiana Plaintiffs and the

Louisiana Subclass members would not have purchased or leased the Coastdown

Cheating Vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the reduced mileage. Accordingly,

Louisiana Plaintiffs and the Louisiana Subclass members overpaid for the

Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

       1730. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Louisiana Plaintiffs and the Louisiana Subclass


                                       - 432 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2487    Page 459 of 990




members defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

       1731. As a direct and proximate result of Ford’s breach of contract, Louisiana

Plaintiffs and the Louisiana Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 108

       BREACH OF WARRANTY AGAINST REDHIBITORY DEFECTS
                     (LA. CIV. CODE 2520)

       1732. Louisiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1733. This claim is brought by Louisiana Plaintiffs on behalf of the Louisiana

Subclass.

       1734. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

       1735. In a transaction, a seller warrants the buyer against redhibitory defects,

or vices, in the thing sold.




                                        - 433 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2488    Page 460 of 990




       1736. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

       1737. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1738. As a direct and proximate result of Ford’s breach of express warranties,

Louisiana Plaintiffs and the Louisiana Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 109

                          FRAUDULENT CONCEALMENT
                           (BASED ON LOUISIANA LAW)

       1739. Louisiana Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1740. This claim is brought by Louisiana Plaintiffs on behalf of the Louisiana

Subclass.


                                        - 434 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2489     Page 461 of 990




      1741. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Louisiana Plaintiffs and the

Louisiana Subclass members information that is highly relevant to their purchasing

decision.

      1742. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1743. Ford further affirmatively misrepresented to Louisiana Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1744. Ford knew these representations were false when made.

      1745. The Coastdown Cheating Vehicles purchased or leased by Louisiana

Plaintiffs and the Louisiana Subclass were, in fact, defective, with reduced fuel

efficiency.



                                       - 435 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2490    Page 462 of 990




      1746. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Louisiana Plaintiffs and the

Louisiana Subclass members relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      1747. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1748. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Louisiana Plaintiffs and the Louisiana

Subclass members did not know of these facts and Ford actively concealed these

facts from Louisiana Plaintiffs and the Louisiana Subclass members.

      1749. Louisiana Plaintiffs and the Louisiana Subclass members reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Louisiana Plaintiffs

and the Louisiana Subclass did not, and could not, unravel Ford’s deception on their



                                        - 436 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2491    Page 463 of 990




own. Rather, Ford intended to deceive Louisiana Plaintiffs and the Louisiana

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      1750. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Louisiana Plaintiffs and the Louisiana Subclass

members placed in its representations.

      1751. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Louisiana Plaintiffs and the Louisiana Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1752. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to



                                         - 437 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2492     Page 464 of 990




such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Louisiana Plaintiffs or the Louisiana Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Louisiana Plaintiffs and the Louisiana Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Louisiana Plaintiffs and the

Louisiana Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Louisiana Plaintiffs and the Louisiana Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1753. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the




                                        - 438 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2493    Page 465 of 990




brand’s image and cost Ford money, and it did so at the expense of Louisiana

Plaintiffs and the Louisiana Subclass members.

      1754. Ford has still not made full and adequate disclosures and continues to

defraud Louisiana Plaintiffs and the Louisiana Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1755. Louisiana Plaintiffs and the Louisiana Subclass members were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. Louisiana Plaintiffs’ and the Louisiana Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Louisiana Plaintiffs, or the Louisiana Subclass

members.

      1756. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Louisiana Plaintiffs and the Louisiana Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.




                                        - 439 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2494     Page 466 of 990




      1757. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Louisiana Plaintiffs’

and the Louisiana Subclass members’ rights and the representations that Ford made

to them were made in order to enrich Ford. Ford’s conduct warrants an assessment

of punitive damages in an amount sufficient to deter such conduct in the future,

which amount is to be determined according to proof.

                                      COUNT 110

                      NEGLIGENT MISREPRESENTATION
                        (BASED ON LOUISIANA LAW)

      1758. Louisiana Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      1759. This claim is brought by the Louisiana Plaintiffs on behalf of the

Louisiana Subclass.

      1760. Defendant made fuel economy representations to Louisiana Plaintiffs

and members of the Class that were not true.

      1761. Defendant      had   no    reasonable    grounds    for   believing   these

representations were true when they made them, yet they intended that Louisiana

Plaintiffs and Louisiana Subclass members rely on these misrepresentations.

      1762. Louisiana Plaintiffs reasonably relied on Defendant’s representations

and as a result Louisiana Plaintiffs and Louisiana Subclass members were harmed.




                                        - 440 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2495      Page 467 of 990




                                    COUNT 111

                           UNJUST ENRICHMENT
                        (BASED ON LOUISIANA LAW)

      1763. Louisiana Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      1764. This claim is brought by the Louisiana Plaintiffs on behalf of the

Louisiana Subclass.

      1765. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Louisiana Plaintiffs and the Louisiana Subclass.

      1766. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Louisiana Plaintiffs and other Louisiana Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1767. Louisiana Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Louisiana Subclass.




                                       - 441 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2496     Page 468 of 990




      Claims brought on behalf of the Maine Subclass

                                    COUNT 112

      VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
             (ME. REV. STAT. ANN. TIT. 5, § 205-A et seq.)

      1768. Maine Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1769. This claim is brought by Maine Plaintiffs on behalf of the Maine

Subclass.

      1770. Ford, Plaintiffs, and Maine Class members are “persons” within the

meaning of ME. REV. STAT. ANN. TIT. § 5, 206(2).

      1771. Ford is engaged in “trade” or “commerce” within the meaning of ME.

REV. STAT. ANN. TIT. § 5, 206(3).

      1772. The Maine Unfair Trade Practices Act (Maine UTPA) makes unlawful

“[u]nfair methods of competition and unfair or deceptive acts or practices in the

conduct of any trade or commerce.” ME. REV. STAT. ANN. TIT. 5, § 207.

      1773. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1774. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,


                                      - 442 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2497     Page 469 of 990




or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1775. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Maine Plaintiffs and the Maine

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      1776. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Maine Plaintiffs

and the Maine Subclass.

      1777. Ford knew or should have known that its conduct violated the Maine

UTPA.

      1778. Ford owed Maine Plaintiffs and the Maine Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Maine
                   Plaintiffs and the Maine Subclass; and/or


                                       - 443 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2498    Page 470 of 990




             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Maine Plaintiffs and the Maine
                    Subclass that contradicted these representations.

      1779. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Maine Plaintiffs and the Maine

Subclass.

      1780. Maine Plaintiffs and the Maine Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Maine Plaintiffs and the Maine Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Maine UTPA.

      1781. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Maine UTPA.

      1782. As a direct and proximate result of Ford’s violations of the Maine

UTPA, Maine Plaintiffs and the Maine Subclass have suffered injury-in-fact and/or

actual damage.

      1783. Ford’s violations present a continuing risk to Maine Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.


                                       - 444 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2499    Page 471 of 990




      1784. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1785. Pursuant to ME. REV. STAT. ANN. TIT. 5, § 213, Plaintiffs seeks an order

enjoining Ford’s unfair and/or deceptive acts or practices.

      1786. Maine Plaintiffs seek punitive damages based on the outrageousness

and recklessness of Ford’s conduct.

      1787. On June 20, 2019, Plaintiffs sent a letter complying with M E. REV.

STAT. ANN. TIT. 5, § 213(1-A) to Ford. Because Ford failed to remedy its unlawful

conduct within the requisite time period, Maine Plaintiffs seek all damages and relief

to which they and the Maine Subclass are entitled.

                                    COUNT 113

                             BREACH OF CONTRACT
                             (BASED ON MAINE LAW)

      1788. Maine Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1789. This claim is brought by Maine Plaintiffs on behalf of the Maine

Subclass.




                                       - 445 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2500    Page 472 of 990




        1790. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Maine Plaintiffs and the Maine Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Maine Plaintiffs and the Maine Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Maine Plaintiffs and the Maine Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        1791. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Maine Plaintiffs and the Maine Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.




                                      - 446 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2501     Page 473 of 990




      1792. As a direct and proximate result of Ford’s breach of contract, Maine

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 114

                      BREACH OF EXPRESS WARRANTY
                        (ME. REV. STAT. ANN. § 2-313)

      1793. Maine Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1794. This claim is brought by Maine Plaintiffs on behalf of the Maine

Subclass.

      1795. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Me. Rev. Stat. Ann. § 2-104.

      1796. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.




                                      - 447 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2502    Page 474 of 990




      1797. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1798. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1799. These affirmations and promises were part of the basis of the bargain

that was reached when Maine Plaintiffs and the other Maine Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1800. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1801. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1802. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Maine Plaintiffs and the Maine Subclass whole, and because



                                       - 448 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2503    Page 475 of 990




Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      1803. Accordingly, recovery by the Maine Plaintiffs and the Maine Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Maine Plaintiffs, individually and on behalf of the other Maine Subclass

members, seek all remedies as allowed by law.

      1804. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Maine

Plaintiffs and the Maine Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      1805. Finally, due to Ford’s breach of warranty as set forth herein, Maine

Plaintiffs and the Maine Subclass assert as an additional and/or alternative remedy,

the revocation of acceptance of the goods, and the return to Maine Plaintiffs and the

Maine Subclass members of the purchase price of all Coastdown Cheating Vehicles

currently owned for such other incidental and consequential damages.

      1806. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 449 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2504    Page 476 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      1807. As a direct and proximate result of Ford’s breach of express warranties,

Maine Plaintiffs and the Maine Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 115

                         FRAUDULENT CONCEALMENT
                           (BASED ON MAINE LAW)

      1808. Maine Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      1809. This claim is brought by Maine Plaintiffs on behalf of the Maine

Subclass.

      1810. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Maine Plaintiffs and the Maine Subclass information that is

highly relevant and material to their purchasing decision.

      1811. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 450 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2505    Page 477 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1812. Ford further affirmatively misrepresented to Maine Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1813. Ford knew these representations were false when made.

      1814. The Coastdown Cheating Vehicles purchased or leased by Maine

Plaintiffs and the Maine Subclass were, in fact, defective, with reduced fuel

efficiency.

      1815. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Maine Plaintiffs and the

Maine Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      1816. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 451 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2506    Page 478 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1817. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Maine Plaintiffs and the Maine Subclass did

not know of these facts and Ford actively concealed these facts from Maine Plaintiffs

and the Maine Subclass.

      1818. Maine Plaintiffs and the Maine Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Maine Plaintiffs and the Maine Subclass did not,

and could not, unravel Ford’s deception on their own. Rather, Ford intended to

deceive Maine Plaintiffs and the Maine Subclass by concealing the true facts about

the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1819. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Maine Plaintiffs and the Maine Subclass placed

in its representations.

      1820. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and



                                       - 452 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2507     Page 479 of 990




also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Maine Plaintiffs and the Maine Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1821. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Maine Plaintiffs and the Maine Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Maine Plaintiffs and the Maine Subclass members, Ford had the duty

to disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Maine Plaintiffs and the Maine Subclass

members. Whether an automobile is fuel efficient and whether it accurately



                                        - 453 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2508    Page 480 of 990




measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Maine Plaintiffs and the Maine Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      1822. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Maine Plaintiffs

and the Maine Subclass.

      1823. Ford has still not made full and adequate disclosures and continues to

defraud Maine Plaintiffs and the Maine Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1824. Maine Plaintiffs and the Maine Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Maine Plaintiffs’ and the Maine Subclass members’ actions were justified. Ford was




                                       - 454 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2509    Page 481 of 990




in exclusive control of the material facts, and such facts were not generally known

to the public, Maine Plaintiffs, or Maine Subclass members.

      1825. Because of the concealment and/or suppression of the facts, Maine

Plaintiffs and the Maine Subclass have been injured and sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Maine

Plaintiffs and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      1826. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Maine Plaintiffs and the Maine Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      1827. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Maine Plaintiffs’

and the Maine Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




                                       - 455 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2510    Page 482 of 990




                                    COUNT 116

                   NEGLIGENT MISREPRESENTATION
                       (BASED ON MAINE LAW)

      1828. Maine Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1829. This claim is brought by the Maine Plaintiffs on behalf of the Maine

Subclass.

      1830. Defendant made fuel economy representations to Maine Plaintiffs and

members of the Class that were not true.

      1831. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Maine

Plaintiffs and Maine Subclass members rely on these misrepresentations.

      1832. Maine Plaintiffs reasonably relied on Defendant’s representations and

as a result Maine Plaintiffs and Maine Subclass members were harmed.

                                    COUNT 117

                           UNJUST ENRICHMENT
                          (BASED ON MAINE LAW)

      1833. Maine Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      1834. This claim is brought by the Maine Plaintiffs on behalf of the Maine

Subclass.



                                      - 456 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2511    Page 483 of 990




      1835. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Maine Plaintiffs and the Maine Subclass.

      1836. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Maine Plaintiffs and other Maine Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1837. Maine Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Maine Subclass.

      Claims Brought on Behalf of the Maryland Subclass

                                    COUNT 118

    VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT
            (MD. CODE ANN., COM. LAW § 13-101 et seq.)

      1838. Plaintiff Randy Transue (“Maryland Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      1839. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.

      1840. The Maryland Consumer Protection Act (“Maryland CPA”) provides

that a person may not engage in any unfair or deceptive trade practice in the sale or

lease of any consumer good, including “failure to state a material fact if the failure

deceives or tends to deceive” and “[d]eception, fraud, false pretense, false premise,


                                       - 457 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2512    Page 484 of 990




misrepresentation, or knowing concealment, suppression, or omission of any

material fact with the intent that a consumer rely on the same,” MD. CODE ANN.,

COM. LAW § 13-301, regardless of whether the consumer is actually deceived or

damaged, MD. CODE ANN., COM. LAW § 13-302.

      1841. Ford, Maryland Plaintiff, and the Maryland Subclass members are

“persons” within the meaning of MD. CODE ANN., COM. LAW § 13-101(h).

      1842. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      1843. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Maryland Plaintiff and the Maryland

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.



                                       - 458 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2513     Page 485 of 990




       1844. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Maryland

Plaintiff and the Maryland Subclass.

       1845. Ford knew or should have known that its conduct violated the Maryland

CPA.

       1846. Ford owed Maryland Plaintiff and the Maryland Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from
                   Maryland Plaintiff and the Maryland Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Maryland Plaintiff and the
                   Maryland Subclass that contradicted these
                   representations.

       1847. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Maryland Plaintiff and the

Maryland Subclass.

       1848. Maryland Plaintiff and the Maryland Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

                                       - 459 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2514    Page 486 of 990




disclose material information. Maryland Plaintiff and the Maryland Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Maryland CPA.

      1849. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Maryland CPA. As a direct and proximate result

of Ford’s violations of the Maryland CPA, Maryland Plaintiff and the Maryland

Subclass have suffered injury-in-fact and/or actual damage.

      1850. Ford’s violations present a continuing risk to Maryland Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      1851. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      1852. Pursuant to MD. CODE ANN., COM. LAW § 13-408, Maryland Plaintiff

seeks actual damages, attorneys’ fees, and any other just and proper relief available

under the Maryland CPA.




                                       - 460 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2515   Page 487 of 990




       1853. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                  COUNT 119

                              BREACH OF CONTRACT
                            (BASED ON MARYLAND LAW)

       1854. Maryland Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       1855. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.

       1856. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Maryland Plaintiff and the Maryland Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Maryland Plaintiff and the Maryland Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Maryland Plaintiff and the Maryland

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.




                                      - 461 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2516    Page 488 of 990




       1857. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Maryland Plaintiff and the Maryland Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       1858. As a direct and proximate result of Ford’s breach of contract, Maryland

Plaintiff and the Maryland Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 120

                          BREACH OF EXPRESS WARRANTY
                            (MD. CODE COM. LAW § 2-313)

       1859. Maryland Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       1860. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.

       1861. Ford is and was at all relevant times a merchant with respect to motor

vehicles.


                                      - 462 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2517     Page 489 of 990




      1862. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1863. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1864. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1865. These affirmations and promises were part of the basis of the bargain

that was reached when Maryland Plaintiff and the other Maryland Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      1866. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 463 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2518    Page 490 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1867. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      1868. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Maryland Plaintiff and the Maryland Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      1869. Accordingly, recovery by the Maryland Plaintiff and the Maryland

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Maryland Plaintiff, individually and on behalf of the other

Maryland Subclass members, seek all remedies as allowed by law.

      1870. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Maryland

Plaintiff and the Maryland Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 464 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2519    Page 491 of 990




       1871. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       1872. As a direct and proximate result of Ford’s breach of express warranties,

Maryland Plaintiff and the Maryland Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 121

                          FRAUDULENT CONCEALMENT
                          (BASED ON MARYLAND LAW)

       1873. Maryland Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       1874. This claim is brought by Maryland Plaintiff on behalf of the Maryland

Subclass.

       1875. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Maryland Plaintiff and the Maryland Subclass information

that is highly relevant to their purchasing decision.




                                        - 465 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2520    Page 492 of 990




      1876. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1877. Ford further affirmatively misrepresented to Maryland Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1878. Ford knew these representations were false when made.

      1879. The Coastdown Cheating Vehicles purchased or leased by Maryland

Plaintiff and the Maryland Subclass were, in fact, defective, with reduced fuel

efficiency.

      1880. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Maryland Plaintiff and the

Maryland Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.



                                        - 466 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2521    Page 493 of 990




      1881. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1882. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Maryland Plaintiffs and the Maryland

Subclass did not know of these facts and Ford actively concealed these facts from

Maryland Plaintiff and the Maryland Subclass.

      1883. Maryland Plaintiff and the Maryland Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Maryland Plaintiff and the Maryland

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Maryland Plaintiff and the Maryland Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      1884. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




                                       - 467 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2522    Page 494 of 990




profits and sales above the trust that Maryland Plaintiff and the Maryland Subclass

placed in its representations.

      1885. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Maryland Plaintiff and the Maryland Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      1886. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Maryland Plaintiff and the Maryland Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Maryland Plaintiff and the Maryland Subclass members, Ford had the



                                        - 468 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2523    Page 495 of 990




duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Maryland Plaintiff and the

Maryland Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Maryland Plaintiff and the Maryland Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      1887. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Maryland

Plaintiff and the Maryland Subclass.

      1888. Ford has still not made full and adequate disclosures and continues to

defraud Maryland Plaintiff and the Maryland Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      1889. Maryland Plaintiff and the Maryland Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not



                                       - 469 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2524    Page 496 of 990




have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Maryland Plaintiff’s and the Maryland Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Maryland Plaintiff, or, Maryland Subclass members.

      1890. Because of the concealment and/or suppression of the facts, Maryland

Plaintiff and the Maryland Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Maryland Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      1891. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Maryland Plaintiff and the Maryland Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      1892. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Maryland Plaintiff’s

and the Maryland Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages



                                        - 470 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2525    Page 497 of 990




in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 122

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON MARYLAND LAW)

      1893. Maryland Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      1894. This claim is brought by the Maryland Plaintiff on behalf of the

Maryland Subclass.

      1895. Defendant made fuel economy representations to Maryland Plaintiff

and members of the Class that were not true.

      1896. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Maryland

Plaintiff and Maryland Subclass members rely on these misrepresentations.

      1897. Maryland Plaintiff reasonably relied on Defendant’s representations

and as a result Maryland Plaintiff and Maryland Subclass members were harmed.

                                      COUNT 123

                           UNJUST ENRICHMENT
                        (BASED ON MARYLAND LAW)

      1898. Maryland Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.



                                        - 471 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2526    Page 498 of 990




      1899. This claim is brought by the Maryland Plaintiff on behalf of the

Maryland Subclass.

      1900. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Maryland Plaintiff and the Maryland Subclass.

      1901. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Maryland Plaintiff and other Maryland Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1902. Maryland Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Maryland Subclass.

      Claims brought on behalf of the Massachusetts Subclass

                                    COUNT 124

                     VIOLATION OF THE MASSACHUSETTS
                        GENERAL LAW CHAPTER 93(A)
                     (MASS. GEN. LAWS CH. 93A, § 1, et seq.)

      1903. Plaintiff Robert Lovell (“Massachusetts Plaintiff”) hereby incorporates

by reference the allegations contained in the preceding paragraphs of this complaint.

      1904. This claim is brought by Massachusetts Plaintiff on behalf of the

Massachusetts Subclass.




                                       - 472 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2527     Page 499 of 990




      1905. Defendant is a “person” within the meaning of Mass. Gen. Laws ch.

93A, § 1(a).

      1906.. Massachusetts law (the “Massachusetts Act”) prohibits “unfair or

deceptive acts or practices in the conduct of any trade or commerce.” Mass. Gen.

Laws ch. 93A, § 2. Ford participated in misleading, false, or deceptive acts that

violated the Massachusetts Act.

      1907. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      1908. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      1909. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Massachusetts Plaintiffs and the

Massachusetts Subclass members, about the true performance of the Coastdown

Cheating Vehicles, the lower fuel economy, the shorter range of the vehicle due to




                                      - 473 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2528     Page 500 of 990




its lower fuel economy, the increased environmental impact of Ford vehicles, and

the true value of the Coastdown Cheating Vehicles.

      1910. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Massachusetts

Plaintiffs and the Massachusetts Subclass.

      1911. Ford knew or should have known that its conduct violated the

Massachusetts Act.

      1912. Ford owed Massachusetts Plaintiffs and the Massachusetts Subclass a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Massachusetts Plaintiffs and the Massachusetts
                   Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Massachusetts Plaintiffs and the
                   Massachusetts Subclass that contradicted these
                   representations.

      1913. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Massachusetts Plaintiffs and

the Massachusetts Subclass.

                                       - 474 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2529   Page 501 of 990




      1914. Massachusetts Plaintiffs and the Massachusetts Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Massachusetts Plaintiffs and the

Massachusetts Subclass members who purchased the Coastdown Cheating Vehicles

either would have paid less for their vehicles or would not have purchased or leased

them at all but for Ford’s violations of the Massachusetts Act.

      1915. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Massachusetts Act.

      1916. As a direct and proximate result of Ford’s violations of the

Massachusetts Act, Massachusetts Plaintiffs and the Massachusetts Subclass have

suffered injury-in-fact and/or actual damage.

      1917. Ford’s violations present a continuing risk to Massachusetts Plaintiffs

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      1918. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.




                                       - 475 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2530    Page 502 of 990




      1919. Pursuant to Mass. Gen. Laws ch. 93A, § 9, Massachusetts Plaintiffs and

the Massachusetts Subclass seek monetary relief against Ford measured as the

greater of (a) actual damages in an amount to be determined at trial and (b) statutory

damages in the amount of $25 for each Plaintiff and each Massachusetts Subclass

member. Because Ford’s conduct was committed willfully and knowingly,

Massachusetts Plaintiffs are entitled to recover, for each Plaintiff and each

Massachusetts Subclass member, up to three times actual damages, but no less than

two times actual damages.

      1920. Massachusetts Plaintiffs also seek an order enjoining Ford’s unfair

and/or deceptive acts or practices, punitive damages, and attorneys’ fees costs, and

any other just and proper relief available under the Massachusetts Act.

      1921. Massachusetts Plaintiffs seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct

      1922. On June 20, 2019, Plaintiffs sent a letter complying with MASS. GEN.

LAWS CH. 93A, § 9(3) to Ford.

                                    COUNT 125

                           BREACH OF CONTRACT
                      (BASED ON MASSACHUSETTS LAW)

      1923. Massachusetts Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.




                                       - 476 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2531     Page 503 of 990




      1924. This claim is brought by Massachusetts Plaintiff on behalf of the

Massachusetts Subclass.

      1925. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Massachusetts Plaintiff and the Massachusetts

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Massachusetts Plaintiff and the

Massachusetts Subclass would not have purchased or leased the Coastdown

Cheating Vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the reduced mileage. Accordingly,

Massachusetts Plaintiff and the Massachusetts Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      1926. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Massachusetts Plaintiff and the Massachusetts

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable




                                       - 477 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2532     Page 504 of 990




consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      1927. As a direct and proximate result of Ford’s breach of contract,

Massachusetts Plaintiff and the Class have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 126

                       BREACH OF EXPRESS WARRANTY
                       (MASS. GEN. LAWS CH. 106, § 2-313)

      1928. Massachusetts Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1929. This claim is brought by Massachusetts Plaintiff on behalf of the

Massachusetts Subclass.

      1930. Ford is and was at all relevant times a merchant with respect to motor

vehicles.

      1931. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the




                                      - 478 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2533     Page 505 of 990




shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      1932. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      1933. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      1934. These affirmations and promises were part of the basis of the bargain

that was reached when Massachusetts Plaintiff and the other Massachusetts Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      1935. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      1936. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.




                                      - 479 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2534    Page 506 of 990




      1937. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Massachusetts Plaintiff and the Massachusetts Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      1938. Accordingly, recovery by the Massachusetts Plaintiff and the

Massachusetts Subclass is not limited to the NVLW promising to repair and/or

correct a manufacturing defect, and Massachusetts Plaintiff, individually and on

behalf of the other Massachusetts Subclass members, seek all remedies as allowed

by law.

      1939. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Massachusetts

Plaintiff and the Massachusetts Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      1940. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure



                                       - 480 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2535    Page 507 of 990




and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Massachusetts Plaintiff’s and the other Massachusetts Subclass

members’ remedies would be insufficient to make Massachusetts Plaintiff and the

other Massachusetts Subclass members whole.

      1941. Finally, due to Ford’s breach of warranty as set forth herein, Plaintiff

and the other Class members assert as an additional and/or alternative remedy, as set

forth in Mass. Gen. Laws Ch. 106, § 2-608, for a revocation of acceptance of the

goods, and for a return to Massachusetts Plaintiff and the Massachusetts Subclass

members of the purchase price of all Coastdown Cheating Vehicles currently owned

and for such other incidental and consequential damages as allowed under Mass.

Gen. Laws Ch. 106, §§ 2-711 and 2-608.

      1942. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      1943. As a direct and proximate result of Ford’s breach of express warranties,

Massachusetts Plaintiff and the Massachusetts Subclass have been damaged in an

amount to be determined at trial.




                                       - 481 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2536    Page 508 of 990




                                    COUNT 127

                        FRAUDULENT CONCEALMENT
                      (BASED ON MASSACHUSETTS LAW)

      1944. Massachusetts Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      1945. This claim is brought by Massachusetts Plaintiff on behalf of the

Massachusetts Subclass.

      1946. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Massachusetts Plaintiff and the Massachusetts Subclass

information that is highly relevant and material to their purchasing decision.

      1947. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      1948. Ford further affirmatively misrepresented to Massachusetts Plaintiff in

advertising and other forms of communication, including standard and uniform




                                        - 482 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2537    Page 509 of 990




material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      1949. Ford knew these representations were false when made.

      1950. The Coastdown Cheating Vehicles purchased or leased by

Massachusetts Plaintiff and the Massachusetts Subclass were, in fact, defective, with

reduced fuel efficiency.

      1951. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Massachusetts Plaintiff and

the Massachusetts Subclass relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      1952. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      1953. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Massachusetts Plaintiff and the



                                        - 483 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2538     Page 510 of 990




Massachusetts Subclass did not know of these facts and Ford actively concealed

these facts from Massachusetts Plaintiff and the Massachusetts Subclass.

      1954. Massachusetts Plaintiff and the Massachusetts Subclass reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Massachusetts Plaintiff

and the Massachusetts Subclass did not, and could not, unravel Ford’s deception on

their own. Rather, Ford intended to deceive Massachusetts Plaintiff and the

Massachusetts Subclass by concealing the true facts about the Coastdown Cheating

Vehicles’ lack of fuel efficiency.

      1955. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Massachusetts Plaintiff and the Massachusetts

Subclass placed in its representations.

      1956. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Massachusetts Plaintiff and the




                                          - 484 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2539     Page 511 of 990




Massachusetts Subclass members, highly valued that the vehicles they were

purchasing or leasing were fuel efficient, and they paid accordingly.

      1957. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Massachusetts Plaintiff and the Massachusetts Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to Massachusetts Plaintiff and the Massachusetts Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by Massachusetts

Plaintiff and the Massachusetts Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to Massachusetts Plaintiff and the



                                        - 485 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2540    Page 512 of 990




Massachusetts Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      1958. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Massachusetts

Plaintiff and the Massachusetts Subclass.

      1959. Ford has still not made full and adequate disclosures and continues to

defraud Massachusetts Plaintiff and the Massachusetts Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      1960. Massachusetts Plaintiff and the Massachusetts Subclass were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. Massachusetts Plaintiff’s and the Massachusetts Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such




                                       - 486 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2541    Page 513 of 990




facts were not generally known to the public, Massachusetts Plaintiff, or

Massachusetts Subclass members.

      1961. Because of the concealment and/or suppression of the facts,

Massachusetts Plaintiff and the Massachusetts Subclass have been injured and

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, Massachusetts Plaintiff and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.

      1962. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Massachusetts Plaintiff and the Massachusetts Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      1963. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Massachusetts

Plaintiff’s and the Massachusetts Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.



                                       - 487 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2542      Page 514 of 990




                                      COUNT 128

                      NEGLIGENT MISREPRESENTATION
                      (BASED ON MASSACHUSETTS LAW)

      1964. Massachusetts Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      1965. This claim is brought by the Massachusetts Plaintiff on behalf of the

Massachusetts Subclass.

      1966. Defendant made fuel economy representations to Massachusetts

Plaintiff and members of the Class that were not true.

      1967. Defendant     had    no    reasonable   grounds    for   believing    these

representations were true when they made them, yet they intended that

Massachusetts Plaintiff and Massachusetts Subclass members rely on these

misrepresentations.

      1968. Massachusetts       Plaintiff   reasonably     relied    on     Defendant’s

representations and as a result Massachusetts Plaintiff and Massachusetts Subclass

members were harmed.

                                      COUNT 129

                           UNJUST ENRICHMENT
                      (BASED ON MASSACHUSETTS LAW)

      1969. Massachusetts Plaintiff reallege and incorporate by reference all

paragraphs alleged herein.



                                        - 488 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2543    Page 515 of 990




      1970. This claim is brought by the Massachusetts Plaintiff on behalf of the

Massachusetts Subclass.

      1971. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Massachusetts Plaintiff and the Massachusetts Subclass.

      1972. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Massachusetts Plaintiff and other Massachusetts Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      1973. Massachusetts Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to him and other

members of the Massachusetts Subclass.

      Claims Brought on Behalf of the Michigan Subclass

                                   COUNT 130

     VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                (MICH. COMP. LAWS § 445.903 et seq.)

      1974. Plaintiffs Mark Hill, Brian Leja, Nicholas Leonardi, and Jeffrey

Kaloustian (“Michigan Plaintiffs”) hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      1975. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.




                                       - 489 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2544     Page 516 of 990




      1976. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

“[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of

trade or commerce,” including “[f]ailing to reveal a material fact, the omission of

which tends to mislead or deceive the consumer, and which fact could not reasonably

be known by the consumer”; “[m]aking a representation of fact or statement of fact

material to the transaction such that a person reasonably believes the represented or

suggested state of affairs to be other than it actually is”; or “[f]ailing to reveal facts

that are material to the transaction in light of representations of fact made in a

positive manner.” MICH. COMP. LAWS § 445.903(1).

      1977. Michigan Plaintiffs and the Michigan Subclass members are

“person[s]” within the meaning of the MICH. COMP. LAWS § 445.902(1)(d).

      1978. Ford is a “person” engaged in “trade or commerce” within the meaning

of the MICH. COMP. LAWS § 445.902(1)(d) and (g).

      1979. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact




                                         - 490 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2545     Page 517 of 990




with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

       1980. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Michigan Plaintiffs and the Michigan

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       1981. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Michigan

Plaintiffs and the Michigan Subclass.

       1982. Ford knew or should have known that its conduct violated the Michigan

CPA.

       1983. Ford owed Michigan Plaintiffs and the Michigan Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

             b.     Intentionally concealed the foregoing from
                    Michigan Plaintiffs and the Michigan Subclass;
                    and/or



                                        - 491 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2546    Page 518 of 990




             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Michigan Plaintiffs and the
                    Michigan Subclass that contradicted these
                    representations.

      1984. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Michigan Plaintiffs and the

Michigan Subclass.

      1985. Michigan Plaintiffs and the Michigan Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Michigan Plaintiffs and the Michigan Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Michigan CPA.

      1986. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Michigan CPA. As a direct and proximate result

of Ford’s violations of the Michigan CPA, Michigan Plaintiffs and the Michigan

Subclass have suffered injury-in-fact and/or actual damage.

      1987. Ford’s violations present a continuing risk to Michigan Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.



                                       - 492 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2547    Page 519 of 990




       1988. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       1989. Michigan Plaintiffs seek injunctive relief to enjoin Ford from

continuing their unfair and deceptive acts; monetary relief against Ford measured as

the greater of (a) actual damages in an amount to be determined at trial and

(b) statutory damages in the amount of $250 for each plaintiff; reasonable attorneys’

fees; and any other just and proper relief available under MICH. COMP. LAWS

§ 445.911.

       1990. Michigan Plaintiffs also seek punitive damages because Ford carried

out despicable conduct with willful and conscious disregard of the rights of others.

Ford’s conduct constitutes malice, oppression, and fraud warranting punitive

damages.

                                   COUNT 131

                            BREACH OF CONTRACT
                          (BASED ON MICHIGAN LAW)

       1991. Michigan Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.




                                       - 493 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2548    Page 520 of 990




      1992. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.

      1993. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Michigan Plaintiffs and the Michigan Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Michigan Plaintiffs and the Michigan Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Michigan Plaintiffs and the Michigan

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      1994. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Michigan Plaintiffs and the Michigan Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer




                                      - 494 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2549    Page 521 of 990




would expect given the premium paid for these vehicles and the representation made

by Ford.

       1995. As a direct and proximate result of Ford’s breach of contract, Michigan

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 132

                     BREACH OF EXPRESS WARRANTY
               (MICH. COMP. LAWS ANN. 440.2313 AND 440.2860)

       1996. Michigan Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       1997. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.

       1998. Ford is and was at all relevant times a merchant with respect to motor

vehicles under Mich. Comp. Laws Ann. § 440.2104(1) and a “seller” of motor

vehicles under § 440.2313(1).

       1999. With respect to leases, Ford is and was at all relevant times a “lessor”

with respect to motor vehicles under Mich. Comp. Laws Ann. 440.2803(1)(p), and

440.2860.




                                       - 495 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2550     Page 522 of 990




      2000. The Coastdown Cheating Vehicles are and were at all relevant times

“goods” within the meaning of Mich. Comp. Laws Ann. 440.2105(1) and

440.2803(1)(h).

      2001. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2002. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2003. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2004. These affirmations and promises were part of the basis of the bargain

that was reached when Michigan Plaintiffs and the other Michigan Subclass

members purchased or leased the Coastdown Cheating Vehicles.




                                      - 496 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2551    Page 523 of 990




      2005. Ford breached the express warranty to repair and adjust to correct

defects in materials and workmanship of any part supplied by Ford. Ford has not

repaired or adjusted, and has been unable to repair or adjust, the Coastdown Cheating

Vehicles’ materials and workmanship defects.

      2006. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2007. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Michigan Plaintiffs and the Michigan Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2008. Accordingly, recovery by the Michigan Plaintiffs and the Michigan

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Michigan Plaintiffs, individually and on behalf of the

other Michigan Subclass members, seek all remedies as allowed by law.

      2009. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Michigan




                                       - 497 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2552    Page 524 of 990




Plaintiffs and the Michigan Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2010. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure

and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Michigan Plaintiffs’ and the other Michigan Subclass

members’ remedies would be insufficient to make Michigan Plaintiff and the other

Michigan Subclass members whole.

      2011. Finally, due to Ford’s breach of warranty as set forth herein, Plaintiff

and the other Class members assert as an additional and/or alternative remedy, for a

revocation of acceptance of the goods, and for a return to Michigan Plaintiffs and

the Michigan Subclass members of the purchase price of all Coastdown Cheating

Vehicles currently owned and for such other incidental and consequential damages

as allowed.

      2012. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.



                                       - 498 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2553    Page 525 of 990




       2013. As a direct and proximate result of Ford’s breach of express warranties,

Michigan Plaintiffs and the Michigan Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 133

                          FRAUDULENT CONCEALMENT
                           (BASED ON MICHIGAN LAW)

       2014. Michigan Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2015. This claim is brought by Michigan Plaintiffs on behalf of the Michigan

Subclass.

       2016. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Michigan Plaintiffs and the Michigan Subclass information

that is highly relevant to their purchasing decision.

       2017. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.


                                        - 499 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2554    Page 526 of 990




      2018. Ford further affirmatively misrepresented to Michigan Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2019. Ford knew these representations were false when made.

      2020. The Coastdown Cheating Vehicles purchased or leased by Michigan

Plaintiffs and the Michigan Subclass were, in fact, defective, with reduced fuel

efficiency.

      2021. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Michigan Plaintiffs and the

Michigan Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      2022. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.



                                        - 500 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2555    Page 527 of 990




      2023. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Michigan Plaintiffs and the Michigan

Subclass did not know of these facts and Ford actively concealed these facts from

Michigan Plaintiffs and the Michigan Subclass.

      2024. Michigan Plaintiffs and the Michigan Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Michigan Plaintiffs and the Michigan

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Michigan Plaintiffs and the Michigan Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2025. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Michigan Plaintiffs and the Michigan Subclass

placed in its representations.

      2026. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Michigan Plaintiffs and the Michigan Subclass



                                      - 501 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2556     Page 528 of 990




members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      2027. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Michigan Plaintiffs and the Michigan Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Michigan Plaintiffs and the Michigan Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Michigan Plaintiffs and the

Michigan Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Michigan Plaintiffs and the Michigan Subclass



                                        - 502 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2557    Page 529 of 990




members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2028. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Michigan

Plaintiffs and the Michigan Subclass.

      2029. Ford has still not made full and adequate disclosures and continues to

defraud Michigan Plaintiffs and the Michigan Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2030. Michigan Plaintiffs and the Michigan Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Michigan Plaintiffs’ and the Michigan Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Michigan Plaintiffs, or Michigan Subclass members.




                                        - 503 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2558    Page 530 of 990




      2031. Because of the concealment and/or suppression of the facts, Michigan

Plaintiffs and the Michigan Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Michigan Plaintiffs and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2032. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Michigan Plaintiffs and the Michigan Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2033. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Michigan Plaintiffs’

and the Michigan Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 134

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON MICHIGAN LAW)




                                        - 504 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2559     Page 531 of 990




      2034. Michigan Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      2035. This claim is brought by the Michigan Plaintiffs on behalf of the

Michigan Subclass.

      2036. Defendant made fuel economy representations to Michigan Plaintiffs

and members of the Class that were not true.

      2037. Defendant    had   no    reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that Michigan

Plaintiffs and Michigan Subclass members rely on these misrepresentations.

      2038. Michigan Plaintiffs reasonably relied on Defendant’s representations

and as a result Michigan Plaintiffs and Michigan Subclass members were harmed.

                                    COUNT 135

                           UNJUST ENRICHMENT
                        (BASED ON MICHIGAN LAW)

      2039. Michigan Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      2040. This claim is brought by the Michigan Plaintiffs on behalf of the

Michigan Subclass.

      2041. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Michigan Plaintiffs and the Michigan Subclass.


                                      - 505 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2560    Page 532 of 990




      2042. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Michigan Plaintiffs and other Michigan Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2043. Michigan Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Michigan Subclass.

      Claims Brought on Behalf of the Minnesota Subclass

                                    COUNT 136

                     VIOLATION OF THE MINNESOTA
                  PREVENTION OF CONSUMER FRAUD ACT
                       (MINN. STAT. § 325F.68 et seq.)

      2044. Plaintiff Mark Arendt (“Minnesota Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      2045. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

      2046. The Coastdown Cheating Vehicles constitute “merchandise” within the

meaning of MINN. STAT. § 325F.68(2).

      2047. The Minnesota Prevention of Consumer Fraud Act (Minnesota CFA)

prohibits “[t]he act, use, or employment by any person of any fraud, false pretense,

false promise, misrepresentation, misleading statement or deceptive practice, with

the intent that others rely thereon in connection with the sale of any merchandise,



                                       - 506 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2561    Page 533 of 990




whether or not any person has in fact been misled, deceived, or damaged thereby.”

MINN. STAT. § 325F.69(1).

      2048. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce.

      2049. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2050. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Minnesota Plaintiff and the Minnesota

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




                                       - 507 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2562     Page 534 of 990




      2051. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Minnesota

Plaintiff and the Minnesota Subclass.

      2052. Ford knew or should have known that its conduct violated the

Minnesota CFA.

      2053. Ford owed Minnesota Plaintiff and the Minnesota Subclass members a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Minnesota Plaintiff and the Minnesota Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of in the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Minnesota Plaintiff and the
                   Minnesota Subclass that contradicted these
                   representations.

      2054. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Minnesota Plaintiff and the

Minnesota Subclass.

      2055. Minnesota Plaintiff and the Minnesota Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

                                        - 508 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2563    Page 535 of 990




disclose material information. Minnesota Plaintiff and the Minnesota Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Minnesota CFA.

      2056. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Minnesota CFA. As a direct and proximate result

of Ford’s violations of the Minnesota CFA, Minnesota Plaintiff and the Minnesota

Subclass have suffered injury-in-fact and/or actual damage.

      2057. Ford’s violations present a continuing risk to Minnesota Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2058. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2059. Pursuant to MINN. STAT. § 8.31(3a), Minnesota Plaintiff seeks actual

damages, attorneys’ fees, and any other just and proper relief available under the

Minnesota CFA.




                                       - 509 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2564    Page 536 of 990




      2060. Minnesota Plaintiff also seeks punitive damages under MINN. STAT.

§ 549.20(1)(a) given the clear and convincing evidence that Ford’s acts show

deliberate disregard for the rights of others.

                                     COUNT 137

                        VIOLATION OF THE MINNESOTA
                      DECEPTIVE TRADE PRACTICES ACT
                       (MINN. STAT. § 325D.43-48 ET SEQ.)

      2061. Minnesota Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      2062. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

      2063. The Minnesota Deceptive Trade Practices Act (Minnesota DTPA)

prohibits deceptive trade practices, which include “[t]he act, use, or employment by

any person of any fraud, false pretense, false promise, misrepresentation, misleading

statement or deceptive practice, with the intent that others rely thereon in connection

with the sale of any merchandise, whether or not any person has in fact been misled,

deceived, or damaged thereby.” MINN. STAT. § 325F.69(1).

      2064. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce.

      2065. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel



                                        - 510 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2565    Page 537 of 990




economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2066. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Minnesota Plaintiff and the Minnesota

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      2067. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Minnesota

Plaintiff and the Minnesota Subclass.

      2068. Ford knew or should have known that its conduct violated the

Minnesota DTPA.

      2069. Ford owed Minnesota Plaintiff and the Minnesota Subclass members a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:



                                        - 511 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2566     Page 538 of 990




            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Minnesota Plaintiff and the Minnesota Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Minnesota Plaintiff and the
                   Minnesota Subclass that contradicted these
                   representations.

      2070. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Minnesota Plaintiff and the

Minnesota Subclass.

      2071. Minnesota Plaintiff and the Minnesota Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Minnesota Plaintiff and the Minnesota Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Minnesota DTPA.

      2072. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Minnesota DTPA. As a direct and proximate result

of Ford’s violations of the Minnesota DTPA, Minnesota Plaintiff and the Minnesota

Subclass have suffered injury-in-fact and/or actual damage.

                                       - 512 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2567    Page 539 of 990




       2073. Ford’s violations present a continuing risk to Minnesota Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

       2074. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       2075. Pursuant to MINN. STAT. § 8.31(3a), Minnesota Plaintiff seeks actual

damages, attorneys’ fees, and any other just and proper relief available under the

Minnesota DTPA.

       2076. Minnesota Plaintiff also seeks punitive damages under MINN. STAT.

§ 549.20(1)(a) given the clear and convincing evidence that Ford’s acts show

deliberate disregard for the rights of others.

                                     COUNT 138

                                 BREACH OF CONTRACT
                              (BASED ON MINNESOTA LAW)

       2077. Minnesota Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2078. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.


                                        - 513 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2568    Page 540 of 990




      2079. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Minnesota Plaintiff and the Minnesota Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Minnesota Plaintiff and the Minnesota Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Minnesota Plaintiff and the

Minnesota Subclass overpaid for the Coastdown Cheating Vehicles and did not

receive the benefit of their bargain.

      2080. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Minnesota Plaintiff and the Minnesota Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.




                                        - 514 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2569    Page 541 of 990




       2081. As a direct and proximate result of Ford’s breach of contract, Minnesota

Plaintiff and the Minnesota Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 139

                      BREACH OF EXPRESS WARRANTY
                   (MINN. STAT. § 336.2-313, AND § 336.2A-210)

       2082. Minnesota Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2083. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

       2084. Ford is and was at all relevant times a merchant with respect to motor

vehicles under Minn. Stat. § 336.2-104(1) and a “seller” of motor vehicles under §

336.2-313(1).

       2085. With respect to leases, Ford is and was at all relevant times a “lessor”

with respect to motor vehicles under Minn. Stat. § 336.2A-1031(1)(p) and § 336.2A-

210.

       2086. The Coastdown Cheating Vehicles are and were at all relevant times

“goods” within the meaning of Minn. Stat. § 336.2-105 and Minn. Stat. § 336.2A-

103(1)(h).




                                       - 515 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2570     Page 542 of 990




      2087. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2088. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2089. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2090. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2091. These affirmations and promises were part of the basis of the bargain

that was reached when Minnesota Plaintiff and the other Minnesota Subclass

members purchased or leased the Coastdown Cheating Vehicles.



                                      - 516 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2571    Page 543 of 990




      2092. Ford breached the express warranty to repair and adjust to correct

defects in materials and workmanship of any part supplied by Ford. Ford has not

repaired or adjusted, and has been unable to repair or adjust, the Coastdown Cheating

Vehicles’ materials and workmanship defects.

      2093. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2094. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Minnesota Plaintiff and the Minnesota Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2095. Accordingly, recovery by the Minnesota Plaintiff and the Minnesota

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Minnesota Plaintiff, individually and on behalf of the

other Minnesota Subclass members, seek all remedies as allowed by law.

      2096. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Minnesota




                                       - 517 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2572    Page 544 of 990




Plaintiff and the Minnesota Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2097. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure

and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Minnesota Plaintiff’s and the other Minnesota Subclass

members’ remedies would be insufficient to make Minnesota Plaintiff and the other

Minnesota Subclass members whole.

      2098. Finally, due to Ford’s breach of warranty as set forth herein, Plaintiff

and the other Class members assert as an additional and/or alternative remedy, for a

revocation of acceptance of the goods, and for a return to Minnesota Plaintiff and

the Minnesota Subclass members of the purchase price of all Coastdown Cheating

Vehicles currently owned and for such other incidental and consequential damages

as allowed.

      2099. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.



                                       - 518 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2573    Page 545 of 990




       2100. As a direct and proximate result of Ford’s breach of express warranties,

Minnesota Plaintiff and the Minnesota Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 140

                          FRAUDULENT CONCEALMENT
                          (BASED ON MINNESOTA LAW)

       2101. Minnesota Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2102. This claim is brought by Minnesota Plaintiff on behalf of the Minnesota

Subclass.

       2103. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Minnesota Plaintiff and the Minnesota Subclass information

that is highly relevant to their purchasing decision.

       2104. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.


                                        - 519 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2574    Page 546 of 990




      2105. Ford further affirmatively misrepresented to Minnesota Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2106. Ford knew these representations were false when made.

      2107. The Coastdown Cheating Vehicles purchased or leased by Minnesota

Plaintiff and the Minnesota Subclass were, in fact, defective, with reduced fuel

efficiency.

      2108. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Minnesota Plaintiff and the

Minnesota Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      2109. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.



                                        - 520 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2575    Page 547 of 990




      2110. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Minnesota Plaintiffs and the Minnesota

Subclass did not know of these facts and Ford actively concealed these facts from

Minnesota Plaintiff and the Minnesota Subclass.

      2111. Minnesota Plaintiff and the Minnesota Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Minnesota Plaintiff and the Minnesota

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Minnesota Plaintiff and the Minnesota Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2112. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Minnesota Plaintiff and the Minnesota Subclass

placed in its representations.

      2113. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Minnesota Plaintiff and the Minnesota Subclass



                                       - 521 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2576     Page 548 of 990




members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      2114. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Minnesota Plaintiff and the Minnesota Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Minnesota Plaintiff and the Minnesota Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Minnesota Plaintiff and the

Minnesota Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Minnesota Plaintiff and the Minnesota Subclass



                                        - 522 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2577    Page 549 of 990




members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2115. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Minnesota

Plaintiff and the Minnesota Subclass.

      2116. Ford has still not made full and adequate disclosures and continues to

defraud Minnesota Plaintiff and the Minnesota Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2117. Minnesota Plaintiff and the Minnesota Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Minnesota Plaintiff’s and the Minnesota Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Minnesota Plaintiff, or, Minnesota Subclass

members.



                                        - 523 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2578     Page 550 of 990




      2118. Because of the concealment and/or suppression of the facts, Minnesota

Plaintiff and the Minnesota Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Minnesota Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2119. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Minnesota Plaintiff and the Minnesota Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2120. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Minnesota Plaintiff’s

and the Minnesota Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 141

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON MINNESOTA LAW)




                                        - 524 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2579       Page 551 of 990




      2121. Minnesota Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2122. This claim is brought by the Minnesota Plaintiff on behalf of the

Minnesota Subclass.

      2123. Defendant made fuel economy representations to Minnesota Plaintiff

and members of the Class that were not true.

      2124. Defendant    had   no    reasonable   grounds   for   believing    these

representations were true when they made them, yet they intended that Minnesota

Plaintiff and Minnesota Subclass members rely on these misrepresentations.

      2125. Minnesota Plaintiff reasonably relied on Defendant’s representations

and as a result Minnesota Plaintiff and Minnesota Subclass members were harmed.

                                    COUNT 142

                           UNJUST ENRICHMENT
                        (BASED ON MINNESOTA LAW)

      2126. Minnesota Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2127. This claim is brought by the Minnesota Plaintiff on behalf of the

Minnesota Subclass.

      2128. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Minnesota Plaintiff and the Minnesota Subclass.


                                      - 525 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2580    Page 552 of 990




      2129. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Minnesota Plaintiff and other Minnesota Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2130. Minnesota Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Minnesota Subclass.

      Claims brought on behalf of the Mississippi Subclass

                                    COUNT 143

    VIOLATION OF THE MISSISSIPPI CONSUMER PROTECTION ACT
               (MISS. CODE. ANN. § 75-24-1 ET SEQ.)

      2131. Mississippi Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      2132. This claim is brought by Mississippi Plaintiffs on behalf of the

Mississippi Subclass.

      2133. The Mississippi Consumer Protection Act (Mississippi CPA) prohibits

“unfair or deceptive trade practices in or affecting commerce.” M ISS. CODE ANN.

§ 75-24-5(1). Unfair or deceptive practices include but are not limited to

“(e) Representing that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities that they do not have or that a person has a

sponsorship, approval, status, affiliation, or connection that he does not have”; “(g)

Representing that goods or services are of a particular standard, quality, or grade, or


                                        - 526 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2581     Page 553 of 990




that goods are of a particular style or model, if they are of another”; and “(i)

Advertising goods or services with intent not to sell them as advertised and

certified.” MISS. CODE ANN. § 75-24-5(2).

      2134. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      2135. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      2136. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Mississippi Plaintiffs and the

Mississippi Subclass members, about the true performance of the Coastdown

Cheating Vehicles, the lower fuel economy, the shorter range of the vehicle due to

its lower fuel economy, the increased environmental impact of Ford vehicles, and

the true value of the Coastdown Cheating Vehicles.




                                      - 527 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2582     Page 554 of 990




      2137. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Mississippi

Plaintiffs and the Mississippi Subclass.

      2138. Ford knew or should have known that its conduct violated the

Mississippi CPA.

      2139. Ford owed Mississippi Plaintiffs and the Mississippi Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from
                   Mississippi Plaintiffs and the Mississippi Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Mississippi Plaintiffs and the
                   Mississippi Subclass that contradicted these
                   representations.

      2140. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Mississippi Plaintiffs and the

Mississippi Subclass.

      2141. Mississippi    Plaintiffs   and   the   Mississippi   Subclass    suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

                                        - 528 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2583    Page 555 of 990




failure to disclose material information. Mississippi Plaintiffs and the Mississippi

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Mississippi CPA.

      2142. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Mississippi CPA.

      2143. As a direct and proximate result of Ford’s violations of the Mississippi

CPA, Mississippi Plaintiffs and the Mississippi Subclass have suffered injury-in-fact

and/or actual damage.

      2144. Ford’s violations present a continuing risk to Mississippi Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2145. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2146. Mississippi Plaintiffs seek actual damages in an amount to be

determined at trial and any other just and proper relief available under the

Mississippi CPA.



                                       - 529 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2584    Page 556 of 990




       2147. Mississippi Plaintiffs seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct.

       2148. Mississippi Plaintiffs have provided Ford with pre-suit notice.

                                   COUNT 144

                            BREACH OF CONTRACT
                          (BASED ON MISSISSIPPI LAW)

       2149. Mississippi Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2150. This claim is brought by Mississippi Plaintiffs on behalf of the

Mississippi Subclass.

       2151. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Mississippi Plaintiffs and the Mississippi

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Mississippi Plaintiffs and the

Mississippi Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly,

Mississippi Plaintiffs and the Mississippi Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.


                                       - 530 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2585    Page 557 of 990




       2152. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Mississippi Plaintiffs and the Mississippi Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       2153. As a direct and proximate result of Ford’s breach of contract,

Mississippi Plaintiffs and the Class have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 145

                     BREACH OF EXPRESS WARRANTY
             (MISS. CODE § 75-2-313 AND MISS. CODE § 75-2A-210)

       2154. Mississippi Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2155. This claim is brought by Mississippi Plaintiffs on behalf of the

Mississippi Subclass.

       2156. Ford is and was at all relevant times a merchant with respect to motor

vehicles.


                                       - 531 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2586     Page 558 of 990




      2157. With respect to leases, Ford is and was at all relevant times a “lessor”

with respect to motor vehicles.

      2158. The Coastdown Cheating Vehicles are and were at all relevant times

“goods.”

      2159. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2160. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2161. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2162. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles




                                      - 532 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2587    Page 559 of 990




achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2163. These affirmations and promises were part of the basis of the bargain

that was reached when Mississippi Plaintiffs and the other Mississippi Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      2164. Mississippi Plaintiffs and the Mississippi Subclass members

experienced defects within the warranty period. Despite the existence of warranties,

Ford failed to inform Mississippi Plaintiffs and the Mississippi Subclass members

that the Coastdown Cheating Vehicles were defectively designed, and failed to fix

the defectively designed Coastdown Cheating Vehicles free of charge.

      2165. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2166. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2167. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is



                                       - 533 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2588    Page 560 of 990




insufficient to make Mississippi Plaintiffs and the Mississippi Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2168. Accordingly, recovery by the Mississippi Plaintiffs and the Mississippi

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Mississippi Plaintiffs, individually and on behalf of the

other Mississippi Subclass members, seek all remedies as allowed by law.

      2169. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Mississippi

Plaintiffs and the Mississippi Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2170. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure

and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Mississippi Plaintiffs’ and the other Mississippi Subclass




                                      - 534 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2589    Page 561 of 990




members’ remedies would be insufficient to make Mississippi Plaintiff and the other

Mississippi Subclass members whole.

       2171. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       2172. As a direct and proximate result of Ford’s breach of express warranties,

Mississippi Plaintiffs and the Mississippi Subclass have been damaged in an amount

to be determined at trial.

                                    COUNT 146

                          FRAUDULENT CONCEALMENT
                          (BASED ON MISSISSIPPI LAW)

       2173. Mississippi Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2174. This claim is brought by Mississippi Plaintiffs on behalf of the

Mississippi Subclass.

       2175. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard




                                        - 535 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2590    Page 562 of 990




for the truth and denied Mississippi Plaintiffs and the Mississippi Subclass

information that is highly relevant and material to their purchasing decision.

      2176. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2177. Ford further affirmatively misrepresented to Mississippi Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2178. Ford knew these representations were false when made.

      2179. The Coastdown Cheating Vehicles purchased or leased by Mississippi

Plaintiffs and the Mississippi Subclass were, in fact, defective, with reduced fuel

efficiency.

      2180. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Mississippi Plaintiffs and the

Mississippi Subclass relied on Ford’s material representations or omissions of fact



                                        - 536 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2591    Page 563 of 990




that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      2181. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2182. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Mississippi Plaintiffs and the Mississippi

Subclass did not know of these facts and Ford actively concealed these facts from

Mississippi Plaintiffs and the Mississippi Subclass.

      2183. Mississippi Plaintiffs and the Mississippi Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Mississippi Plaintiffs and the

Mississippi Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Mississippi Plaintiffs and the Mississippi Subclass

by concealing the true facts about the Coastdown Cheating Vehicles’ lack of fuel

efficiency.

      2184. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and



                                       - 537 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2592     Page 564 of 990




sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Mississippi Plaintiffs and the Mississippi

Subclass placed in its representations.

      2185. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Mississippi Plaintiffs and the

Mississippi Subclass members, highly valued that the vehicles they were purchasing

or leasing were fuel efficient, and they paid accordingly.

      2186. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Mississippi Plaintiffs and the Mississippi Subclass members. Ford

also had a duty to disclose because it made general affirmative representations about

the qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth



                                          - 538 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2593     Page 565 of 990




above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Mississippi Plaintiffs and the Mississippi Subclass members, Ford

had the duty to disclose not just the partial truth, but the entire truth. These omitted

and concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Mississippi Plaintiffs and the

Mississippi Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Mississippi Plaintiffs and the Mississippi Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2187. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Mississippi

Plaintiffs and the Mississippi Subclass.

      2188. Ford has still not made full and adequate disclosures and continues to

defraud Mississippi Plaintiffs and the Mississippi Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.




                                        - 539 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2594    Page 566 of 990




      2189. Mississippi Plaintiffs and the Mississippi Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Mississippi Plaintiffs’ and the Mississippi Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Mississippi Plaintiffs, or Mississippi Subclass

members.

      2190. Because of the concealment and/or suppression of the facts, Mississippi

Plaintiffs and the Mississippi Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Mississippi Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      2191. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Mississippi Plaintiffs and the Mississippi Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all




                                        - 540 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2595    Page 567 of 990




compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      2192. Ford’s      acts were done     wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Mississippi

Plaintiffs’ and the Mississippi Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                     COUNT 147

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON MISSISSIPPI LAW)

      2193. Mississippi Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2194. This claim is brought by the Mississippi Plaintiffs on behalf of the

Mississippi Subclass.

      2195. Defendant made fuel economy representations to Mississippi Plaintiffs

and members of the Class that were not true.

      2196. Defendant     had   no    reasonable   grounds   for   believing    these

representations were true when they made them, yet they intended that Mississippi

Plaintiffs and Mississippi Subclass members rely on these misrepresentations.




                                       - 541 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2596    Page 568 of 990




      2197. Mississippi Plaintiffs reasonably relied on Defendant’s representations

and as a result Mississippi Plaintiffs and Mississippi Subclass members were

harmed.

                                    COUNT 148

                           UNJUST ENRICHMENT
                        (BASED ON MISSISSIPPI LAW)

      2198. Mississippi Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2199. This claim is brought by the Mississippi Plaintiffs on behalf of the

Mississippi Subclass.

      2200. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Mississippi Plaintiffs and the Mississippi Subclass.

      2201. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Mississippi Plaintiffs and other Mississippi Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2202. Mississippi Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Mississippi Subclass.




                                       - 542 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2597    Page 569 of 990




      Claims Brought on Behalf of the Missouri Subclass

                                    COUNT 149

                        VIOLATION OF THE MISSOURI
                      MERCHANDISING PRACTICES ACT
                      (MO. REV. STAT. § 407.010, ET SEQ.)

      2203. Plaintiffs Josh Brumbaugh and Darren Honeycutt (“Missouri

Plaintiffs”) incorporate by reference all paragraphs as though fully set forth herein.

      2204. This claim is brought by the Missouri Plaintiffs on behalf of the

Missouri Subclass.

      2205. Ford, Missouri Plaintiffs and the Missouri Subclass are “persons”

within the meaning of MO. REV. STAT. § 407.010(5).

      2206. Ford engaged in “trade” or “commerce” in the State of Missouri within

the meaning of MO. REV. STAT. § 407.010(7).

      2207. The Missouri Merchandising Practices Act (“Missouri MPA”) makes

unlawful the “act, use or employment by any person of any deception, fraud, false

pretense, misrepresentation, unfair practice, or the concealment, suppression, or

omission of any material fact in connection with the sale or advertisement of any

merchandise.” MO. REV. STAT. § 407.020.

      2208. In the course of Ford’s business, it willfully failed to disclose and

actively concealed the true mileage of the Coastdown Cheating Vehicles, which is

less than a reasonable consumer would expect in light of Ford’s advertising



                                       - 543 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2598    Page 570 of 990




campaign. Accordingly, Ford used or employed deception, fraud, false pretense,

false promise, misrepresentation, unfair practice or the concealment, suppression, or

omission of any material fact in connection with the sale or advertisement of any

merchandise in trade or commerce, in violation of the Missouri MPA. Ford’s

conduct offends public policy; is unethical, oppressive, or unscrupulous; and

presents a risk of, or causes, substantial injury to consumers.

      2209. In the course of business, Ford willfully failed to disclose and actively

concealed the conduct discussed herein and otherwise engaged in activities with a

tendency or capacity to deceive. Ford also engaged in unlawful trade practices by

employing deception, deceptive acts or practices, fraud, misrepresentations, or

concealment, suppression, and/or omission of any material fact with intent that

others rely upon such concealment, suppression, or omission, in connection with the

sale of Coastdown Cheating Vehicles.

      2210. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Missouri Plaintiffs and the Missouri

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




                                        - 544 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2599     Page 571 of 990




      2211. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Missouri

Plaintiffs and the Missouri Subclass.

      2212. Ford knew or should have known that their conduct violated the

Missouri MPA.

      2213. Ford owed Missouri Plaintiffs and the Missouri Subclass members a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from
                   Missouri Plaintiffs and the Missouri Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Missouri Plaintiffs and the
                   Missouri Subclass that contradicted these
                   representations.

      2214. Because Ford fraudulently concealed the lower mileage of the

Coastdown Cheating Vehicles, the value of the Coastdown Cheating Vehicles has

greatly diminished. In light of the stigma attached to the Coastdown Cheating

Vehicles by Ford’s conduct, they are now worth significantly less than they

otherwise would be.

                                        - 545 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2600    Page 572 of 990




         2215. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Plaintiffs and the Missouri

Class.

         2216. Missouri Plaintiffs and the Missouri Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and their concealment of and failure to

disclose material information. Class members who purchased the Coastdown

Cheating Vehicles either would have paid less for their vehicles or would not have

purchased or leased them at all but for Ford’s violations of the Missouri MPA.

         2217. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Missouri MPA. All owners of Coastdown

Cheating Vehicles suffered ascertainable loss in the form of the diminished value of

their vehicle as a result of Ford’s deceptive and unfair acts and practices made in the

course of Ford’s business.

         2218. Ford’s violations present a continuing risk to Missouri Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

         2219. As a direct and proximate result of Ford’s violations of the Missouri

MPA, Missouri Plaintiffs and the Missouri Subclass have suffered injury-in-fact

and/or actual damage.




                                          - 546 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2601    Page 573 of 990




       2220. Ford is liable to Missouri Plaintiffs and the Missouri Subclass for

damages in amounts to be proven at trial, including attorneys’ fees, costs, and

punitive damages, as well as injunctive relief enjoining FCA’s unfair and deceptive

practices, and any other just and proper relief under Mo. Rev. Stat. § 407.025.

       2221. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

       2222. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Missouri in

accordance with Mo. Ann. Stat. § 407.010, et seq.

                                   COUNT 150

                             BREACH OF CONTRACT
                           (BASED ON MISSOURI LAW)

       2223. Missouri Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2224. This claim is brought by Missouri Plaintiffs on behalf of the Missouri

Subclass.

       2225. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Missouri Plaintiffs and the Missouri Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those


                                       - 547 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2602    Page 574 of 990




misrepresentations and omissions, Missouri Plaintiffs and the Missouri Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Missouri Plaintiffs and the Missouri

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      2226. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Missouri Plaintiffs and the Missouri Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      2227. As a direct and proximate result of Ford’s breach of contract, Missouri

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.




                                      - 548 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2603     Page 575 of 990




                                    COUNT 151

                      BREACH OF EXPRESS WARRANTY
                    (MO. STAT. § 400.2-313, AND § 400.2A-210)

       2228. Missouri Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2229. This claim is brought by Missouri Plaintiffs on behalf of the Missouri

Subclass.

       2230. Ford is and was at all relevant times a merchant with respect to motor

vehicles under Mo. Stat. § 400.2-104(1) and a “seller” of motor vehicles under §

400.2-313.

       2231. With respect to leases, Ford is and was at all relevant times a “lessor”

with respect to motor vehicles under Mo. Stat. § 400.2A-103(1)(p) and § 400.2A-

210.

       2232. The Coastdown Cheating Vehicles are and were at all relevant times

“goods” within the meaning of Mo. Stat. § 400.2-105(1) and Mo. Stat. § 400.2A-

103(1)(h).

       2233. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the


                                       - 549 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2604    Page 576 of 990




shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2234. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2235. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2236. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2237. These affirmations and promises were part of the basis of the bargain

that was reached when Missouri Plaintiffs and the other Missouri Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      2238. Missouri Plaintiffs and the Missouri Subclass members experienced

defects within the warranty period. Despite the existence of warranties, Ford failed

to inform Missouri Plaintiffs and the Missouri Subclass members that the Coastdown

Cheating Vehicles were defectively designed, and failed to fix the defectively

designed Coastdown Cheating Vehicles free of charge.



                                      - 550 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2605    Page 577 of 990




      2239. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2240. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2241. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Missouri Plaintiffs and the Missouri Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2242. Accordingly, recovery by the Missouri Plaintiffs and the Missouri

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Missouri Plaintiffs, individually and on behalf of the other

Missouri Subclass members, seek all remedies as allowed by law.

      2243. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently



                                       - 551 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2606    Page 578 of 990




concealed material facts regarding the Coastdown Cheating Vehicles. Missouri

Plaintiffs and the Missouri Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2244. Moreover, many of the injuries flowing from the Coastdown Cheating

Vehicles cannot be resolved through the limited remedy of “replacement or

adjustments,” as many incidental and consequential damages have already been

suffered due to Ford’s fraudulent conduct as alleged herein, and due to its failure

and/or continued failure to provide such limited remedy within a reasonable time,

and any limitation on Missouri Plaintiffs’ and the other Missouri Subclass members’

remedies would be insufficient to make Missouri Plaintiff and the other Missouri

Subclass members whole.

      2245. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2246. As a direct and proximate result of Ford’s breach of express warranties,

Missouri Plaintiffs and the Missouri Subclass have been damaged in an amount to

be determined at trial.




                                       - 552 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2607    Page 579 of 990




                                    COUNT 152

                          FRAUDULENT CONCEALMENT
                           (BASED ON MISSOURI LAW)

       2247. Missouri Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2248. This claim is brought by Missouri Plaintiffs on behalf of the Missouri

Subclass.

       2249. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Missouri Plaintiffs and the Missouri Subclass information

that is highly relevant to their purchasing decision.

       2250. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

       2251. Ford further affirmatively misrepresented to Missouri Plaintiffs in

advertising and other forms of communication, including standard and uniform




                                        - 553 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2608    Page 580 of 990




material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2252. Ford knew these representations were false when made.

      2253. The Coastdown Cheating Vehicles purchased or leased by Missouri

Plaintiffs and the Missouri Subclass were, in fact, defective, with reduced fuel

efficiency.

      2254. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Missouri Plaintiffs and the

Missouri Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      2255. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2256. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Missouri Plaintiffs and the Missouri Subclass



                                        - 554 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2609    Page 581 of 990




did not know of these facts and Ford actively concealed these facts from Missouri

Plaintiffs and the Missouri Subclass.

      2257. Missouri Plaintiffs and the Missouri Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Missouri Plaintiffs and the Missouri

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Missouri Plaintiffs and the Missouri Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2258. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Missouri Plaintiffs and the Missouri Subclass

placed in its representations.

      2259. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Missouri Plaintiffs and the Missouri Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.



                                        - 555 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2610    Page 582 of 990




      2260. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Missouri Plaintiffs and the Missouri Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Missouri Plaintiffs and the Missouri Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Missouri Plaintiffs and the

Missouri Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Missouri Plaintiffs and the Missouri Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact




                                        - 556 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2611    Page 583 of 990




the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2261. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Missouri

Plaintiffs and the Missouri Subclass.

      2262. Ford has still not made full and adequate disclosures and continues to

defraud Missouri Plaintiffs and the Missouri Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2263. Missouri Plaintiffs and the Missouri Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Missouri Plaintiffs’ and the Missouri Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Missouri Plaintiffs, or, Missouri Subclass members.

      2264. Because of the concealment and/or suppression of the facts, Missouri

Plaintiffs and the Missouri Subclass have sustained damage because they overpaid



                                        - 557 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2612    Page 584 of 990




for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Missouri Plaintiffs and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2265. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Missouri Plaintiffs and the Missouri Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2266. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Missouri Plaintiffs’

and the Missouri Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 153

                     NEGLIGENT MISREPRESENTATION
                        (BASED ON MISSOURI LAW)

      2267. Missouri Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.




                                        - 558 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2613       Page 585 of 990




      2268. This claim is brought by the Missouri Plaintiffs on behalf of the

Missouri Subclass.

      2269. Defendant made fuel economy representations to Missouri Plaintiffs

and members of the Class that were not true.

      2270. Defendant     had   no    reasonable   grounds   for      believing   these

representations were true when they made them, yet they intended that Missouri

Plaintiffs and Missouri Subclass members rely on these misrepresentations.

      2271. Missouri Plaintiffs reasonably relied on Defendant’s representations

and as a result Missouri Plaintiffs and Missouri Subclass members were harmed.

                                     COUNT 154

                          UNJUST ENRICHMENT
                        (BASED ON MISSOURI LAW)

      2272. Missouri Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      2273. This claim is brought by the Missouri Plaintiffs on behalf of the

Missouri Subclass.

      2274. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Missouri Plaintiffs and the Missouri Subclass.




                                       - 559 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2614    Page 586 of 990




      2275. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Missouri Plaintiffs and other Missouri Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2276. Missouri Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Missouri Subclass.

      Claims Brought on Behalf of the Montana Subclass

                                    COUNT 155

       VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES
             AND CONSUMER PROTECTION ACT OF 1973
                (MONT. CODE ANN. § 30-14-101 et seq.)

      2277. Montana Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      2278. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

      2279. The Montana Unfair Trade Practices and Consumer Protection Act

(“Montana CPA”) makes unlawful any “unfair methods of competition and unfair

or deceptive acts or practices in the conduct of any trade or commerce.” MONT. CODE

ANN. § 30-14-103.

      2280. Ford, Montana Plaintiff, and Montana Subclass members are “persons”

within the meaning of MONT. CODE ANN. § 30-14-102(6).



                                       - 560 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2615    Page 587 of 990




      2281. Montana Plaintiff and Montana Subclass members are “consumer[s]”

under MONT. CODE ANN. § 30-14-102(1).

      2282. The sale or lease of each Coastdown Cheating Vehicle at issue occurred

within “trade and commerce” within the meaning of MONT. CODE ANN. § 30-14-

102(8), and Ford committed deceptive and unfair acts in the conduct of “trade and

commerce” as defined in that statutory section.

      2283. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2284. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Montana Plaintiff and the Montana

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.



                                       - 561 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2616     Page 588 of 990




       2285. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Montana Plaintiff

and the Montana Subclass.

       2286. Ford knew or should have known that its conduct violated the Montana

CPA.

       2287. Ford owed Montana Plaintiff and the Montana Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

             b.     Intentionally concealed the foregoing from
                    Montana Plaintiff and the Montana Subclass; and/or

             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Montana Plaintiff and the
                    Montana Subclass that contradicted these
                    representations.

       2288. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Montana Plaintiff and the

Montana Subclass.

       2289. Montana Plaintiff and the Montana Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose


                                        - 562 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2617    Page 589 of 990




material information. Montana Plaintiff and the Montana Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Montana CPA.

      2290. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Montana CPA. As a direct and proximate result of

Ford’s violations of the Montana CPA, Montana Plaintiff and the Montana Subclass

have suffered injury-in-fact and/or actual damage.

      2291. Ford’s violations present a continuing risk to Montana Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2292. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2293. Plaintiffs additionally seek an order enjoining Ford’s unfair, unlawful,

and/or deceptive practices, and any other relief the Court considers necessary or

proper, under MONT. CODE ANN. § 30-14-133.




                                      - 563 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2618    Page 590 of 990




       2294. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                  COUNT 156

                              BREACH OF CONTRACT
                            (BASED ON MONTANA LAW)

       2295. Montana Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2296. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

       2297. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Montana Plaintiff and the Montana Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Montana Plaintiff and the Montana Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Montana Plaintiff and the Montana

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.




                                      - 564 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2619    Page 591 of 990




       2298. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Montana Plaintiff and the Montana Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       2299. As a direct and proximate result of Ford’s breach of contract, Montana

Plaintiff and the Montana Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 157

                          BREACH OF EXPRESS WARRANTY
                            (MONT. CODE ANN. § 30-2-313)

       2300. Montana Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2301. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

       2302. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Mont. Code Ann. § 30-2-104.


                                      - 565 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2620     Page 592 of 990




      2303. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2304. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2305. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2306. These affirmations and promises were part of the basis of the bargain

that was reached when Montana Plaintiff and the other Montana Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      2307. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is



                                      - 566 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2621    Page 593 of 990




unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2308. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2309. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Montana Plaintiff and the Montana Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      2310. Accordingly, recovery by the Montana Plaintiff and the Montana

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Montana Plaintiff, individually and on behalf of the other

Montana Subclass members, seek all remedies as allowed by law.

      2311. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Montana

Plaintiff and the Montana Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.




                                       - 567 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2622    Page 594 of 990




       2312. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       2313. As a direct and proximate result of Ford’s breach of express warranties,

Montana Plaintiff and the Montana Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 158

                          FRAUDULENT CONCEALMENT
                           (BASED ON MONTANA LAW)

       2314. Montana Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2315. This claim is brought by Montana Plaintiff on behalf of the Montana

Subclass.

       2316. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Montana Plaintiff and the Montana Subclass information

that is highly relevant to their purchasing decision.




                                        - 568 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2623    Page 595 of 990




      2317. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2318. Ford further affirmatively misrepresented to Montana Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2319. Ford knew these representations were false when made.

      2320. The Coastdown Cheating Vehicles purchased or leased by Montana

Plaintiff and the Montana Subclass were, in fact, defective, with reduced fuel

efficiency.

      2321. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Montana Plaintiff and the

Montana Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.



                                        - 569 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2624    Page 596 of 990




      2322. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2323. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Montana Plaintiffs and the Montana Subclass

did not know of these facts and Ford actively concealed these facts from Montana

Plaintiff and the Montana Subclass.

      2324. Montana Plaintiff and the Montana Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Montana Plaintiff and the Montana Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Montana Plaintiff and the Montana Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2325. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




                                       - 570 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2625    Page 597 of 990




profits and sales above the trust that Montana Plaintiff and the Montana Subclass

placed in its representations.

      2326. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Montana Plaintiff and the Montana Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      2327. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Montana Plaintiff and the Montana Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Montana Plaintiff and the Montana Subclass members, Ford had the



                                        - 571 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2626    Page 598 of 990




duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Montana Plaintiff and the

Montana Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Montana Plaintiff and the Montana Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2328. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Montana Plaintiff

and the Montana Subclass.

      2329. Ford has still not made full and adequate disclosures and continues to

defraud Montana Plaintiff and the Montana Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2330. Montana Plaintiff and the Montana Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not



                                       - 572 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2627    Page 599 of 990




have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Montana Plaintiff’s and the Montana Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Montana Plaintiff, or, Montana Subclass members.

      2331. Because of the concealment and/or suppression of the facts, Montana

Plaintiff and the Montana Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Montana Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2332. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Montana Plaintiff and the Montana Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2333. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Montana Plaintiff’s

and the Subclass’s rights and the representations that Ford made to them in order to

enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an



                                        - 573 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2628    Page 600 of 990




amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 159

                   NEGLIGENT MISREPRESENTATION
                     (BASED ON MONTANA LAW)

      2334. Montana Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2335. This claim is brought by the Montana Plaintiff on behalf of the Montana

Subclass.

      2336. Defendant made fuel economy representations to Montana Plaintiff and

members of the Class that were not true.

      2337. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Montana

Plaintiff and Montana Subclass members rely on these misrepresentations.

      2338. Montana Plaintiff reasonably relied on Defendant’s representations and

as a result Montana Plaintiff and Montana Subclass members were harmed.

                                      COUNT 160

                           UNJUST ENRICHMENT
                        (BASED ON MONTANA LAW)

      2339. Montana Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.



                                        - 574 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2629    Page 601 of 990




      2340. This claim is brought by the Montana Plaintiff on behalf of the Montana

Subclass.

      2341. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Montana Plaintiff and the Montana Subclass.

      2342. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Montana Plaintiff and other Montana Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2343. Montana Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Montana Subclass.

      Claims Brought on Behalf of the Nebraska Subclass

                                    COUNT 161

     VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                  (NEB. REV. STAT. § 59-1601 et seq.)

      2344. Plaintiff Scott Whitehill (“Nebraska Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      2345. This claim is brought by Nebraska Plaintiff on behalf of the Nebraska

Subclass.




                                       - 575 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2630    Page 602 of 990




      2346. The Nebraska Consumer Protection Act (“Nebraska CPA”) prohibits

“unfair or deceptive acts or practices in the conduct of any trade or commerce.” NEB.

REV. STAT. § 59-1602.

      2347. Ford, Nebraska Plaintiff, and Nebraska Subclass members are

“person[s]” under NEB. REV. STAT. § 59-1601(1).

      2348. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under NEB. REV. STAT. § 59-1601(2).

      2349. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2350. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Nebraska Plaintiff and the Nebraska

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel




                                       - 576 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2631     Page 603 of 990




economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       2351. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Nebraska

Plaintiff and the Nebraska Subclass.

       2352. Ford knew or should have known that its conduct violated the Nebraska

CPA.

       2353. Ford owed Nebraska Plaintiff and the Nebraska Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from
                   Nebraska Plaintiff and the Nebraska Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Nebraska Plaintiff and the
                   Nebraska Subclass that contradicted these
                   representations.

       2354. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Nebraska Plaintiff and the

Nebraska Subclass.

                                       - 577 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2632     Page 604 of 990




      2355. Nebraska Plaintiff and the Nebraska Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Nebraska Plaintiff and the Nebraska Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Nebraska CPA.

      2356. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Nebraska CPA. As a direct and proximate result

of Ford’s violations of the Nebraska CPA, Nebraska Plaintiff and the Nebraska

Subclass have suffered injury-in-fact and/or actual damage.

      2357. Ford’s violations present a continuing risk to Nebraska Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2358. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2359. Because Ford’s conduct caused injury to Nebraska Plaintiff’s property

through violations of the Nebraska CPA, Nebraska Plaintiff seeks recovery of actual



                                      - 578 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2633    Page 605 of 990




damages as well as enhanced damages up to $1,000, an order enjoining Ford’s unfair

or deceptive acts and practices, costs of Court, reasonable attorneys’ fees, and any

other just and proper relief available under NEB. REV. STAT. § 59-1609.

       2360. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                   COUNT 162

                            BREACH OF CONTRACT
                          (BASED ON NEBRASKA LAW)

       2361. Nebraska Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2362. This claim is brought by the Nebraska Plaintiff on behalf of Nebraska

purchasers who are members of the Class.

       2363. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Nebraska Plaintiff and the Nebraska Subclass

members to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Nebraska Plaintiff and the Nebraska

Subclass members would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly, Nebraska


                                      - 579 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2634    Page 606 of 990




Plaintiff and the Nebraska Subclass members overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

       2364. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Nebraska Plaintiff and the Nebraska Subclass Class

members defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

       2365. As a direct and proximate result of Ford’s breach of contract Nebraska

Plaintiff and the Nebraska Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 163

                          BREACH OF EXPRESS WARRANTY
                           (NEB. REV. STAT. (U.C.C.) § 2-313)

       2366. Nebraska Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2367. This claim is brought by Nebraska Plaintiff on behalf of the Nebraska

Subclass.


                                       - 580 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2635     Page 607 of 990




      2368. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Neb. Rev. Stat. (U.C.C.) § 2-104.

      2369. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2370. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2371. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2372. These affirmations and promises were part of the basis of the bargain

that was reached when Nebraska Plaintiff and the other Nebraska Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      2373. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 581 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2636    Page 608 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2374. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2375. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Nebraska Plaintiff and the Nebraska Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2376. Accordingly, recovery by the Nebraska Plaintiff and the Nebraska

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Nebraska Plaintiff, individually and on behalf of the other

Nebraska Subclass members, seek all remedies as allowed by law.

      2377. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Nebraska




                                       - 582 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2637    Page 609 of 990




Plaintiff and the Nebraska Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2378. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2379. As a direct and proximate result of Ford’s breach of express warranties,

Nebraska Plaintiff and the Nebraska Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 164

                          FRAUDULENT CONCEALMENT
                           (BASED ON NEBRASKA LAW)

      2380. Nebraska Plaintiff realleges and incorporates by reference all

paragraphs as though fully set forth herein.

      2381. This claim is brought by Nebraska Plaintiff on behalf of the Nebraska

Subclass.

      2382. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted




                                       - 583 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2638    Page 610 of 990




with reckless disregard for the truth and denied Nebraska Plaintiff and the Nebraska

Subclass members information that is highly relevant to their purchasing decision.

      2383. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2384. Ford further affirmatively misrepresented to Nebraska Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2385. Ford knew these representations were false when made.

      2386. The Coastdown Cheating Vehicles purchased or leased by Nebraska

Plaintiff and the Nebraska Subclass were, in fact, defective, with reduced fuel

efficiency.

      2387. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Nebraska Plaintiff and the

Nebraska Subclass members relied on Ford’s material representations or omissions



                                        - 584 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2639    Page 611 of 990




of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      2388. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2389. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Nebraska Plaintiff and the Nebraska Subclass

members did not know of these facts and Ford actively concealed these facts from

Nebraska Plaintiff and the Nebraska Subclass members.

      2390. Nebraska Plaintiff and the Nebraska Subclass members reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Nebraska Plaintiff and

the Nebraska Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Nebraska Plaintiff and the Nebraska Subclass by

concealing the true facts about the Coastdown Cheating Vehicles’ lack of fuel

efficiency.

      2391. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and



                                       - 585 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2640    Page 612 of 990




sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Nebraska Plaintiff and the Nebraska Subclass

members placed in its representations.

      2392. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Nebraska Plaintiff and the Nebraska Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      2393. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Nebraska Plaintiff or the Nebraska Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth



                                         - 586 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2641    Page 613 of 990




above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Nebraska Plaintiff and the Nebraska Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Nebraska Plaintiff and the

Nebraska Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Nebraska Plaintiff and the Nebraska Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2394. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Nebraska Plaintiff

and the Nebraska Subclass members.

      2395. Ford has still not made full and adequate disclosures and continues to

defraud Nebraska Plaintiff and the Nebraska Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.



                                       - 587 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2642    Page 614 of 990




      2396. Nebraska Plaintiff and the Nebraska Subclass members were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. Nebraska Plaintiff’s and the Nebraska Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Nebraska Plaintiff, or the Nebraska Subclass

members.

      2397. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Nebraska Plaintiff and the Nebraska Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2398. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Nebraska Plaintiff’s

and the Nebraska Subclass members’ rights and the representations that Ford made

to them were made in order to enrich Ford. Ford’s conduct warrants an assessment

of punitive damages in an amount sufficient to deter such conduct in the future,

which amount is to be determined according to proof.




                                        - 588 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2643    Page 615 of 990




                                    COUNT 165

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON NEBRASKA LAW)

      2399. Nebraska Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2400. This claim is brought by the Nebraska Plaintiff on behalf of the

Nebraska Subclass.

      2401. Defendant made fuel economy representations to Nebraska Plaintiff

and members of the Class that were not true.

      2402. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Nebraska

Plaintiff and Nebraska Subclass members rely on these misrepresentations.

      2403. Nebraska Plaintiff reasonably relied on Defendant’s representations

and as a result Nebraska Plaintiff and Nebraska Subclass members were harmed.

                                    COUNT 166

                           UNJUST ENRICHMENT
                        (BASED ON NEBRASKA LAW)

      2404. Nebraska Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2405. This claim is brought by the Nebraska Plaintiff on behalf of the

Nebraska Subclass.



                                      - 589 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2644    Page 616 of 990




      2406. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Nebraska Plaintiff and the Nebraska Subclass.

      2407. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Nebraska Plaintiff and other Nebraska Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2408. Nebraska Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Nebraska Subclass.

      Claims Brought on Behalf of the Nevada Subclass

                                    COUNT 167

                        VIOLATION OF THE NEVADA
                     DECEPTIVE TRADE PRACTICES ACT
                      (NEV. REV. STAT. § 598.0903 et seq.)

      2409. Nevada Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      2410. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

      2411. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”)

prohibits deceptive trade practices. NEV. REV. STAT. § 598.0915 provides that a

person engages in a “deceptive trade practice” if, in the course of business or



                                       - 590 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2645    Page 617 of 990




occupation, the person “[k]nowingly makes a false representation as to the

characteristics, ingredients, uses, benefits, alterations or quantities of goods or

services for sale or lease or a false representation as to the sponsorship, approval,

status, affiliation or connection of a person therewith”; “[r]epresents that goods or

services for sale or lease are of a particular standard, quality or grade, or that such

goods are of a particular style or model, if he or she knows or should know that they

are of another standard, quality, grade, style or model”; “[a]dvertises goods or

services with intent not to sell or lease them as advertised and certified”; or

“[k]nowingly makes any other false representation in a transaction.” N EV. REV.

STAT. §§ 598.0915–598.0925.

      2412. Ford engaged in deceptive trade practices that violated the Nevada

DTPA when Ford knowingly failed to disclose that the Coastdown Cheating

Vehicles did not have the advertised and certified fuel economy and that the fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      2413. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      2414. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the



                                        - 591 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2646    Page 618 of 990




premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2415. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Nevada Plaintiff and the Nevada Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      2416. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Nevada Plaintiff

and the Nevada Subclass.

      2417. Ford knew or should have known that its conduct violated the Nevada

DTPA.

      2418. Ford owed Nevada Plaintiff and the Nevada Subclass members a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:




                                       - 592 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2647     Page 619 of 990




            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Nevada
                   Plaintiffs and the Nevada Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Nevada Plaintiff and the Nevada
                   Subclass that contradicted these representations.

      2419. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Nevada Plaintiff and the

Nevada Subclass.

      2420. Nevada Plaintiff and the Nevada Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Nevada Plaintiff and the Nevada Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Nevada DTPA.

      2421. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Nevada DTPA. As a direct and proximate result

of Ford’s violations of the Nevada DTPA, Nevada Plaintiff and the Nevada Subclass

have suffered injury-in-fact and/or actual damage.




                                       - 593 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2648    Page 620 of 990




       2422. Ford’s violations present a continuing risk to Nevada Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

       2423. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       2424. Accordingly, Plaintiffs seek their actual damages, punitive damages, an

order enjoining Ford’s deceptive acts or practices, costs of Court, attorney’s fees,

and all other appropriate and available remedies under the Nevada DTPA. N EV. REV.

STAT. § 41.600.

                                   COUNT 168

                               BREACH OF CONTRACT
                              (BASED ON NEVADA LAW)

       2425. Nevada Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2426. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

       2427. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy


                                       - 594 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2649    Page 621 of 990




than advertised and certified, caused Nevada Plaintiff and the Nevada Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Nevada Plaintiff and the Nevada Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Nevada Plaintiff and the Nevada Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        2428. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Nevada Plaintiff and the Nevada Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        2429. As a direct and proximate result of Ford’s breach of contract, Nevada

Plaintiff and the Nevada Subclass have been damaged in an amount to be proven at




                                       - 595 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2650    Page 622 of 990




trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 169

                          BREACH OF EXPRESS WARRANTY
                            (NEV. REV. STAT. § 104.2313)

       2430. Nevada Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2431. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

       2432. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Nev. Rev. Stat. § 104.2104.

       2433. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

       2434. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles




                                        - 596 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2651    Page 623 of 990




achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2435. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2436. These affirmations and promises were part of the basis of the bargain

that was reached when Nevada Plaintiff and the other Nevada Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      2437. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2438. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2439. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Nevada Plaintiff and the Nevada Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.



                                       - 597 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2652    Page 624 of 990




      2440. Accordingly, recovery by the Nevada Plaintiff and the Nevada Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Nevada Plaintiff, individually and on behalf of the other Nevada Subclass

members, seek all remedies as allowed by law.

      2441. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Nevada

Plaintiff and the Nevada Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2442. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2443. As a direct and proximate result of Ford’s breach of express warranties,

Nevada Plaintiff and the Nevada Subclass have been damaged in an amount to be

determined at trial.




                                       - 598 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2653    Page 625 of 990




                                    COUNT 170

                          FRAUDULENT CONCEALMENT
                            (BASED ON NEVADA LAW)

       2444. Nevada Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2445. This claim is brought by Nevada Plaintiff on behalf of the Nevada

Subclass.

       2446. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Nevada Plaintiff and the Nevada Subclass information that

is highly relevant to their purchasing decision.

       2447. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

       2448. Ford further affirmatively misrepresented to Nevada Plaintiff in

advertising and other forms of communication, including standard and uniform




                                        - 599 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2654    Page 626 of 990




material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2449. Ford knew these representations were false when made.

      2450. The Coastdown Cheating Vehicles purchased or leased by Nevada

Plaintiff and the Nevada Subclass were, in fact, defective, with reduced fuel

efficiency.

      2451. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Nevada Plaintiff and the

Nevada Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      2452. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2453. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Nevada Plaintiffs and the Nevada Subclass



                                        - 600 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2655    Page 627 of 990




did not know of these facts and Ford actively concealed these facts from Nevada

Plaintiff and the Nevada Subclass.

      2454. Nevada Plaintiff and the Nevada Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Nevada Plaintiff and the Nevada Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Nevada Plaintiff and the Nevada Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2455. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Nevada Plaintiff and the Nevada Subclass

placed in its representations.

      2456. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Nevada Plaintiff and the Nevada Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.



                                        - 601 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2656    Page 628 of 990




      2457. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Nevada Plaintiff and the Nevada Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Nevada Plaintiff and the Nevada Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Nevada Plaintiff and the

Nevada Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Nevada Plaintiff and the Nevada Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the




                                        - 602 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2657    Page 629 of 990




Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      2458. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Nevada Plaintiff

and the Nevada Subclass.

      2459. Ford has still not made full and adequate disclosures and continues to

defraud Nevada Plaintiff and the Nevada Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2460. Nevada Plaintiff and the Nevada Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Nevada Plaintiff’s and the Nevada Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Nevada Plaintiff, or, Nevada Subclass members.

      2461. Because of the concealment and/or suppression of the facts, Nevada

Plaintiff and the Nevada Subclass have sustained damage because they overpaid for



                                       - 603 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2658    Page 630 of 990




their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Nevada Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2462. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Nevada Plaintiff and the Nevada Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      2463. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Nevada Plaintiff’s

and the Nevada Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 171

                     NEGLIGENT MISREPRESENTATION
                        (BASED ON NEVADA LAW)

      2464. Nevada Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.




                                       - 604 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2659    Page 631 of 990




      2465. This claim is brought by the Nevada Plaintiff on behalf of the Nevada

Subclass.

      2466. Defendant made fuel economy representations to Nevada Plaintiff and

members of the Class that were not true.

      2467. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Nevada

Plaintiff and Nevada Subclass members rely on these misrepresentations.

      2468. Nevada Plaintiff reasonably relied on Defendant’s representations and

as a result Nevada Plaintiff and Nevada Subclass members were harmed.

                                    COUNT 172

                           UNJUST ENRICHMENT
                         (BASED ON NEVADA LAW)

      2469. Nevada Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      2470. This claim is brought by the Nevada Plaintiff on behalf of the Nevada

Subclass.

      2471. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Nevada Plaintiff and the Nevada Subclass.




                                      - 605 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2660     Page 632 of 990




      2472. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Nevada Plaintiff and other Nevada Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2473. Nevada Plaintiff, therefore, seeks any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Nevada Subclass.

      Claims brought on behalf of the New Hampshire Subclass

                                   COUNT 173

                    VIOLATION OF THE NEW HAMPSHIRE
                       CONSUMER PROTECTION ACT
                    (N.H. REV. STAT. ANN. § 358-A:1 et seq.)

      2474. New Hampshire Plaintiffs hereby incorporate by reference the

allegations contained in the preceding paragraphs of this complaint.

      2475. This claim is brought by New Hampshire Plaintiffs on behalf of the

New Hampshire Subclass.

      2476. Ford, New Hampshire Plaintiffs, and New Hampshire Subclass

members are “persons” under N.H. REV. STAT. ANN. § 358-A:1.

      2477. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.H. REV. STAT. ANN. § 358-A:1.

      2478. The New Hampshire Consumer Protection Act (New Hampshire CPA)

prohibits a person, in the conduct of any trade or commerce, from “using any unfair



                                       - 606 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2661     Page 633 of 990




or deceptive act or practice,” including “but . . . not limited to, the following: . . .

[r]epresenting that goods or services have . . . characteristics, . . . uses, benefits, or

quantities that they do not have”; “[r]epresenting that goods or services are of a

particular standard, quality, or grade, . . . if they are of another”; and “[a]dvertising

goods or services with intent not to sell them as advertised and certified.” N.H. REV.

STAT. § 358-A:2.

      2479. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      2480. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      2481. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including New Hampshire Plaintiffs and the

New Hampshire Subclass members, about the true performance of the Coastdown

Cheating Vehicles, the lower fuel economy, the shorter range of the vehicle due to




                                         - 607 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2662     Page 634 of 990




its lower fuel economy, the increased environmental impact of Ford vehicles, and

the true value of the Coastdown Cheating Vehicles.

      2482. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead New Hampshire

Plaintiffs and the New Hampshire Subclass.

      2483. Ford knew or should have known that its conduct violated the New

Hampshire CPA.

      2484. Ford owed New Hampshire Plaintiffs and the New Hampshire Subclass

a duty to disclose the performance, fuel mileage, and true environmental impact of

the Coastdown Cheating Vehicles, because Ford:

            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and representations of fuel
                  efficiency;

            b.    Intentionally concealed the foregoing from New
                  Hampshire Plaintiffs and the New Hampshire
                  Subclass; and/or

            c.    Made incomplete representations that it
                  manipulated the certification testing and failed to
                  disclose the true fuel economy of the Coastdown
                  Cheating Vehicles, while purposefully withholding
                  material facts from New Hampshire Plaintiffs and
                  the New Hampshire Subclass that contradicted
                  these representations.

      2485. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to New Hampshire Plaintiffs and

the New Hampshire Subclass.

                                      - 608 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2663    Page 635 of 990




      2486. New Hampshire Plaintiffs and the New Hampshire Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. New Hampshire Plaintiffs and the New

Hampshire Subclass members who purchased the Coastdown Cheating Vehicles

either would have paid less for their vehicles or would not have purchased or leased

them at all but for Ford’s violations of the New Hampshire CPA.

      2487. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the New Hampshire CPA.

      2488. As a direct and proximate result of Ford’s violations of the New

Hampshire CPA, New Hampshire Plaintiffs and the New Hampshire Subclass have

suffered injury-in-fact and/or actual damage.

      2489. Ford’s violations present a continuing risk to New Hampshire Plaintiffs

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      2490. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.




                                      - 609 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2664    Page 636 of 990




      2491. Because Ford’s willful conduct caused injury to Plaintiffs’ property

through violations of the New Hampshire CPA, Plaintiff seeks recovery of actual

damages or $1,000, whichever is greater; treble damages; costs and reasonable

attorneys’ fees; an order enjoining Ford’s unfair and/or deceptive acts and practices;

and any other just and proper relief under N.H. REV. STAT. ANN. § 358-A:10.

      2492. New Hampshire Plaintiffs seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct.

                                    COUNT 174

                           BREACH OF CONTRACT
                      (BASED ON NEW HAMPSHIRE LAW)

      2493. New Hampshire Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2494. This claim is brought by New Hampshire Plaintiffs on behalf of the

New Hampshire Subclass.

      2495. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused New Hampshire Plaintiffs and the New

Hampshire Subclass to make their purchases or leases of the Coastdown Cheating

Vehicles. Absent those misrepresentations and omissions, New Hampshire Plaintiffs

and the New Hampshire Subclass would not have purchased or leased the

Coastdown Cheating Vehicles, would not have purchased or leased the Coastdown


                                       - 610 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2665    Page 637 of 990




Cheating Vehicles at the prices they paid, and/or would have purchased or leased

less expensive alternative vehicles that did not contain the reduced mileage.

Accordingly, New Hampshire Plaintiffs and the New Hampshire Subclass overpaid

for the Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

      2496. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to New Hampshire Plaintiffs and the New Hampshire

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      2497. As a direct and proximate result of Ford’s breach of contract, New

Hampshire Plaintiffs and the Class have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 175

                       BREACH OF EXPRESS WARRANTY
                       (N.H. REV. STAT. ANN. 382-A:2-313)

      2498. New Hampshire Plaintiffs incorporates by reference all paragraphs as

though fully set forth herein.


                                        - 611 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2666     Page 638 of 990




      2499. This claim is brought by New Hampshire Plaintiffs on behalf of the

New Hampshire Subclass.

      2500. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to N.H. Rev. Stat. Ann. 382-A:2-104.

      2501. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2502. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2503. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2504. These affirmations and promises were part of the basis of the bargain

that was reached when New Hampshire Plaintiffs and the other New Hampshire

Subclass members purchased or leased the Coastdown Cheating Vehicles.



                                      - 612 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2667    Page 639 of 990




       2505. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

       2506. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

       2507. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make New Hampshire Plaintiffs and the New Hampshire Subclass

whole, and because Ford has failed and/or has refused to adequately provide the

promised remedies within a reasonable time.

       2508. Accordingly, recovery by the New Hampshire Plaintiffs and the New

Hampshire Subclass is not limited to the NVLW promising to repair and/or correct

a manufacturing defect, and New Hampshire Plaintiffs, individually and on behalf

of the other New Hampshire Subclass members, seek all remedies as allowed by

law.

       2509. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating



                                       - 613 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2668    Page 640 of 990




Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Nevada

Plaintiffs and the Nevada Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2510. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2511. As a direct and proximate result of Ford’s breach of express warranties,

New Hampshire Plaintiffs and the New Hampshire Subclass have been damaged in

an amount to be determined at trial.

                                    COUNT 176

                        FRAUDULENT CONCEALMENT
                      (BASED ON NEW HAMPSHIRE LAW)

      2512. New Hampshire Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2513. This claim is brought by New Hampshire Plaintiffs on behalf of the

New Hampshire Subclass.

      2514. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these


                                        - 614 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2669    Page 641 of 990




vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied New Hampshire Plaintiffs and the New Hampshire Subclass

information that is highly relevant and material to their purchasing decision.

      2515. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2516. Ford further affirmatively misrepresented to New Hampshire Plaintiffs

in advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2517. Ford knew these representations were false when made.

      2518. The Coastdown Cheating Vehicles purchased or leased by New

Hampshire Plaintiffs and the New Hampshire Subclass were, in fact, defective, with

reduced fuel efficiency.

      2519. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because New Hampshire Plaintiffs



                                        - 615 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2670    Page 642 of 990




and the New Hampshire Subclass relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      2520. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2521. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; New Hampshire Plaintiffs and the New

Hampshire Subclass did not know of these facts and Ford actively concealed these

facts from New Hampshire Plaintiffs and the New Hampshire Subclass.

      2522. New Hampshire Plaintiffs and the New Hampshire Subclass reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, New Hampshire

Plaintiffs and the New Hampshire Subclass did not, and could not, unravel Ford’s

deception on their own. Rather, Ford intended to deceive New Hampshire Plaintiffs

and the New Hampshire Subclass by concealing the true facts about the Coastdown

Cheating Vehicles’ lack of fuel efficiency.




                                        - 616 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2671     Page 643 of 990




      2523. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that New Hampshire Plaintiffs and the New

Hampshire Subclass placed in its representations.

      2524. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including New Hampshire Plaintiffs and the New

Hampshire Subclass members, highly valued that the vehicles they were purchasing

or leasing were fuel efficient, and they paid accordingly.

      2525. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by New Hampshire Plaintiffs and the New Hampshire Subclass

members. Ford also had a duty to disclose because it made general affirmative



                                        - 617 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2672    Page 644 of 990




representations about the qualities of its vehicles with respect to fuel efficiency,

which were misleading, deceptive, and incomplete without the disclosure of the

additional facts set forth above regarding the actual mileage of its vehicles. Having

volunteered to provide information to New Hampshire Plaintiffs and the New

Hampshire Subclass members, Ford had the duty to disclose not just the partial truth,

but the entire truth. These omitted and concealed facts were material because they

directly impact the value of the Coastdown Cheating Vehicles purchased or leased

by New Hampshire Plaintiffs and the New Hampshire Subclass members. Whether

an automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to New

Hampshire Plaintiffs and the New Hampshire Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating

Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      2526. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of New Hampshire

Plaintiffs and the New Hampshire Subclass.




                                       - 618 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2673    Page 645 of 990




      2527. Ford has still not made full and adequate disclosures and continues to

defraud New Hampshire Plaintiffs and the New Hampshire Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      2528. New Hampshire Plaintiffs and the New Hampshire Subclass were

unaware of the omitted material facts referenced herein, and they would not have

acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. New Hampshire Plaintiffs’ and the New Hampshire Subclass

members’ actions were justified. Ford was in exclusive control of the material facts,

and such facts were not generally known to the public, New Hampshire Plaintiffs,

or New Hampshire Subclass members.

      2529. Because of the concealment and/or suppression of the facts, New

Hampshire Plaintiffs and the New Hampshire Subclass have been injured and

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, New Hampshire Plaintiffs and Class members would not have

purchased or leased the Coastdown Cheating Vehicles or would have paid less.



                                       - 619 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2674   Page 646 of 990




      2530. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to New Hampshire Plaintiffs and the New Hampshire Subclass for damages

in an amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      2531. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of New Hampshire

Plaintiffs’ and the New Hampshire Subclass’s rights and the representations that

Ford made to them in order to enrich Ford. Ford’s conduct warrants an assessment

of punitive damages in an amount sufficient to deter such conduct in the future,

which amount is to be determined according to proof.

                                   COUNT 177

                     NEGLIGENT MISREPRESENTATION
                     (BASED ON NEW HAMPSHIRE LAW)

      2532. New Hampshire Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2533. This claim is brought by the New Hampshire Plaintiffs on behalf of the

New Hampshire Subclass.

      2534. Defendant made fuel economy representations to New Hampshire

Plaintiffs and members of the Class that were not true.




                                      - 620 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2675    Page 647 of 990




      2535. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that New

Hampshire Plaintiffs and New Hampshire Subclass members rely on these

misrepresentations.

      2536. New Hampshire Plaintiffs reasonably relied on Defendant’s

representations and as a result New Hampshire Plaintiffs and New Hampshire

Subclass members were harmed.

                                    COUNT 178

                           UNJUST ENRICHMENT
                      (BASED ON NEW HAMPSHIRE LAW)

      2537. New Hampshire Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2538. This claim is brought by the New Hampshire Plaintiffs on behalf of the

New Hampshire Subclass.

      2539. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to New Hampshire Plaintiffs and the New Hampshire Subclass.

      2540. Defendant enjoyed the benefit of increased financial gains, to the

detriment of New Hampshire Plaintiffs and other New Hampshire Subclass

members. It would be inequitable and unjust for Ford to retain these wrongfully

obtained profits.


                                      - 621 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2676    Page 648 of 990




      2541. New Hampshire Plaintiffs, therefore, seek any and all available

equitable relief, including but not limited to disgorgement and/or restitution to them

and other members of the New Hampshire Subclass.

      Claims Brought on Behalf of the New Jersey Subclass

                                    COUNT 179

       VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                 (N.J. STAT. ANN. § 56:8-1 ET SEQ.)

      2542. Plaintiffs Dean Kriner, Keith Fencl, and Tracey Travis (“New Jersey

Plaintiffs”) hereby incorporate by reference the allegations contained in the

preceding paragraphs of this complaint.

      2543. This claim is brought by New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

      2544. The New Jersey Consumer Fraud Act (New Jersey CFA) makes

unlawful “[t]he act, use or employment by any person of any unconscionable

commercial     practice,   deception,   fraud,    false    pretense,    false   promise,

misrepresentation, or the knowing concealment, suppression or omission of any

material fact with the intent that others rely upon such concealment, suppression or

omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or

not any person has in fact been misled, deceived or damaged thereby.” N.J. STAT.

ANN. § 56:8-2.


                                        - 622 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2677    Page 649 of 990




      2545. Ford, Plaintiffs, and New Jersey Class members are “persons” within

the meaning of N.J. STAT. ANN. § 56:8-1(d).

      2546. Ford engaged in “sales” of “merchandise” within the meaning of N.J.

STAT. ANN. § 56:8-1(c), (e). Ford’s actions as set forth herein occurred in the conduct

of trade or commerce.

      2547. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2548. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including New Jersey Plaintiffs and the New Jersey

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




                                        - 623 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2678     Page 650 of 990




      2549. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead New Jersey

Plaintiffs and the New Jersey Subclass.

      2550. Ford knew or should have known that its conduct violated the New

Jersey CFA.

      2551. Ford owed New Jersey Plaintiffs and the New Jersey Subclass members

a duty to disclose the performance, fuel mileage, and true environmental impact of

the Coastdown Cheating Vehicles, because Ford:

              a.   Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

              b.   Intentionally concealed the foregoing from New
                   Jersey Plaintiffs and the New Jersey Subclass;
                   and/or

              c.   Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from New Jersey Plaintiffs and the
                   New Jersey Subclass that contradicted these
                   representations.

      2552. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to New Jersey Plaintiffs and the

New Jersey Subclass.

      2553. New Jersey Plaintiffs and the New Jersey Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

                                       - 624 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2679    Page 651 of 990




failure to disclose material information. New Jersey Plaintiffs and the New Jersey

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the New Jersey CFA.

      2554. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the New Jersey CFA. As a direct and proximate result

of Ford’s violations of the New Jersey CFA, New Jersey Plaintiffs and the New

Jersey Subclass have suffered injury-in-fact and/or actual damage.

      2555. Ford’s violations present a continuing risk to New Jersey Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2556. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2557. New Jersey Plaintiffs are entitled to recover legal and/or equitable

relief, including an order enjoining Ford’s unlawful conduct, treble damages, costs,

and reasonable attorneys’ fees pursuant to N.J. STAT. ANN. § 56:8-19, and any other

just and appropriate relief.



                                       - 625 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2680    Page 652 of 990




       2558. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

       2559. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of New Jersey in

accordance with N.J.S.A. § 56:8-20.

                                   COUNT 180

                             BREACH OF CONTRACT
                          (BASED ON NEW JERSEY LAW)

       2560. New Jersey Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       2561. This claim is brought by New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

       2562. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused New Jersey Plaintiffs and the New Jersey

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, New Jersey Plaintiffs and the New

Jersey Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive


                                       - 626 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2681    Page 653 of 990




alternative vehicles that did not contain the reduced mileage. Accordingly, New

Jersey Plaintiffs and the New Jersey Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

       2563. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to New Jersey Plaintiffs and the New Jersey Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       2564. As a direct and proximate result of Ford’s breach of contract, New

Jersey Plaintiffs and the Class have been damaged in an amount to be proven at trial,

which shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                    COUNT 181

                          BREACH OF EXPRESS WARRANTY
                              (N.J. STAT. § 12A:2-313)

       2565. New Jersey Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.




                                       - 627 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2682     Page 654 of 990




      2566. This claim is brought by New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

      2567. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to N.J. Stat. § 12A:2-104.

      2568. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2569. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2570. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2571. These affirmations and promises were part of the basis of the bargain

that was reached when New Jersey Plaintiffs and the other New Jersey Subclass

members purchased or leased the Coastdown Cheating Vehicles.



                                      - 628 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2683    Page 655 of 990




      2572. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2573. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2574. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make New Jersey Plaintiffs and the New Jersey Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2575. Accordingly, recovery by the New Jersey Plaintiffs and the New Jersey

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and New Jersey Plaintiffs, individually and on behalf of the

other New Jersey Subclass members, seek all remedies as allowed by law.

      2576. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently



                                       - 629 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2684    Page 656 of 990




concealed material facts regarding the Coastdown Cheating Vehicles. New Jersey

Plaintiffs and the New Jersey Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2577. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2578. As a direct and proximate result of Ford’s breach of express warranties,

New Jersey Plaintiffs and the New Jersey Subclass have been damaged in an amount

to be determined at trial.

                                    COUNT 182

                         FRAUDULENT CONCEALMENT
                         (BASED ON NEW JERSEY LAW)

      2579. New Jersey Plaintiffs incorporate by reference all preceding allegations

as though fully set forth herein.

      2580. New Jersey Plaintiffs bring this claim on behalf of the New Jersey

Subclass.

      2581. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because New Jersey Plaintiffs and the


                                        - 630 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2685    Page 657 of 990




New Jersey Subclass members relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      2582. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2583. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2584. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; New Jersey Plaintiffs and the New Jersey

Subclass members did not know of these facts and Ford actively concealed these

facts from New Jersey Plaintiffs and the New Jersey Subclass members.

      2585. New Jersey Plaintiffs and the New Jersey Subclass members

reasonably relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, New Jersey Plaintiffs



                                        - 631 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2686    Page 658 of 990




and the New Jersey Subclass did not, and could not, unravel Ford’s deception on

their own. Rather, Ford intended to deceive New Jersey Plaintiffs and the New Jersey

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      2586. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that New Jersey Plaintiffs and the New Jersey

Subclass members placed in its representations.

      2587. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including New Jersey Plaintiffs and the New Jersey

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      2588. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were



                                        - 632 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2687     Page 659 of 990




known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by New Jersey Plaintiffs or the New Jersey Subclass members. Ford

also had a duty to disclose because it made general affirmative representations about

the qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to New Jersey Plaintiffs and the New Jersey Subclass members, Ford

had the duty to disclose not just the partial truth, but the entire truth. These omitted

and concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by New Jersey Plaintiffs and the

New Jersey Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to New Jersey Plaintiffs and the New Jersey Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2589. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the



                                        - 633 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2688    Page 660 of 990




brand’s image and cost Ford money, and it did so at the expense of New Jersey

Plaintiffs and the New Jersey Subclass members.

      2590. Ford has still not made full and adequate disclosures and continues to

defraud New Jersey Plaintiffs and the New Jersey Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      2591. New Jersey Plaintiffs and the New Jersey Subclass members were

unaware of the omitted material facts referenced herein, and they would not have

acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. New Jersey Plaintiffs’ and the New Jersey Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such

facts were not generally known to the public, New Jersey Plaintiffs, or the New

Jersey Subclass members.

      2592. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to New Jersey Plaintiffs and the New Jersey Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.



                                       - 634 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2689      Page 661 of 990




      2593. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of New Jersey

Plaintiffs’ and the New Jersey Subclass members’ rights and the representations that

Ford made to them were made in order to enrich Ford. Ford’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the

future, which amount is to be determined according to proof.

                                     COUNT 183

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON NEW JERSEY LAW)

      2594. New Jersey Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2595. This claim is brought by the New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

      2596. Defendant made fuel economy representations to New Jersey Plaintiffs

and members of the Class that were not true.

      2597. Defendant    had    no    reasonable   grounds     for   believing   these

representations were true when they made them, yet they intended that New Jersey

Plaintiffs and New Jersey Subclass members rely on these misrepresentations.

      2598. New Jersey Plaintiffs reasonably relied on Defendant’s representations

and as a result New Jersey Plaintiffs and New Jersey Subclass members were

harmed.


                                       - 635 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2690    Page 662 of 990




                                    COUNT 184

                          UNJUST ENRICHMENT
                       (BASED ON NEW JERSEY LAW)

      2599. New Jersey Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2600. This claim is brought by the New Jersey Plaintiffs on behalf of the New

Jersey Subclass.

      2601. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to New Jersey Plaintiffs and the New Jersey Subclass.

      2602. Defendant enjoyed the benefit of increased financial gains, to the

detriment of New Jersey Plaintiffs and other New Jersey Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2603. New Jersey Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the New Jersey Subclass.




                                       - 636 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2691     Page 663 of 990




      Claims brought on behalf of the New Mexico Subclass

                                     COUNT 185

                       VIOLATION OF THE NEW MEXICO
                        UNFAIR TRADE PRACTICES ACT
                        (N.M. STAT. ANN. § 57-12-1 et seq.)

      2604. New Mexico Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      2605. This claim is brought by New Mexico Plaintiffs on behalf of the New

Mexico Subclass.

      2606. Ford, New Mexico Plaintiffs, and the New Mexico Subclass members

are “person[s]” under N.M. STAT. ANN. § 57-12-2.

      2607. Ford’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.M. STAT. ANN. § 57-12-2.

      2608. The New Mexico Unfair Trade Practices Act (New Mexico UTPA)

makes unlawful “a false or misleading oral or written statement, visual description

or other representation of any kind knowingly made in connection with the sale,

lease, rental or loan of goods or services . . . by a person in the regular course of the

person’s trade or commerce, that may, tends to or does deceive or mislead any

person,” including but not limited to “failing to state a material fact if doing so

deceives or tends to deceive.” N.M. STAT. ANN. § 57-12-2(D).




                                        - 637 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2692     Page 664 of 990




      2609. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      2610. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      2611. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including New Mexico Plaintiffs and the New

Mexico Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      2612. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead New Mexico

Plaintiffs and the New Mexico Subclass.

      2613. Ford knew or should have known that its conduct violated the New

Mexico UTPA.



                                      - 638 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2693     Page 665 of 990




      2614. Ford owed New Mexico Plaintiffs and the New Mexico Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from New
                   Mexico Plaintiffs and the New Mexico Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from New Mexico Plaintiffs and the
                   New Mexico Subclass that contradicted these
                   representations.

      2615. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to New Mexico Plaintiffs and the

New Mexico Subclass.

      2616. New Mexico Plaintiffs and the New Mexico Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. New Mexico Plaintiffs and the New Mexico

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the New Mexico UTPA.




                                       - 639 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2694    Page 666 of 990




      2617. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the New Mexico UTPA.

      2618. As a direct and proximate result of Ford’s violations of the New Mexico

UTPA, New Mexico Plaintiffs and the New Mexico Subclass have suffered injury-

in-fact and/or actual damage.

      2619. Ford’s violations present a continuing risk to New Mexico Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2620. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2621. Because Ford’s unconscionable, willful conduct caused actual harm to

New Mexico Plaintiffs, New Mexico Plaintiffs seek recovery of actual damages or

$100, whichever is greater; discretionary treble damages; punitive damages; and

reasonable attorneys’ fees and costs, as well as all other proper and just relief

available under N.M. STAT. ANN. § 57-12-10.

      2622. New Hampshire Plaintiffs seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct.



                                       - 640 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2695     Page 667 of 990




                                   COUNT 186

                            BREACH OF CONTRACT
                         (BASED ON NEW MEXICO LAW)

      2623. New Mexico Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2624. This claim is brought by New Mexico Plaintiffs on behalf of the New

Mexico Subclass.

      2625. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused New Mexico Plaintiffs and the New Mexico

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, New Mexico Plaintiffs and the New

Mexico Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly, New

Mexico Plaintiffs and the New Mexico Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      2626. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to New Mexico Plaintiffs and the New Mexico


                                       - 641 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2696    Page 668 of 990




Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      2627. As a direct and proximate result of Ford’s breach of contract, New

Mexico Plaintiffs and the Class have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 187

                       BREACH OF EXPRESS WARRANTY
                          (N.M. STAT. ANN. § 55-2-313)

      2628. New Mexico Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2629. This claim is brought by New Mexico Plaintiffs on behalf of the New

Mexico Subclass.

      2630. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to N.M. Stat. Ann. § 55-2-104.

      2631. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                        - 642 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2697     Page 669 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2632. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2633. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2634. These affirmations and promises were part of the basis of the bargain

that was reached when New Mexico Plaintiffs and the other New Mexico Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      2635. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 643 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2698    Page 670 of 990




      2636. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2637. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make New Mexico Plaintiffs and the New Mexico Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2638. Accordingly, recovery by the New Mexico Plaintiffs and the New

Mexico Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and New Mexico Plaintiffs, individually and on behalf of the

other New Mexico Subclass members, seek all remedies as allowed by law.

      2639. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. New Mexico

Plaintiffs and the New Mexico Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2640. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 644 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2699    Page 671 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2641. As a direct and proximate result of Ford’s breach of express warranties,

New Mexico Plaintiffs and the New Mexico Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 188

                         FRAUDULENT CONCEALMENT
                         (BASED ON NEW MEXICO LAW)

      2642. New Mexico Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2643. This claim is brought by New Mexico Plaintiffs on behalf of the New

Mexico Subclass.

      2644. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied New Mexico Plaintiffs and the New Mexico Subclass

information that is highly relevant and material to their purchasing decision.

      2645. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 645 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2700    Page 672 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2646. Ford further affirmatively misrepresented to New Mexico Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2647. Ford knew these representations were false when made.

      2648. The Coastdown Cheating Vehicles purchased or leased by New Mexico

Plaintiffs and the New Mexico Subclass were, in fact, defective, with reduced fuel

efficiency.

      2649. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because New Mexico Plaintiffs and

the New Mexico Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      2650. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 646 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2701    Page 673 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2651. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; New Mexico Plaintiffs and the New Mexico

Subclass did not know of these facts and Ford actively concealed these facts from

New Mexico Plaintiffs and the New Mexico Subclass.

      2652. New Mexico Plaintiffs and the New Mexico Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, New Mexico Plaintiffs and the New

Mexico Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive New Mexico Plaintiffs and the New Mexico

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      2653. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that New Mexico Plaintiffs and the New Mexico

Subclass placed in its representations.




                                          - 647 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2702   Page 674 of 990




      2654. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including New Mexico Plaintiffs and the New

Mexico Subclass members, highly valued that the vehicles they were purchasing or

leasing were fuel efficient, and they paid accordingly.

      2655. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by New Mexico Plaintiffs and the New Mexico Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to New Mexico Plaintiffs and the New Mexico Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the



                                        - 648 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2703    Page 675 of 990




value of the Coastdown Cheating Vehicles purchased or leased by New Mexico

Plaintiffs and the New Mexico Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to New Mexico Plaintiffs and the

New Mexico Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      2656. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of New Mexico

Plaintiffs and the New Mexico Subclass.

      2657. Ford has still not made full and adequate disclosures and continues to

defraud New Mexico Plaintiffs and the New Mexico Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      2658. New Mexico Plaintiffs and the New Mexico Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or



                                       - 649 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2704    Page 676 of 990




would have taken other affirmative steps in light of the information concealed from

them. New Mexico Plaintiffs’ and the New Mexico Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, New Mexico Plaintiffs, or New Mexico Subclass

members.

      2659. Because of the concealment and/or suppression of the facts, New

Mexico Plaintiffs and the New Mexico Subclass have been injured and sustained

damage because they overpaid for their vehicles and own vehicles that diminished

in value as a result of Ford’s concealment, and suffered and continue to suffer

increased fuel costs over what was represented by Ford. Had they been aware of the

true facts, New Mexico Plaintiffs and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      2660. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to New Mexico Plaintiffs and the New Mexico Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      2661. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of New Mexico

Plaintiffs’ and the New Mexico Subclass’s rights and the representations that Ford



                                        - 650 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2705        Page 677 of 990




made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                     COUNT 189

                    NEGLIGENT MISREPRESENTATION
                     (BASED ON NEW MEXICO LAW)

      2662. New Mexico Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2663. This claim is brought by the New Mexico Plaintiffs on behalf of the

New Mexico Subclass.

      2664. Defendant made fuel economy representations to New Mexico

Plaintiffs and members of the Class that were not true.

      2665. Defendant     had   no    reasonable   grounds    for   believing    these

representations were true when they made them, yet they intended that New Mexico

Plaintiffs and New Mexico Subclass members rely on these misrepresentations.

      2666. New     Mexico      Plaintiffs   reasonably   relied    on     Defendant’s

representations and as a result New Mexico Plaintiffs and New Mexico Subclass

members were harmed.

                                     COUNT 190

                          UNJUST ENRICHMENT
                      (BASED ON NEW MEXICO LAW)



                                       - 651 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2706    Page 678 of 990




      2667. New Mexico Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2668. This claim is brought by the New Mexico Plaintiffs on behalf of the

New Mexico Subclass.

      2669. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to New Mexico Plaintiffs and the New Mexico Subclass.

      2670. Defendant enjoyed the benefit of increased financial gains, to the

detriment of New Mexico Plaintiffs and other New Mexico Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2671. New Mexico Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the New Mexico Subclass.

      Claims Brought on Behalf of the New York Subclass

                                    COUNT 191

       VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                    (N.Y. GEN. BUS. LAW § 349)

      2672. Plaintiff Cody Smith (“New York Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      2673. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.


                                       - 652 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2707     Page 679 of 990




      2674. The New York General Business Law (New York GBL) makes

unlawful “[d]eceptive acts or practices in the conduct of any business, trade or

commerce.” N.Y. GEN. BUS. LAW § 349.

      2675. New York Plaintiff and the New York Subclass members are “persons”

within the meaning of N.Y. GEN. BUS. LAW § 349(h).

      2676. Ford is a “person,” “firm,” “corporation,” or “association” within the

meaning of N.Y. GEN. BUS. LAW § 349.

      2677. In the course of Ford’s business, Ford willfully failed to disclose that

the Coastdown Cheating Vehicles do not have the advertised fuel economy and that

fuel economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford’s deceptive acts

and practices, which were intended to mislead consumers who purchased or leased

a Coastdown Cheating Vehicle, was conduct directed at consumers. Accordingly,

Ford engaged in unfair methods of competition, unconscionable acts or practices,

and unfair or deceptive acts or practices as defined in N.Y. Gen. Bus. Law § 349,

including engaging in conduct likely to deceive.

      2678. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      2679. Because Ford’s deception takes place in the context of public health, its

deception affects the public interest. Further, Ford’s unlawful conduct constitutes



                                      - 653 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2708    Page 680 of 990




unfair acts or practices that have the capacity to deceive consumers, and that have a

broad impact on consumers at large.

      2680. Ford’s conduct proximately caused injuries to New York Plaintiff and

the New York Subclass.

      2681. Because Ford’s willful and knowing conduct caused injury to Plaintiffs,

Plaintiffs seek recovery of actual damages or $50, whichever is greater; discretionary

treble damages up to $1,000; punitive damages; reasonable attorneys’ fees and costs;

an order enjoining Ford’s deceptive conduct; and any other just and proper relief

available under N.Y. GEN. BUS. LAW § 349.

      2682. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                    COUNT 192

       VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                    (N.Y. GEN. BUS. LAW § 350)

      2683. New York Plaintiff hereby incorporates by reference the allegations

contained in the preceding paragraphs of this complaint.

      2684. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

      2685. The New York’s General Business Law § 350 makes unlawful “[f]alse

advertising in the conduct of any business, trade or commerce[.]” False advertising

includes “advertising, including labeling, of a commodity … if such advertising is


                                       - 654 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2709     Page 681 of 990




misleading in a material respect,” taking into account “the extent to which the

advertising fails to reveal facts material in the light of … representations [made] with

respect to the commodity….” N.Y. Gen. Bus. Law § 350-a.

      2686. Ford caused to be made or disseminated through New York, through

advertising, marketing, and other publications, statements that were untrue or

misleading, and which were known, or which by the exercise of reasonable care

should have been known to Ford, to be untrue and misleading to consumers,

including New York Plaintiff and New York Subclass members.

      2687. Ford has violated N.Y. Gen. Bus. Law § 350 because the omissions

regarding the fuel economy certifications in Coastdown Cheating Vehicles as

described above, were material and likely to deceive a reasonable consumer.

      2688. New York Plaintiff and New York Subclass members have suffered

injury, including the loss of money or property, as a result of Ford’s false advertising.

In purchasing or leasing their Coastdown Cheating Vehicles, New York Plaintiff and

New York Subclass members relied on the representations and/or omissions of Ford

with respect to the fuel economy certifications of the Coastdown Cheating Vehicles.

Ford’s representations turned out to be untrue because the Coastdown Cheating

Vehicles’ fuel economy certifications are untrue. Had New York Plaintiff and the

New York Subclass members known this, they would not have purchased or leased

their Coastdown Cheating Vehicles and/or paid as much for them.



                                        - 655 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2710    Page 682 of 990




         2689. Accordingly, New York Plaintiff and the New York Subclass overpaid

for their Coastdown Cheating Vehicles and did not receive the benefit of the bargain

for their Coastdown Cheating Vehicles, which have also suffered diminution in

value.

         2690. Because Ford fraudulently concealed that the fuel economy

certifications are untrue, resulting in a raft of negative publicity once the true fuel

economy finally began to be disclosed, the value of the Coastdown Cheating

Vehicles has greatly diminished. In light of the stigma attached to those vehicles by

Ford’s conduct, they are now worth less than they otherwise would be.

         2691. New York Plaintiff, individually and on behalf of New York Subclass

members, request that this Court enter such orders or judgments as may be necessary

to enjoin Ford from continuing its unfair, unlawful and/or deceptive practices. New

York Plaintiff and the New York Subclass members are also entitled to recover their

actual damages or $500, whichever is greater. Because Ford acted willfully or

knowingly, New York Plaintiff and the New York Subclass members are entitled to

recover three times actual damages, up to $10,000.

                                    COUNT 193

                             BREACH OF CONTRACT
                           (BASED ON NEW YORK LAW)

         2692. New York Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.


                                        - 656 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2711    Page 683 of 990




      2693. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

      2694. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused New York Plaintiff and the New York Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, New York Plaintiff and the New York Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, New York Plaintiff and the New York

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      2695. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to New York Plaintiff and the New York Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer




                                      - 657 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2712     Page 684 of 990




would expect given the premium paid for these vehicles and the representation made

by Ford.

       2696. As a direct and proximate result of Ford’s breach of contract, New York

Plaintiff and the New York Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 194

                          BREACH OF EXPRESS WARRANTY
                                (N.Y.U.C.C. § 2-313)

       2697. New York Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2698. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

       2699. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to N.Y.U.C.C. § 2-104.

       2700. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the




                                       - 658 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2713     Page 685 of 990




shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2701. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2702. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2703. These affirmations and promises were part of the basis of the bargain

that was reached when New York Plaintiff and the other New York Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      2704. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2705. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.




                                      - 659 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2714    Page 686 of 990




      2706. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make New York Plaintiff and the New York Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2707. Accordingly, recovery by the New York Plaintiff and the New York

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and New York Plaintiff, individually and on behalf of the

other New York Subclass members, seek all remedies as allowed by law.

      2708. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. New York

Plaintiff and the New York Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2709. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.




                                       - 660 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2715    Page 687 of 990




       2710. As a direct and proximate result of Ford’s breach of express warranties,

New York Plaintiff and the New York Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 195

                          FRAUDULENT CONCEALMENT
                           (BASED ON NEW YORK LAW)

       2711. New York Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2712. This claim is brought by New York Plaintiff on behalf of the New York

Subclass.

       2713. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied New York Plaintiff and the New York Subclass information

that is highly relevant to their purchasing decision.

       2714. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.


                                        - 661 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2716    Page 688 of 990




      2715. Ford further affirmatively misrepresented to New York Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2716. Ford knew these representations were false when made.

      2717. The Coastdown Cheating Vehicles purchased or leased by New York

Plaintiff and the New York Subclass were, in fact, defective, with reduced fuel

efficiency.

      2718. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because New York Plaintiff and the

New York Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      2719. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.



                                        - 662 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2717    Page 689 of 990




      2720. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; New York Plaintiffs and the New York

Subclass did not know of these facts and Ford actively concealed these facts from

New York Plaintiff and the New York Subclass.

      2721. New York Plaintiff and the New York Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, New York Plaintiff and the New York

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive New York Plaintiff and the New York Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2722. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that New York Plaintiff and the New York Subclass

placed in its representations.

      2723. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including New York Plaintiff and the New York Subclass



                                      - 663 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2718     Page 690 of 990




members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      2724. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by New York Plaintiff and the New York Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to New York Plaintiff and the New York Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by New York Plaintiff and the

New York Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to New York Plaintiff and the New York Subclass



                                        - 664 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2719    Page 691 of 990




members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      2725. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of New York

Plaintiff and the New York Subclass.

      2726. Ford has still not made full and adequate disclosures and continues to

defraud New York Plaintiff and the New York Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2727. New York Plaintiff and the New York Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. New York Plaintiff’s and the New York Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, New York Plaintiff, or, New York Subclass members.




                                        - 665 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2720    Page 692 of 990




      2728. Because of the concealment and/or suppression of the facts, New York

Plaintiff and the New York Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, New York Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2729. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to New York Plaintiff and the New York Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2730. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of New York Plaintiff’s

and the New York Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 196

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON NEW YORK LAW)




                                        - 666 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2721     Page 693 of 990




      2731. New York Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2732. This claim is brought by the New York Plaintiff on behalf of the New

York Subclass.

      2733. Defendant made fuel economy representations to New York Plaintiff

and members of the Class that were not true.

      2734. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that New York

Plaintiff and New York Subclass members rely on these misrepresentations.

      2735. New York Plaintiff reasonably relied on Defendant’s representations

and as a result New York Plaintiff and New York Subclass members were harmed.

                                    COUNT 197

                           UNJUST ENRICHMENT
                        (BASED ON NEW YORK LAW)

      2736. New York Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2737. This claim is brought by the New York Plaintiff on behalf of the New

York Subclass.

      2738. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to New York Plaintiff and the New York Subclass.


                                      - 667 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2722     Page 694 of 990




      2739. Defendant enjoyed the benefit of increased financial gains, to the

detriment of New York Plaintiff and other New York Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2740. New York Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the New York Subclass.

      Claims Brought on Behalf of the North Carolina Subclass

                                    COUNT 198

              VIOLATION OF THE NORTH CAROLINA UNFAIR
               AND DECEPTIVE ACTS AND PRACTICES ACT
                     (N.C. GEN. STAT. § 75-1.1 et seq.)

      2741. North Carolina Plaintiff hereby incorporates by reference the

allegations contained in the preceding paragraphs of this complaint.

      2742. This claim is brought by North Carolina Plaintiff on behalf of North

Carolina Subclass.

      2743. North Carolina’s Unfair and Deceptive Acts and Practices Act (the

North Carolina Act) broadly prohibits a person from engaging in “[u]nfair methods

of competition in or affecting commerce, and unfair or deceptive acts or practices in

or affecting commerce[.]” N.C. GEN. STAT. § 75-1.1(a). The North Carolina Act

provides a private right of action for any person injured “by reason of any act or




                                       - 668 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2723     Page 695 of 990




thing done by any other person, firm or corporation in violation of” the North

Carolina Act. N.C. GEN. STAT. § 75-16.

      2744. Ford’s acts and practices complained of herein were performed in the

course of Ford’s trade or business and thus occurred in or affected “commerce”

within the meaning of N.C. GEN. STAT. § 75-1.1(b).

      2745. Ford engaged in deceptive trade practices that violated the North

Carolina ACT when Ford knowingly failed to disclose that the Coastdown Cheating

Vehicles did not have the advertised and certified fuel economy and that the fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      2746. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      2747. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.



                                      - 669 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2724     Page 696 of 990




      2748. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including North Carolina Plaintiff and the North

Carolina Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      2749. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead North Carolina

Plaintiff and the North Carolina Subclass.

      2750. Ford knew or should have known that its conduct violated the North

Carolina ACT.

      2751. Ford owed North Carolina Plaintiff and the North Carolina Subclass

members a duty to disclose the performance, fuel mileage, and true environmental

impact of the Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from North
                   Carolina Plaintiff and the North Carolina Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding


                                       - 670 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2725    Page 697 of 990




                    material facts from North Carolina Plaintiff and the
                    North Carolina Subclass that contradicted these
                    representations.

      2752. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to North Carolina Plaintiff and

the North Carolina Subclass.

      2753. North Carolina Plaintiff and the North Carolina Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. North Carolina Plaintiff and the North

Carolina Subclass members who purchased the Coastdown Cheating Vehicles either

would have paid less for their vehicles or would not have purchased or leased them

at all but for Ford’s violations of the North Carolina ACT.

      2754. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the North Carolina ACT. As a direct and proximate

result of Ford’s violations of the North Carolina ACT, North Carolina Plaintiff and

the North Carolina Subclass have suffered injury-in-fact and/or actual damage.

      2755. Ford’s violations present a continuing risk to North Carolina Plaintiff

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      2756. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the



                                       - 671 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2726     Page 698 of 990




defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2757. Ford acted with willful and conscious disregard of the rights and safety

of others, subjecting North Carolina Plaintiff and the North Carolina Subclass to

cruel and unjust hardship as a result, such than an award of punitive damages is

appropriate.

      2758. North Carolina Plaintiff, individually and on behalf of the North

Carolina Subclass, seeks an order for treble his actual damages, an order enjoining

Ford’s unlawful acts, punitive damages costs of Court, attorney’s fees, and any other

just and proper relief available under the North Carolina Act, N.C. GEN. STAT. § 75-

16.

                                   COUNT 199

                          BREACH OF CONTRACT
                     (BASED ON NORTH CAROLINA LAW)

      2759. North Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      2760. This claim is brought by North Carolina Plaintiff on behalf of the North

Carolina Subclass.

      2761. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy


                                       - 672 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2727    Page 699 of 990




than advertised and certified, caused North Carolina Plaintiff and the North Carolina

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, North Carolina Plaintiff and the

North Carolina Subclass would not have purchased or leased the Coastdown

Cheating Vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the reduced mileage. Accordingly,

North Carolina Plaintiff and the North Carolina Subclass overpaid for the

Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

      2762. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to North Carolina Plaintiff and the North Carolina

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      2763. As a direct and proximate result of Ford’s breach of contract, North

Carolina Plaintiff and the North Carolina Subclass have been damaged in an amount




                                       - 673 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2728     Page 700 of 990




to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

                                   COUNT 200

                       BREACH OF EXPRESS WARRANTY
                          (N.C. GEN. STAT. § 25-2-313)

      2764. North Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      2765. This claim is brought by North Carolina Plaintiff on behalf of the North

Carolina Subclass.

      2766. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to N.C. Gen. Stat. § 25-2-104.

      2767. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2768. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles




                                      - 674 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2729    Page 701 of 990




achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2769. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2770. These affirmations and promises were part of the basis of the bargain

that was reached when North Carolina Plaintiff and the other North Carolina

Subclass members purchased or leased the Coastdown Cheating Vehicles.

      2771. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2772. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2773. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make North Carolina Plaintiff and the North Carolina Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.



                                       - 675 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2730    Page 702 of 990




      2774. Accordingly, recovery by the North Carolina Plaintiff and the North

Carolina Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and North Carolina Plaintiff, individually and on behalf of the

other North Carolina Subclass members, seek all remedies as allowed by law.

      2775. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. North

Carolina Plaintiff and the North Carolina Subclass were therefore induced to

purchase or lease the Coastdown Cheating Vehicles under false and/or fraudulent

pretenses.

      2776. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2777. As a direct and proximate result of Ford’s breach of express warranties,

North Carolina Plaintiff and the North Carolina Subclass have been damaged in an

amount to be determined at trial.




                                       - 676 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2731    Page 703 of 990




                                    COUNT 201

                        FRAUDULENT CONCEALMENT
                     (BASED ON NORTH CAROLINA LAW)

      2778. North Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      2779. This claim is brought by North Carolina Plaintiff on behalf of the North

Carolina Subclass.

      2780. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied North Carolina Plaintiff and the North Carolina Subclass

information that is highly relevant to their purchasing decision.

      2781. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2782. Ford further affirmatively misrepresented to North Carolina Plaintiff in

advertising and other forms of communication, including standard and uniform




                                        - 677 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2732    Page 704 of 990




material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2783. Ford knew these representations were false when made.

      2784. The Coastdown Cheating Vehicles purchased or leased by North

Carolina Plaintiff and the North Carolina Subclass were, in fact, defective, with

reduced fuel efficiency.

      2785. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because North Carolina Plaintiff and

the North Carolina Subclass relied on Ford’s material representations or omissions

of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      2786. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2787. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; North Carolina Plaintiffs and the North



                                        - 678 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2733     Page 705 of 990




Carolina Subclass did not know of these facts and Ford actively concealed these

facts from North Carolina Plaintiff and the North Carolina Subclass.

      2788. North Carolina Plaintiff and the North Carolina Subclass reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, North Carolina

Plaintiff and the North Carolina Subclass did not, and could not, unravel Ford’s

deception on their own. Rather, Ford intended to deceive North Carolina Plaintiff

and the North Carolina Subclass by concealing the true facts about the Coastdown

Cheating Vehicles’ lack of fuel efficiency.

      2789. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that North Carolina Plaintiff and the North Carolina

Subclass placed in its representations.

      2790. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including North Carolina Plaintiff and the North Carolina




                                          - 679 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2734     Page 706 of 990




Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      2791. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by North Carolina Plaintiff and the North Carolina Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to North Carolina Plaintiff and the North Carolina Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by North Carolina

Plaintiff and the North Carolina Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to North Carolina Plaintiff and



                                        - 680 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2735    Page 707 of 990




the North Carolina Subclass members that they were purchasing or leasing fuel

efficient vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      2792. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of North Carolina

Plaintiff and the North Carolina Subclass.

      2793. Ford has still not made full and adequate disclosures and continues to

defraud North Carolina Plaintiff and the North Carolina Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      2794. North Carolina Plaintiff and the North Carolina Subclass were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. North Carolina Plaintiff’s and the North Carolina Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such




                                       - 681 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2736    Page 708 of 990




facts were not generally known to the public, North Carolina Plaintiff, or, North

Carolina Subclass members.

      2795. Because of the concealment and/or suppression of the facts, North

Carolina Plaintiff and the North Carolina Subclass have sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, North Carolina

Plaintiff and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less. Because of the concealment and/or

suppression of the facts, North Carolina Plaintiff and the North Carolina Subclass

sustained damage because they overpaid for their vehicles and own vehicles that

diminished in value as a result of Ford’s concealment, and suffered and continue to

suffer increased fuel costs over what was represented by Ford. Had they been aware

of the true facts, North Carolina Plaintiff and the North Carolina Subclass members

would not have purchased or leased the Coastdown Cheating Vehicles or would have

paid less.

      2796. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to North Carolina Plaintiff and the North Carolina Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all




                                       - 682 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2737   Page 709 of 990




compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      2797. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of North Carolina

Plaintiff’s and the North Carolina Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                      COUNT 202

                    NEGLIGENT MISREPRESENTATION
                   (BASED ON NORTH CAROLINA LAW)

      2798. North Carolina Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      2799. This claim is brought by the North Carolina Plaintiff on behalf of the

North Carolina Subclass.

      2800. Defendant made fuel economy representations to North Carolina

Plaintiff and members of the Class that were not true.

      2801. Defendant      had   no    reasonable   grounds    for   believing   these

representations were true when they made them, yet they intended that North

Carolina Plaintiff and North Carolina Subclass members rely on these

misrepresentations.


                                        - 683 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2738       Page 710 of 990




       2802. North    Carolina    Plaintiff   reasonably    relied   on     Defendant’s

representations and as a result North Carolina Plaintiff and North Carolina Subclass

members were harmed.

                                    COUNT 203

                           UNJUST ENRICHMENT
                     (BASED ON NORTH CAROLINA LAW)

       2803. North Carolina Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

       2804. This claim is brought by the North Carolina Plaintiff on behalf of the

North Carolina Subclass.

       2805. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to North Carolina Plaintiff and the North Carolina Subclass.

       2806. Defendant enjoyed the benefit of increased financial gains, to the

detriment of North Carolina Plaintiff and other North Carolina Subclass members.

It would be inequitable and unjust for Ford to retain these wrongfully obtained

profits.

       2807. North Carolina Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the North Carolina Subclass.




                                        - 684 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2739    Page 711 of 990




      Claims brought on behalf of the North Dakota Subclass

                                   COUNT 204

     VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                   (N.D. CENT. CODE § 51-15-02)

      2808. North Dakota Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      2809. This claim is brought by North Dakota Plaintiffs on behalf of the North

Dakota Subclass.

      2810. Ford, North Dakota Plaintiffs, and North Dakota Subclass members are

“persons” within the meaning of N.D. CENT. CODE § 51-15-02(4).

      2811. Ford engaged in the “sale” of “merchandise” within the meaning of

N.D. CENT. CODE § 51-15-02(3), (5).

      2812. The North Dakota Consumer Fraud Act (North Dakota CFA) makes

unlawful “[t]he act, use, or employment by any person of any deceptive act or

practice, fraud, false pretense, false promise, or misrepresentation, with the intent

that others rely thereon in connection with the sale or advertisement of any

merchandise.” N.D. CENT. CODE § 51-15-02.

      2813. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.


                                       - 685 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2740    Page 712 of 990




      2814. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      2815. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including North Dakota Plaintiffs and the North

Dakota Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      2816. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead North Dakota

Plaintiffs and the North Dakota Subclass.

      2817. Ford knew or should have known that its conduct violated the North

Dakota CFA.

      2818. Ford owed North Dakota Plaintiffs and the North Dakota Subclass a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:




                                      - 686 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2741     Page 713 of 990




            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from North
                   Dakota Plaintiffs and the North Dakota Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from North Dakota Plaintiffs and the
                   North Dakota Subclass that contradicted these
                   representations.

      2819. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to North Dakota Plaintiffs and

the North Dakota Subclass.

      2820. North Dakota Plaintiffs and the North Dakota Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. North Dakota Plaintiffs and the North

Dakota Subclass members who purchased the Coastdown Cheating Vehicles either

would have paid less for their vehicles or would not have purchased or leased them

at all but for Ford’s violations of the North Dakota CFA.

      2821. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the North Dakota CFA.




                                       - 687 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2742    Page 714 of 990




      2822. As a direct and proximate result of Ford’s violations of the North

Dakota CFA, North Dakota Plaintiffs and the North Dakota Subclass have suffered

injury-in-fact and/or actual damage.

      2823. Ford’s violations present a continuing risk to North Dakota Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2824. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      2825. Ford knowingly committed the conduct described above and therefore,

under N.D. CENT. CODE § 51-15-09, Ford is liable to Plaintiffs for treble damages in

amounts to be proven at trial, as well as attorneys’ fees, costs, and disbursements.

Plaintiffs further seek an order enjoining Ford’s unfair and/or deceptive acts or

practices, and other just and proper available relief under the North Dakota CFA.

      2826. North Dakota Plaintiffs seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct.




                                       - 688 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2743     Page 715 of 990




                                   COUNT 205

                           BREACH OF CONTRACT
                       (BASED ON NORTH DAKOTA LAW)

      2827. North Dakota Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2828. This claim is brought by North Dakota Plaintiffs on behalf of the North

Dakota Subclass.

      2829. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused North Dakota Plaintiffs and the North Dakota

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, North Dakota Plaintiffs and the

North Dakota Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly, North

Dakota Plaintiffs and the North Dakota Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      2830. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to North Dakota Plaintiffs and the North Dakota


                                       - 689 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2744    Page 716 of 990




Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      2831. As a direct and proximate result of Ford’s breach of contract, North

Dakota Plaintiffs and the Class have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 206

                       BREACH OF EXPRESS WARRANTY
                         (N.D. CENT. CODE § 41-02-30)

      2832. North Dakota Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2833. This claim is brought by North Dakota Plaintiffs on behalf of the North

Dakota Subclass.

      2834. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to N.D. Cent. Code § 41-02-04.

      2835. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                        - 690 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2745     Page 717 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2836. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2837. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2838. These affirmations and promises were part of the basis of the bargain

that was reached when North Dakota Plaintiffs and the other North Dakota Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      2839. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 691 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2746    Page 718 of 990




      2840. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2841. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make North Dakota Plaintiffs and the North Dakota Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2842. Accordingly, recovery by the North Dakota Plaintiffs and the North

Dakota Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and North Dakota Plaintiffs, individually and on behalf of the

other North Dakota Subclass members, seek all remedies as allowed by law.

      2843. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. North Dakota

Plaintiffs and the North Dakota Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      2844. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 692 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2747    Page 719 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2845. As a direct and proximate result of Ford’s breach of express warranties,

North Dakota Plaintiffs and the North Dakota Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 207

                         FRAUDULENT CONCEALMENT
                       (BASED ON NORTH DAKOTA LAW)

      2846. North Dakota Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      2847. This claim is brought by North Dakota Plaintiffs on behalf of the North

Dakota Subclass.

      2848. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied North Dakota Plaintiffs and the North Dakota Subclass

information that is highly relevant and material to their purchasing decision.

      2849. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 693 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2748    Page 720 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2850. Ford further affirmatively misrepresented to North Dakota Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2851. Ford knew these representations were false when made.

      2852. The Coastdown Cheating Vehicles purchased or leased by North

Dakota Plaintiffs and the North Dakota Subclass were, in fact, defective, with

reduced fuel efficiency.

      2853. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because North Dakota Plaintiffs and

the North Dakota Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      2854. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 694 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2749    Page 721 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2855. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; North Dakota Plaintiffs and the North Dakota

Subclass did not know of these facts and Ford actively concealed these facts from

North Dakota Plaintiffs and the North Dakota Subclass.

      2856. North Dakota Plaintiffs and the North Dakota Subclass reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, North Dakota Plaintiffs

and the North Dakota Subclass did not, and could not, unravel Ford’s deception on

their own. Rather, Ford intended to deceive North Dakota Plaintiffs and the North

Dakota Subclass by concealing the true facts about the Coastdown Cheating

Vehicles’ lack of fuel efficiency.

      2857. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that North Dakota Plaintiffs and the North Dakota

Subclass placed in its representations.




                                          - 695 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2750   Page 722 of 990




      2858. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including North Dakota Plaintiffs and the North

Dakota Subclass members, highly valued that the vehicles they were purchasing or

leasing were fuel efficient, and they paid accordingly.

      2859. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by North Dakota Plaintiffs and the North Dakota Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to North Dakota Plaintiffs and the North Dakota Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the



                                        - 696 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2751    Page 723 of 990




value of the Coastdown Cheating Vehicles purchased or leased by North Dakota

Plaintiffs and the North Dakota Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to North Dakota Plaintiffs and

the North Dakota Subclass members that they were purchasing or leasing fuel

efficient vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      2860. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of North Dakota

Plaintiffs and the North Dakota Subclass.

      2861. Ford has still not made full and adequate disclosures and continues to

defraud North Dakota Plaintiffs and the North Dakota Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      2862. North Dakota Plaintiffs and the North Dakota Subclass were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,



                                       - 697 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2752    Page 724 of 990




and/or would have taken other affirmative steps in light of the information concealed

from them. North Dakota Plaintiffs’ and the North Dakota Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such

facts were not generally known to the public, North Dakota Plaintiffs, or North

Dakota Subclass members.

      2863. Because of the concealment and/or suppression of the facts, North

Dakota Plaintiffs and the North Dakota Subclass have been injured and sustained

damage because they overpaid for their vehicles and own vehicles that diminished

in value as a result of Ford’s concealment, and suffered and continue to suffer

increased fuel costs over what was represented by Ford. Had they been aware of the

true facts, North Dakota Plaintiffs and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      2864. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to North Dakota Plaintiffs and the North Dakota Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      2865. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of North Dakota

Plaintiffs’ and the North Dakota Subclass’s rights and the representations that Ford



                                       - 698 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2753       Page 725 of 990




made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                     COUNT 208

                    NEGLIGENT MISREPRESENTATION
                    (BASED ON NORTH DAKOTA LAW)

      2866. North Dakota Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2867. This claim is brought by the North Dakota Plaintiffs on behalf of the

North Dakota Subclass.

      2868. Defendant made fuel economy representations to North Dakota

Plaintiffs and members of the Class that were not true.

      2869. Defendant     had   no    reasonable   grounds   for   believing    these

representations were true when they made them, yet they intended that North Dakota

Plaintiffs and North Dakota Subclass members rely on these misrepresentations.

      2870. North    Dakota     Plaintiffs   reasonably   relied   on     Defendant’s

representations and as a result North Dakota Plaintiffs and North Dakota Subclass

members were harmed.

                                     COUNT 209

                         UNJUST ENRICHMENT
                    (BASED ON NORTH DAKOTA LAW)



                                       - 699 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2754    Page 726 of 990




      2871. North Dakota Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      2872. This claim is brought by the North Dakota Plaintiffs on behalf of the

North Dakota Subclass.

      2873. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to North Dakota Plaintiffs and the North Dakota Subclass.

      2874. Defendant enjoyed the benefit of increased financial gains, to the

detriment of North Dakota Plaintiffs and other North Dakota Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2875. North Dakota Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the North Dakota Subclass.

      Claims Brought on Behalf of the Ohio Subclass

                                    COUNT 210

     VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
             (OHIO REV. CODE ANN. § 1345.01 ET SEQ.)

      2876. Plaintiff David Polley (“Ohio Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      2877. This claim is brought by Ohio Plaintiff on behalf of the Ohio Subclass.




                                       - 700 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2755    Page 727 of 990




      2878. Ohio Consumer Sales Practices Act (“Ohio CSPA”), OHIO REV. CODE

ANN. § 1345.02, broadly prohibits unfair or deceptive acts or practices in connection

with a consumer transaction. Specifically, and without limitation of the broad

prohibition, the Act prohibits (1) representing that Coastdown Cheating Vehicles

have characteristics, uses, benefits, and qualities which they do not have,

(2) representing that Coastdown Cheating Vehicles are of a particular standard,

quality, and grade when they are not, (3) advertising Coastdown Cheating Vehicles

with the intent not to sell them as advertised and certified, and (4) engaging in acts

or practices which are otherwise unfair, misleading, false, or deceptive to the

consumer. OHIO REV. CODE ANN. § 1345.02. Ford participated in misleading, false,

or deceptive acts that violated the Ohio CSPA.

      2879. Ford is a “supplier” as that term is defined in OHIO REV. CODE ANN.

§ 1345.01(C).

      2880. Ohio Plaintiff and the Ohio Subclass members are “consumers” as that

term is defined in OHIO REV. CODE ANN. § 1345.01(D), and their purchase or lease

of one or more Coastdown Cheating Vehicles is a “consumer transaction” within the

meaning of OHIO REV. CODE ANN. § 1345.01(A).

      2881. Ford engaged in deceptive trade practices that violated the Ohio CSPA

when Ford knowingly failed to disclose that the Coastdown Cheating Vehicles did

not have the advertised and certified fuel economy and that the fuel economy was



                                       - 701 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2756    Page 728 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles over a comparable vehicle.

      2882. Ford’s actions as set forth above occurred in the conduct of trade or

commerce.

      2883. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      2884. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Ohio Plaintiff and the Ohio Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.




                                       - 702 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2757     Page 729 of 990




      2885. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Ohio Plaintiff

and the Ohio Subclass.

      2886. Ford knew or should have known that its conduct violated the Ohio

CSPA.

      2887. Ford owed Ohio Plaintiff and the Ohio Subclass members a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Ohio
                   Plaintiff and the Ohio Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Ohio Plaintiff and the Ohio
                   Subclass that contradicted these representations.

      2888. The Ohio Attorney General has made available for public inspection

prior state court decisions which have held that the acts and omissions of Ford in

this Complaint, including but not limited to the failure to honor both implied

warranties and express warranties, the making and distribution of false, deceptive,

and/or misleading representations, and the concealment and/or non-disclosure of a




                                       - 703 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2758   Page 730 of 990




dangerous defect, constitute deceptive sales practices in violation of the OCSPA.

These cases include, but are not limited to, the following:

             a.    Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

             b.    State ex rel. Betty D. Montgomery v. Volkswagen Motor Co.
                   (OPIF #10002123);

             c.    State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc.
                   (OPIF #10002025);

             d.    Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App.
                   LEXIS 1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

             e.    Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App.
                   LEXIS 525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

             f.    State ex rel. Jim Petro v. Craftmatic Org., Inc. (OPIF
                   #10002347);

             g.    Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc.
                   (OPIF #10001586);

             h.    State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF
                   #10000304);

             i.    Brinkman v. Mazda Motor of Am., Inc. (OPIF #10001427);

             j.    Khouri v. Don Lewis (OPIF #100001995);

             k.    Mosley v. Performance Mitsubishi aka Automanage (OPIF
                   #10001326);

             l.    Walls v. Harry Williams dba Butch’s Auto Sales (OPIF
                   #10001524); and

             m.    Brown v. Spears (OPIF #10000403).




                                       - 704 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2759    Page 731 of 990




      2889. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Ohio Plaintiff and the Ohio

Subclass.

      2890. Ohio Plaintiff and the Ohio Subclass suffered ascertainable loss caused

by Ford’s misrepresentations and its concealment of and failure to disclose material

information. Ohio Plaintiff and the Ohio Subclass members who purchased the

Coastdown Cheating Vehicles either would have paid less for their vehicles or would

not have purchased or leased them at all but for Ford’s violations of the Ohio CSPA.

      2891. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Ohio CSPA. As a direct and proximate result of

Ford’s violations of the Ohio CSPA, Ohio Plaintiff and the Ohio Subclass have

suffered injury-in-fact and/or actual damage.

      2892. Ford’s violations present a continuing risk to Ohio Plaintiff as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      2893. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.



                                       - 705 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2760    Page 732 of 990




      2894. As a result of the foregoing wrongful conduct, Plaintiffs have been

damaged in an amount to be proven at trial and seek all just and proper remedies,

including but not limited to actual and statutory damages, an order enjoining Ford’s

deceptive and unfair conduct, treble damages, court costs, and reasonable attorneys’

fees, pursuant to OHIO REV. CODE ANN. § 1345.09 et seq.

      2895. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                   COUNT 211

                            BREACH OF CONTRACT
                            (BASED ON OHIO LAW)

      2896. Ohio Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      2897. This claim is brought by the Ohio Plaintiff on behalf of Ohio Subclass.

      2898. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Ohio Plaintiff and the Ohio Subclass members

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Ohio Plaintiff and the Ohio Subclass members

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did


                                      - 706 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2761    Page 733 of 990




not contain the reduced mileage. Accordingly, Ohio Plaintiff and the Ohio Subclass

members overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      2899. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Ohio Plaintiff and the Ohio Subclass members

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      2900. As a direct and proximate result of Ford’s breach of contract, Ohio

Plaintiff and the Ohio Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 212

                       BREACH OF EXPRESS WARRANTY
                        (OHIO REV. CODE ANN. § 1302.26)

      2901. Ohio Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      2902. This claim is brought by Ohio Plaintiff on behalf of the Ohio Subclass.


                                        - 707 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2762     Page 734 of 990




      2903. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Ohio Rev. Code Ann. § 1302.01.

      2904. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      2905. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      2906. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2907. These affirmations and promises were part of the basis of the bargain

that was reached when Ohio Plaintiff and the other Ohio Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      2908. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 708 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2763    Page 735 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2909. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2910. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Ohio Plaintiff and the Ohio Subclass whole, and because Ford

has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

      2911. Accordingly, recovery by the Ohio Plaintiff and the Ohio Subclass is

not limited to the NVLW promising to repair and/or correct a manufacturing defect,

and Ohio Plaintiff, individually and on behalf of the other Ohio Subclass members,

seek all remedies as allowed by law.

      2912. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Ohio Plaintiff




                                       - 709 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2764    Page 736 of 990




and the Ohio Subclass were therefore induced to purchase or lease the Coastdown

Cheating Vehicles under false and/or fraudulent pretenses.

      2913. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      2914. As a direct and proximate result of Ford’s breach of express warranties,

Ohio Plaintiff and the Ohio Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 213

                       FRAUDULENT CONCEALMENT
                          (BASED ON OHIO LAW)

      2915. Ohio Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      2916. This claim is brought by the Ohio Plaintiff on behalf of Ohio purchasers

who are members of the Class.

      2917. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted




                                       - 710 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2765    Page 737 of 990




with reckless disregard for the truth and denied Ohio Plaintiff and the Ohio Subclass

members information that is highly relevant to their purchasing decision.

      2918. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2919. Ford further affirmatively misrepresented to Ohio Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2920. Ford knew these representations were false when made.

      2921. The Coastdown Cheating Vehicles purchased or leased by Ohio

Plaintiff and the Ohio Subclass members were, in fact, defective, with reduced fuel

efficiency.

      2922. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Ohio Plaintiff and the Ohio

Subclass members relied on Ford’s material representations or omissions of fact that



                                        - 711 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2766    Page 738 of 990




the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      2923. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2924. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Ohio Plaintiff and the Ohio Subclass

members did not know of these facts and Ford actively concealed these facts from

Ohio Plaintiff and the Ohio Subclass members.

      2925. Ohio Plaintiff and the Ohio Subclass members reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Ohio Plaintiff and the Ohio Subclass

members did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Ohio Plaintiff and the Ohio Subclass members by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2926. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions



                                       - 712 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2767    Page 739 of 990




regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Ohio Plaintiff and the Ohio Subclass members

placed in its representations.

      2927. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Ohio Plaintiff and the Ohio Subclass members,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      2928. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Ohio Plaintiff and the Ohio Subclass members. Ford also had a duty

to disclose because it made general affirmative representations about the qualities of

its vehicles with respect to fuel efficiency, which were misleading, deceptive, and

incomplete without the disclosure of the additional facts set forth above regarding

the actual mileage of its vehicles. Having volunteered to provide information to



                                        - 713 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2768     Page 740 of 990




Ohio Plaintiff and the Ohio Subclass members, Ford had the duty to disclose not just

the partial truth, but the entire truth. These omitted and concealed facts were material

because they directly impact the value of the Coastdown Cheating Vehicles

purchased or leased by Ohio Plaintiff and the Ohio Subclass members. Whether an

automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to Ohio Plaintiff

and the Ohio Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      2929. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Ohio Plaintiff

and the Ohio Subclass members.

      2930. Ford has still not made full and adequate disclosures and continues to

defraud Ohio Plaintiff and the Ohio Subclass members by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2931. Ohio Plaintiff and the Ohio Subclass members were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not



                                        - 714 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2769    Page 741 of 990




have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Ohio Plaintiff’s and the Ohio Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Ohio Plaintiff, or Ohio Subclass members.

      2932. Accordingly, Ford is liable to Ohio Plaintiff and the Ohio Subclass

members for damages in an amount to be proven at trial.

      2933. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Ohio Plaintiff and the Ohio Subclass for damages in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      2934. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Ohio Plaintiff’s and

Ohio Subclass members’ rights and the representations that Ford made to them were

made in order to enrich Ford. Ford’s conduct warrants an assessment of punitive

damages in an amount sufficient to deter such conduct in the future, which amount

is to be determined according to proof.

                                    COUNT 214

                     NEGLIGENT MISREPRESENTATION
                          (BASED ON OHIO LAW)




                                        - 715 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2770    Page 742 of 990




      2935. Ohio Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      2936. This claim is brought by the Ohio Plaintiff on behalf of the Ohio

Subclass.

      2937. Defendant made fuel economy representations to Ohio Plaintiff and

members of the Class that were not true.

      2938. Defendant     had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Ohio Plaintiff

and Ohio Subclass members rely on these misrepresentations.

      2939. Ohio Plaintiff reasonably relied on Defendant’s representations and as

a result Ohio Plaintiff and Ohio Subclass members were harmed.

                                     COUNT 215

                           UNJUST ENRICHMENT
                           (BASED ON OHIO LAW)

      2940. Ohio Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      2941. This claim is brought by the Ohio Plaintiff on behalf of the Ohio

Subclass.

      2942. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Ohio Plaintiff and the Ohio Subclass.


                                       - 716 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2771    Page 743 of 990




      2943. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Ohio Plaintiff and other Ohio Subclass members.            It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      2944. Ohio Plaintiff, therefore, seeks any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Ohio Subclass.

      Claims Brought on Behalf of the Oklahoma Subclass

                                    COUNT 216

    VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION ACT
                 (OKLA. STAT. TIT. 15, § 751 et seq.)

      2945. Plaintiff Ahmed Abdi (“Oklahoma Plaintiff”) hereby incorporatesS by

reference the allegations contained in the preceding paragraphs of this complaint.

      2946. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

      2947. The Oklahoma Consumer Protection Act (“Oklahoma CPA”) declares

unlawful, inter alia, the following acts or practices when committed in the course of

business: making a “misrepresentation, omission or other practice that has deceived

or could reasonably be expected to deceive or mislead a person to the detriment of

that person” and “any practice which offends established public policy or if the

practice is immoral, unethical, oppressive, unscrupulous or substantially injurious to

consumers.” OKLA. STAT. TIT. 15, §§ 752–753.


                                       - 717 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2772     Page 744 of 990




      2948. Oklahoma Plaintiff and the Oklahoma Subclass members are “persons”

under OKLA. STAT. TIT. 15, § 752.

      2949. Ford is a “person,” “corporation,” or “association” within the meaning

of OKLA. STAT. TIT. 15, § 15-751(1).

      2950. The sale or lease of a Coastdown Cheating Vehicle to Plaintiff was a

“consumer transaction” within the meaning of OKLA. STAT. TIT. 15, § 752 and Ford’s

actions as set forth herein occurred in the conduct of trade or commerce.

      2951. Ford’s acts were made knowingly, intentionally, and with malice. Ford

demonstrated a complete lack of care and acted in reckless disregard of the rights of

Oklahoma Plaintiff and the Oklahoma Subclass. Oklahoma Plaintiff and the

Oklahoma Subclass and the other Class members are therefore entitled to an award

of punitive damages to the extent permitted under applicable law.

      2952. Ford’s conduct as alleged herein was unconscionable because (1) Ford,

knowingly or had reason to know, took advantage of consumers reasonably unable

to protect their interests because of their ignorance of Ford’s fraudulent omissions

and representations; (2) at the time the consumer transaction was entered into, Ford

knew or had reason to know that the price the consumers were charged grossly

exceeded the price at which they would have paid if they had known of Ford’s

scheme, and (3) Ford knew or had reason to know that the transaction it induced the

consumers to enter into was excessively one-sided in favor of Ford.



                                       - 718 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2773    Page 745 of 990




      2953. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Oklahoma Plaintiff and the

Oklahoma Subclass.

      2954. Oklahoma Plaintiff and the Oklahoma Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Oklahoma Plaintiff and the Oklahoma Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Oklahoma CPA.

      2955. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Oklahoma CPA. As a direct and proximate result

of Ford’s violations of the Oklahoma CPA, Oklahoma Plaintiff and the Oklahoma

Subclass have suffered injury-in-fact and/or actual damage.

      2956. Ford’s violations present a continuing risk to Oklahoma Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      2957. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles




                                       - 719 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2774    Page 746 of 990




has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       2958. Because Ford’s unconscionable conduct caused injury to Oklahoma

Plaintiff, Oklahoma Plaintiff seeks recovery of actual damages, discretionary

penalties up to $2,000 per violation, and reasonable attorneys’ fees, under O KLA.

STAT. TIT. 15, § 761.1. Plaintiffs further seek an order enjoining Ford’s unfair and/or

deceptive acts or practices, and any other just and proper relief available under the

Oklahoma CPA.

       2959. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                    COUNT 217

                             BREACH OF CONTRACT
                          (BASED ON OKLAHOMA LAW)

       2960. Oklahoma Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2961. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

       2962. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Oklahoma Plaintiff and the Oklahoma Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those


                                        - 720 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2775    Page 747 of 990




misrepresentations and omissions, Oklahoma Plaintiff and the Oklahoma Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Oklahoma Plaintiff and the Oklahoma

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      2963. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Oklahoma Plaintiff and the Oklahoma Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      2964. As a direct and proximate result of Ford’s breach of contract, Oklahoma

Plaintiff and the Oklahoma Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.




                                      - 721 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2776     Page 748 of 990




                                    COUNT 218

                          BREACH OF EXPRESS WARRANTY
                              (12A OKA. STAT. § 2-313)

       2965. Oklahoma Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       2966. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

       2967. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to 12A Okla. Stat. § 2-104.

       2968. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

       2969. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.




                                       - 722 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2777    Page 749 of 990




      2970. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      2971. These affirmations and promises were part of the basis of the bargain

that was reached when Oklahoma Plaintiff and the other Oklahoma Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      2972. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      2973. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      2974. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Oklahoma Plaintiff and the Oklahoma Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      2975. Accordingly, recovery by the Oklahoma Plaintiffs and the Oklahoma

Subclass is not limited to the NVLW promising to repair and/or correct a



                                       - 723 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2778    Page 750 of 990




manufacturing defect, and Oklahoma Plaintiffs, individually and on behalf of the

other Oklahoma Subclass members, seek all remedies as allowed by law.

       2976. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Oklahoma

Plaintiff and the Oklahoma Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       2977. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       2978. As a direct and proximate result of Ford’s breach of express warranties,

Oklahoma Plaintiff and the Oklahoma Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 219

                          FRAUDULENT CONCEALMENT
                          (BASED ON OKLAHOMA LAW)

       2979. Oklahoma Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.




                                        - 724 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2779    Page 751 of 990




      2980. This claim is brought by Oklahoma Plaintiff on behalf of the Oklahoma

Subclass.

      2981. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Oklahoma Plaintiff and the Oklahoma Subclass information

that is highly relevant to their purchasing decision.

      2982. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      2983. Ford further affirmatively misrepresented to Oklahoma Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      2984. Ford knew these representations were false when made.




                                        - 725 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2780    Page 752 of 990




      2985. The Coastdown Cheating Vehicles purchased or leased by Oklahoma

Plaintiff and the Oklahoma Subclass were, in fact, defective, with reduced fuel

efficiency.

      2986. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Oklahoma Plaintiff and the

Oklahoma Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      2987. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      2988. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Oklahoma Plaintiffs and the Oklahoma

Subclass did not know of these facts and Ford actively concealed these facts from

Oklahoma Plaintiff and the Oklahoma Subclass.




                                        - 726 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2781    Page 753 of 990




      2989. Oklahoma Plaintiff and the Oklahoma Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Oklahoma Plaintiff and the Oklahoma

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Oklahoma Plaintiff and the Oklahoma Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      2990. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Oklahoma Plaintiff and the Oklahoma Subclass

placed in its representations.

      2991. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Oklahoma Plaintiff and the Oklahoma Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      2992. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                        - 727 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2782     Page 754 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Oklahoma Plaintiff and the Oklahoma Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Oklahoma Plaintiff and the Oklahoma Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Oklahoma Plaintiff and the

Oklahoma Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Oklahoma Plaintiff and the Oklahoma Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.




                                        - 728 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2783    Page 755 of 990




      2993. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Oklahoma

Plaintiff and the Oklahoma Subclass.

      2994. Ford has still not made full and adequate disclosures and continues to

defraud Oklahoma Plaintiff and the Oklahoma Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      2995. Oklahoma Plaintiff and the Oklahoma Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Oklahoma Plaintiff’s and the Oklahoma Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Oklahoma Plaintiff, or, Oklahoma Subclass members.

      2996. Because of the concealment and/or suppression of the facts, Oklahoma

Plaintiff and the Oklahoma Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was



                                        - 729 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2784    Page 756 of 990




represented by Ford. Had they been aware of the true facts, Oklahoma Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      2997. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Oklahoma Plaintiff and the Oklahoma Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      2998. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Oklahoma Plaintiff’s

and the Oklahoma Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 220

                     NEGLIGENT MISREPRESENTATION
                       (BASED ON OKLAHOMA LAW)

      2999. Oklahoma Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3000. This claim is brought by the Oklahoma Plaintiff on behalf of the

Oklahoma Subclass.




                                        - 730 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2785    Page 757 of 990




      3001. Defendant made fuel economy representations to Oklahoma Plaintiff

and members of the Class that were not true.

      3002. Defendant     had   no    reasonable   grounds    for   believing     these

representations were true when they made them, yet they intended that Oklahoma

Plaintiff and Oklahoma Subclass members rely on these misrepresentations.

      3003. Oklahoma Plaintiff reasonably relied on Defendant’s representations

and as a result Oklahoma Plaintiff and Oklahoma Subclass members were harmed.

                                     COUNT 221

                           UNJUST ENRICHMENT
                        (BASED ON OKLAHOMA LAW)

      3004. Oklahoma Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3005. This claim is brought by the Oklahoma Plaintiff on behalf of the

Oklahoma Subclass.

      3006. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Oklahoma Plaintiff and the Oklahoma Subclass.

      3007. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Oklahoma Plaintiff and other Oklahoma Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                       - 731 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2786     Page 758 of 990




      3008. Oklahoma Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Oklahoma Subclass.

      Claims Brought on Behalf of the Oregon Subclass

                                    COUNT 222

                         VIOLATION OF THE OREGON
                      UNLAWFUL TRADE PRACTICES ACT
                        (OR. REV. STAT. § 646.605 et seq.)

      3009. Plaintiff Samuel Huffman (“Oregon Plaintiff”) hereby incorporates by

reference the allegations contained in the preceding paragraphs of this complaint.

      3010. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

      3011. The Oregon Unlawful Trade Practices Act (“Oregon UTPA”) prohibits

a person from, in the course of the person’s business, doing any of the following:

representing that goods have characteristics uses, benefits, or qualities that they do

not have; representing that goods are of a particular standard or quality if they are of

another; advertising goods or services with intent not to provide them as advertised

and certified; and engaging in any other unfair or deceptive conduct in trade or

commerce. OR. REV. STAT. § 646.608(1).

      3012. Ford is a person within the meaning of OR. REV. STAT. § 646.605(4).




                                        - 732 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2787    Page 759 of 990




      3013. Each Coastdown Cheating Vehicle is a “good” obtained primarily for

personal family or household purposes within the meaning of OR. REV. STAT.

§ 646.605(6).

      3014. Ford engaged in unlawful trade practices that violated the Oregon

UTPA when Ford knowingly failed to disclose that the Coastdown Cheating

Vehicles did not have the advertised and certified fuel economy and that the fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3015. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      3016. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Oregon Plaintiff and the Oregon Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,



                                       - 733 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2788     Page 760 of 990




the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      3017. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Oregon Plaintiff

and the Oregon Subclass.

      3018. Ford knew or should have known that its conduct violated the Oregon

UTPA.

      3019. Ford owed Oregon Plaintiff and the Oregon Subclass members a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Oregon
                   Plaintiff and the Oregon Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Oregon Plaintiff and the Oregon
                   Subclass that contradicted these representations.

      3020. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Oregon Plaintiff and the

Oregon Subclass.




                                       - 734 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2789    Page 761 of 990




      3021. Oregon Plaintiff and the Oregon Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Oregon Plaintiff and the Oregon Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Oregon UTPA.

      3022. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Oregon UTPA. As a direct and proximate result

of Ford’s violations of the Oregon UTPA, Oregon Plaintiff and the Oregon Subclass

have suffered injury-in-fact and/or actual damage.

      3023. Ford’s violations present a continuing risk to Oregon Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3024. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3025. Oregon Plaintiff and the Oregon Subclass are entitled to recover the

greater of actual damages or $200 pursuant to OR. REV. STAT. § 646.638(1). Oregon



                                      - 735 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2790    Page 762 of 990




Plaintiff and the Oregon Subclass are also entitled to punitive damages because Ford

engaged in conduct amounting to a particularly aggravated, deliberate disregard of

the rights of others.

       3026. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Oregon in

accordance with OR. REV. STAT. § 646.638(2).

                                   COUNT 223

                            BREACH OF CONTRACT
                           (BASED ON OREGON LAW)

       3027. Oregon Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3028. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

       3029. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Oregon Plaintiff and the Oregon Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Oregon Plaintiff and the Oregon Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or


                                       - 736 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2791    Page 763 of 990




would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Oregon Plaintiff and the Oregon Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        3030. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Oregon Plaintiff and the Oregon Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        3031. As a direct and proximate result of Ford’s breach of contract, Oregon

Plaintiff and the Oregon Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 224

                          BREACH OF EXPRESS WARRANTY
                             (OR. REV. STAT. § 72.3130)

        3032. Oregon Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.


                                        - 737 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2792     Page 764 of 990




      3033. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

      3034. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Or. Rev. Stat. § 72.1040.

      3035. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3036. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3037. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3038. These affirmations and promises were part of the basis of the bargain

that was reached when Oregon Plaintiff and the other Oregon Subclass members

purchased or leased the Coastdown Cheating Vehicles.



                                      - 738 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2793    Page 765 of 990




      3039. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3040. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3041. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Oregon Plaintiff and the Oregon Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      3042. Accordingly, recovery by the Oregon Plaintiff and the Oregon Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Oregon Plaintiff, individually and on behalf of the other Oregon Subclass

members, seek all remedies as allowed by law.

      3043. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently



                                       - 739 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2794    Page 766 of 990




concealed material facts regarding the Coastdown Cheating Vehicles. Oregon

Plaintiff and the Oregon Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       3044. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3045. As a direct and proximate result of Ford’s breach of express warranties,

Oregon Plaintiff and the Oregon Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 225

                          FRAUDULENT CONCEALMENT
                            (BASED ON OREGON LAW)

       3046. Oregon Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3047. This claim is brought by Oregon Plaintiff on behalf of the Oregon

Subclass.

       3048. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard


                                        - 740 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2795    Page 767 of 990




for the truth and denied Oregon Plaintiff and the Oregon Subclass information that

is highly relevant to their purchasing decision.

      3049. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3050. Ford further affirmatively misrepresented to Oregon Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3051. Ford knew these representations were false when made.

      3052. The Coastdown Cheating Vehicles purchased or leased by Oregon

Plaintiff and the Oregon Subclass were, in fact, defective, with reduced fuel

efficiency.

      3053. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Oregon Plaintiff and the

Oregon Subclass relied on Ford’s material representations or omissions of fact that



                                        - 741 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2796    Page 768 of 990




the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      3054. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3055. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Oregon Plaintiffs and the Oregon Subclass

did not know of these facts and Ford actively concealed these facts from Oregon

Plaintiff and the Oregon Subclass.

      3056. Oregon Plaintiff and the Oregon Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Oregon Plaintiff and the Oregon Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Oregon Plaintiff and the Oregon Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3057. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions



                                       - 742 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2797    Page 769 of 990




regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Oregon Plaintiff and the Oregon Subclass placed

in its representations.

      3058. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Oregon Plaintiff and the Oregon Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      3059. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Oregon Plaintiff and the Oregon Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide



                                        - 743 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2798    Page 770 of 990




information to Oregon Plaintiff and the Oregon Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Oregon Plaintiff and the

Oregon Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Oregon Plaintiff and the Oregon Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.

      3060. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Oregon Plaintiff

and the Oregon Subclass.

      3061. Ford has still not made full and adequate disclosures and continues to

defraud Oregon Plaintiff and the Oregon Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3062. Oregon Plaintiff and the Oregon Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they



                                       - 744 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2799    Page 771 of 990




had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Oregon Plaintiff’s and the Oregon Subclass members’ actions were justified. Ford

was in exclusive control of the material facts, and such facts were not generally

known to the public, Oregon Plaintiff, or, Oregon Subclass members.

      3063. Because of the concealment and/or suppression of the facts, Oregon

Plaintiff and the Oregon Subclass have sustained damage because they overpaid for

their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Oregon Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      3064. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Oregon Plaintiff and the Oregon Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      3065. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Oregon Plaintiff’s

and the Oregon Subclass’s rights and the representations that Ford made to them in



                                       - 745 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2800    Page 772 of 990




order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 226

                   NEGLIGENT MISREPRESENTATION
                      (BASED ON OREGON LAW)

      3066. Oregon Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      3067. This claim is brought by the Oregon Plaintiff on behalf of the Oregon

Subclass.

      3068. Defendant made fuel economy representations to Oregon Plaintiff and

members of the Class that were not true.

      3069. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Oregon

Plaintiff and Oregon Subclass members rely on these misrepresentations.

      3070. Oregon Plaintiff reasonably relied on Defendant’s representations and

as a result Oregon Plaintiff and Oregon Subclass members were harmed.

                                      COUNT 227

                           UNJUST ENRICHMENT
                         (BASED ON OREGON LAW)




                                        - 746 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2801    Page 773 of 990




      3071. Oregon Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      3072. This claim is brought by the Oregon Plaintiff on behalf of the Oregon

Subclass.

      3073. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Oregon Plaintiff and the Oregon Subclass.

      3074. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Oregon Plaintiff and other Oregon Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3075. Oregon Plaintiff, therefore, seeks any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Oregon Subclass.

      Claims Brought on Behalf of the Pennsylvania Subclass

                                   COUNT 228

            VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE
              PRACTICES AND CONSUMER PROTECTION LAW
                   (73 PA. CONS. STAT. § 201-1 ET SEQ.)

      3076. Plaintiff Steven Hull (“Pennsylvania Plaintiff”) hereby incorporate by

reference the allegations contained in the preceding paragraphs of this complaint.




                                       - 747 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2802     Page 774 of 990




      3077. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      3078. The Pennsylvania Unfair Trade Practices and Consumer Protection

Law (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including

representing that goods or services have characteristics, benefits or qualities that they

do not have; representing that goods or services are of a particular standard, quality

or grade if they are of another; advertising goods or services with intent not to sell

them as advertised and certified; and engaging in any other fraudulent or deceptive

conduct which creates a likelihood of confusion or misunderstanding. 73 P A. CONS.

STAT. § 201-2(4).

      3079. Ford, Pennsylvania Plaintiff, and Pennsylvania Class members are

“persons” within the meaning of 73 PA. CONS. STAT. § 201-2(2).

      3080. Pennsylvania Plaintiff purchased a Coastdown Cheating Vehicle

primarily for personal, family, or household purposes within the meaning of 73 PA.

CONS. STAT. § 201-9.2.

      3081. All of the acts complained of herein were perpetrated by Ford in the

course of trade or commerce within the meaning of 73 PA. CONS. STAT. § 201-2(3).

      3082. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel




                                        - 748 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2803    Page 775 of 990




economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3083. Ford also willfully failed to disclose that the Coastdown Cheating

Vehicles do not have the advertised fuel economy and that fuel economy were far

worse than a reasonable consumer would expect given the premium paid for these

vehicles over a comparable vehicle. Ford also engaged in unlawful trade practices

by employing deception, deceptive acts or practices, fraud, misrepresentations, or

concealment, suppression, or omission of any material fact with intent that others

rely upon such concealment, suppression, or omission, in connection with the sale

of the Coastdown Cheating Vehicles.

      3084. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Pennsylvania Plaintiff and the

Pennsylvania Subclass members, about the true performance of the Coastdown

Cheating Vehicles, the lower fuel economy, the shorter range of the vehicle due to

its lower fuel economy, the increased environmental impact of Ford vehicles, and

the true value of the Coastdown Cheating Vehicles.

      3085. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Pennsylvania

Plaintiff and the Pennsylvania Subclass.




                                       - 749 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2804     Page 776 of 990




      3086. Ford knew or should have known that its conduct violated the

Pennsylvania CPL.

      3087. Ford owed Pennsylvania Plaintiff and the Pennsylvania Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

             b.     Intentionally concealed the foregoing from
                    Pennsylvania Plaintiff and the Pennsylvania
                    Subclass; and/or

             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Pennsylvania Plaintiff and the
                    Pennsylvania Subclass that contradicted these
                    representations.

      3088. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Pennsylvania Plaintiff and the

Pennsylvania Subclass.

      3089. Pennsylvania Plaintiff and the Pennsylvania Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Pennsylvania Plaintiff and the Pennsylvania

Subclass members who purchased the Coastdown Cheating Vehicles either would




                                        - 750 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2805    Page 777 of 990




have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Pennsylvania CPL.

      3090. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Pennsylvania CPL. As a direct and proximate

result of Ford’s violations of the Pennsylvania CPL, Pennsylvania Plaintiff and the

Pennsylvania Subclass have suffered injury-in-fact and/or actual damage.

      3091. Ford’s violations present a continuing risk to Pennsylvania Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3092. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3093. Ford is liable to Plaintiffs and the Pennsylvania Subclass for treble their

actual damages or $100, whichever is greater, and attorneys’ fees and costs. 73 PA.

CONS. STAT. § 201-9.2(a). Plaintiffs and the Pennsylvania Subclass are also entitled

to an award of punitive damages given that Ford’s conduct was malicious, wanton,

willful, oppressive, or exhibited a reckless indifference to the rights of others.




                                        - 751 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2806     Page 778 of 990




                                   COUNT 229

                           BREACH OF CONTRACT
                       (BASED ON PENNSYLVANIA LAW)

      3094. Pennsylvania Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3095. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      3096. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Pennsylvania Plaintiff and the Pennsylvania

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Pennsylvania Plaintiff and the

Pennsylvania Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly,

Pennsylvania Plaintiff and the Pennsylvania Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      3097. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Pennsylvania Plaintiff and the Pennsylvania


                                       - 752 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2807     Page 779 of 990




Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      3098. As a direct and proximate result of Ford’s breach of contract,

Pennsylvania Plaintiff and the Pennsylvania Subclass have been damaged in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

                                   COUNT 230

                       BREACH OF EXPRESS WARRANTY
                          (13 PA. STAT. ANN. § 2313)

      3099. Pennsylvania Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3100. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      3101. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to 13 Pa. Stat. Ann. § 2104.

      3102. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of


                                      - 753 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2808     Page 780 of 990




three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3103. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3104. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3105. These affirmations and promises were part of the basis of the bargain

that was reached when Pennsylvania Plaintiff and the other Pennsylvania Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3106. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.



                                      - 754 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2809    Page 781 of 990




      3107. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3108. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Pennsylvania Plaintiff and the Pennsylvania Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3109. Accordingly, recovery by the Pennsylvania Plaintiff and the

Pennsylvania Subclass is not limited to the NVLW promising to repair and/or correct

a manufacturing defect, and Pennsylvania Plaintiff, individually and on behalf of the

other Pennsylvania Subclass members, seek all remedies as allowed by law.

      3110. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Pennsylvania

Plaintiff and the Pennsylvania Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3111. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 755 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2810    Page 782 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      3112. As a direct and proximate result of Ford’s breach of express warranties,

Pennsylvania Plaintiff and the Pennsylvania Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 231

                         FRAUDULENT CONCEALMENT
                       (BASED ON PENNSYLVANIA LAW)

      3113. Pennsylvania Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3114. This claim is brought by Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      3115. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Pennsylvania Plaintiff and the Pennsylvania Subclass

information that is highly relevant to their purchasing decision.

      3116. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 756 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2811    Page 783 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3117. Ford further affirmatively misrepresented to Pennsylvania Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3118. Ford knew these representations were false when made.

      3119. The Coastdown Cheating Vehicles purchased or leased by

Pennsylvania Plaintiff and the Pennsylvania Subclass were, in fact, defective, with

reduced fuel efficiency.

      3120. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Pennsylvania Plaintiff and

the Pennsylvania Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      3121. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 757 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2812   Page 784 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3122. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Pennsylvania Plaintiff and the Pennsylvania

Subclass did not know of these facts and Ford actively concealed these facts from

Pennsylvania Plaintiff and the Pennsylvania Subclass.

      3123. Pennsylvania Plaintiff and the Pennsylvania Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Pennsylvania Plaintiff and the

Pennsylvania Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Pennsylvania Plaintiff and the Pennsylvania

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      3124. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Pennsylvania Plaintiff and the Pennsylvania

Subclass placed in its representations.




                                          - 758 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2813     Page 785 of 990




      3125. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Pennsylvania Plaintiff and the Pennsylvania

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      3126. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Pennsylvania Plaintiff and the Pennsylvania Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to Pennsylvania Plaintiff and the Pennsylvania Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the



                                        - 759 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2814    Page 786 of 990




value of the Coastdown Cheating Vehicles purchased or leased by Pennsylvania

Plaintiff and the Pennsylvania Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to Pennsylvania Plaintiff and the

Pennsylvania Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      3127. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Pennsylvania

Plaintiff and the Pennsylvania Subclass.

      3128. Ford has still not made full and adequate disclosures and continues to

defraud Pennsylvania Plaintiff and the Pennsylvania Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      3129. Pennsylvania Plaintiff and the Pennsylvania Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or



                                       - 760 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2815    Page 787 of 990




would have taken other affirmative steps in light of the information concealed from

them. Pennsylvania Plaintiff’s and the Pennsylvania Subclass members’ actions

were justified. Ford was in exclusive control of the material facts, and such facts

were not generally known to the public, Pennsylvania Plaintiff, or, Pennsylvania

Subclass members.

      3130. Because of the concealment and/or suppression of the facts,

Pennsylvania Plaintiff and the Pennsylvania Subclass have sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Pennsylvania Plaintiff and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      3131. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Pennsylvania Plaintiff and the Pennsylvania Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      3132. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Pennsylvania

Plaintiff’s and the Pennsylvania Subclass’s rights and the representations that Ford



                                       - 761 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2816   Page 788 of 990




made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                     COUNT 232

                    NEGLIGENT MISREPRESENTATION
                     (BASED ON PENNSYLVANIA LAW)

      3133. Pennsylvania Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3134. This claim is brought by the Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      3135. Defendant made fuel economy representations to Pennsylvania

Plaintiff and members of the Class that were not true.

      3136. Defendant     had   no    reasonable   grounds     for   believing   these

representations were true when they made them, yet they intended that Pennsylvania

Plaintiff and Pennsylvania Subclass members rely on these misrepresentations.

      3137. Pennsylvania Plaintiff reasonably relied on Defendant’s representations

and as a result Pennsylvania Plaintiff and Pennsylvania Subclass members were

harmed.

                                     COUNT 233

                          UNJUST ENRICHMENT
                     (BASED ON PENNSYLVANIA LAW)



                                       - 762 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2817    Page 789 of 990




      3138. Pennsylvania Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3139. This claim is brought by the Pennsylvania Plaintiff on behalf of the

Pennsylvania Subclass.

      3140. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Pennsylvania Plaintiff and the Pennsylvania Subclass.

      3141. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Pennsylvania Plaintiff and other Pennsylvania Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3142. Pennsylvania Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Pennsylvania Subclass.

      Claims brought on behalf of the Rhode Island Subclass

                                    COUNT 234

    VIOLATION OF THE RHODE ISLAND UNFAIR TRADE PRACTICES
               AND CONSUMER PROTECTION ACT
                  (R.I. GEN. LAWS § 6-13.1 et seq.)

      3143. Rhode Island Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.




                                       - 763 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2818    Page 790 of 990




      3144. This claim is brought by Rhode Island Plaintiffs on behalf of the Rhode

Island Subclass.

      3145. Ford, Rhode Island Plaintiffs, and Rhode Island Subclass members are

“persons” within the meaning of R.I. GEN. LAWS § 6-13.1-1(3).

      3146. Ford was engaged in “trade” and “commerce” within the meaning of

R.I. GEN. LAWS § 6-13.1-1(5).

      3147. Rhode Island Plaintiffs purchased or leased Coastdown Cheating

Vehicles primarily for personal, family, or household purposes within the meaning

of R.I. GEN. LAWS § 6-13.1-5.2(a).

      3148. Rhode Island’s Unfair Trade Practices and Consumer Protection Act

(Rhode Island CPA) prohibits “unfair or deceptive acts or practices in the conduct

of any trade or commerce,” including “[e]ngaging in any act or practice that is unfair

or deceptive to the consumer” and “[u]sing any other methods, acts or practices

which mislead or deceive members of the public in a material respect.” R.I. GEN.

LAWS § 6-13.1-1(6).

      3149. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.




                                       - 764 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2819    Page 791 of 990




      3150. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      3151. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Rhode Island Plaintiffs and the Rhode

Island Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      3152. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Rhode Island

Plaintiffs and the Rhode Island Subclass.

      3153. Ford knew or should have known that its conduct violated the Rhode

Island CPA.

      3154. Ford owed Rhode Island Plaintiffs and the Rhode Island Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:




                                      - 765 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2820     Page 792 of 990




             a.    Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

             b.    Intentionally concealed the foregoing from Rhode
                   Island Plaintiffs and the Rhode Island Subclass;
                   and/or

             c.    Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Rhode Island Plaintiffs and the
                   Rhode Island Subclass that contradicted these
                   representations.

      3155. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Rhode Island Plaintiffs and

the Rhode Island Subclass.

      3156. Rhode Island Plaintiffs and the Rhode Island Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Rhode Island Plaintiffs and the Rhode Island

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Rhode Island CPA.

      3157. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Rhode Island CPA.




                                       - 766 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2821    Page 793 of 990




      3158. As a direct and proximate result of Ford’s violations of the Rhode

Island CPA, Rhode Island Plaintiffs and the Rhode Island Subclass have suffered

injury-in-fact and/or actual damage.

      3159. Ford’s violations present a continuing risk to Rhode Island Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3160. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3161. Rhode Island Plaintiffs are entitled to recover the greater of actual

damages or $200 pursuant to R.I. GEN. LAWS § 6-13.1-5.2(a).

      3162. Rhode Island Plaintiffs seek punitive damages based on the

outrageousness and recklessness of Ford’s conduct.

                                    COUNT 235

                            BREACH OF CONTRACT
                        (BASED ON RHODE ISLAND LAW)

      3163. Rhode Island Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.




                                       - 767 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2822   Page 794 of 990




      3164. This claim is brought by Rhode Island Plaintiffs on behalf of the Rhode

Island Subclass.

      3165. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Rhode Island Plaintiffs and the Rhode Island

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Rhode Island Plaintiffs and the

Rhode Island Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly, Rhode

Island Plaintiffs and the Rhode Island Subclass overpaid for the Coastdown Cheating

Vehicles and did not receive the benefit of their bargain.

      3166. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Rhode Island Plaintiffs and the Rhode Island

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable




                                       - 768 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2823    Page 795 of 990




consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      3167. As a direct and proximate result of Ford’s breach of contract, Rhode

Island Plaintiffs and the Class have been damaged in an amount to be proven at trial,

which shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 236

                       BREACH OF EXPRESS WARRANTY
                          (R.I. GEN. LAWS § 6A-2-313)

      3168. Rhode Island Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      3169. This claim is brought by Rhode Island Plaintiffs on behalf of the Rhode

Island Subclass.

      3170. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to R.I. Gen. Laws § 6A-2-104.

      3171. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the




                                       - 769 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2824     Page 796 of 990




shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3172. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3173. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3174. These affirmations and promises were part of the basis of the bargain

that was reached when Rhode Island Plaintiffs and the other Rhode Island Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3175. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3176. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.




                                      - 770 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2825    Page 797 of 990




      3177. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Rhode Island Plaintiffs and the Rhode Island Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3178. Accordingly, recovery by the Rhode Island Plaintiffs and the Rhode

Island Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Rhode Island Plaintiffs, individually and on behalf of the

other Rhode Island Subclass members, seek all remedies as allowed by law.

      3179. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Rhode Island

Plaintiffs and the Rhode Island Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3180. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.




                                       - 771 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2826    Page 798 of 990




      3181. As a direct and proximate result of Ford’s breach of express warranties,

Rhode Island Plaintiffs and the Rhode Island Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 237

                         FRAUDULENT CONCEALMENT
                        (BASED ON RHODE ISLAND LAW)

      3182. Rhode Island Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      3183. This claim is brought by Rhode Island Plaintiffs on behalf of the Rhode

Island Subclass.

      3184. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Rhode Island Plaintiffs and the Rhode Island Subclass

information that is highly relevant and material to their purchasing decision.

      3185. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.


                                        - 772 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2827    Page 799 of 990




      3186. Ford further affirmatively misrepresented to Rhode Island Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3187. Ford knew these representations were false when made.

      3188. The Coastdown Cheating Vehicles purchased or leased by Rhode

Island Plaintiffs and the Rhode Island Subclass were, in fact, defective, with reduced

fuel efficiency.

      3189. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Rhode Island Plaintiffs and

the Rhode Island Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      3190. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.



                                        - 773 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2828     Page 800 of 990




      3191. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Rhode Island Plaintiffs and the Rhode Island

Subclass did not know of these facts and Ford actively concealed these facts from

Rhode Island Plaintiffs and the Rhode Island Subclass.

      3192. Rhode Island Plaintiffs and the Rhode Island Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Rhode Island Plaintiffs and the Rhode

Island Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Rhode Island Plaintiffs and the Rhode Island

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      3193. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Rhode Island Plaintiffs and the Rhode Island

Subclass placed in its representations.

      3194. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.



                                          - 774 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2829   Page 801 of 990




As Ford well knew, its customers, including Rhode Island Plaintiffs and the Rhode

Island Subclass members, highly valued that the vehicles they were purchasing or

leasing were fuel efficient, and they paid accordingly.

      3195. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Rhode Island Plaintiffs and the Rhode Island Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to Rhode Island Plaintiffs and the Rhode Island Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by Rhode Island

Plaintiffs and the Rhode Island Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are



                                        - 775 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2830    Page 802 of 990




material concerns to a consumer. Ford represented to Rhode Island Plaintiffs and the

Rhode Island Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      3196. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Rhode Island

Plaintiffs and the Rhode Island Subclass.

      3197. Ford has still not made full and adequate disclosures and continues to

defraud Rhode Island Plaintiffs and the Rhode Island Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      3198. Rhode Island Plaintiffs and the Rhode Island Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Rhode Island Plaintiffs’ and the Rhode Island Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not



                                        - 776 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2831    Page 803 of 990




generally known to the public, Rhode Island Plaintiffs, or Rhode Island Subclass

members.

      3199. Because of the concealment and/or suppression of the facts, Rhode

Island Plaintiffs and the Rhode Island Subclass have been injured and sustained

damage because they overpaid for their vehicles and own vehicles that diminished

in value as a result of Ford’s concealment, and suffered and continue to suffer

increased fuel costs over what was represented by Ford. Had they been aware of the

true facts, Rhode Island Plaintiffs and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      3200. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Rhode Island Plaintiffs and the Rhode Island Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      3201. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Rhode Island

Plaintiffs’ and the Rhode Island Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.



                                      - 777 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2832       Page 804 of 990




                                     COUNT 238

                    NEGLIGENT MISREPRESENTATION
                     (BASED ON RHODE ISLAND LAW)

      3202. Rhode Island Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      3203. This claim is brought by the Rhode Island Plaintiffs on behalf of the

Rhode Island Subclass.

      3204. Defendant made fuel economy representations to Rhode Island

Plaintiffs and members of the Class that were not true.

      3205. Defendant     had   no    reasonable   grounds   for   believing    these

representations were true when they made them, yet they intended that Rhode Island

Plaintiffs and Rhode Island Subclass members rely on these misrepresentations.

      3206. Rhode     Island    Plaintiffs   reasonably   relied   on     Defendant’s

representations and as a result Rhode Island Plaintiffs and Rhode Island Subclass

members were harmed.

                                     COUNT 239

                         UNJUST ENRICHMENT
                     (BASED ON RHODE ISLAND LAW)

      3207. Rhode Island Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.




                                       - 778 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2833    Page 805 of 990




      3208. This claim is brought by the Rhode Island Plaintiffs on behalf of the

Rhode Island Subclass.

      3209. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Rhode Island Plaintiffs and the Rhode Island Subclass.

      3210. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Rhode Island Plaintiffs and other Rhode Island Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3211. Rhode Island Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Rhode Island Subclass.

      Claims Brought on Behalf of the South Carolina Subclass

                                    COUNT 240

                     VIOLATION OF THE SOUTH CAROLINA
                        UNFAIR TRADE PRACTICES ACT
                         (S.C. CODE ANN. § 39-5-10 et seq.)

      3212. Plaintiff Matthew Brownlee (“South Carolina Plaintiff”) hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.

      3213. This claim is brought by South Carolina Plaintiff on behalf of the South

Carolina Subclass.



                                       - 779 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2834    Page 806 of 990




      3214. The South Carolina Unfair Trade Practices Act (“South Carolina

UTPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade

or commerce.” S.C. CODE ANN. § 39-5-20(a).

      3215. Ford is a “person” under S.C. CODE ANN. § 39-5-10.

      3216. In the course of its business, Ford also willfully failed to disclose that

the Coastdown Cheating Vehicles do not have the advertised fuel economy and that

fuel economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      3217. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including South Carolina Plaintiff and the South

Carolina Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.




                                       - 780 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2835     Page 807 of 990




      3218. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead South Carolina

Plaintiff and the South Carolina Subclass.

      3219. Ford knew or should have known that its conduct violated the South

Carolina UTPA.

      3220. Ford owed South Carolina Plaintiff and the South Carolina Subclass a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from South
                   Carolina Plaintiff and the South Carolina Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from South Carolina Plaintiff and the
                   South Carolina Subclass that contradicted these
                   representations.

      3221. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to South Carolina Plaintiff and

the South Carolina Subclass.

      3222. South Carolina Plaintiff and the South Carolina Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

                                       - 781 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2836    Page 808 of 990




failure to disclose material information. South Carolina Plaintiff and the South

Carolina Subclass members who purchased the Coastdown Cheating Vehicles either

would have paid less for their vehicles or would not have purchased or leased them

at all but for Ford’s violations of the South Carolina UTPA.

      3223. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the South Carolina UTPA. As a direct and proximate

result of Ford’s violations of the South Carolina UTPA, South Carolina Plaintiff and

the South Carolina Subclass have suffered injury-in-fact and/or actual damage.

      3224. Ford’s violations present a continuing risk to South Carolina Plaintiff

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      3225. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3226. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiff seeks monetary

relief to recover their economic losses. Because Ford’s actions were willful and

knowing, Plaintiffs’ damages should be trebled.




                                      - 782 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2837      Page 809 of 990




      3227. Plaintiff further alleges that Ford’s malicious and deliberate conduct

warrants an assessment of punitive damages because it carried out despicable

conduct with willful and conscious disregard of the rights of others. Ford’s unlawful

conduct constitutes malice, oppression, and fraud warranting punitive damages.

      3228. Plaintiff further seeks an order enjoining each Ford’s unfair or

deceptive acts or practices.

                                   COUNT 241

              VIOLATION OF THE SOUTH CAROLINA
       REGULATION OF MANUFACTURERS, DISTRIBUTORS, AND
                          DEALERS ACT
                 (S.C. CODE ANN. § 56-15-10 et seq.)

      3229. South Carolina Plaintiff hereby incorporates by reference the

allegations contained in the preceding paragraphs of this complaint.

      3230. This claim is brought by South Carolina Plaintiff on behalf of the South

Carolina Subclass.

      3231. Ford is a “manufacturer” under S.C. CODE ANN. § 56-15-10.

      3232. Ford participated in unfair or deceptive acts or practices that violated

the South Carolina Regulation of Manufacturers, Distributors, and Dealers Act

(“Dealers Act”) by willfully failing to disclose that the Coastdown Cheating

Vehicles do not have the advertised fuel economy and that the fuel economy was far

worse than a reasonable consumer would expect given the premium paid for these

vehicles over a comparable vehicle.


                                       - 783 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2838     Page 810 of 990




      3233. Ford’s bad faith and unconscionable actions include, but are not limited

to:

            a.     Representing that the Coastdown Cheating Vehicles
                   have characteristics, uses, benefits, and qualities
                   that they do not have;

            b.     Representing that the Coastdown Cheating Vehicles
                   are of a particular standard, quality, and grade when
                   they are not;

            c.     Advertising the Coastdown Cheating vehicles are of
                   a particular standard, quality, and grade when they
                   are not;

            d.     Representing that a transaction involving the
                   Coastdown Cheating Vehicles confers or involves
                   rights, remedies, and obligations that it does not;
                   and/or

            e.     Representing that the subject of a transaction
                   involving the Coastdown Cheating Vehicles has
                   been supplied in accordance with a previous
                   representation when it has not.

      3234. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to South Carolina Plaintiff and

the South Carolina Subclass.

      3235. South Carolina Plaintiff and the South Carolina Subclass suffered

ascertainable loss caused by Ford’s unfair or deceptive acts or practices. South

Carolina Plaintiff and the South Carolina Subclass would not have purchased the

vehicle or would have paid less for it but for Ford’s violations of the Dealers Act.




                                      - 784 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2839       Page 811 of 990




South Carolina Plaintiff and the South Carolina Subclass has suffered an

ascertainable loss as a result of Ford’s violations of the Dealers Act.

      3236. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Dealers Act. As a direct and proximate result of

Ford’s violations of the Dealers Act, South Carolina Plaintiff and the South Carolina

Subclass have suffered injury-in-fact and/or actual damage.

      3237. Ford’s violations present a continuing risk to South Carolina Plaintiff

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      3238. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3239. Pursuant to S.C. CODE ANN. § 56-15-110, Plaintiff seeks monetary

relief to recover their economic losses. Because Ford’s actions were willful and

knowing, Plaintiffs’ damages should be trebled.

      3240. Plaintiff further alleges that Ford’s malicious and deliberate conduct

warrants an assessment of punitive damages because it carried out despicable




                                        - 785 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2840    Page 812 of 990




conduct with willful and conscious disregard of the rights of others. Ford’s unlawful

conduct constitutes malice, oppression, and fraud warranting punitive damages.

      3241. Plaintiff further seeks an order enjoining each Ford’s unfair or

deceptive acts or practices.

                                   COUNT 242

                          BREACH OF CONTRACT
                     (BASED ON SOUTH CAROLINA LAW)

      3242. South Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3243. This claim is brought by the South Carolina Plaintiff on behalf of South

Carolina Subclass.

      3244. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused South Carolina Plaintiff and the South Carolina

Subclass members to make their purchases or leases of the Coastdown Cheating

Vehicles. Absent those misrepresentations and omissions, South Carolina Plaintiff

and the South Carolina Subclass members would not have purchased or leased the

Coastdown Cheating Vehicles, would not have purchased or leased the Coastdown

Cheating Vehicles at the prices they paid, and/or would have purchased or leased

less expensive alternative vehicles that did not contain the reduced mileage.

Accordingly, South Carolina Plaintiff and the South Carolina Subclass members


                                       - 786 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2841    Page 813 of 990




overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

      3245. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to South Carolina Plaintiff and the South Carolina

Subclass members defective Coastdown Cheating Vehicles and by misrepresenting

or failing to disclose that the Coastdown Cheating Vehicles do not provide the fuel

efficiency that was advertised and certified, and their mileage is far worse than a

reasonable consumer would expect given the premium paid for these vehicles and

the representation made by Ford.

      3246. As a direct and proximate result of Ford’s breach of contract, South

Carolina Plaintiff and the South Carolina Subclass have been damaged in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

                                   COUNT 243

                       BREACH OF EXPRESS WARRANTY
                          (S.C. CODE ANN. § 36-2-313)

      3247. South Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3248. This claim is brought by South Carolina Plaintiff on behalf of the South

Carolina Subclass.


                                      - 787 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2842     Page 814 of 990




      3249. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to S.C. Code Ann. § 36-2-104.

      3250. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3251. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3252. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3253. These affirmations and promises were part of the basis of the bargain

that was reached when South Carolina Plaintiff and the other South Carolina

Subclass members purchased or leased the Coastdown Cheating Vehicles.

      3254. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 788 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2843    Page 815 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3255. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3256. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make South Carolina Plaintiff and the South Carolina Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3257. Accordingly, recovery by the South Carolina Plaintiff and the South

Carolina Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and South Carolina Plaintiff, individually and on behalf of the

other South Carolina Subclass members, seek all remedies as allowed by law.

      3258. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. South

Carolina Plaintiff and the South Carolina Subclass were therefore induced to



                                       - 789 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2844    Page 816 of 990




purchase or lease the Coastdown Cheating Vehicles under false and/or fraudulent

pretenses.

      3259. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      3260. As a direct and proximate result of Ford’s breach of express warranties,

South Carolina Plaintiff and the South Carolina Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 244

                      FRAUDULENT CONCEALMENT
                    (BASED ON SOUTH CAROLINA LAW)

      3261. South Carolina Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3262. This claim is brought by the South Carolina Plaintiff on behalf of the

South Carolina Subclass.

      3263. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied South Carolina Plaintiff and the


                                       - 790 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2845    Page 817 of 990




South Carolina Subclass members information that is highly relevant to their

purchasing decision.

      3264. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3265. Ford further affirmatively misrepresented to South Carolina Plaintiff

and the South Carolina Subclass in advertising and other forms of communication,

including standard and uniform material provided with each car that the Coastdown

Cheating Vehicles it was selling had no significant defects and had the advertised

and certified fuel efficiency.

      3266. Ford knew these representations were false when made.

      3267. The Coastdown Cheating Vehicles purchased or leased by South

Carolina Plaintiff and the South Carolina Subclass members were, in fact, defective,

with reduced fuel efficiency.

      3268. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because South Carolina Plaintiff and



                                        - 791 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2846    Page 818 of 990




the South Carolina Subclass members relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      3269. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3270. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; South Carolina Plaintiff and the South

Carolina Subclass members did not know of these facts and Ford actively concealed

these facts from South Carolina Plaintiff and the South Carolina Subclass members.

      3271. South Carolina Plaintiff and the South Carolina Subclass members

reasonably relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, South Carolina

Plaintiff and the South Carolina Subclass members did not, and could not, unravel

Ford’s deception on their own. Rather, Ford intended to deceive South Carolina

Plaintiff and the South Carolina Subclass members by concealing the true facts about

the Coastdown Cheating Vehicles’ lack of fuel efficiency.




                                        - 792 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2847    Page 819 of 990




      3272. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that South Carolina Plaintiff and the South Carolina

Subclass members placed in its representations.

      3273. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including South Carolina Plaintiff and the South Carolina

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      3274. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by South Carolina Plaintiff and the South Carolina Subclass members.

Ford also had a duty to disclose because it made general affirmative representations



                                        - 793 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2848     Page 820 of 990




about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to South Carolina Plaintiff and the South Carolina Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by South Carolina

Plaintiff and the South Carolina Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to South Carolina Plaintiff and

the South Carolina Subclass members that they were purchasing or leasing fuel

efficient vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      3275. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of South Carolina

Plaintiff and the South Carolina Subclass members.

      3276. Ford has still not made full and adequate disclosures and continues to

defraud South Carolina Plaintiff and the South Carolina Subclass members by



                                        - 794 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2849    Page 821 of 990




concealing material information regarding the fuel efficiency of its Coastdown

Cheating Vehicles.

      3277. South Carolina Plaintiff and the South Carolina Subclass members

were unaware of the omitted material facts referenced herein, and they would not

have acted as they did if they had known of the concealed and/or suppressed facts,

in that they would not have purchased purportedly fuel efficient vehicles

manufactured by Ford, and/or would have taken other affirmative steps in light of

the information concealed from them. South Carolina Plaintiff’s and the South

Carolina Subclass members’ actions were justified. Ford was in exclusive control of

the material facts, and such facts were not generally known to the public, South

Carolina Plaintiff, or the South Carolina Subclass members.

      3278. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to South Carolina Plaintiff and the South Carolina Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      3279. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of South Carolina

Plaintiff’s and South Carolina Subclass members’ rights and the representations that

Ford made to them were made in order to enrich Ford. Ford’s conduct warrants an



                                      - 795 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2850      Page 822 of 990




assessment of punitive damages in an amount sufficient to deter such conduct in the

future, which amount is to be determined according to proof.

                                       COUNT 245

                       NEGLIGENT MISREPRESENTATION
                      (BASED ON SOUTH CAROLINA LAW)

      3280. South Carolina Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3281. This claim is brought by the South Carolina Plaintiff on behalf of the

South Carolina Subclass.

      3282. Defendant made fuel economy representations to South Carolina

Plaintiff and members of the Class that were not true.

      3283. Defendant      had    no    reasonable   grounds   for   believing    these

representations were true when they made them, yet they intended that South

Carolina Plaintiff and South Carolina Subclass members rely on these

misrepresentations.

      3284. South      Carolina   Plaintiff   reasonably    relied   on     Defendant’s

representations and as a result South Carolina Plaintiff and South Carolina Subclass

members were harmed.

                                       COUNT 246

                            UNJUST ENRICHMENT
                      (BASED ON SOUTH CAROLINA LAW)



                                         - 796 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2851    Page 823 of 990




       3285. South Carolina Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

       3286. This claim is brought by the South Carolina Plaintiff on behalf of the

South Carolina Subclass.

       3287. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to South Carolina Plaintiff and the South Carolina Subclass.

       3288. Defendant enjoyed the benefit of increased financial gains, to the

detriment of South Carolina Plaintiff and other South Carolina Subclass members.

It would be inequitable and unjust for Ford to retain these wrongfully obtained

profits.

       3289. South Carolina Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the South Carolina Subclass.

       Claims Brought on Behalf of the South Dakota Subclass

                                    COUNT 247

             VIOLATION OF THE SOUTH DAKOTA DECEPTIVE
           TRADE PRACTICES AND CONSUMER PROTECTION LAW
                     (S.D. CODIFIED LAWS § 37-24-6)

       3290. Plaintiff Robert Raney (“South Dakota Plaintiff”) hereby incorporates

by reference the allegations contained in the preceding paragraphs of this complaint.



                                        - 797 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2852    Page 824 of 990




      3291. This claim is brought by South Dakota Plaintiff on behalf of the South

Dakota Subclass.

      3292. The South Dakota Deceptive Trade Practices and Consumer Protection

Law (“South Dakota CPL”) prohibits deceptive acts or practices, which include

“[k]nowingly act[ing], us[ing], or employ[ing] any deceptive act or practice, fraud,

false pretense, false promises, or misrepresentation or to conceal, suppress, or omit

any material fact in connection with the sale or advertisement of any merchandise,

regardless of whether any person has in fact been misled, deceived, or damaged

thereby.” S.D. CODIFIED LAWS §§ 37-24-6(1), 37-24-31.

      3293. All of the acts complained of herein were perpetrated by Ford in the

course of trade or commerce.

      3294. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3295. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.



                                       - 798 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2853     Page 825 of 990




      3296. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including South Dakota Plaintiff and the South

Dakota Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.

      3297. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead South Dakota

Plaintiff and the South Dakota Subclass.

      3298. Ford knew or should have known that its conduct violated the South

Dakota CPL.

      3299. Ford owed South Dakota Plaintiff and the South Dakota Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from South
                   Dakota Plaintiff and the South Dakota Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding


                                       - 799 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2854    Page 826 of 990




                    material facts from South Dakota Plaintiff and the
                    South Dakota Subclass that contradicted these
                    representations.

      3300. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to South Dakota Plaintiff and the

South Dakota Subclass.

      3301. South Dakota Plaintiff and the South Dakota Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. South Dakota Plaintiff and the South Dakota

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the South Dakota CPL.

      3302. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the South Dakota CPL. As a direct and proximate

result of Ford’s violations of the South Dakota CPL, South Dakota Plaintiff and the

South Dakota Subclass have suffered injury-in-fact and/or actual damage.

      3303. Ford’s violations present a continuing risk to South Dakota Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3304. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the



                                       - 800 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2855    Page 827 of 990




defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3305. Under S.D. CODIFIED LAWS § 37-24-31, Plaintiffs are entitled to a

recovery of their actual damages suffered as a result of Ford’s acts and practices.

      3306. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                    COUNT 248

                           BREACH OF CONTRACT
                       (BASED ON SOUTH DAKOTA LAW)

      3307. South Dakota Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3308. This claim is brought by the South Dakota Plaintiff on behalf of South

Dakota Subclass.

      3309. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused South Dakota Plaintiff and the South Dakota

Subclass members to make their purchases or leases of the Coastdown Cheating

Vehicles. Absent those misrepresentations and omissions, South Dakota Plaintiff

and the South Dakota Subclass members would not have purchased or leased the

Coastdown Cheating Vehicles, would not have purchased or leased the Coastdown


                                       - 801 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2856    Page 828 of 990




Cheating Vehicles at the prices they paid, and/or would have purchased or leased

less expensive alternative vehicles that did not contain the reduced mileage.

Accordingly, South Dakota Plaintiff and the South Dakota Subclass members

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

      3310. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to South Dakota Plaintiff and the South Dakota

Subclass Class members defective Coastdown Cheating Vehicles and by

misrepresenting or failing to disclose that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford.

      3311. As a direct and proximate result of Ford’s breach of contract, South

Dakota Plaintiff and the South Dakota Subclass have been damaged in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.




                                        - 802 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2857     Page 829 of 990




                                   COUNT 249

                       BREACH OF EXPRESS WARRANTY
                       (S.D. CODIFIED LAWS § 57A-2-313)

      3312. South Dakota Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.

      3313. This claim is brought by South Dakota Plaintiff on behalf of the South

Dakota Subclass.

      3314. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to S.D. Codified Laws § 57A-2-104.

      3315. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3316. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.




                                      - 803 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2858    Page 830 of 990




      3317. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3318. These affirmations and promises were part of the basis of the bargain

that was reached when South Dakota Plaintiff and the other South Dakota Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3319. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3320. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3321. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make South Dakota Plaintiff and the South Dakota Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3322. Accordingly, recovery by the South Dakota Plaintiff and the South

Dakota Subclass is not limited to the NVLW promising to repair and/or correct a



                                       - 804 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2859    Page 831 of 990




manufacturing defect, and South Dakota Plaintiff, individually and on behalf of the

other South Dakota Subclass members, seek all remedies as allowed by law.

      3323. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. South Dakota

Plaintiff and the South Dakota Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3324. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      3325. As a direct and proximate result of Ford’s breach of express warranties,

South Dakota Plaintiff and the South Dakota Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 250

                       FRAUDULENT CONCEALMENT
                     (BASED ON SOUTH DAKOTA LAW)

      3326. South Dakota Plaintiff incorporates by reference all paragraphs as

though fully set forth herein.




                                       - 805 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2860     Page 832 of 990




      3327. This claim is brought by the South Dakota Plaintiff on behalf of the

South Dakota Subclass.

      3328. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied South Dakota Plaintiff and the South

Dakota Subclass members information that is highly relevant to their purchasing

decision.

      3329. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3330. Ford further affirmatively misrepresented to South Dakota Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3331. Ford knew these representations were false when made.




                                       - 806 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2861    Page 833 of 990




      3332. The Coastdown Cheating Vehicles purchased or leased by South

Dakota Plaintiff and the South Dakota Subclass members were, in fact, defective,

with reduced fuel efficiency.

      3333. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because South Dakota Plaintiff and

the South Dakota Subclass members relied on Ford’s material representations or

omissions of fact that the Coastdown Cheating Vehicles they were purchasing were

fuel efficient and free from defects.

      3334. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3335. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; South Dakota Plaintiff and the South Dakota

Subclass members did not know of these facts and Ford actively concealed these

facts from South Dakota Plaintiff and the South Dakota Subclass members.




                                        - 807 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2862    Page 834 of 990




      3336. South Dakota Plaintiff and the South Dakota Subclass members

reasonably relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, South Dakota Plaintiff

and the South Dakota Subclass members did not, and could not, unravel Ford’s

deception on their own. Rather, Ford intended to deceive South Dakota Plaintiff and

the South Dakota Subclass members by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3337. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that South Dakota Plaintiff and the South Dakota

Subclass members placed in its representations.

      3338. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including South Dakota Plaintiff and the South Dakota

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.




                                       - 808 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2863     Page 835 of 990




      3339. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by South Dakota Plaintiff and the South Dakota Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to South Dakota Plaintiff and the South Dakota Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by South Dakota

Plaintiff and the South Dakota Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to South Dakota Plaintiff and the

South Dakota Subclass members that they were purchasing or leasing fuel efficient




                                        - 809 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2864    Page 836 of 990




vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      3340. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of South Dakota

Plaintiff and the South Dakota Subclass members.

      3341. Ford has still not made full and adequate disclosures and continues to

defraud South Dakota Plaintiff and the South Dakota Subclass members by

concealing material information regarding the fuel efficiency of its Coastdown

Cheating Vehicles.

      3342. South Dakota Plaintiff and the South Dakota Subclass members were

unaware of the omitted material facts referenced herein, and they would not have

acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. South Dakota Plaintiff’s and the South Dakota Subclass

members’ actions were justified. Ford was in exclusive control of the material facts,

and such facts were not generally known to the public, South Dakota Plaintiff, or

South Dakota Subclass members.



                                       - 810 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2865   Page 837 of 990




      3343. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to South Dakota Plaintiff and the South Dakota Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      3344. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of South Dakota

Plaintiff’s and South Dakota Subclass members’ rights and the representations that

Ford made to them were made in order to enrich Ford. Ford’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the

future, which amount is to be determined according to proof.

                                   COUNT 251

                     NEGLIGENT MISREPRESENTATION
                     (BASED ON SOUTH DAKOTA LAW)

      3345. South Dakota Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3346. This claim is brought by the South Dakota Plaintiff on behalf of the

South Dakota Subclass.

      3347. Defendant made fuel economy representations to South Dakota

Plaintiff and members of the Class that were not true.




                                      - 811 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2866      Page 838 of 990




      3348. Defendant     had   no    reasonable   grounds     for   believing    these

representations were true when they made them, yet they intended that South Dakota

Plaintiff and South Dakota Subclass members rely on these misrepresentations.

      3349. South     Dakota    Plaintiff   reasonably     relied    on     Defendant’s

representations and as a result South Dakota Plaintiff and South Dakota Subclass

members were harmed.

                                     COUNT 252

                          UNJUST ENRICHMENT
                     (BASED ON SOUTH DAKOTA LAW)

      3350. South Dakota Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3351. This claim is brought by the South Dakota Plaintiff on behalf of the

South Dakota Subclass.

      3352. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to South Dakota Plaintiff and the South Dakota Subclass.

      3353. Defendant enjoyed the benefit of increased financial gains, to the

detriment of South Dakota Plaintiff and other South Dakota Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                       - 812 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20            PageID.2867      Page 839 of 990




       3354. South Dakota Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the South Dakota Subclass.

       Claims Brought on Behalf of the Tennessee Subclass

                                       COUNT 253

    VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT
                  (TENN. CODE § 47-18-101, et seq.)

       3355. Plaintiff James Williams (“Tennessee Plaintiff”) incorporates by

reference all paragraphs alleged herein.

       3356. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.

       3357. Tennessee Plaintiff and the Tennessee Subclass are “natural persons”

and “consumers” within the meaning of TENN. CODE § 47-18-103(2).

       3358. Ford is a “person” within the meaning of TENN. CODE § 47-18-103(2).

       3359. Ford’s conduct complained of herein affected “trade,” “commerce” or

“consumer transactions” within the meaning of TENN. CODE § 47-18-103(19).

       3360. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits

“[u]nfair or deceptive acts or practices affecting the conduct of any trade or

commerce,” including but not limited to: “Representing that goods or services have

. . . characteristics, [or] . . . benefits . . . that they do not have . . . .”; “Representing

that goods or services are of a particular standard, quality or grade . . . if they are of


                                           - 813 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2868    Page 840 of 990




another”; and “Advertising goods or services with intent not to sell them as

advertised.” TENN. CODE § 47-18-104. Ford violated the Tennessee CPA by

engaging in unfair or deceptive acts, including representing that Coastdown

Cheating Vehicles have characteristics or benefits that they did not have;

representing that Coastdown Cheating Vehicles are of a particular standard, quality,

or grade when they are of another; and advertising Coastdown Cheating Vehicles

with intent not to sell them as advertised.

      3361. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3362. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      3363. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Tennessee Plaintiff and the Tennessee

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel



                                        - 814 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2869     Page 841 of 990




economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      3364. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Tennessee

Plaintiff and the Tennessee Subclass.

      3365. Ford knew or should have known that its conduct violated the

Tennessee CPA.

      3366. Ford owed Tennessee Plaintiff and the Tennessee Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Tennessee Plaintiff and the Tennessee Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Tennessee Plaintiff and the
                   Tennessee Subclass that contradicted these
                   representations.

      3367. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Tennessee Plaintiff and the

Tennessee Subclass.

                                        - 815 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2870    Page 842 of 990




      3368. Tennessee Plaintiff and the Tennessee Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Tennessee Plaintiff and the Tennessee Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Tennessee CPA.

      3369. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Tennessee CPA. As a direct and proximate result

of Ford’s violations of the Tennessee CPA, Tennessee Plaintiff and the Tennessee

Subclass have suffered injury-in-fact and/or actual damage.

      3370. Ford’s violations present a continuing risk to Tennessee Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3371. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3372. Pursuant to TENN. CODE § 47-18-109(a), Tennessee Plaintiff,

individually and on behalf of the Tennessee Subclass members, seeks monetary



                                       - 816 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2871     Page 843 of 990




relief against Ford measured as actual damages in an amount to be determined at

trial, treble damages as a result of Ford’s willful or knowing violations, and any other

just and proper relief available under the Tennessee CPA.

       3373. Plaintiffs also seek punitive damages because Ford engaged in

aggravated and outrageous conduct.

                                    COUNT 254

                            BREACH OF CONTRACT
                          (BASED ON TENNESSEE LAW)

       3374. Tennessee Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3375. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.

       3376. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Tennessee Plaintiff and the Tennessee Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Tennessee Plaintiff and the Tennessee Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Tennessee Plaintiff and the Tennessee


                                        - 817 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2872    Page 844 of 990




Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       3377. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Tennessee Plaintiff and the Tennessee Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       3378. As a direct and proximate result of Ford’s breach of contract, Tennessee

Plaintiff and the Tennessee Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 255

                          BREACH OF EXPRESS WARRANTY
                            (TENN. CODE ANN. § 47-2-313)

       3379. Tennessee Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3380. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.


                                       - 818 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2873     Page 845 of 990




      3381. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Tenn. Code Ann. § 47-2-104.

      3382. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3383. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3384. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3385. These affirmations and promises were part of the basis of the bargain

that was reached when Tennessee Plaintiff and the other Tennessee Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3386. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 819 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2874    Page 846 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3387. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3388. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Tennessee Plaintiff and the Tennessee Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3389. Accordingly, recovery by the Tennessee Plaintiff and the Tennessee

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Tennessee Plaintiff, individually and on behalf of the

other Tennessee Subclass members, seek all remedies as allowed by law.

      3390. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Tennessee




                                       - 820 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2875    Page 847 of 990




Plaintiff and the Tennessee Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       3391. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3392. As a direct and proximate result of Ford’s breach of express warranties,

Tennessee Plaintiff and the Tennessee Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 256

                          FRAUDULENT CONCEALMENT
                           (BASED ON TENNESSEE LAW)

       3393. Tennessee Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3394. This claim is brought by Tennessee Plaintiff on behalf of the Tennessee

Subclass.

       3395. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard




                                        - 821 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2876    Page 848 of 990




for the truth and denied Tennessee Plaintiff and the Tennessee Subclass information

that is highly relevant to their purchasing decision.

      3396. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3397. Ford further affirmatively misrepresented to Tennessee Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3398. Ford knew these representations were false when made.

      3399. The Coastdown Cheating Vehicles purchased or leased by Tennessee

Plaintiff and the Tennessee Subclass were, in fact, defective, with reduced fuel

efficiency.

      3400. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Tennessee Plaintiff and the

Tennessee Subclass relied on Ford’s material representations or omissions of fact



                                        - 822 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2877    Page 849 of 990




that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      3401. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3402. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Tennessee Plaintiff and the Tennessee

Subclass did not know of these facts and Ford actively concealed these facts from

Tennessee Plaintiff and the Tennessee Subclass.

      3403. Tennessee Plaintiff and the Tennessee Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Tennessee Plaintiff and the Tennessee

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Tennessee Plaintiff and the Tennessee Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3404. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions



                                       - 823 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2878    Page 850 of 990




regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Tennessee Plaintiff and the Tennessee Subclass

placed in its representations.

      3405. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Tennessee Plaintiff and the Tennessee Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      3406. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Tennessee Plaintiff and the Tennessee Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide



                                        - 824 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2879     Page 851 of 990




information to Tennessee Plaintiff and the Tennessee Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Tennessee Plaintiff and the

Tennessee Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Tennessee Plaintiff and the Tennessee Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      3407. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Tennessee

Plaintiff and the Tennessee Subclass.

      3408. Ford has still not made full and adequate disclosures and continues to

defraud Tennessee Plaintiff and the Tennessee Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3409. Tennessee Plaintiff and the Tennessee Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did



                                        - 825 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2880     Page 852 of 990




if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Tennessee Plaintiff’s and the Tennessee Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Tennessee Plaintiff, or, Tennessee Subclass members.

      3410. Because of the concealment and/or suppression of the facts, Tennessee

Plaintiff and the Tennessee Subclass have sustained damage because they overpaid

for their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Tennessee Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      3411. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Tennessee Plaintiff and the Tennessee Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      3412. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Tennessee Plaintiff’s

and the Tennessee Subclass’s rights and the representations that Ford made to them



                                        - 826 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2881    Page 853 of 990




in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 257

                   NEGLIGENT MISREPRESENTATION
                     (BASED ON TENNESSEE LAW)

      3413. Tennessee Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3414. This claim is brought by the Tennessee Plaintiff on behalf of the

Tennessee Subclass.

      3415. Defendant made fuel economy representations to Tennessee Plaintiff

and members of the Class that were not true.

      3416. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Tennessee

Plaintiff and Tennessee Subclass members rely on these misrepresentations.

      3417. Tennessee Plaintiff reasonably relied on Defendant’s representations

and as a result Tennessee Plaintiff and Tennessee Subclass members were harmed.

                                      COUNT 258

                           UNJUST ENRICHMENT
                        (BASED ON TENNESSEE LAW)




                                        - 827 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2882     Page 854 of 990




      3418. Tennessee Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3419. This claim is brought by the Tennessee Plaintiff on behalf of the

Tennessee Subclass.

      3420. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Tennessee Plaintiff and the Tennessee Subclass.

      3421. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Tennessee Plaintiff and other Tennessee Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3422. Tennessee Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Tennessee Subclass.

      Claims Brought on Behalf of the Texas Subclass

                                    COUNT 259

            VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
            PRACTICES AND CONSUMER PROTECTION ACT
                (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

      3423. Plaintiffs David Brewer, Rosalynda Garza, Marshall B. Lloyd, and

Michael Smith (“Texas Plaintiffs”) incorporate by reference all paragraphs alleged

herein.



                                       - 828 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2883     Page 855 of 990




      3424. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.

      3425. Texas Plaintiffs and the Texas Subclass members are individuals with

assets of less than $25 million (or are controlled by corporations or entities with less

than $25 million in assets). See TEX. BUS. & COM. CODE § 17.41.

      3426. The Texas Deceptive Trade Practices-Consumer Protection Act

(“Texas DTPA”) provides a private right of action to a consumer where the

consumer suffers economic damage as the result of either (i) the use of false,

misleading, or deceptive act or practice specifically enumerated in T EX. BUS. &

COM. CODE § 17.46(b); or (ii) “an unconscionable action or course of action by any

person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA declares

several specific actions to be unlawful, including: “(5) Representing that goods or

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

qualities that they do not have”; “(7) Representing that goods or services are of a

particular standard, quality, or grade, or that goods are of a particular style or model,

if they are of another”; and “(9) advertising goods or services with intent not to sell

them as advertised.” An “unconscionable action or course of action” means “an act

or practice which, to a consumer’s detriment, takes advantage of the lack of

knowledge, ability, experience, or capacity of the consumer to a grossly unfair

degree.” TEX. BUS. & COM. CODE § 17.45(5). As detailed herein, Ford has engaged



                                        - 829 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2884    Page 856 of 990




in an unconscionable action or course of action and thereby caused economic

damages to the Texas Class.

      3427. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3428. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      3429. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Texas Plaintiffs and the Texas Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

      3430. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Texas Plaintiffs

and the Texas Subclass.



                                       - 830 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2885     Page 857 of 990




      3431. Ford knew or should have known that its conduct violated the Texas

DTPA.

      3432. Ford owed Texas Plaintiffs and the Texas Subclass a duty to disclose

the performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from Texas
                   Plaintiffs and the Texas Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Texas Plaintiffs and the Texas
                   Subclass that contradicted these representations.

      3433. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Texas Plaintiffs and the Texas

Subclass.

      3434. Texas Plaintiffs and the Texas Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Texas Plaintiffs and the Texas Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Texas DTPA.

                                       - 831 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2886    Page 858 of 990




      3435. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Texas DTPA. As a direct and proximate result of

Ford’s violations of the Texas DTPA, Texas Plaintiffs and the Texas Subclass have

suffered injury-in-fact and/or actual damage.

      3436. Ford’s violations present a continuing risk to Texas Plaintiffs as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      3437. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3438. On June 20, 2019, Plaintiffs sent a letter complying with T EX. BUS. &

COM. CODE Ann. § 17.505 to Ford.

      3439. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Texas in

accordance with TEX. BUS. & COM. CODE Ann. § 17:501.

      3440. Texas Plaintiffs seek monetary relief against Ford measured as actual

damages in an amount to be determined at trial, treble damages for Ford’s knowing



                                       - 832 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2887    Page 859 of 990




violations of the Texas DTPA, and any other just and proper relief available under

the Texas DTPA.

      3441. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE

§ 17.50(b)(3) & (4), Texas Plaintiffs are also entitled to disgorgement or to

rescission or to any other relief necessary to restore any money or property that was

acquired from Texas Plaintiffs based on violations of the Texas DTPA or which the

Court deems proper. Plaintiffs also seek an award of punitive damages due to Ford’s

aggravated and outrageous conduct.

      3442. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Texas in

accordance with Tex. Bis. & Com. Code § 17:501.

      3443. Texas Plaintiffs have also provided Ford with pre-suit notice.

                                   COUNT 260

                            BREACH OF CONTRACT
                            (BASED ON TEXAS LAW)

      3444. Texas Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      3445. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.




                                       - 833 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2888    Page 860 of 990




        3446. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Texas Plaintiffs and the Texas Subclass to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Texas Plaintiffs and the Texas Subclass would

not have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not

contain the reduced mileage. Accordingly, Texas Plaintiffs and the Texas Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        3447. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Texas Plaintiffs and the Texas Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.




                                       - 834 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2889     Page 861 of 990




      3448. As a direct and proximate result of Ford’s breach of contract, Texas

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 261

                      BREACH OF EXPRESS WARRANTY
                       (TEX. BUS. & COM. CODE § 2.313)

      3449. Texas Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      3450. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.

      3451. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Tex. Bus. & Com. Code § 2.104.

      3452. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.




                                      - 835 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2890    Page 862 of 990




      3453. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3454. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3455. These affirmations and promises were part of the basis of the bargain

that was reached when Texas Plaintiffs and the other Texas Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      3456. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3457. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3458. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Texas Plaintiffs and the Texas Subclass whole, and because



                                       - 836 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2891    Page 863 of 990




Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      3459. Accordingly, recovery by the Texas Plaintiffs and the Texas Subclass

is not limited to the NVLW promising to repair and/or correct a manufacturing

defect, and Texas Plaintiffs, individually and on behalf of the other Texas Subclass

members, seek all remedies as allowed by law.

      3460. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Texas

Plaintiffs and the Texas Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3461. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      3462. As a direct and proximate result of Ford’s breach of express warranties,

Texas Plaintiffs and the Texas Subclass have been damaged in an amount to be

determined at trial.




                                       - 837 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2892    Page 864 of 990




                                    COUNT 262

                         FRAUDULENT CONCEALMENT
                           (BASED ON TEXAS LAW)

      3463. Texas Plaintiffs incorporate by reference all paragraphs as though fully

set forth herein.

      3464. This claim is brought by Texas Plaintiffs on behalf of the Texas

Subclass.

      3465. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Texas Plaintiffs and the Texas Subclass information that is

highly relevant to their purchasing decision.

      3466. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3467. Ford further affirmatively misrepresented to Texas Plaintiffs in

advertising and other forms of communication, including standard and uniform




                                        - 838 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2893    Page 865 of 990




material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3468. Ford knew these representations were false when made.

      3469. The Coastdown Cheating Vehicles purchased or leased by Texas

Plaintiffs and the Texas Subclass were, in fact, defective, with reduced fuel

efficiency.

      3470. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Texas Plaintiffs and the

Texas Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      3471. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3472. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Texas Plaintiffs and the Texas Subclass did



                                        - 839 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2894    Page 866 of 990




not know of these facts and Ford actively concealed these facts from Texas Plaintiffs

and the Texas Subclass.

      3473. Texas Plaintiffs and the Texas Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Texas Plaintiffs and the Texas Subclass did not,

and could not, unravel Ford’s deception on their own. Rather, Ford intended to

deceive Texas Plaintiffs and the Texas Subclass by concealing the true facts about

the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3474. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Texas Plaintiffs and the Texas Subclass placed

in its representations.

      3475. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Texas Plaintiffs and the Texas Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.



                                        - 840 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2895     Page 867 of 990




      3476. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Texas Plaintiffs and the Texas Subclass members. Ford also had a

duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Texas Plaintiffs and the Texas Subclass members, Ford had the duty

to disclose not just the partial truth, but the entire truth. These omitted and concealed

facts were material because they directly impact the value of the Coastdown

Cheating Vehicles purchased or leased by Texas Plaintiffs and the Texas Subclass

members. Whether an automobile is fuel efficient and whether it accurately

measures its own gasoline consumption are material concerns to a consumer. Ford

represented to Texas Plaintiffs and the Texas Subclass members that they were

purchasing or leasing fuel efficient vehicles, when in fact the Coastdown Cheating




                                        - 841 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2896    Page 868 of 990




Vehicles do not perform as advertised and certified and do not accurately report their

own fuel consumption.

      3477. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Texas Plaintiffs

and the Texas Subclass.

      3478. Ford has still not made full and adequate disclosures and continues to

defraud Texas Plaintiffs and the Texas Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3479. Texas Plaintiffs and the Texas Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would

have taken other affirmative steps in light of the information concealed from them.

Texas Plaintiffs’ and the Texas Subclass members’ actions were justified. Ford was

in exclusive control of the material facts, and such facts were not generally known

to the public, Texas Plaintiffs, or Texas Subclass members.

      3480. Because of the concealment and/or suppression of the facts, Texas

Plaintiffs and the Texas Subclass have sustained damage because they overpaid for



                                       - 842 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2897     Page 869 of 990




their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Texas Plaintiff and Class

members would not have purchased or leased the Coastdown Cheating Vehicles or

would have paid less.

      3481. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Texas Plaintiffs and the Texas Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      3482. Ford’s      acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Texas Plaintiffs’ and

the Texas Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an

amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 263

                     NEGLIGENT MISREPRESENTATION
                         (BASED ON TEXAS LAW)

      3483. Texas Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.




                                        - 843 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2898       Page 870 of 990




      3484. This claim is brought by the Texas Plaintiffs on behalf of the Texas

Subclass.

      3485. Defendant made fuel economy representations to Texas Plaintiffs and

members of the Class that were not true.

      3486. Defendant     had   no    reasonable   grounds      for   believing   these

representations were true when they made them, yet they intended that Texas

Plaintiffs and Texas Subclass members rely on these misrepresentations.

      3487. Texas Plaintiffs reasonably relied on Defendant’s representations and

as a result Texas Plaintiffs and Texas Subclass members were harmed.

                                     COUNT 264

                            UNJUST ENRICHMENT
                           (BASED ON TEXAS LAW)

      3488. Texas Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      3489. This claim is brought by the Texas Plaintiffs on behalf of the Texas

Subclass.

      3490. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Texas Plaintiffs and the Texas Subclass.




                                       - 844 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20            PageID.2899     Page 871 of 990




       3491. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Texas Plaintiffs and other Texas Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

       3492. Texas Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Texas Subclass.

       Claims Brought on Behalf of the Utah Subclass

                                       COUNT 265

      VIOLATION OF THE UTAH CONSUMER SALE PRACTICES ACT
                (UTAH CODE ANN. § 13-11-1 ET SEQ.)

       3493. Plaintiff Al Balls (“Utah Plaintiff”) hereby incorporates by reference

the allegations contained in the preceding paragraphs of this complaint.

       3494. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.

       3495. The Utah Consumer Sales Practices Act (“Utah CSPA”) makes

unlawful any “deceptive act or practice by a supplier in connection with a consumer

transaction,” including but not limited to indicating that the subject of a consumer

transaction has sponsorship, approval, performance characteristics, accessories,

uses, or benefits, if it has not; indicating that the subject of a consumer transaction

is of a particular standard, quality, grade, style, or model, if it is not; and “indicat[ing]

that a specific price advantage exists, if it does not.” UTAH CODE ANN. § 13-11-4.




                                          - 845 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2900    Page 872 of 990




      3496. Ford willfully failed to disclose that the Coastdown Cheating Vehicles

do not have the advertised fuel economy and that fuel economy were far worse than

a reasonable consumer would expect given the premium paid for these vehicles over

a comparable vehicle. Ford also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

suppression, or omission of any material fact with intent that others rely upon such

concealment, suppression, or omission, in connection with the sale of the Coastdown

Cheating Vehicles.

      3497. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      3498. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Utah Plaintiff and the Utah Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,

the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.




                                       - 846 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2901     Page 873 of 990




      3499. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Utah Plaintiff and

the Utah Subclass.

      3500. Ford knew or should have known that its conduct violated the Utah

CSPA.

      3501. Ford owed Utah Plaintiff and the Utah Subclass a duty to disclose the

performance, fuel mileage, and true environmental impact of the Coastdown

Cheating Vehicles, because Ford:

            a.       Possessed exclusive knowledge that it manipulated
                     the testing, certification, and representations of fuel
                     efficiency;

            b.       Intentionally concealed the foregoing from Utah
                     Plaintiff and the Utah Subclass; and/or

            c.       Made incomplete representations that it
                     manipulated the certification testing and failed to
                     disclose the true fuel economy of the Coastdown
                     Cheating Vehicles, while purposefully withholding
                     material facts from Utah Plaintiff and the Utah
                     Subclass that contradicted these representations.

      3502. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Utah Plaintiff and the Utah

Subclass.

      3503. Utah Plaintiff and the Utah Subclass suffered ascertainable loss caused

by Ford’s misrepresentations and its concealment of and failure to disclose material

information. Utah Plaintiff and the Utah Subclass members who purchased the

                                         - 847 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2902    Page 874 of 990




Coastdown Cheating Vehicles either would have paid less for their vehicles or would

not have purchased or leased them at all but for Ford’s violations of the Utah CSPA.

      3504. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Utah CSPA. As a direct and proximate result of

Ford’s violations of the Utah CSPA, Utah Plaintiff and the Utah Subclass have

suffered injury-in-fact and/or actual damage.

      3505. Ford’s violations present a continuing risk to Utah Plaintiff as well as

to the general public. Ford’s unlawful acts and practices complained of herein affect

the public interest.

      3506. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3507. Ford knew, or had reason to know, that consumers would rely on their

failure to disclose the defects in its emissions system. Ford therefore engaged in an

unconscionable act within the meaning of UTAH CODE ANN. § 13-11-5.

      3508. Pursuant to UTAH CODE ANN. § 13-11-4, Utah Plaintiff seek monetary

relief measured as the greater of (a) actual damages in an amount to be determined

at trial and (b) statutory damages in the amount of $2,000 for each Plaintiff;



                                       - 848 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2903    Page 875 of 990




reasonable attorneys’ fees; and any other just and proper relief available under the

Utah CSPA. Plaintiffs also seek an award of punitive damages due to Ford’s

aggravated and outrageous conduct.

      3509. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Utah in accordance

with UTAH CODE ANN. § 13-11-4, et seq.

                                   COUNT 266

                            BREACH OF CONTRACT
                            (BASED ON UTAH LAW)

      3510. Utah Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      3511. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.

      3512. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Utah Plaintiff and the Utah Subclass to make

their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Utah Plaintiff and the Utah Subclass would not

have purchased or leased the Coastdown Cheating Vehicles, would not have

purchased or leased the Coastdown Cheating Vehicles at the prices they paid, and/or

would have purchased or leased less expensive alternative vehicles that did not


                                      - 849 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2904    Page 876 of 990




contain the reduced mileage. Accordingly, Utah Plaintiff and the Utah Subclass

overpaid for the Coastdown Cheating Vehicles and did not receive the benefit of

their bargain.

        3513. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Utah Plaintiff and the Utah Subclass defective

Coastdown Cheating Vehicles and by misrepresenting or failing to disclose that the

Coastdown Cheating Vehicles do not provide the fuel efficiency that was advertised

and certified, and their mileage is far worse than a reasonable consumer would

expect given the premium paid for these vehicles and the representation made by

Ford.

        3514. As a direct and proximate result of Ford’s breach of contract, Utah

Plaintiff and the Utah Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 267

                       BREACH OF EXPRESS WARRANTY
                         (UTAH CODE ANN. § 70A-2-313)

        3515. Utah Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

        3516. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.


                                        - 850 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2905     Page 877 of 990




      3517. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Utah Code Ann. § 70A-2-104.

      3518. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3519. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3520. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3521. These affirmations and promises were part of the basis of the bargain

that was reached when Utah Plaintiff and the other Utah Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      3522. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 851 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2906    Page 878 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3523. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3524. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Utah Plaintiff and the Utah Subclass whole, and because Ford

has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

      3525. Accordingly, recovery by the Utah Plaintiff and the Utah Subclass is

not limited to the NVLW promising to repair and/or correct a manufacturing defect,

and Utah Plaintiff, individually and on behalf of the other Utah Subclass members,

seek all remedies as allowed by law.

      3526. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Utah Plaintiff




                                       - 852 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2907    Page 879 of 990




and the Utah Subclass were therefore induced to purchase or lease the Coastdown

Cheating Vehicles under false and/or fraudulent pretenses.

      3527. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      3528. As a direct and proximate result of Ford’s breach of express warranties,

Utah Plaintiff and the Utah Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 268

                         FRAUDULENT CONCEALMENT
                            (BASED ON UTAH LAW)

      3529. Utah Plaintiff incorporates by reference all paragraphs as though fully

set forth herein.

      3530. This claim is brought by Utah Plaintiff on behalf of the Utah Subclass.

      3531. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Utah Plaintiff and the Utah Subclass information that is

highly relevant to their purchasing decision.


                                        - 853 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2908    Page 880 of 990




      3532. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3533. Ford further affirmatively misrepresented to Utah Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3534. Ford knew these representations were false when made.

      3535. The Coastdown Cheating Vehicles purchased or leased by Utah

Plaintiff and the Utah Subclass were, in fact, defective, with reduced fuel efficiency.

      3536. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Utah Plaintiff and the Utah

Subclass relied on Ford’s material representations or omissions of fact that the

Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.




                                        - 854 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2909    Page 881 of 990




      3537. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3538. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Utah Plaintiff and the Utah Subclass did not

know of these facts and Ford actively concealed these facts from Utah Plaintiff and

the Utah Subclass.

      3539. Utah Plaintiff and the Utah Subclass reasonably relied upon Ford’s

deception. They had no way of knowing that Ford’s representations were false

and/or misleading. As consumers, Utah Plaintiff and the Utah Subclass did not, and

could not, unravel Ford’s deception on their own. Rather, Ford intended to deceive

Utah Plaintiff and the Utah Subclass by concealing the true facts about the

Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3540. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized




                                       - 855 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2910    Page 882 of 990




profits and sales above the trust that Utah Plaintiff and the Utah Subclass placed in

its representations.

      3541. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Utah Plaintiff and the Utah Subclass members,

highly valued that the vehicles they were purchasing or leasing were fuel efficient,

and they paid accordingly.

      3542. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Utah Plaintiff and the Utah Subclass members. Ford also had a duty

to disclose because it made general affirmative representations about the qualities of

its vehicles with respect to fuel efficiency, which were misleading, deceptive, and

incomplete without the disclosure of the additional facts set forth above regarding

the actual mileage of its vehicles. Having volunteered to provide information to

Utah Plaintiff and the Utah Subclass members, Ford had the duty to disclose not just



                                        - 856 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2911     Page 883 of 990




the partial truth, but the entire truth. These omitted and concealed facts were material

because they directly impact the value of the Coastdown Cheating Vehicles

purchased or leased by Utah Plaintiff and the Utah Subclass members. Whether an

automobile is fuel efficient and whether it accurately measures its own gasoline

consumption are material concerns to a consumer. Ford represented to Utah Plaintiff

and the Utah Subclass members that they were purchasing or leasing fuel efficient

vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      3543. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Utah Plaintiff

and the Utah Subclass.

      3544. Ford has still not made full and adequate disclosures and continues to

defraud Utah Plaintiff and the Utah Subclass by concealing material information

regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3545. Utah Plaintiff and the Utah Subclass were unaware of the omitted

material facts referenced herein, and they would not have acted as they did if they

had known of the concealed and/or suppressed facts, in that they would not have

purchased purportedly fuel efficient vehicles manufactured by Ford, and/or would



                                        - 857 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2912    Page 884 of 990




have taken other affirmative steps in light of the information concealed from them.

Utah Plaintiff’s and the Utah Subclass members’ actions were justified. Ford was in

exclusive control of the material facts, and such facts were not generally known to

the public, Utah Plaintiff, or, Utah Subclass members.

      3546. Because of the concealment and/or suppression of the facts, Utah

Plaintiff and the Utah Subclass have sustained damage because they overpaid for

their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was

represented by Ford. Had they been aware of the true facts, Utah Plaintiff and Class

members would not have purchased or leased the Coastdown Cheating Vehicles or

would have paid less.

      3547. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Utah Plaintiff and the Utah Subclass for damages in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      3548. Ford’s      acts were done      wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Utah Plaintiff’s and

the Utah Subclass’s rights and the representations that Ford made to them in order

to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in an




                                        - 858 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2913    Page 885 of 990




amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 269

                    NEGLIGENT MISREPRESENTATION
                        (BASED ON UTAH LAW)

      3549. Utah Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      3550. This claim is brought by the Utah Plaintiff on behalf of the Utah

Subclass.

      3551. Defendant made fuel economy representations to Utah Plaintiff and

members of the Class that were not true.

      3552. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Utah Plaintiff

and Utah Subclass members rely on these misrepresentations.

      3553. Utah Plaintiff reasonably relied on Defendant’s representations and as

a result Utah Plaintiff and Utah Subclass members were harmed.

                                      COUNT 270

                            UNJUST ENRICHMENT
                           (BASED ON UTAH LAW)

      3554. Utah Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.



                                        - 859 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2914    Page 886 of 990




      3555. This claim is brought by the Utah Plaintiff on behalf of the Utah

Subclass.

      3556. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Utah Plaintiff and the Utah Subclass.

      3557. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Utah Plaintiff and other Utah Subclass members.            It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3558. Utah Plaintiff, therefore, seeks any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Utah Subclass.

      Claims brought on behalf of the Vermont Subclass

                                   COUNT 271

         VIOLATION OF THE VERMONT CONSUMER FRAUD ACT
                (VT. STAT. ANN. TIT. 9, § 2451 ET SEQ.)

      3559. Vermont Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.

      3560. This claim is brought by Vermont Plaintiffs on behalf of the Vermont

Subclass.

      3561. Ford was a seller within the meaning of VT. STAT. ANN.             TIT.   9,

§ 2451(a)(c).


                                       - 860 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2915     Page 887 of 990




      3562. The Vermont Consumer Fraud Act (Vermont CFA) makes unlawful

“[u]nfair methods of competition in commerce, and unfair or deceptive acts or

practices in commerce.” VT. STAT. ANN. TIT. 9, § 2453(a).

      3563. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3564. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      3565. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Vermont Plaintiffs and the Vermont

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.




                                      - 861 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2916     Page 888 of 990




       3566. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Vermont

Plaintiffs and the Vermont Subclass.

       3567. Ford knew or should have known that its conduct violated the Vermont

CFA.

       3568. Ford owed Vermont Plaintiffs and the Vermont Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.     Possessed exclusive knowledge that it manipulated
                    the testing, certification, and representations of fuel
                    efficiency;

             b.     Intentionally concealed the foregoing from
                    Vermont Plaintiffs and the Vermont Subclass;
                    and/or

             c.     Made incomplete representations that it
                    manipulated the certification testing and failed to
                    disclose the true fuel economy of the Coastdown
                    Cheating Vehicles, while purposefully withholding
                    material facts from Vermont Plaintiffs and the
                    Vermont Subclass that contradicted these
                    representations.

       3569. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Vermont Plaintiffs and the

Vermont Subclass.

       3570. Vermont Plaintiffs and the Vermont Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

                                        - 862 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2917     Page 889 of 990




disclose material information. Vermont Plaintiffs and the Vermont Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Vermont CFA.

      3571. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Vermont CFA.

      3572. As a direct and proximate result of Ford’s violations of the Vermont

CFA, Vermont Plaintiffs and the Vermont Subclass have suffered injury-in-fact

and/or actual damage.

      3573. Ford’s violations present a continuing risk to Vermont Plaintiffs as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3574. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3575. Vermont Plaintiffs are entitled to recover “appropriate equitable relief”

and “the amount of [their] damages, or the consideration or the value of the

consideration given by [them], reasonable attorney’s fees, and exemplary damages



                                      - 863 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2918    Page 890 of 990




not exceeding three times the value of the consideration given by [them],” pursuant

to VT. STAT. ANN. TIT. 9, § 2461(b).

       3576. Vermont Plaintiffs seek punitive damages based on the outrageousness

and recklessness of Ford’s conduct.

                                   COUNT 272

                            BREACH OF CONTRACT
                          (BASED ON VERMONT LAW)

       3577. Vermont Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3578. This claim is brought by Vermont Plaintiffs on behalf of the Vermont

Subclass.

       3579. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Vermont Plaintiffs and the Vermont Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Vermont Plaintiffs and the Vermont Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Vermont Plaintiffs and the Vermont




                                       - 864 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2919    Page 891 of 990




Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

       3580. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Vermont Plaintiffs and the Vermont Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       3581. As a direct and proximate result of Ford’s breach of contract, Vermont

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                   COUNT 273

                          BREACH OF EXPRESS WARRANTY
                             (9A VT. STAT. ANN. § 2-313)

       3582. Vermont Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3583. This claim is brought by Vermont Plaintiffs on behalf of the Vermont

Subclass.


                                      - 865 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2920     Page 892 of 990




      3584. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to 9A Vt. Stat. Ann. § 2-104.

      3585. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3586. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3587. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3588. These affirmations and promises were part of the basis of the bargain

that was reached when Vermont Plaintiffs and the other Vermont Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      3589. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 866 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2921    Page 893 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3590. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3591. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Vermont Plaintiffs and the Vermont Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3592. Accordingly, recovery by the Vermont Plaintiffs and the Vermont

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Vermont Plaintiffs, individually and on behalf of the other

Vermont Subclass members, seek all remedies as allowed by law.

      3593. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Vermont




                                       - 867 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2922    Page 894 of 990




Plaintiffs and the Vermont Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       3594. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3595. As a direct and proximate result of Ford’s breach of express warranties,

Vermont Plaintiffs and the Vermont Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 274

                          FRAUDULENT CONCEALMENT
                           (BASED ON VERMONT LAW)

       3596. Vermont Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3597. This claim is brought by Vermont Plaintiffs on behalf of the Vermont

Subclass.

       3598. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard




                                        - 868 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2923    Page 895 of 990




for the truth and denied Vermont Plaintiffs and the Vermont Subclass information

that is highly relevant and material to their purchasing decision.

      3599. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3600. Ford further affirmatively misrepresented to Vermont Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3601. Ford knew these representations were false when made.

      3602. The Coastdown Cheating Vehicles purchased or leased by Vermont

Plaintiffs and the Vermont Subclass were, in fact, defective, with reduced fuel

efficiency.

      3603. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Vermont Plaintiffs and the

Vermont Subclass relied on Ford’s material representations or omissions of fact that



                                        - 869 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2924    Page 896 of 990




the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      3604. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3605. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Vermont Plaintiffs and the Vermont Subclass

did not know of these facts and Ford actively concealed these facts from Vermont

Plaintiffs and the Vermont Subclass.

      3606. Vermont Plaintiffs and the Vermont Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Vermont Plaintiffs and the Vermont

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Vermont Plaintiffs and the Vermont Subclass by concealing the

true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3607. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions



                                       - 870 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2925     Page 897 of 990




regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Vermont Plaintiffs and the Vermont Subclass

placed in its representations.

      3608. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Vermont Plaintiffs and the Vermont

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      3609. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Vermont Plaintiffs and the Vermont Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide



                                        - 871 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2926    Page 898 of 990




information to Vermont Plaintiffs and the Vermont Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Vermont Plaintiffs and the

Vermont Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Vermont Plaintiffs and the Vermont Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      3610. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Vermont

Plaintiffs and the Vermont Subclass.

      3611. Ford has still not made full and adequate disclosures and continues to

defraud Vermont Plaintiffs and the Vermont Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3612. Vermont Plaintiffs and the Vermont Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did



                                       - 872 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2927    Page 899 of 990




if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Vermont Plaintiffs’ and the Vermont Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Vermont Plaintiffs, or Vermont Subclass members.

      3613. Because of the concealment and/or suppression of the facts, Vermont

Plaintiffs and the Vermont Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Vermont Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      3614. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Vermont Plaintiffs and the Vermont Subclass for damages in an amount to

be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      3615. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Vermont Plaintiffs’

and the Vermont Subclass’s rights and the representations that Ford made to them



                                        - 873 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2928    Page 900 of 990




in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                      COUNT 275

                    NEGLIGENT MISREPRESENTATION
                       (BASED ON VERMONT LAW)

      3616. Vermont Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      3617. This claim is brought by the Vermont Plaintiffs on behalf of the

Vermont Subclass.

      3618. Defendant made fuel economy representations to Vermont Plaintiffs

and members of the Class that were not true.

      3619. Defendant    had     no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Vermont

Plaintiffs and Vermont Subclass members rely on these misrepresentations.

      3620. Vermont Plaintiffs reasonably relied on Defendant’s representations

and as a result Vermont Plaintiffs and Vermont Subclass members were harmed.

                                      COUNT 276

                          UNJUST ENRICHMENT
                        (BASED ON VERMONT LAW)




                                        - 874 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2929    Page 901 of 990




      3621. Vermont Plaintiffs reallege and incorporate by reference all paragraphs

alleged herein.

      3622. This claim is brought by the Vermont Plaintiffs on behalf of the

Vermont Subclass.

      3623. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Vermont Plaintiffs and the Vermont Subclass.

      3624. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Vermont Plaintiffs and other Vermont Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3625. Vermont Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Vermont Subclass.

      Claims Brought on Behalf of the Virginia Subclass

                                    COUNT 277

     VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                 (VA. CODE ANN. § 59.1-196 et seq.)

      3626. Plaintiff Kenneth Bernard (“Virginia Plaintiff”) hereby incorporate by

reference the allegations contained in the preceding paragraphs of this complaint.

      3627. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.


                                       - 875 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2930    Page 902 of 990




      3628. The Virginia Consumer Protection Act (“Virginia CPA”) lists

prohibited “practices,” which include “[u]sing any other deception, fraud, false

pretense, false promise, or misrepresentation in connection with a consumer

transaction.” VA. CODE ANN. § 59.1-200.

      3629. Ford is a “supplier” under VA. CODE ANN. § 59.1-198.

      3630. Each sale and lease of a Coastdown Cheating Vehicle was a “consumer

transaction” within the meaning of VA. CODE ANN. § 59.1-198.

      3631. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      3632. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Virginia Plaintiff and the Virginia Subclass

members, about the true performance of the Coastdown Cheating Vehicles, the

lower fuel economy, the shorter range of the vehicle due to its lower fuel economy,




                                       - 876 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2931     Page 903 of 990




the increased environmental impact of Ford vehicles, and the true value of the

Coastdown Cheating Vehicles.

       3633. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Virginia Plaintiff

and the Virginia Subclass.

       3634. Ford knew or should have known that its conduct violated the Virginia

CPA.

       3635. Ford owed Virginia Plaintiff and the Virginia Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

             a.      Possessed exclusive knowledge that it manipulated
                     the testing, certification, and representations of fuel
                     efficiency;

             b.      Intentionally concealed the foregoing from Virginia
                     Plaintiff and the Virginia Subclass; and/or

             c.      Made incomplete representations that it
                     manipulated the certification testing and failed to
                     disclose the true fuel economy of the Coastdown
                     Cheating Vehicles, while purposefully withholding
                     material facts from Virginia Plaintiff and the
                     Virginia Subclass that contradicted these
                     representations.

       3636. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Virginia Plaintiff and the

Virginia Subclass.


                                         - 877 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2932     Page 904 of 990




      3637. Virginia Plaintiff and the Virginia Subclass suffered ascertainable loss

caused by Ford’s misrepresentations and its concealment of and failure to disclose

material information. Virginia Plaintiff and the Virginia Subclass members who

purchased the Coastdown Cheating Vehicles either would have paid less for their

vehicles or would not have purchased or leased them at all but for Ford’s violations

of the Virginia CPA.

      3638. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Virginia CPA. As a direct and proximate result of

Ford’s violations of the Virginia CPA, Virginia Plaintiff and the Virginia Subclass

have suffered injury-in-fact and/or actual damage.

      3639. Ford’s violations present a continuing risk to Virginia Plaintiff as well

as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3640. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3641. Pursuant to VA. CODE ANN. § 59.1-204, Virginia Plaintiff seek

monetary relief against Ford measured as the greater of (a) actual damages in an



                                      - 878 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2933    Page 905 of 990




amount to be determined at trial and (b) statutory damages in the amount of $500 for

each Plaintiff. Because Ford’s conduct was committed willfully and knowingly,

Virginia Plaintiff is entitled to recover, for each plaintiff, the greater of (a) three

times actual damages or (b) $1,000. Plaintiffs also seek an award of punitive

damages due to Ford’s aggravated and outrageous conduct.

       3642. Virginia Plaintiff also seeks an order enjoining Ford’s unfair and/or

deceptive acts or practices, punitive damages, and attorneys’ fees, and any other just

and proper relief available under VA. CODE ANN. § 59.1-204 et seq.

                                    COUNT 278

                             BREACH OF CONTRACT
                           (BASED ON VIRGINIA LAW)

       3643. Virginia Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3644. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.

       3645. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Virginia Plaintiff and the Virginia Subclass to

make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Virginia Plaintiff and the Virginia Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not


                                        - 879 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2934    Page 906 of 990




have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Virginia Plaintiff and the Virginia

Subclass overpaid for the Coastdown Cheating Vehicles and did not receive the

benefit of their bargain.

      3646. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Virginia Plaintiff and the Virginia Subclass

defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

      3647. As a direct and proximate result of Ford’s breach of contract, Virginia

Plaintiff and the Virginia Subclass have been damaged in an amount to be proven at

trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.




                                        - 880 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2935     Page 907 of 990




                                    COUNT 279

                          BREACH OF EXPRESS WARRANTY
                             (VA. CODE ANN. § 8.2-313)

       3648. Virginia Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3649. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.

       3650. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Va. Code Ann. § 8.2-104.

       3651. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

       3652. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.




                                       - 881 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2936    Page 908 of 990




      3653. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3654. These affirmations and promises were part of the basis of the bargain

that was reached when Virginia Plaintiff and the other Virginia Subclass members

purchased or leased the Coastdown Cheating Vehicles.

      3655. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3656. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3657. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Virginia Plaintiff and the Virginia Subclass whole, and because

Ford has failed and/or has refused to adequately provide the promised remedies

within a reasonable time.

      3658. Accordingly, recovery by the Virginia Plaintiff and the Virginia

Subclass is not limited to the NVLW promising to repair and/or correct a



                                       - 882 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2937    Page 909 of 990




manufacturing defect, and Virginia Plaintiff, individually and on behalf of the other

Virginia Subclass members, seek all remedies as allowed by law.

       3659. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Virginia

Plaintiff and the Virginia Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       3660. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3661. As a direct and proximate result of Ford’s breach of express warranties,

Virginia Plaintiff and the Virginia Subclass have been damaged in an amount to be

determined at trial.

                                    COUNT 280

                          FRAUDULENT CONCEALMENT
                           (BASED ON VIRGINIA LAW)

       3662. Virginia Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.




                                        - 883 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2938    Page 910 of 990




      3663. This claim is brought by Virginia Plaintiff on behalf of the Virginia

Subclass.

      3664. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Virginia Plaintiff and the Virginia Subclass information that

is highly relevant to their purchasing decision.

      3665. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3666. Ford further affirmatively misrepresented to Virginia Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3667. Ford knew these representations were false when made.




                                        - 884 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2939    Page 911 of 990




      3668. The Coastdown Cheating Vehicles purchased or leased by Virginia

Plaintiff and the Virginia Subclass were, in fact, defective, with reduced fuel

efficiency.

      3669. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Virginia Plaintiff and the

Virginia Subclass relied on Ford’s material representations or omissions of fact that

the Coastdown Cheating Vehicles they were purchasing were fuel efficient and free

from defects.

      3670. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3671. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Virginia Plaintiff and the Virginia Subclass

did not know of these facts and Ford actively concealed these facts from Virginia

Plaintiff and the Virginia Subclass.




                                        - 885 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2940    Page 912 of 990




      3672. Virginia Plaintiff and the Virginia Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Virginia Plaintiff and the Virginia Subclass

did not, and could not, unravel Ford’s deception on their own. Rather, Ford intended

to deceive Virginia Plaintiff and the Virginia Subclass by concealing the true facts

about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3673. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Virginia Plaintiff and the Virginia Subclass

placed in its representations.

      3674. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Virginia Plaintiff and the Virginia Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      3675. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is



                                        - 886 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2941    Page 913 of 990




far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Virginia Plaintiff and the Virginia Subclass members. Ford also had

a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Virginia Plaintiff and the Virginia Subclass members, Ford had the

duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Virginia Plaintiff and the

Virginia Subclass members. Whether an automobile is fuel efficient and whether it

accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Virginia Plaintiff and the Virginia Subclass members

that they were purchasing or leasing fuel efficient vehicles, when in fact the

Coastdown Cheating Vehicles do not perform as advertised and certified and do not

accurately report their own fuel consumption.




                                      - 887 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2942    Page 914 of 990




      3676. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Virginia Plaintiff

and the Virginia Subclass.

      3677. Ford has still not made full and adequate disclosures and continues to

defraud Virginia Plaintiff and the Virginia Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3678. Virginia Plaintiff and the Virginia Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Virginia Plaintiff’s and the Virginia Subclass members’ actions were justified.

Ford was in exclusive control of the material facts, and such facts were not generally

known to the public, Virginia Plaintiff, or, Virginia Subclass members.

      3679. Because of the concealment and/or suppression of the facts, Virginia

Plaintiff and the Virginia Subclass have sustained damage because they overpaid for

their vehicles and own vehicles that diminished in value as a result of Ford’s

concealment, and suffered and continue to suffer increased fuel costs over what was



                                       - 888 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2943    Page 915 of 990




represented by Ford. Had they been aware of the true facts, Virginia Plaintiff and

Class members would not have purchased or leased the Coastdown Cheating

Vehicles or would have paid less.

      3680. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Virginia Plaintiff and the Virginia Subclass for damages in an amount to be

proven at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

      3681. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Virginia Plaintiff’s

and the Virginia Subclass’s rights and the representations that Ford made to them in

order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages in

an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.

                                    COUNT 281

                     NEGLIGENT MISREPRESENTATION
                        (BASED ON VIRGINIA LAW)

      3682. Virginia Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      3683. This claim is brought by the Virginia Plaintiff on behalf of the Virginia

Subclass.




                                        - 889 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2944     Page 916 of 990




      3684. Defendant made fuel economy representations to Virginia Plaintiff and

members of the Class that were not true.

      3685. Defendant     had    no    reasonable   grounds   for    believing   these

representations were true when they made them, yet they intended that Virginia

Plaintiff and Virginia Subclass members rely on these misrepresentations.

      3686. Virginia Plaintiff reasonably relied on Defendant’s representations and

as a result Virginia Plaintiff and Virginia Subclass members were harmed.

                                      COUNT 282

                           UNJUST ENRICHMENT
                         (BASED ON VIRGINIA LAW)

      3687. Virginia Plaintiff realleges and incorporates by reference all paragraphs

alleged herein.

      3688. This claim is brought by the Virginia Plaintiff on behalf of the Virginia

Subclass.

      3689. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Virginia Plaintiff and the Virginia Subclass.

      3690. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Virginia Plaintiff and other Virginia Subclass members. It would be

inequitable and unjust for Ford to retain these wrongfully obtained profits.




                                        - 890 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2945     Page 917 of 990




      3691. Virginia Plaintiff, therefore, seeks any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Utah Subclass.

      Claims Brought on Behalf of the Washington Subclass

                                    COUNT 283

                    VIOLATION OF THE WASHINGTON
                      CONSUMER PROTECTION ACT
                  (WASH. REV. CODE ANN. § 19.86.010 et seq.)

      3692. Plaintiffs John Jung, Jeffrey Quizhpi, and Rick Shurtliff (“Washington

Plaintiffs”) hereby incorporate by reference the allegations contained in the

preceding paragraphs of this complaint.

      3693. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

      3694. The Washington Consumer Protection Act (“Washington CPA”)

broadly prohibits “[u]nfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” WASH. REV. CODE ANN.

§ 19.96.010.

      3695. Ford committed the acts complained of herein in the course of “trade”

or “commerce” within the meaning of WASH. REV. CODE ANN. § 19.96.010.

      3696. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel



                                        - 891 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2946    Page 918 of 990




economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      3697. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Washington Plaintiffs and the Washington

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      3698. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Washington

Plaintiffs and the Washington Subclass.

      3699. Ford knew or should have known that its conduct violated the

Washington CPA.

      3700. Ford owed Washington Plaintiffs and the Washington Subclass a duty

to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:



                                       - 892 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2947     Page 919 of 990




            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Washington Plaintiffs and the Washington
                   Subclass; and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Washington Plaintiffs and the
                   Washington Subclass that contradicted these
                   representations.

      3701. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Washington Plaintiffs and the

Washington Subclass.

      3702. Washington Plaintiffs and the Washington Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

failure to disclose material information. Washington Plaintiffs and the Washington

Subclass members who purchased the Coastdown Cheating Vehicles either would

have paid less for their vehicles or would not have purchased or leased them at all

but for Ford’s violations of the Washington CPA.

      3703. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Washington CPA. As a direct and proximate result

of Ford’s violations of the Washington CPA, Washington Plaintiffs and the

Washington Subclass have suffered injury-in-fact and/or actual damage.

                                       - 893 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2948    Page 920 of 990




      3704. Ford’s violations present a continuing risk to Washington Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3705. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3706. Ford is liable to Plaintiffs for damages in amounts to be proven at trial,

including attorneys’ fees, costs, and treble damages, as well as any other remedies

the Court may deem appropriate under WASH. REV. CODE ANN. § 19.86.090.

Plaintiffs also seek an award of punitive damages due to Ford’s aggravated and

outrageous conduct.

      3707. On July 22, 2019, a copy of the complaint, Brewer, et. al. v. Ford Motor

Company, No. 19-12135-SJM-RSW, (E.D. Mich. Jul. 22, 2019), now transferred

into this MDL, was mailed to the Attorney General of the State of Washington in

accordance with WASH. REV. CODE ANN. § 19.86.095.




                                       - 894 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2949     Page 921 of 990




                                   COUNT 284

                             BREACH OF CONTRACT
                          (BASED ON WASHINGTON LAW)

       3708. Washington Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3709. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

       3710. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Washington Plaintiffs and the Washington

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Washington Plaintiffs and the

Washington Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly,

Washington Plaintiffs and the Washington Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

       3711. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Washington Plaintiffs and the Washington Subclass


                                       - 895 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2950     Page 922 of 990




defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       3712. As a direct and proximate result of Ford’s breach of contract,

Washington Plaintiffs and the Class have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                    COUNT 285

                          BREACH OF EXPRESS WARRANTY
                           (WASH. REV. CODE § 62A.2-313)

       3713. Washington Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3714. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

       3715. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Wash. Rev. Code § 62A.2-104.

       3716. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                       - 896 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2951     Page 923 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3717. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3718. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3719. These affirmations and promises were part of the basis of the bargain

that was reached when Washington Plaintiffs and the other Washington Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3720. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 897 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2952    Page 924 of 990




      3721. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3722. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Washington Plaintiffs and the Washington Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3723. Accordingly, recovery by the Washington Plaintiffs and the

Washington Subclass is not limited to the NVLW promising to repair and/or correct

a manufacturing defect, and Washington Plaintiffs, individually and on behalf of the

other Washington Subclass members, seek all remedies as allowed by law.

      3724. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Washington

Plaintiffs and the Washington Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3725. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 898 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2953    Page 925 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3726. As a direct and proximate result of Ford’s breach of express warranties,

Washington Plaintiffs and the Washington Subclass have been damaged in an

amount to be determined at trial.

                                    COUNT 286

                           FRAUDULENT CONCEALMENT
                          (BASED ON WASHINGTON LAW)

       3727. Washington Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3728. This claim is brought by Washington Plaintiffs on behalf of the

Washington Subclass.

       3729. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Washington Plaintiffs and the Washington Subclass

information that is highly relevant to their purchasing decision.

       3730. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 899 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2954    Page 926 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3731. Ford further affirmatively misrepresented to Washington Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3732. Ford knew these representations were false when made.

      3733. The Coastdown Cheating Vehicles purchased or leased by Washington

Plaintiffs and the Washington Subclass were, in fact, defective, with reduced fuel

efficiency.

      3734. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Washington Plaintiffs and

the Washington Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      3735. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 900 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2955    Page 927 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3736. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Washington Plaintiffs and the Washington

Subclass did not know of these facts and Ford actively concealed these facts from

Washington Plaintiffs and the Washington Subclass.

      3737. Washington Plaintiffs and the Washington Subclass reasonably relied

upon Ford’s deception. They had no way of knowing that Ford’s representations

were false and/or misleading. As consumers, Washington Plaintiffs and the

Washington Subclass did not, and could not, unravel Ford’s deception on their own.

Rather, Ford intended to deceive Washington Plaintiffs and the Washington

Subclass by concealing the true facts about the Coastdown Cheating Vehicles’ lack

of fuel efficiency.

      3738. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Washington Plaintiffs and the Washington

Subclass placed in its representations.




                                          - 901 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2956     Page 928 of 990




      3739. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Washington Plaintiffs and the Washington

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      3740. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Washington Plaintiffs and the Washington Subclass members. Ford

also had a duty to disclose because it made general affirmative representations about

the qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Washington Plaintiffs and the Washington Subclass members, Ford

had the duty to disclose not just the partial truth, but the entire truth. These omitted

and concealed facts were material because they directly impact the value of the



                                        - 902 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2957    Page 929 of 990




Coastdown Cheating Vehicles purchased or leased by Washington Plaintiffs and the

Washington Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Washington Plaintiffs and the Washington Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      3741. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Washington

Plaintiffs and the Washington Subclass.

      3742. Ford has still not made full and adequate disclosures and continues to

defraud Washington Plaintiffs and the Washington Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3743. Washington Plaintiffs and the Washington Subclass were unaware of

the omitted material facts referenced herein, and they would not have acted as they

did if they had known of the concealed and/or suppressed facts, in that they would

not have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from



                                       - 903 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2958    Page 930 of 990




them. Washington Plaintiffs’ and the Washington Subclass members’ actions were

justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Washington Plaintiffs, or Washington Subclass

members.

      3744. Because of the concealment and/or suppression of the facts,

Washington Plaintiffs and the Washington Subclass have sustained damage because

they overpaid for their vehicles and own vehicles that diminished in value as a result

of Ford’s concealment, and suffered and continue to suffer increased fuel costs over

what was represented by Ford. Had they been aware of the true facts, Washington

Plaintiffs and Class members would not have purchased or leased the Coastdown

Cheating Vehicles or would have paid less.

      3745. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Washington Plaintiffs and the Washington Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      3746. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Washington

Plaintiffs’ and the Washington Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of



                                        - 904 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2959    Page 931 of 990




punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                    COUNT 287

                   NEGLIGENT MISREPRESENTATION
                    (BASED ON WASHINGTON LAW)

      3747. Washington Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      3748. This claim is brought by the Washington Plaintiffs on behalf of the

Washington Subclass.

      3749. Defendant made fuel economy representations to Washington Plaintiffs

and members of the Class that were not true.

      3750. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Washington

Plaintiffs and Washington Subclass members rely on these misrepresentations.

      3751. Washington Plaintiffs reasonably relied on Defendant’s representations

and as a result Washington Plaintiffs and Washington Subclass members were

harmed.

                                    COUNT 288

                           UNJUST ENRICHMENT
                       (BASED ON WASHINGTON LAW)




                                      - 905 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2960    Page 932 of 990




      3752. Washington Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      3753. This claim is brought by the Washington Plaintiffs on behalf of the

Washington Subclass.

      3754. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Washington Plaintiffs and the Washington Subclass.

      3755. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Washington Plaintiffs and other Washington Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3756. Washington Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Washington Subclass.

      Claims brought on behalf of the West Virginia Subclass

                                    COUNT 289

                  VIOLATION OF THE WEST VIRGINIA
                CONSUMER CREDIT AND PROTECTION ACT
                     (W. VA. CODE § 46A-1-101 et seq.)

      3757. West Virginia Plaintiffs hereby incorporate by reference the allegations

contained in the preceding paragraphs of this complaint.




                                       - 906 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2961     Page 933 of 990




      3758. This claim is brought by West Virginia Plaintiffs on behalf of the West

Virginia Subclass.

      3759. Ford is a “person” under W. VA. CODE § 46A-1-102(31).

      3760. West Virginia Plaintiffs and West Virginia Class members are

“consumers” as defined by W. VA. CODE §§ 46A-1-102(12) and 46A-6-102(2), who

purchased or leased one or more Coastdown Cheating Vehicles.

      3761. Ford engaged in trade or commerce as defined by W. VA. CODE § 46A-

6-102(6).

      3762. The West Virginia Consumer Credit and Protection Act (West Virginia

CCPA) prohibits “unfair or deceptive acts or practices in the conduct of any trade or

commerce.” W. VA. CODE § 46A-6-104. Without limitation, “unfair or deceptive”

acts or practices include:

             (I) Advertising goods or services with intent not to sell
             them as advertised and certified; . . .
             (L) Engaging in any other conduct which similarly creates
             a likelihood of confusion or of misunderstanding;
             (M) The act, use or employment by any person of any
             deception, fraud, false pretense, false promise or
             misrepresentation, or the concealment, suppression or
             omission of any material fact with intent that others rely
             upon such concealment, suppression or omission, in
             connection with the sale or advertisement of any goods or
             services, whether or not any person has in fact been
             misled, deceived or damaged thereby; [and]
             (N) Advertising, printing, displaying, publishing,
             distributing or broadcasting, or causing to be advertised
             and certified, printed, displayed, published, distributed or
             broadcast in any manner, any statement or representation

                                       - 907 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2962     Page 934 of 990




            with regard to the sale of goods or the extension of
            consumer credit including the rates, terms or conditions
            for the sale of such goods or the extension of such credit,
            which is false, misleading or deceptive or which omits to
            state material information which is necessary to make the
            statements therein not false, misleading or deceptive.
W. VA. CODE § 46A-6-102(7).
      3763. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.

      3764. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

      3765. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including West Virginia Plaintiffs and the West

Virginia Subclass members, about the true performance of the Coastdown Cheating

Vehicles, the lower fuel economy, the shorter range of the vehicle due to its lower

fuel economy, the increased environmental impact of Ford vehicles, and the true

value of the Coastdown Cheating Vehicles.




                                      - 908 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2963     Page 935 of 990




      3766. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead West Virginia

Plaintiffs and the West Virginia Subclass.

      3767. Ford knew or should have known that its conduct violated the West

Virginia CCPA.

      3768. Ford owed West Virginia Plaintiffs and the West Virginia Subclass a

duty to disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from West
                   Virginia Plaintiffs and the West Virginia Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from West Virginia Plaintiffs and the
                   West Virginia Subclass that contradicted these
                   representations.

      3769. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to West Virginia Plaintiffs and

the West Virginia Subclass.

      3770. West Virginia Plaintiffs and the West Virginia Subclass suffered

ascertainable loss caused by Ford’s misrepresentations and its concealment of and

                                       - 909 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2964   Page 936 of 990




failure to disclose material information. West Virginia Plaintiffs and the West

Virginia Subclass members who purchased the Coastdown Cheating Vehicles either

would have paid less for their vehicles or would not have purchased or leased them

at all but for Ford’s violations of the West Virginia CCPA.

      3771. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the West Virginia CCPA.

      3772. As a direct and proximate result of Ford’s violations of the West

Virginia CCPA, West Virginia Plaintiffs and the West Virginia Subclass have

suffered injury-in-fact and/or actual damage.

      3773. Ford’s violations present a continuing risk to West Virginia Plaintiffs

as well as to the general public. Ford’s unlawful acts and practices complained of

herein affect the public interest.

      3774. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3775. Pursuant to W. VA. CODE § 46A-6-106, West Virginia Plaintiffs seek

monetary relief against Ford measured as the greater of (a) actual damages in an




                                      - 910 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.2965    Page 937 of 990




amount to be determined at trial and (b) statutory damages in the amount of $200

per violation of the West Virginia CCPA for each Plaintiff.

          3776. West Virginia Plaintiffs also seek punitive damages against Ford

because it carried out despicable conduct with willful and conscious disregard of the

rights of others, subjecting West Virginia Plaintiffs to cruel and unjust hardship as a

result.

          3777. West Virginia Plaintiffs further seek an order enjoining Ford’s unfair

or deceptive acts or practices, restitution, punitive damages, costs of Court,

attorney’s fees under W. VA. CODE § 46A-5-101, et seq., and any other just and

proper relief available under the West Virginia CCPA.

          3778. On June 20, 2019, Plaintiffs sent a letter complying with W. VA. CODE

§ 46A-6-106(b) to Ford.

                                      COUNT 290

                              BREACH OF CONTRACT
                          (BASED ON WEST VIRGINIA LAW)

          3779. West Virginia Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

          3780. This claim is brought by West Virginia Plaintiffs on behalf of the West

Virginia Subclass.

          3781. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy


                                          - 911 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2966     Page 938 of 990




than advertised and certified, caused West Virginia Plaintiffs and the West Virginia

Subclass to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, West Virginia Plaintiffs and the

West Virginia Subclass would not have purchased or leased the Coastdown Cheating

Vehicles, would not have purchased or leased the Coastdown Cheating Vehicles at

the prices they paid, and/or would have purchased or leased less expensive

alternative vehicles that did not contain the reduced mileage. Accordingly, West

Virginia Plaintiffs and the West Virginia Subclass overpaid for the Coastdown

Cheating Vehicles and did not receive the benefit of their bargain.

      3782. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to West Virginia Plaintiffs and the West Virginia

Subclass defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

      3783. As a direct and proximate result of Ford’s breach of contract, West

Virginia Plaintiffs and the Class have been damaged in an amount to be proven at




                                       - 912 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2967    Page 939 of 990




trial, which shall include, but is not limited to, all compensatory damages, incidental

and consequential damages, and other damages allowed by law.

                                    COUNT 291

                       BREACH OF EXPRESS WARRANTY
                           (W. VA. CODE § 46-2-313)

      3784. West Virginia Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      3785. This claim is brought by West Virginia Plaintiffs on behalf of the West

Virginia Subclass.

      3786. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to W. Va. Code § 46-2-104.

      3787. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3788. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles




                                        - 913 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2968    Page 940 of 990




achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3789. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3790. These affirmations and promises were part of the basis of the bargain

that was reached when West Virginia Plaintiffs and the other West Virginia Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3791. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3792. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3793. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make West Virginia Plaintiffs and the West Virginia Subclass whole,

and because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.



                                       - 914 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2969    Page 941 of 990




      3794. Accordingly, recovery by the West Virginia Plaintiffs and the West

Virginia Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and West Virginia Plaintiffs, individually and on behalf of the

other West Virginia Subclass members, seek all remedies as allowed by law.

      3795. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. West Virginia

Plaintiffs and the West Virginia Subclass were therefore induced to purchase or lease

the Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3796. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

      3797. As a direct and proximate result of Ford’s breach of express warranties,

West Virginia Plaintiffs and the West Virginia Subclass have been damaged in an

amount to be determined at trial.




                                       - 915 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2970    Page 942 of 990




                                    COUNT 292

                         FRAUDULENT CONCEALMENT
                       (BASED ON WEST VIRGINIA LAW)

      3798. West Virginia Plaintiffs incorporate by reference all paragraphs as

though fully set forth herein.

      3799. This claim is brought by West Virginia Plaintiffs on behalf of the West

Virginia Subclass.

      3800. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied West Virginia Plaintiffs and the West Virginia Subclass

information that is highly relevant and material to their purchasing decision.

      3801. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3802. Ford further affirmatively misrepresented to West Virginia Plaintiffs in

advertising and other forms of communication, including standard and uniform




                                        - 916 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2971    Page 943 of 990




material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3803. Ford knew these representations were false when made.

      3804. The Coastdown Cheating Vehicles purchased or leased by West

Virginia Plaintiffs and the West Virginia Subclass were, in fact, defective, with

reduced fuel efficiency.

      3805. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because West Virginia Plaintiffs and

the West Virginia Subclass relied on Ford’s material representations or omissions of

fact that the Coastdown Cheating Vehicles they were purchasing were fuel efficient

and free from defects.

      3806. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3807. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; West Virginia Plaintiffs and the West



                                        - 917 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2972     Page 944 of 990




Virginia Subclass did not know of these facts and Ford actively concealed these facts

from West Virginia Plaintiffs and the West Virginia Subclass.

      3808. West Virginia Plaintiffs and the West Virginia Subclass reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, West Virginia

Plaintiffs and the West Virginia Subclass did not, and could not, unravel Ford’s

deception on their own. Rather, Ford intended to deceive West Virginia Plaintiffs

and the West Virginia Subclass by concealing the true facts about the Coastdown

Cheating Vehicles’ lack of fuel efficiency.

      3809. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that West Virginia Plaintiffs and the West Virginia

Subclass placed in its representations.

      3810. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and

also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including West Virginia Plaintiffs and the West




                                          - 918 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20          PageID.2973   Page 945 of 990




Virginia Subclass members, highly valued that the vehicles they were purchasing or

leasing were fuel efficient, and they paid accordingly.

      3811. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by West Virginia Plaintiffs and the West Virginia Subclass members.

Ford also had a duty to disclose because it made general affirmative representations

about the qualities of its vehicles with respect to fuel efficiency, which were

misleading, deceptive, and incomplete without the disclosure of the additional facts

set forth above regarding the actual mileage of its vehicles. Having volunteered to

provide information to West Virginia Plaintiffs and the West Virginia Subclass

members, Ford had the duty to disclose not just the partial truth, but the entire truth.

These omitted and concealed facts were material because they directly impact the

value of the Coastdown Cheating Vehicles purchased or leased by West Virginia

Plaintiffs and the West Virginia Subclass members. Whether an automobile is fuel

efficient and whether it accurately measures its own gasoline consumption are

material concerns to a consumer. Ford represented to West Virginia Plaintiffs and



                                        - 919 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2974    Page 946 of 990




the West Virginia Subclass members that they were purchasing or leasing fuel

efficient vehicles, when in fact the Coastdown Cheating Vehicles do not perform as

advertised and certified and do not accurately report their own fuel consumption.

      3812. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of West Virginia

Plaintiffs and the West Virginia Subclass.

      3813. Ford has still not made full and adequate disclosures and continues to

defraud West Virginia Plaintiffs and the West Virginia Subclass by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.

      3814. West Virginia Plaintiffs and the West Virginia Subclass were unaware

of the omitted material facts referenced herein, and they would not have acted as

they did if they had known of the concealed and/or suppressed facts, in that they

would not have purchased purportedly fuel efficient vehicles manufactured by Ford,

and/or would have taken other affirmative steps in light of the information concealed

from them. West Virginia Plaintiffs’ and the West Virginia Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such




                                       - 920 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2975    Page 947 of 990




facts were not generally known to the public, West Virginia Plaintiffs, or West

Virginia Subclass members.

      3815. Because of the concealment and/or suppression of the facts, West

Virginia Plaintiffs and the West Virginia Subclass have been injured and sustained

damage because they overpaid for their vehicles and own vehicles that diminished

in value as a result of Ford’s concealment, and suffered and continue to suffer

increased fuel costs over what was represented by Ford. Had they been aware of the

true facts, West Virginia Plaintiffs and Class members would not have purchased or

leased the Coastdown Cheating Vehicles or would have paid less.

      3816. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to West Virginia Plaintiffs and the West Virginia Subclass for damages in an

amount to be proven at trial, which shall include, but is not limited to, all

compensatory damages, incidental and consequential damages, and other damages

allowed by law.

      3817. Ford’s    acts were done       wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of West Virginia

Plaintiffs’ and the West Virginia Subclass’s rights and the representations that Ford

made to them in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.



                                       - 921 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2976       Page 948 of 990




                                     COUNT 293

                    NEGLIGENT MISREPRESENTATION
                     (BASED ON WEST VIRGINIA LAW)

      3818. West Virginia Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      3819. This claim is brought by the West Virginia Plaintiffs on behalf of the

West Virginia Subclass.

      3820. Defendant made fuel economy representations to West Virginia

Plaintiffs and members of the Class that were not true.

      3821. Defendant     had   no    reasonable   grounds   for   believing    these

representations were true when they made them, yet they intended that West Virginia

Plaintiffs and West Virginia Subclass members rely on these misrepresentations.

      3822. West     Virginia   Plaintiffs   reasonably   relied   on     Defendant’s

representations and as a result West Virginia Plaintiffs and West Virginia Subclass

members were harmed.

                                     COUNT 294

                          UNJUST ENRICHMENT
                     (BASED ON WEST VIRGINIA LAW)

      3823. West Virginia Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.




                                       - 922 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2977     Page 949 of 990




      3824. This claim is brought by the West Virginia Plaintiffs on behalf of the

West Virginia Subclass.

      3825. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to West Virginia Plaintiffs and the West Virginia Subclass.

      3826. Defendant enjoyed the benefit of increased financial gains, to the

detriment of West Virginia Plaintiffs and other West Virginia Subclass members. It

would be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3827. West Virginia Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the West Virginia Subclass.

      Claims Brought on Behalf of the Wisconsin Subclass

                                    COUNT 295

                      VIOLATION OF THE WISCONSIN
                     DECEPTIVE TRADE PRACTICES ACT
                           (WIS. STAT. § 110.18)

      3828. Plaintiff   Stephen    Leszczynski    (“Wisconsin     Plaintiff”)   hereby

incorporates by reference the allegations contained in the preceding paragraphs of

this complaint.

      3829. This claim is brought by the Wisconsin Plaintiff on behalf of Wisconsin

Subclass.



                                       - 923 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2978    Page 950 of 990




      3830. The Wisconsin Deceptive Trade Practices Act (Wisconsin DTPA)

prohibits a “representation or statement of fact which is untrue, deceptive or

misleading.” WIS. STAT. § 100.18(1).

      3831. Ford is a “person, firm, corporation or association” within the meaning

of WIS. STAT. § 100.18(1).

      3832. Wisconsin Plaintiff and Wisconsin Class members are members of “the

public” within the meaning of WIS. STAT. § 100.18(1). Plaintiff purchased or leased

one or more Coastdown Cheating Vehicles.

      3833. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy were far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle. Ford also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Coastdown Cheating Vehicles.

      3834. Ford’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Wisconsin Plaintiff and the Wisconsin

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel



                                       - 924 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2979     Page 951 of 990




economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

      3835. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Wisconsin

Plaintiff and the Wisconsin Subclass.

      3836. Ford knew or should have known that its conduct violated the

Wisconsin DTPA.

      3837. Ford owed Wisconsin Plaintiff and the Wisconsin Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:

            a.     Possessed exclusive knowledge that it manipulated
                   the testing, certification, and representations of fuel
                   efficiency;

            b.     Intentionally concealed the foregoing from
                   Wisconsin Plaintiff and the Wisconsin Subclass;
                   and/or

            c.     Made incomplete representations that it
                   manipulated the certification testing and failed to
                   disclose the true fuel economy of the Coastdown
                   Cheating Vehicles, while purposefully withholding
                   material facts from Wisconsin Plaintiff and the
                   Wisconsin Subclass that contradicted these
                   representations.

      3838. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Wisconsin Plaintiff and the

Wisconsin Subclass.

                                        - 925 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2980    Page 952 of 990




      3839. Wisconsin Plaintiff and the Wisconsin Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Wisconsin Plaintiff and the Wisconsin Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Wisconsin DTPA.

      3840. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Wisconsin DTPA. As a direct and proximate result

of Ford’s violations of the Wisconsin DTPA, Wisconsin Plaintiff and the Wisconsin

Subclass have suffered injury-in-fact and/or actual damage.

      3841. Ford’s violations present a continuing risk to Wisconsin Plaintiff as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

      3842. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

      3843. Plaintiff is entitled to damages and other relief provided for under WIS.

STAT. § 100.18(11)(b)(2). Because Ford’s conduct was committed knowingly and/or



                                       - 926 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2981     Page 953 of 990




intentionally, Plaintiff is entitled to treble damages. Plaintiffs also seek an award of

punitive damages due to Ford’s aggravated and outrageous conduct.

       3844. Plaintiff also seeks court costs and attorneys’ fees under WIS. STAT.

§ 110.18(11)(b)(2).

                                    COUNT 296

                            BREACH OF CONTRACT
                          (BASED ON WISCONSIN LAW)

       3845. Wisconsin Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3846. This claim is brought by the Wisconsin Plaintiff on behalf of Wisconsin

Subclass.

       3847. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Wisconsin Plaintiff and the Wisconsin Subclass

members to make their purchases or leases of the Coastdown Cheating Vehicles.

Absent those misrepresentations and omissions, Wisconsin Plaintiff and the

Wisconsin Subclass members would not have purchased or leased the Coastdown

Cheating Vehicles, would not have purchased or leased the Coastdown Cheating

Vehicles at the prices they paid, and/or would have purchased or leased less

expensive alternative vehicles that did not contain the reduced mileage. Accordingly,




                                        - 927 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2982    Page 954 of 990




Wisconsin Plaintiff and the Wisconsin Subclass members overpaid for the

Coastdown Cheating Vehicles and did not receive the benefit of their bargain.

       3848. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Wisconsin Plaintiff and the Wisconsin Subclass

members defective Coastdown Cheating Vehicles and by misrepresenting or failing

to disclose that the Coastdown Cheating Vehicles do not provide the fuel efficiency

that was advertised and certified, and their mileage is far worse than a reasonable

consumer would expect given the premium paid for these vehicles and the

representation made by Ford.

       3849. As a direct and proximate result of Ford’s breach of contract, Wisconsin

Plaintiff and the Wisconsin Subclass have been damaged in an amount to be proven

at trial, which shall include, but is not limited to, all compensatory damages,

incidental and consequential damages, and other damages allowed by law.

                                   COUNT 297

                          BREACH OF EXPRESS WARRANTY
                               (WIS. STAT. § 402.313)

       3850. Wisconsin Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3851. This claim is brought by Wisconsin Plaintiff on behalf of the Wisconsin

Subclass.


                                       - 928 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2983     Page 955 of 990




      3852. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Wis. Stat. § 402.104.

      3853. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover

“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3854. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3855. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3856. These affirmations and promises were part of the basis of the bargain

that was reached when Wisconsin Plaintiff and the other Wisconsin Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3857. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that



                                      - 929 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2984    Page 956 of 990




produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.

      3858. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3859. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Wisconsin Plaintiff and the Wisconsin Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3860. Accordingly, recovery by the Wisconsin Plaintiff and the Wisconsin

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Wisconsin Plaintiff, individually and on behalf of the

other Wisconsin Subclass members, seek all remedies as allowed by law.

      3861. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Wisconsin




                                       - 930 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2985    Page 957 of 990




Plaintiff and the Wisconsin Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

       3862. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this

litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3863. As a direct and proximate result of Ford’s breach of express warranties,

Wisconsin Plaintiff and the Wisconsin Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 298

                          FRAUDULENT CONCEALMENT
                           (BASED ON WISCONSIN LAW)

       3864. Wisconsin Plaintiff incorporates by reference all paragraphs as though

fully set forth herein.

       3865. This claim is brought by the Wisconsin Plaintiff on behalf of the

Wisconsin Subclass.

       3866. Ford intentionally concealed the fact that the Coastdown Cheating

Vehicles do not provide the fuel efficiency that was advertised and certified, and

their mileage is far worse than a reasonable consumer would expect given the

premium paid for these vehicles and the representation made by Ford, and Ford acted

with reckless disregard for the truth and denied Wisconsin Plaintiff and the


                                        - 931 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2986    Page 958 of 990




Wisconsin Subclass members information that is highly relevant to their purchasing

decision.

      3867. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to

provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3868. Ford further affirmatively misrepresented to Wisconsin Plaintiff in

advertising and other forms of communication, including standard and uniform

material provided with each car that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3869. Ford knew these representations were false when made.

      3870. The Coastdown Cheating Vehicles purchased or leased by Wisconsin

Plaintiff and the Wisconsin Subclass members were, in fact, defective, with reduced

fuel efficiency.

      3871. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Wisconsin Plaintiff and the

Wisconsin Subclass members relied on Ford’s material representations or omissions



                                        - 932 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2987    Page 959 of 990




of fact that the Coastdown Cheating Vehicles they were purchasing were fuel

efficient and free from defects.

      3872. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed

to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3873. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Wisconsin Plaintiff and the Wisconsin

Subclass members did not know of these facts and Ford actively concealed these

facts from Wisconsin Plaintiff and the Wisconsin Subclass members.

      3874. Wisconsin Plaintiff and the Wisconsin Subclass members reasonably

relied upon Ford’s deception. They had no way of knowing that Ford’s

representations were false and/or misleading. As consumers, Wisconsin Plaintiff and

the Wisconsin Subclass members did not, and could not, unravel Ford’s deception

on their own. Rather, Ford intended to deceive Wisconsin Plaintiff and the

Wisconsin Subclass members by concealing the true facts about the Coastdown

Cheating Vehicles’ lack of fuel efficiency.

      3875. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and



                                       - 933 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2988    Page 960 of 990




sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Wisconsin Plaintiff and the Wisconsin Subclass

members placed in its representations.

      3876. Ford’s false representations were material to consumers, because they

concerned the fuel efficiency of the Coastdown Cheating Vehicles, and also because

the representations played a significant role in the value of the vehicles. As Ford

well knew, its customers, including Wisconsin Plaintiff and the Wisconsin Subclass

members, highly valued that the vehicles they were purchasing or leasing were fuel

efficient, and they paid accordingly.

      3877. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Wisconsin Plaintiff and the Wisconsin Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth



                                         - 934 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2989     Page 961 of 990




above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Wisconsin Plaintiff and the Wisconsin Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Wisconsin Plaintiff and the

Wisconsin Subclass members. Whether an automobile is fuel efficient and whether

it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Wisconsin Plaintiff and the Wisconsin Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      3878. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Wisconsin

Plaintiff and the Wisconsin Subclass members.

      3879. Ford has still not made full and adequate disclosures and continues to

defraud Wisconsin Plaintiff and the Wisconsin Subclass members by concealing

material information regarding the fuel efficiency of its Coastdown Cheating

Vehicles.



                                        - 935 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2990     Page 962 of 990




      3880. Wisconsin Plaintiff and the Wisconsin Subclass members were

unaware of the omitted material facts referenced herein, and they would not have

acted as they did if they had known of the concealed and/or suppressed facts, in that

they would not have purchased purportedly fuel efficient vehicles manufactured by

Ford, and/or would have taken other affirmative steps in light of the information

concealed from them. Wisconsin Plaintiff’s and the Wisconsin Subclass members’

actions were justified. Ford was in exclusive control of the material facts, and such

facts were not generally known to the public, Wisconsin Plaintiff, or the Wisconsin

Subclass members.

      3881. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Wisconsin Plaintiff and the Wisconsin Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      3882. Ford’s     acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Wisconsin Plaintiff’s

and Wisconsin Subclass members’ rights and the representations that Ford made to

them were made in order to enrich Ford. Ford’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.




                                        - 936 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2991    Page 963 of 990




                                    COUNT 299

                   NEGLIGENT MISREPRESENTATION
                     (BASED ON WISCONSIN LAW)

      3883. Wisconsin Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3884. This claim is brought by the Wisconsin Plaintiff on behalf of the

Wisconsin Subclass.

      3885. Defendant made fuel economy representations to Wisconsin Plaintiff

and members of the Class that were not true.

      3886. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Wisconsin

Plaintiff and Wisconsin Subclass members rely on these misrepresentations.

      3887. Wisconsin Plaintiff reasonably relied on Defendant’s representations

and as a result Wisconsin Plaintiff and Wisconsin Subclass members were harmed.

                                    COUNT 300

                           UNJUST ENRICHMENT
                        (BASED ON WISCONSIN LAW)

      3888. Wisconsin Plaintiff realleges and incorporates by reference all

paragraphs alleged herein.

      3889. This claim is brought by the Wisconsin Plaintiff on behalf of the

Wisconsin Subclass.



                                      - 937 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2992     Page 964 of 990




      3890. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Wisconsin Plaintiff and the Wisconsin Subclass.

      3891. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Wisconsin Plaintiff and other Wisconsin Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

      3892. Wisconsin Plaintiff, therefore, seeks any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Wisconsin Subclass.

      Claims brought on behalf of the Wyoming Subclass

                                    COUNT 301

     VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                   (WYO. STAT. § 40-12-105 et seq.)

      3893. Wyoming Plaintiffs, therefore, seeks an order requiring Ford to make

restitution to them and other members of the Wyoming Subclass.

      3894. This claim is brought by Wyoming Plaintiffs on behalf of the Wyoming

Subclass.

      3895. In the course of its business, Ford willfully failed to disclose that the

Coastdown Cheating Vehicles do not have the advertised fuel economy and that fuel

economy was far worse than a reasonable consumer would expect given the

premium paid for these vehicles over a comparable vehicle.


                                       - 938 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2993    Page 965 of 990




       3896. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Coastdown Cheating

Vehicles.

       3897. Ford’s unfair or deceptive acts or practices were likely to and did, in

fact, deceive reasonable consumers, including Wyoming Plaintiffs and the Wyoming

Subclass members, about the true performance of the Coastdown Cheating Vehicles,

the lower fuel economy, the shorter range of the vehicle due to its lower fuel

economy, the increased environmental impact of Ford vehicles, and the true value

of the Coastdown Cheating Vehicles.

       3898. Ford intentionally and knowingly misrepresented material facts

regarding the Coastdown Cheating Vehicles with intent to mislead Wyoming

Plaintiffs and the Wyoming Subclass.

       3899. Ford knew or should have known that its conduct violated the Wyoming

CPA.

       3900. Ford owed Wyoming Plaintiffs and the Wyoming Subclass a duty to

disclose the performance, fuel mileage, and true environmental impact of the

Coastdown Cheating Vehicles, because Ford:




                                       - 939 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20    PageID.2994    Page 966 of 990




            a.    Possessed exclusive knowledge that it manipulated
                  the testing, certification, and representations of
                  fuel efficiency;

            b.    Intentionally concealed the foregoing from
                  Wyoming Plaintiffs and the Wyoming Subclass;
                  and/or

            c.    Made incomplete representations that it
                  manipulated the certification testing and failed to
                  disclose the true fuel economy of the Coastdown
                  Cheating Vehicles, while purposefully withholding
                  material facts from Wyoming Plaintiffs and the
                  Wyoming Subclass that contradicted these
                  representations.

      3901. Ford’s omissions and/or misrepresentations about the fuel consumption

of the Coastdown Cheating Vehicles were material to Wyoming Plaintiffs and the

Wyoming Subclass.

      3902. Wyoming Plaintiffs and the Wyoming Subclass suffered ascertainable

loss caused by Ford’s misrepresentations and its concealment of and failure to

disclose material information. Wyoming Plaintiffs and the Wyoming Subclass

members who purchased the Coastdown Cheating Vehicles either would have paid

less for their vehicles or would not have purchased or leased them at all but for

Ford’s violations of the Wyoming CPA.

      3903. Ford had an ongoing duty to all Ford customers to refrain from unfair

and deceptive practices under the Wyoming CPA.




                                     - 940 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.2995     Page 967 of 990




       3904. As a direct and proximate result of Ford’s violations of the Wyoming

CPA, Wyoming Plaintiffs and the Wyoming Subclass have suffered injury-in-fact

and/or actual damage.

       3905. Ford’s violations present a continuing risk to Wyoming Plaintiffs as

well as to the general public. Ford’s unlawful acts and practices complained of herein

affect the public interest.

       3906. Because Ford fraudulently concealed the true fuel economy of the

Coastdown Cheating Vehicles, resulting in a raft of negative publicity once the

defects finally began to be disclosed, the value of the Coastdown Cheating Vehicles

has greatly diminished. In light of the stigma attached to those vehicles by Ford’s

conduct, they are now worth significantly less than they otherwise would be.

       3907. Pursuant to WYO. STAT. § 40-12-108(a), Wyoming Plaintiffs seek

monetary relief against Ford measured as actual damages in an amount to be

determined at trial, in addition to any other just and proper relief available under the

Wyoming CPA. Plaintiffs also seek an award of punitive damages due to Ford’s

aggravated and outrageous conduct.

       3908. On June 20, 2019, Plaintiffs sent a letter complying with WYO. STAT.

§ 40-12-109 to Ford. Because Ford failed to remedy its unlawful conduct within the

requisite time period, Wyoming Plaintiffs seek all damages and relief to which they

are entitled.



                                        - 941 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.2996    Page 968 of 990




                                    COUNT 302

                             BREACH OF CONTRACT
                           (BASED ON WYOMING LAW)

       3909. Wyoming Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3910. This claim is brought by Wyoming Plaintiffs on behalf of the Wyoming

Subclass.

       3911. Ford’s misrepresentations and omissions alleged herein, including

Ford’s failure to disclose the Coastdown Cheating Vehicles’ lower fuel economy

than advertised and certified, caused Wyoming Plaintiffs and the Wyoming Subclass

to make their purchases or leases of the Coastdown Cheating Vehicles. Absent those

misrepresentations and omissions, Wyoming Plaintiffs and the Wyoming Subclass

would not have purchased or leased the Coastdown Cheating Vehicles, would not

have purchased or leased the Coastdown Cheating Vehicles at the prices they paid,

and/or would have purchased or leased less expensive alternative vehicles that did

not contain the reduced mileage. Accordingly, Wyoming Plaintiffs and the

Wyoming Subclass overpaid for the Coastdown Cheating Vehicles and did not

receive the benefit of their bargain.

       3912. Each and every sale or lease of a Coastdown Cheating Vehicle

constitutes a contract between Ford and the purchaser or lessee. Ford breached these

contracts by selling or leasing to Wyoming Plaintiffs and the Wyoming Subclass


                                        - 942 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2997     Page 969 of 990




defective Coastdown Cheating Vehicles and by misrepresenting or failing to disclose

that the Coastdown Cheating Vehicles do not provide the fuel efficiency that was

advertised and certified, and their mileage is far worse than a reasonable consumer

would expect given the premium paid for these vehicles and the representation made

by Ford.

       3913. As a direct and proximate result of Ford’s breach of contract, Wyoming

Plaintiffs and the Class have been damaged in an amount to be proven at trial, which

shall include, but is not limited to, all compensatory damages, incidental and

consequential damages, and other damages allowed by law.

                                    COUNT 303

                          BREACH OF EXPRESS WARRANTY
                              (WYO. STAT. § 34.1-2-313)

       3914. Wyoming Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3915. This claim is brought by Wyoming Plaintiffs on behalf of the Wyoming

Subclass.

       3916. Ford is and was at all relevant times a merchant with respect to motor

vehicles pursuant to Wyo. Stat. § 34.1-2-104.

       3917. In connection with the purchase or lease of each one of its new vehicles,

Ford provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

three years or 36,000 miles, whichever occurs first. This NVLW exists to cover


                                       - 943 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.2998     Page 970 of 990




“defect in factory supplied material or workmanship.” Ford also provides a

powertrain limited warranty that covers the engine and transmission, including the

shifter assembly, for five years or 60,000 miles, whichever occurs first, for the

Coastdown Cheating Vehicles.

      3918. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

achieved certain fuel economy ratings in Ford’s coastdown testing, depending on the

vehicle.

      3919. As a manufacturer of light-duty vehicles, Ford was required to provide

these warranties to purchasers of the Coastdown Cheating Vehicles.

      3920. These affirmations and promises were part of the basis of the bargain

that was reached when Wyoming Plaintiffs and the other Wyoming Subclass

members purchased or leased the Coastdown Cheating Vehicles.

      3921. Ford breached these warranties arising from its advertisements,

including window stickers, because Ford cheated on the coastdown testing that

produced the reported fuel economy ratings, and accurate coastdown testing would

have produced less favorable fuel economy ratings. Ford has not restored, and is

unable to restore, the Coastdown Cheating Vehicles to the condition in which it had

promised them to be.




                                      - 944 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.2999    Page 971 of 990




      3922. Affording Ford a reasonable opportunity to cure its breach of written

warranties would be unnecessary and futile here.

      3923. Furthermore, the NVLW promising to repair and/or correct a

manufacturing defect fails in its essential purpose because the contractual remedy is

insufficient to make Wyoming Plaintiffs and the Wyoming Subclass whole, and

because Ford has failed and/or has refused to adequately provide the promised

remedies within a reasonable time.

      3924. Accordingly, recovery by the Wyoming Plaintiffs and the Wyoming

Subclass is not limited to the NVLW promising to repair and/or correct a

manufacturing defect, and Wyoming Plaintiffs, individually and on behalf of the

other Wyoming Subclass members, seek all remedies as allowed by law.

      3925. Also, as alleged in more detail herein, at the time Ford warranted and

sold the Coastdown Cheating Vehicles, it knew that the Coastdown Cheating

Vehicles did not conform to Ford’s warranties, and Ford wrongfully and fraudulently

concealed material facts regarding the Coastdown Cheating Vehicles. Wyoming

Plaintiffs and the Wyoming Subclass were therefore induced to purchase or lease the

Coastdown Cheating Vehicles under false and/or fraudulent pretenses.

      3926. Plaintiffs provided notice of Ford’s breach via certified mail as early as

May 6, 2019. Furthermore, Ford has been provided notice of this breach through this




                                       - 945 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3000    Page 972 of 990




litigation and other complaints filed against it, as well as its internal knowledge of

the inaccurate coastdown testing.

       3927. As a direct and proximate result of Ford’s breach of express warranties,

Wyoming Plaintiffs and the Wyoming Subclass have been damaged in an amount to

be determined at trial.

                                    COUNT 304

                          FRAUDULENT CONCEALMENT
                           (BASED ON WYOMING LAW)

       3928. Wyoming Plaintiffs incorporate by reference all paragraphs as though

fully set forth herein.

       3929. This claim is brought by Wyoming Plaintiffs on behalf of the Wyoming

Subclass.

       3930. Ford concealed the fact that the Coastdown Cheating Vehicles do not

provide the fuel efficiency that was advertised and certified, and their mileage is far

worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, and Ford acted with reckless disregard

for the truth and denied Wyoming Plaintiffs and the Wyoming Subclass information

that is highly relevant and material to their purchasing decision.

       3931. The Monroney sticker, which was provided to every person who

purchased or leased a Coastdown Cheating Vehicle, is false. Ford materially omitted

to these purchasers and lessees that the Monroney sticker is false and failed to


                                        - 946 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3001    Page 973 of 990




provide accurate information concerning the fuel economy of the Coastdown

Cheating Vehicles.

      3932. Ford further affirmatively misrepresented to Wyoming Plaintiffs in

advertising and other forms of communication, including standard and uniform

material provided with each car, that the Coastdown Cheating Vehicles it was selling

had no significant defects and had the advertised and certified fuel efficiency.

      3933. Ford knew these representations were false when made.

      3934. The Coastdown Cheating Vehicles purchased or leased by Wyoming

Plaintiffs and the Wyoming Subclass were, in fact, defective, with reduced fuel

efficiency.

      3935. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because Wyoming Plaintiffs and the

Wyoming Subclass relied on Ford’s material representations or omissions of fact

that the Coastdown Cheating Vehicles they were purchasing were fuel efficient and

free from defects.

      3936. As alleged in this Complaint, at all relevant times, Ford has held out the

Coastdown Cheating Vehicles to be fuel efficient. Ford disclosed certain details

about the Coastdown Cheating Vehicles, but nonetheless, Ford intentionally failed



                                        - 947 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.3002    Page 974 of 990




to disclose the important facts concerning the lack of fuel efficiency, making other

disclosures about the fuel efficiency deceptive.

      3937. The truth about the lack of fuel efficiency and Ford’s manipulations of

certifications was known only to Ford; Wyoming Plaintiffs and the Wyoming

Subclass did not know of these facts and Ford actively concealed these facts from

Wyoming Plaintiffs and the Wyoming Subclass.

      3938. Wyoming Plaintiffs and the Wyoming Subclass reasonably relied upon

Ford’s deception. They had no way of knowing that Ford’s representations were

false and/or misleading. As consumers, Wyoming Plaintiffs and the Wyoming

Subclass did not, and could not, unravel Ford’s deception on their own. Rather, Ford

intended to deceive Wyoming Plaintiffs and the Wyoming Subclass by concealing

the true facts about the Coastdown Cheating Vehicles’ lack of fuel efficiency.

      3939. Ford also concealed and suppressed material facts concerning what is

evidently the true culture of Ford—one characterized by an emphasis on profits and

sales above compliance with federal and state clean air laws and emissions

regulations that are meant to protect the public and consumers. It also emphasized

profits and sales above the trust that Wyoming Plaintiffs and the Wyoming Subclass

placed in its representations.

      3940. Ford’s false representations and omissions were material to consumers,

because they concerned the fuel efficiency of the Coastdown Cheating Vehicles, and



                                       - 948 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3003     Page 975 of 990




also because the representations played a significant role in the value of the vehicles.

As Ford well knew, its customers, including Wyoming Plaintiffs and the Wyoming

Subclass members, highly valued that the vehicles they were purchasing or leasing

were fuel efficient, and they paid accordingly.

      3941. Ford had a duty to disclose that the Coastdown Cheating Vehicles do

not provide the fuel efficiency that was advertised and certified, and their mileage is

far worse than a reasonable consumer would expect given the premium paid for these

vehicles and the representation made by Ford, because details of the true facts were

known and/or accessible only to Ford, because Ford had exclusive knowledge as to

such facts, and because Ford knew these facts were not known to or reasonably

discoverable by Wyoming Plaintiffs and the Wyoming Subclass members. Ford also

had a duty to disclose because it made general affirmative representations about the

qualities of its vehicles with respect to fuel efficiency, which were misleading,

deceptive, and incomplete without the disclosure of the additional facts set forth

above regarding the actual mileage of its vehicles. Having volunteered to provide

information to Wyoming Plaintiffs and the Wyoming Subclass members, Ford had

the duty to disclose not just the partial truth, but the entire truth. These omitted and

concealed facts were material because they directly impact the value of the

Coastdown Cheating Vehicles purchased or leased by Wyoming Plaintiffs and the

Wyoming Subclass members. Whether an automobile is fuel efficient and whether



                                        - 949 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.3004    Page 976 of 990




it accurately measures its own gasoline consumption are material concerns to a

consumer. Ford represented to Wyoming Plaintiffs and the Wyoming Subclass

members that they were purchasing or leasing fuel efficient vehicles, when in fact

the Coastdown Cheating Vehicles do not perform as advertised and certified and do

not accurately report their own fuel consumption.

      3942. Ford actively concealed and/or suppressed these material facts, in

whole or in part, to pad and protect its profits and to avoid the perception that its

vehicles were not fuel efficient or low emissions, which perception would hurt the

brand’s image and cost Ford money, and it did so at the expense of Wyoming

Plaintiffs and the Wyoming Subclass.

      3943. Ford has still not made full and adequate disclosures and continues to

defraud Wyoming Plaintiffs and the Wyoming Subclass by concealing material

information regarding the fuel efficiency of its Coastdown Cheating Vehicles.

      3944. Wyoming Plaintiffs and the Wyoming Subclass were unaware of the

omitted material facts referenced herein, and they would not have acted as they did

if they had known of the concealed and/or suppressed facts, in that they would not

have purchased purportedly fuel efficient vehicles manufactured by Ford, and/or

would have taken other affirmative steps in light of the information concealed from

them. Wyoming Plaintiffs’ and the Wyoming Subclass members’ actions were




                                       - 950 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3005    Page 977 of 990




justified. Ford was in exclusive control of the material facts, and such facts were not

generally known to the public, Wyoming Plaintiffs, or Wyoming Subclass members.

      3945. Because of the concealment and/or suppression of the facts, Wyoming

Plaintiffs and the Wyoming Subclass have been injured and sustained damage

because they overpaid for their vehicles and own vehicles that diminished in value

as a result of Ford’s concealment, and suffered and continue to suffer increased fuel

costs over what was represented by Ford. Had they been aware of the true facts,

Wyoming Plaintiffs and Class members would not have purchased or leased the

Coastdown Cheating Vehicles or would have paid less.

      3946. Accordingly, as a direct and proximate result of Ford’s actions, Ford is

liable to Wyoming Plaintiffs and the Wyoming Subclass for damages in an amount

to be proven at trial, which shall include, but is not limited to, all compensatory

damages, incidental and consequential damages, and other damages allowed by law.

      3947. Ford’s    acts were done        wantonly, maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of Wyoming Plaintiffs’

and the Wyoming Subclass’s rights and the representations that Ford made to them

in order to enrich Ford. Ford’s conduct warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, which amount is to be

determined according to proof.




                                        - 951 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.3006    Page 978 of 990




                                    COUNT 305

                   NEGLIGENT MISREPRESENTATION
                     (BASED ON WYOMING LAW)

      3948. Wyoming Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      3949. This claim is brought by the Wyoming Plaintiffs on behalf of the

Wyoming Subclass.

      3950. Defendant made fuel economy representations to Wyoming Plaintiffs

and members of the Class that were not true.

      3951. Defendant    had   no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Wyoming

Plaintiffs and Wyoming Subclass members rely on these misrepresentations.

      3952. Wyoming Plaintiffs reasonably relied on Defendant’s representations

and as a result Wyoming Plaintiffs and Wyoming Subclass members were harmed.

                                    COUNT 306

                           UNJUST ENRICHMENT
                        (BASED ON WYOMING LAW)

      3953. Wyoming Plaintiffs reallege and incorporate by reference all

paragraphs alleged herein.

      3954. This claim is brought by the Wyoming Plaintiffs on behalf of the

Wyoming Subclass.



                                      - 952 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3007    Page 979 of 990




         3955. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Wyoming Plaintiffs and the Wyoming Subclass.

         3956. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Wyoming Plaintiffs and other Wyoming Subclass members. It would

be inequitable and unjust for Ford to retain these wrongfully obtained profits.

         3957. Wyoming Plaintiffs, therefore, seek any and all available equitable

relief, including but not limited to disgorgement and/or restitution to them and other

members of the Wyoming Subclass.

         Claims Brought on Behalf of the Nationwide Class

                                     COUNT 307

         VIOLATION OF THE MAGNUSSON-MOSS WARRANTY ACT
                       (15 U.S.C. §§ 2301 et seq.)

         3958. Plaintiffs hereby incorporate by reference the allegations contained in

the preceding paragraphs of this complaint.

         3959. Plaintiffs bring this Count on behalf of themselves and the Nationwide

Class.

         3960. This Court has jurisdiction to decide claims brought under the

Magnuson-Moss Warranty Act (for the purpose of this Count, the “Act”) by virtue

of 28 U.S.C. § 1332(a)-(d).




                                        - 953 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20     PageID.3008    Page 980 of 990




      3961. Plaintiffs and the other Nationwide Class members are “consumers”

who purchased “consumer products” for purposes of 15 U.S.C. § 2301(1) and (3)

because they purchased Coastdown Cheating Vehicles for personal, family, or

household purposes.

      3962. Ford is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

§ 2301(4) and (5) because the company regularly sells Ford vehicles accompanied

by written Limited Warranties.

      3963. The Coastdown Cheating Vehicles are “consumer products” within the

meaning of the Act. 15 U.S.C. § 2301(1).

      3964. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer

who is damaged by the failure of a warrantor to comply with a written or implied

warranty.

      3965. The amount in controversy of the Plaintiffs’ individual claims meets or

exceeds $25.00 in value. In addition, the amount in controversy meets or exceeds

$50,000 in value (exclusive of interest and costs) on the basis of all claims to be

determined in this lawsuit.

      3966. Ford provided Plaintiffs and the members of the Nationwide Class with

written and implied warranties, which are covered under 15 U.S.C. § 2301(6) and

(7), respectively.




                                      - 954 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.3009    Page 981 of 990




      3967. Ford breached these written and implied warranties as described in

detail above. Ford expressly warranted in advertisements and consumer-facing

communications, including on the window stickers themselves that were affixed to

the Coastdown Cheating Vehicles, that the Coastdown Cheating Vehicles achieve a

fuel economy rating of specific MPGs. Ford impliedly warranted that the Coastdown

Cheating Vehicles would conform to the descriptions promised in Ford’s

advertisements and consumer-facing communications.

      3968. Ford breached these express warranties because the Coastdown

Cheating Vehicles did not achieve the specific fuel economy rating Ford advertised.

Moreover, Ford breached these implied warranties because the Coastdown Cheating

Vehicles did not and do not conform to the descriptions advertised.

      3969. The terms of the warranties became part of the basis of the bargain

between Ford and the Plaintiffs and all other Class members when deciding to

purchase a Coastdown Cheating Vehicle.

      3970. Plaintiffs and each of the other Nationwide Class members have had

sufficient direct dealings with either Ford or its agents (including Ford dealerships)

to establish privity of contract between Ford, on the one hand, and Plaintiffs and

each of the other Nationwide Class members, on the other hand. Moreover, privity

is not required here because Plaintiffs and each of the other Nationwide Class

members are intended third-party beneficiaries of contracts between Ford and its



                                       - 955 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.3010   Page 982 of 990




dealers. The dealers were not intended to be the ultimate consumers of the

Coastdown Cheating Vehicles and have no rights under warranty agreements

provided with the Coastdown Cheating Vehicles; the warranty agreements were

designed for and intended to benefit the consumers only.

      3971. Because Ford knew of the defect at the time of the sale, it has waived

any opportunity to cure.

      3972. As a direct and proximate result of Ford’s breach of written warranties

and implied warranties of merchantability, Plaintiffs and Nationwide Class members

have suffered damages in an amount to be determined at trial.

      3973. Plaintiffs, individually and on behalf of the Nationwide Class, seek all

damages permitted by law, including without limitation compensation for the

additional fuel required to drive the Coastdown Cheating Vehicles, compensation

for the inconvenience associated with the additional fill-ups, and the monetary

difference between the Coastdown Cheating Vehicles as warranted and as sold,

along with all other incidental and consequential damages, statutory attorney fees,

and all other relief allowed by law.

      3974. Plaintiffs have provided Ford with an opportunity to cure and provided

multiple forms of written notice that they will be initiating suit.




                                        - 956 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20      PageID.3011    Page 983 of 990




                                     COUNT 308

                        BREACH OF EXPRESS WARRANTY

      3975. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      3976. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      3977. Defendant was a merchant with respect to motor vehicles.

      3978. In selling its vehicles, Ford expressly warranted in advertisements,

including in the stickers affixed to the windows of its vehicles, that its vehicles

provided a favorable fuel economy of specific MPGs, depending on the vehicle.

      3979. These affirmations and promises were part of the basis of the bargain

between the parties.

      3980. Defendant breached these warranties arising from its advertisements,

including window stickers, because the fuel economy ratings for its vehicles were

inaccurate.

      3981. As a direct and proximate result of Ford’s breach of express warranties,

Plaintiffs and members of the Class have been damaged in an amount to be

determined at trial.




                                         - 957 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20       PageID.3012    Page 984 of 990




                                     COUNT 309

                                             FRAUD

      3982. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      3983. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      3984. Defendant affirmatively misrepresented and concealed material facts

concerning the fuel economy of its vehicles.

      3985. Defendant had a duty to disclose the true fuel economy based on its

superior knowledge and affirmative misrepresentations to the contrary.

      3986. Defendant affirmatively misrepresented and/or actively concealed

material facts, in whole or in part, intending to induce Plaintiffs and members of the

Class to purchase or lease their vehicles and at a higher price than they otherwise

would have.

      3987. Plaintiffs and the Class were unaware of these omitted material facts

and would not have acted as they did if they had known of the concealed and/or

suppressed facts.




                                         - 958 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3013    Page 985 of 990




                                       COUNT 310

                       NEGLIGENT MISREPRESENTATION

      3988. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      3989. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.

      3990. Defendant made fuel economy representations to Plaintiffs and

members of the Class that were not true.

      3991. Defendant      had    no    reasonable   grounds   for   believing   these

representations were true when they made them, yet they intended that Plaintiffs and

Class members rely on these misrepresentations.

      3992. Plaintiff reasonably relied on Defendant’s representations and as a

result Plaintiff and Class member were harmed.

                                       COUNT 311

                                 UNJUST ENRICHMENT

      3993. Plaintiffs reallege and incorporate by reference all paragraphs alleged

herein.

      3994. This claim is brought by Plaintiffs on behalf of the Nationwide Class

or, in the alternative, the State Classes.




                                         - 959 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20        PageID.3014    Page 986 of 990




      3995. Because of Ford’s wrongful acts and omissions, Ford charged a higher

price for its vehicles than the vehicles’ true value and Ford obtained monies which

rightfully belong to Plaintiffs.

      3996. Defendant enjoyed the benefit of increased financial gains, to the

detriment of Plaintiffs and other Class members. It would be inequitable and unjust

for Ford to retain these wrongfully obtained profits.

      3997. Plaintiffs, therefore, seek any and all available equitable relief,

including but not limited to disgorgement and/or restitution to them and other

members of the Class.

                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, respectfully request that the Court enter judgment in their favor and against

Defendant, as follows:

      A.     Determining this action may be maintained as a Class action with

respect to the Class and certify it as such under Rule 23(b)(2) and (b)(3), or

alternatively certify all issues and claims that are appropriately certified, and

designate and appoint Plaintiffs as Class Representatives and their counsel as Class

Counsel;

      B.     Declaring, adjudging, and decreeing the conduct of the Defendant as

alleged herein to be unlawful, unfair, and deceptive;



                                        - 960 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.3015      Page 987 of 990




       C.     Requiring that all Class members be notified about the lower fuel

economy ratings and higher emissions at Ford’s expense and providing correct fuel

economy and emissions ratings;

       D.     Awarding Plaintiffs and Class members restitution of all monies paid

to Defendant as a result of unlawful, deceptive, and unfair business practices;

       E.     Awarding Plaintiffs and Class members actual, compensatory damages

as proven at trial;

       F.     Ordering disgorgement of all profits wrongfully received by Ford for

the Coastdown Cheating Vehicles.

       G.     Awarding Plaintiffs and Class members all statutory penalties and

exemplary damages, as allowed by law;

       H.     Awarding Plaintiffs and Class members any and all equitable relief;

       I.     Awarding Plaintiffs and Class members reasonable attorneys’ fees,

costs, and pre- and post-judgment interest;

       J.     Awarding restitution, including at the election of Class members,

recovery of the purchase price of their Coastdown Cheating Vehicles, or the

overpayment or diminution in value of their Coastdown Cheating Vehicles; and

       K.     Such other or further relief as may be appropriate.

                          DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a jury trial for all claims so triable.



                                        - 961 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.3016    Page 988 of 990




DATED: August 21, 2020              Respectfully Submitted,

                                    THE MILLER LAW FIRM, P.C.

                                    By: /s/ E. Powell Miller
                                    E. Powell Miller (P39487)
                                    Sharon S. Almonrode (P33938)
                                    Emily E. Hughes (P68724)
                                    Dennis A. Lienhardt (P81118)
                                    William Kalas (P82113)
                                    950 West University Drive, Suite 300
                                    Rochester, MI 48307
                                    Telephone: (248) 841-2200
                                    Facsimile: (248) 652-2852
                                    epm@millerlawpc.com
                                    ssa@millerlawpc.com
                                    eeh@millerlawpc.com
                                    dal@millerlawpc.com
                                    wk@millerlawpc.com

                                    Interim Lead Counsel for Plaintiffs
                                    and the Class

                                    HAGENS BERMAN SOBOL
                                    SHAPIRO LLP
                                    Steve W. Berman
                                    1301 Second Avenue, Suite 2000
                                    Seattle, WA 98101
                                    Telephone: (206) 623-7292
                                    Facsimile: (206) 623-05594
                                    steve@hbsslaw.com

                                    Christopher R. Pitoun
                                    301 N. Lake Ave., Suite 920
                                    Pasadena, CA 91101
                                    Tel: (213) 330-7150
                                    Fax: (213) 330-7152
                                    christopherp@hbsslaw.com




                                   - 962 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20   PageID.3017    Page 989 of 990




                                    DICELLO LEVITT GUTZLER LLC
                                    Adam J. Levitt
                                    John E. Tangren
                                    Ten North Dearborn Street, Sixth Floor
                                    Chicago, Illinois 60602
                                    Telephone: (312) 214-7900
                                    alevitt@dicellolevitt.com
                                    jtangren@dicellolevitt.com

                                    Additional Counsel for Plaintiffs and the
                                    Class




                                   - 963 -
Case 2:19-md-02901-SFC ECF No. 78 filed 08/21/20         PageID.3018    Page 990 of 990




                          CERTIFICATE OF SERVICE

       I hereby certify that, on August 21, 2020 I electronically filed the foregoing

 with the Clerk of the Court using the ECF system which will notify all counsel of

 record authorized to receive such filings.

                                              THE MILLER LAW FIRM, P.C.

                                               /s/ E. Powell Miller
                                              E. Powell Miller (P39487)
                                              950 W. University Dr., Ste. 300
                                              Rochester, Michigan 48307
                                              Telephone: (248) 841-2200
                                              epm@millerlawpc.com




                                       - 964 -
